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                                                 DEPARTMENT OF HOMELAND                                  may not receive a response from the                      F. Executive Order 13132 (Federalism)
                                                 SECURITY                                                Departments. Please note that the                        G. Executive Order 12988 (Civil Justice
                                                                                                         Departments cannot accept any                               Reform)
                                                 8 CFR Parts 208 and 235                                                                                          H. Family Assessment
                                                                                                         comments that are hand-delivered or                      I. Executive Order 13175 (Consultation and
                                                 [USCIS Docket No. USCIS–2024–0006]                      couriered. In addition, the Departments                     Coordination With Indian Tribal
                                                                                                         cannot accept comments contained on                         Governments)
                                                 RIN 1615–AC92                                           any form of digital media storage                        J. National Environmental Policy Act
                                                                                                         devices, such as CDs/DVDs and USB                        K. Paperwork Reduction Act
                                                 DEPARTMENT OF JUSTICE                                   drives. The Departments are not
                                                                                                                                                                List of Abbreviations
                                                                                                         accepting mailed comments at this time.
                                                 Executive Office for Immigration                        If you cannot submit your comment by                   AO Asylum Officer
                                                 Review                                                  using https://www.regulations.gov,                     APA Administrative Procedure Act
                                                                                                         please contact the Regulatory                          BIA Board of Immigration Appeals (DOJ,
                                                 8 CFR Part 1208                                         Coordination Division, Office of Policy                   EOIR)
                                                                                                                                                                CAT Convention Against Torture and Other
                                                 [A.G. Order No. 5943–2024]                              and Strategy, U.S. Citizenship and                        Cruel, Inhuman or Degrading Treatment or
                                                                                                         Immigration Services, Department of                       Punishment
                                                 RIN 1125–AB32
                                                                                                         Homeland Security, by telephone at                     CBP U.S. Customs and Border Protection
                                                 Securing the Border                                     (240) 721–3000 for alternate                           CBP One app CBP One mobile application
                                                                                                         instructions.                                          CDC Centers for Disease Control and
                                                 AGENCY: U.S. Citizenship and                                                                                      Prevention
                                                                                                         FOR FURTHER INFORMATION CONTACT:
                                                 Immigration Services (‘‘USCIS’’),                                                                              CHNV Cuba, Haiti, Nicaragua, and
                                                                                                            For DHS: Daniel Delgado, Acting                        Venezuela
                                                 Department of Homeland Security                         Deputy Assistant Secretary for
                                                 (‘‘DHS’’); Executive Office for                                                                                DHS Department of Homeland Security
                                                                                                         Immigration Policy, Office of Strategy,                DOD Department of Defense
                                                 Immigration Review (‘‘EOIR’’),                          Policy, and Plans, U.S. Department of                  DOJ Department of Justice
                                                 Department of Justice (‘‘DOJ’’).                        Homeland Security; telephone (202)                     EOIR Executive Office for Immigration
                                                 ACTION: Interim final rule (‘‘IFR’’) with               447–3459 (not a toll-free call).                          Review
                                                 request for comments.                                      For the Executive Office for                        FARRA Foreign Affairs Reform and
                                                                                                         Immigration Review: Lauren Alder Reid,                    Restructuring Act of 1998
                                                 SUMMARY: On June 3, 2024, the President                 Assistant Director, Office of Policy,                  FRP Family Reunification Parole
                                                 signed a Proclamation under sections                    EOIR, Department of Justice, 5107                      FY Fiscal Year
                                                 212(f) and 215(a) of the Immigration and                                                                       HSA Homeland Security Act of 2002
                                                                                                         Leesburg Pike, Falls Church, VA 22041;                 ICE U.S. Immigration and Customs
                                                 Nationality Act (‘‘INA’’), finding that the             telephone (703) 305–0289 (not a toll-free
                                                 entry into the United States of certain                                                                           Enforcement
                                                                                                         call).                                                 IFR Interim Final Rule
                                                 noncitizens during emergency border
                                                                                                         SUPPLEMENTARY INFORMATION:                             IIRIRA Illegal Immigration Reform and
                                                 circumstances would be detrimental to                                                                             Immigrant Responsibility Act of 1996
                                                 the interests of the United States, and                 Table of Contents                                      IJ Immigration Judge
                                                 suspending and limiting the entry of                    I. Public Participation                                INA or the Act Immigration and Nationality
                                                 those noncitizens. The Proclamation                     II. Executive Summary                                     Act
                                                 directed DHS and DOJ to promptly                           A. Background and Purpose                           INS Immigration and Naturalization Service
                                                 consider issuing regulations addressing                    B. Legal Authority                                  MPP Migrant Protection Protocols
                                                 the circumstances at the southern                          C. Summary of Provisions of the IFR                 NGO Non-Governmental Organization
                                                 border, including any warranted                         III. Discussion of the IFR                             NEPA National Environmental Policy Act
                                                                                                            A. Current Framework                                NTA Notice to Appear
                                                 limitations and conditions on asylum
                                                                                                            1. Asylum, Statutory Withholding of                 OHSS Office of Homeland Security
                                                 eligibility. The Departments are now                          Removal, and CAT Protection                         Statistics
                                                 issuing this IFR.                                          2. Expedited Removal and Screenings in              OIS Office of Immigration Statistics
                                                 DATES:                                                        the Credible Fear Process                        OMB Office of Management and Budget
                                                    Effective date: This IFR is effective at                3. Lawful Pathways Condition on Asylum              POE Port of Entry
                                                 12:01 a.m. eastern daylight time on June                      Eligibility                                      RFA Regulatory Flexibility Act
                                                 5, 2024.                                                   B. Justification                                    SWB Southwest Land Border
                                                                                                            1. Global Migration at Record Levels                TCO Transnational Criminal Organization
                                                    Submission of public comments:                          2. Need for These Measures                          UC Unaccompanied Child, having the same
                                                 Comments must be submitted on or                           3. Description of the Rule and Explanation             meaning as Unaccompanied Alien Child as
                                                 before July 8, 2024.                                          of Regulatory Changes                               defined at 6 U.S.C. 279(g)(2)
                                                    The electronic Federal Docket                           C. Section-by-Section Description of                UIP U.S. Customs and Border Protection
                                                 Management System will accept                                 Amendments                                          Unified Immigration Portal
                                                 comments prior to midnight eastern                         1. 8 CFR 208.13 and 1208.13                         UMRA Unfunded Mandates Reform Act of
                                                 time at the end of that day.                               2. 8 CFR 208.35                                        1995
                                                                                                            3. 8 CFR 1208.35                                    UNHCR United Nations High
                                                 ADDRESSES: You may submit comments                         4. 8 CFR 235.15                                        Commissioner for Refugees
                                                 on this IFR, identified by USCIS Docket                 IV. Statutory and Regulatory Requirements              USBP U.S. Border Patrol
                                                 No. USCIS–2024–0006, through the                           A. Administrative Procedure Act                     USCIS U.S. Citizenship and Immigration
                                                 Federal eRulemaking Portal: https://                       1. Foreign Affairs                                     Services
                                                                                                            2. Good Cause
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                                                 www.regulations.gov. Follow the
                                                 website instructions for submitting                        B. Executive Order 12866 (Regulatory                I. Public Participation
                                                 comments.                                                     Planning and Review), Executive Order               The Departments invite all interested
                                                                                                               13563 (Improving Regulation and
                                                    Comments submitted in a manner                             Regulatory Review), and Executive Order
                                                                                                                                                                parties to participate in this rulemaking
                                                 other than the one listed above,                              14094 (Modernizing Regulatory Review)            by submitting written data, views,
                                                 including emails or letters sent to the                    C. Regulatory Flexibility Act                       comments, and arguments on all aspects
                                                 Departments’ officials, will not be                        D. Unfunded Mandates Reform Act of 1995             of this IFR by the deadline stated above.
                                                 considered comments on the IFR and                         E. Congressional Review Act                         The Departments also invite comments


                                            VerDate Sep<11>2014   19:00 Jun 06, 2024   Jkt 262001   PO 00000   Frm 00002   Fmt 4701   Sfmt 4700   E:\FR\FM\07JNR2.SGM   07JNR2
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                                                 that relate to the economic,                            suspending and limiting the entry of                    the southwest land border (‘‘SWB’’).4 In
                                                 environmental, or federalism effects that               such noncitizens. The Proclamation
                                                 might result from this IFR. Comments                    explicitly excepts from its terms certain               250,000 Colombians, 210,000 Haitians, and 210,000
                                                 that will provide the most assistance to                persons who are not subject to the                      Salvadorans, among others. By comparison, prior to
                                                                                                                                                                 2018 there were never more than 1 million
                                                 the Departments in implementing these                   suspension and limitation. This rule is                 displaced persons in the hemisphere, and prior to
                                                 changes will reference a specific portion               necessary to respond to the emergency                   2007 there were never more than 300,000. Nearly
                                                 of the IFR, explain the reason for any                  border circumstances discussed in the                   1 in every 100 people in the Western Hemisphere
                                                 recommended change, and include data,                   Proclamation.                                           was displaced in 2022, compared to less than 1 in
                                                                                                                                                                 1,000 displaced in the region each year prior to
                                                 information, or authority that supports                    The Departments use the term                         2018. See UNHCR, Refugee Data Finder, unhcr.org/
                                                 such recommended change. Comments                       ‘‘emergency border circumstances’’ in                   refugee-statistics/download/?url=PhV1Xc (last
                                                 must be submitted in English, or an                     this preamble to generally refer to                     visited May 27, 2024); see also UNHCR, Global
                                                 English translation must be provided.                                                                           Trends: Forced Displacement in 2022, at 2, 8, 9, 12
                                                                                                         situations in which high levels of                      (June 14, 2023), https://www.unhcr.org/global-
                                                 Comments submitted in a manner other                    encounters at the southern border                       trends-report-2022 (showing rapid global increases
                                                 than pursuant to the instructions,                      exceed DHS’s capacity to deliver timely                 in forcibly displaced persons and other persons in
                                                 including emails or letters sent to the                 consequences to most individuals who                    need of international protection in 2021 and 2022,
                                                 Departments’ officials, will not be                                                                             and projecting significant future increases);
                                                                                                         cross irregularly into the United States                UNHCR, Venezuela Situation, https://
                                                 considered comments on the IFR and                      and cannot establish a legal basis to                   www.unhcr.org/emergencies/venezuela-situation
                                                 may not receive a response from the                     remain in the United States. As the                     (last updated Aug. 2023).
                                                 Departments.                                            preamble elsewhere explains, the                           4 United States Government sources refer to the

                                                   Instructions: If you submit a                                                                                 U.S. border with Mexico by various terms,
                                                                                                         periods during which the Proclamation                   including ‘‘SWB’’ and ‘‘the southern border.’’ In
                                                 comment, you must include the USCIS                     is intended to be in effect, when                       some instances, these differences can be
                                                 Docket No. USCIS–2024–0006 for this                     encounters exceed certain thresholds,                   substantive, referring only to portions of the border,
                                                 rulemaking. All submissions may be                      identify such situations. Hence, the                    while in others they simply reflect different word
                                                 posted, without change, to the Federal                                                                          choices. As defined in section 4(d) of the
                                                                                                         Departments in this preamble use the                    Proclamation, the term ‘‘southern border’’ includes
                                                 eRulemaking Portal at https://                          term ‘‘emergency border circumstances’’                 both the southwest land border (‘‘SWB’’) and the
                                                 www.regulations.gov, and will include                   to refer more specifically to the period                southern coastal borders. As defined in section 4(c)
                                                 any personal information you provide.                   of time after the date that the                         of the Proclamation, the term ‘‘southwest land
                                                 Therefore, submitting this information                                                                          border’’ means the entirety of the United States land
                                                                                                         Proclamation’s suspension and                           border with Mexico. And as defined in section 4(b)
                                                 makes it public. You may wish to                        limitation on entry would commence (as                  of the Proclamation, the term ‘‘southern coastal
                                                 consider limiting the amount of                         described in section 1 of the                           borders’’ means all maritime borders in Texas,
                                                 personal information that you provide                   Proclamation) until the discontinuation                 Louisiana, Mississippi, Alabama, and Florida; all
                                                                                                                                                                 maritime borders proximate to the SWB, the Gulf
                                                 in any voluntary public comment                         date referenced in section 2(a) of the                  of Mexico, and the southern Pacific coast in
                                                 submission you make to the                              Proclamation or the date the President                  California; and all maritime borders of the United
                                                 Departments. The Departments may                        revokes the Proclamation (whichever                     States Virgin Islands and Puerto Rico. The
                                                 withhold information provided in                                                                                Departments believe that the factual circumstances
                                                                                                         comes first), as well as any subsequent                 described herein support applying this IFR to both
                                                 comments from public viewing that they                  period during which the Proclamation’s                  the SWB and the southern coastal borders, although
                                                 determine may impact the privacy of an                  suspension and limitation on entry                      they recognize that occasionally different variations
                                                 individual or is offensive. For additional              would apply as described in section 2(b)                of this terminology may be used. The Departments
                                                 information, please read the Privacy and                                                                        further note there are sound reasons for the
                                                                                                         of the Proclamation.2 As the                            Proclamation and rule to include maritime borders
                                                 Security Notice available at https://                   Proclamation and this preamble explain,                 of the United States Virgin Islands and Puerto Rico;
                                                 www.regulations.gov.                                    these circumstances exist despite the                   this aspect of the Proclamation and rule help avoid
                                                   Docket: For access to the docket and                  Departments’ efforts to address                         any incentive for maritime migration to such
                                                 to read background documents or                                                                                 locations. The dangers of such migration, and the
                                                                                                         substantial levels of migration, and such               operational challenges associated with responding
                                                 comments received, go to https://                       circumstances are a direct result of                    to such maritime migration, are well documented.
                                                 www.regulations.gov, referencing USCIS                  Congress’s failure to update outdated                   See Securing America’s Maritime Border:
                                                 Docket No. USCIS–2024–0006. You may                     immigration laws and provide needed                     Challenges and Solutions for U.S. National
                                                 also sign up for email alerts on the                                                                            Security: Hearing Before the Subcomm. on Transp.
                                                                                                         funding and resources for the efficient                 & Mar. Sec. of the H. Comm. on Homeland Sec.,
                                                 online docket to be notified when                       operation of the border security and                    108th Cong. 10–11 (prepared statement of Rear
                                                 comments are posted, or a final rule is                 immigration systems.                                    Admiral Jo-Ann F. Burdian, Assistant Commandant
                                                 published.                                                 The Proclamation explains that since                 for Response Policy, U.S. Coast Guard) (describing
                                                                                                                                                                 an increasingly challenging operational
                                                 II. Executive Summary                                   2021, as a result of political and                      environment and noting that most ‘‘Cuban and
                                                                                                         economic conditions globally, there                     Haitian migrants use transit routes into Florida,
                                                 A. Background and Purpose                               have been substantial levels of                         either directly or via the Bahamas. Alternatively,
                                                    On June 3, 2024, the President signed                migration throughout the Western                        Dominican and some Haitian migrants use shorter
                                                                                                                                                                 transit routes across the Mona Passage to Puerto
                                                 a Proclamation under sections 212(f)                    Hemisphere,3 including record levels at                 Rico and the U.S. Virgin Islands. Common
                                                 and 215(a) of the INA, 8 U.S.C. 1182(f)                                                                         conveyances used in this region range from fishing
                                                                                                            2 The Departments have sought to avoid
                                                 and 1185(a), finding that because the                                                                           vessels, coastal freighters, sail freighters, go-fast
                                                                                                         describing ‘‘emergency border circumstances’’ as        type vessels, and ‘rusticas.’ ’’); PBS, More Than 100
                                                 border security and immigration                         the time period during which the Proclamation is        Migrants Stranded Near Puerto Rico Await Help
                                                 systems of the United States are unduly                 in effect, because the Departments intend for certain   During Human Smuggling Operation (Oct. 18,
                                                 strained at this time, the entry into the               provisions of this rule to remain in effect in the      2022), https://www.pbs.org/newshour/world/more-
                                                 United States of certain categories of                  event a court enjoins or otherwise renders              than-100-migrants-stranded-near-puerto-rico-await-
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                                                                                                         inoperable the Proclamation or this rule’s limitation   help-during-human-smuggling-operation (‘‘Mona
                                                 noncitizens 1 is detrimental to the                     on asylum eligibility.                                  Island is located in the treacherous waters between
                                                 interests of the United States, and                        3 According to OHSS analysis of the United           Dominican Republic and Puerto Rico and has long
                                                                                                         Nations High Commissioner for Refugees                  been a dropping off point for human smugglers
                                                   1 For purposes of this preamble, the Departments      (‘‘UNHCR’’) data from 1969 to 2022, there were          promising to ferry Haitian and Dominican migrants
                                                 use the term ‘‘noncitizen’’ to be synonymous with       more than 8.5 million displaced persons in the          to the U.S. territory aboard rickety boats. Dozens of
                                                 the term ‘‘alien’’ as it is used in the INA. See INA    Western Hemisphere in 2022, including                   them have died in recent months in an attempt to
                                                 101(a)(3), 8 U.S.C. 1101(a)(3); Barton v. Barr, 590     approximately 6.6 million Venezuelans, 300,000          flee their countries amid a spike in poverty and
                                                 U.S. 222, 226 n.2 (2020).                               Nicaraguans, 260,000 Hondurans, 250,000 Cubans,                                                     Continued




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                                                 response to record levels of encounters                  Government has taken a series of                           • Processing record numbers of
                                                 at the SWB,5 the United States                           significant steps to strengthen                         individuals through expedited
                                                                                                          consequences for unlawful or                            removal; 9
                                                 violence.’’); United States Coast Guard, Coast Guard     unauthorized entry at the border, while                    • Implementing a historic expansion
                                                 Repatriates 38 Migrants to Dominican Republic            at the same time overseeing the largest
                                                 Following 2 Interdictions Near Puerto Rico (Apr. 25,                                                             of lawful pathways and processes to
                                                 2024), https://www.news.uscg.mil/Press-Releases/
                                                                                                          expansion of lawful, safe, and orderly
                                                                                                                                                                  come to the United States, including:
                                                 Article/3755880/coast-guard-repatriates-38-              pathways and processes for individuals
                                                 migrants-to-dominican-republic-following-2-              to come to the United States for                        the Cuba, Haiti, Nicaragua, and
                                                 interdict/; United States Coast Guard, Coast Guard       protection in decades.6 These steps                     Venezuela (‘‘CHNV’’) parole processes,
                                                 Repatriates 101 Migrants to Dominican Republic
                                                                                                          include:                                                which allow individuals with U.S.-
                                                 Following 3 Interdictions Near Puerto Rico (Apr. 9,
                                                 2024), https://www.news.uscg.mil/Press-Releases/            • Promulgating and implementing the                  based supporters to seek parole on a
                                                 Article/3734747/coast-guard-repatriates-101-             rule titled Circumvention of Lawful                     case-by-case basis for urgent
                                                 migrants-to-dominican-republic-following-3-              Pathways, 88 FR 31314 (May 16, 2023)                    humanitarian reasons or significant
                                                 interdic/; United States Coast Guard, Coast Guard,
                                                 Federal, Local Interagency Responders Search for
                                                                                                          (‘‘Circumvention of Lawful Pathways                     public benefit; the Safe Mobility Offices
                                                 Possible Survivors of Capsized Migrant Vessel in         rule’’);                                                in Colombia, Costa Rica, Ecuador, and
                                                 Camuy, Puerto Rico (Feb. 1, 2024), https://                 • Deploying more than 500 additional                 Guatemala, which provide access to
                                                 www.news.uscg.mil/Press-Releases/Article/                DHS personnel at a time to the SWB to                   expedited refugee processing for eligible
                                                 3663106/coast-guard-federal-local-interagency-           support U.S. Customs and Border
                                                 responders-search-for-possible-survivors/; United                                                                individuals; and the expansion of
                                                 States Coast Guard, Coast Guard Repatriates 28           Protection (‘‘CBP’’) operations and                     country-specific family reunification
                                                 Migrants to Dominican Republic, Following                refocusing a significant portion of DHS’s               parole processes for individuals in the
                                                 Interdiction of Unlawful Migration Voyage in the         SWB workforce to prioritize migration                   region who have U.S. citizen relatives in
                                                 Mona Passage (Jan. 31, 2024), https://                   management above other border security
                                                 www.news.uscg.mil/Press-Releases/Article/                                                                        the United States; 10
                                                 3661517/coast-guard-repatriates-28-migrants-to-          missions; 7
                                                 dominican-republic-following-interdictio/. There            • Deploying over 1,000 additional                       • Expanding opportunities to enter
                                                 were 35,100 encounters of Dominicans between             Department of Defense (‘‘DOD’’)                         the United States for seasonal
                                                 POEs at the SWB in Fiscal Year (‘‘FY’’) 2023 and         personnel on top of the 2,500 steady                    employment; 11
                                                 14,100 in the first six months of FY 2024 (on pace
                                                 for 28,200), up from an average of 400 such              state presence to the SWB in May 2023                      • Establishing a mechanism for over
                                                 encounters per year in FY 2014 through FY 2019—          to further enhance border security; 8                   1,400 migrants per day to schedule a
                                                 roughly a 90-fold increase. Office of Homeland
                                                 Security Statistics (‘‘OHSS’’) analysis of March 2024                                                            time and place to arrive in a safe,
                                                                                                          combines 23 separate DHS and DOJ datasets to
                                                 OHSS Persist Dataset.                                    report on the end-to-end immigration enforcement        orderly, and lawful manner at ports of
                                                    5 At the SWB, U.S. Customs and Border
                                                                                                          process. Due to this greater complexity, Lifecycle      entry (‘‘POEs’’) through the CBP One
                                                 Protection (‘‘CBP’’) completed approximately 1.7         data generally become available for reporting 90 to     mobile application (‘‘CBP One app’’); 12
                                                 million encounters at and between POEs in FY             120 days after the end of each quarter.
                                                 2021, 2.4 million in FY 2022, and 2.5 million in FY         CBP also publishes preliminary data pulled from         • Increasing proposed refugee
                                                 2023, with each year exceeding the previous record       its operational systems more quickly as part of its     admissions from the Western
                                                 high of 1.68 million in FY 2000. Compare OHSS,           regular Monthly Operational Updates. The data in
                                                 2022 Yearbook of Immigration Statistics 89 tbl. 33                                                               Hemisphere from 5,000 in Fiscal Year
                                                                                                          these updates reflect operational realities but
                                                 (Nov. 2023), https://www.dhs.gov/sites/default/          change over time as transactional records in the        (‘‘FY’’) 2021 to up to 50,000 in FY
                                                 files/2023-11/2023_0818_plcy_yearbook_                   systems of record are cleaned and validated; they       2024; 13
                                                 immigration_statistics_fy2022.pdf (total                 are best viewed as initial estimates rather than as
                                                 apprehensions and Title 42 expulsions from 1925          final historical records. CBP released an operational
                                                 to 2022), and id. at 94–96 tbl. 35 (apprehensions        update on May 15, 2024, that includes the               2023), https://www.defense.gov/News/News-
                                                 from FY 2013 to FY 2022), with OHSS, 2012                Component’s official reporting for encounters           Stories/Article/Article/3382272/austin-approves-
                                                 Yearbook of Immigration Statistics 96 tbl. 35 (July      through the end of April. Based on these data, SWB      homeland-security-request-for-troops-at-border/.
                                                 2013), https://www.dhs.gov/sites/default/files/          encounters between POEs fell slightly by six
                                                                                                                                                                     9 In the months between May 12, 2023, and
                                                 publications/Yearbook_Immigration_Statistics_            percent between March and April. OHSS analysis          March 31, 2024, CBP processed roughly 316,000
                                                 2012.pdf (apprehensions from FY 2003 to FY 2012),                                                                noncitizens encountered at and between SWB POEs
                                                                                                          of data obtained from CBP, Southwest Land Border
                                                 and OHSS, 2002 Yearbook of Immigration Statistics                                                                for expedited removal, more than in any prior full
                                                                                                          Encounters, https://www.cbp.gov/newsroom/stats/
                                                 184 tbl. 40 (Oct. 2003), https://www.dhs.gov/sites/                                                              fiscal year. OHSS analysis of data pulled from CBP
                                                                                                          southwest-land-border-encounters (last accessed
                                                 default/files/publications/Yearbook_Immigration_                                                                 Unified Immigration Portal (‘‘UIP’’) on April 2,
                                                                                                          May 24, 2024). The preliminary April data are best
                                                 Statistics_2002.pdf (apprehensions from FY 1996 to                                                               2024.
                                                                                                          understood to reflect a continuation of the general
                                                 FY 2002). In December 2023, CBP also completed                                                                      10 DHS, Fact Sheet: U.S. Government Announces
                                                                                                          pattern described elsewhere in this IFR. Excluding
                                                 a single-month record of approximately 302,000
                                                                                                          March through April 2020, which was an unusual          Sweeping New Actions to Manage Regional
                                                 encounters at and between POEs, almost one and
                                                                                                          case because of the onset of the COVID–19               Migration (Apr. 27, 2023), https://www.dhs.gov/
                                                 a half times as many as the highest monthly number
                                                                                                          pandemic, the average month-over-month change           news/2023/04/27/fact-sheet-us-government-
                                                 recorded prior to 2021 (approximately 209,000 in
                                                 March 2000) based on records available in the            between March and April for 2013 through 2024 is        announces-sweeping-new-actions-manage-regional-
                                                 OHSS Persist Dataset from FY 2000 to the present.        a 2.3 percent increase, with 4 out of those 11 years    migration.
                                                 Although some of the increase in encounters is           experiencing decreases in April and 7 years                11 DHS, DHS to Supplement H–2B Cap with

                                                 explained by higher-than-normal numbers of repeat        experiencing increases.                                 Nearly 65,000 Additional Visas for FY 2024,
                                                                                                             6 See DHS, Fact Sheet: Department of State and       Department of Homeland Security (Nov. 3, 2023),
                                                 encounters of the same individuals during the
                                                 period in which noncitizens were expelled                Department of Homeland Security Announce                https://www.dhs.gov/news/2023/11/03/dhs-
                                                 pursuant to the Centers for Disease Control and          Additional Sweeping Measures to Humanely                supplement-h-2b-cap-nearly-65000-additional-
                                                 Prevention’s (‘‘CDC’s’’) Title 42 public health Order,   Manage Border through Deterrence, Enforcement,          visas-fiscal-year-2024.
                                                 OHSS analysis of the March 2024 OHSS Persist             and Diplomacy (May 10, 2023), https://                     12 DHS, Fact Sheet: U.S. Government Announces

                                                 Dataset indicates that unique encounters were also       www.dhs.gov/news/2023/05/10/fact-sheet-                 Sweeping New Actions to Manage Regional
                                                 at record high levels. See OHSS analysis of March        additional-sweeping-measures-humanely-manage-           Migration (Apr. 27, 2023), https://www.dhs.gov/
                                                 2024 OHSS Persist Dataset.                               border.                                                 news/2023/04/27/fact-sheet-us-government-
                                                                                                             7 DHS, Fact Sheet: The Biden-Harris                  announces-sweeping-new-actions-manage-regional-
                                                    DHS data in this IFR are current through March
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                                                 31, 2024, the most recent month for which DHS has        Administration Takes New Actions to Increase            migration; CBP, CBP OneTM Appointments
                                                 data that have gone through its full validation          Border Enforcement and Accelerate Processing for        Increased to 1,450 Per Day (June 30, 2023), https://
                                                 process. DHS primarily relies on two separate            Work Authorizations, While Continuing to Call on        www.cbp.gov/newsroom/national-media-release/
                                                 datasets for most of the data in this IFR. Most DHS      Congress to Act (Sept. 20, 2023), https://              cbp-one-appointments-increased-1450-day.
                                                 data are pulled from OHSS’s official statistical         www.dhs.gov/news/2023/09/20/fact-sheet-biden-              13 U.S. State Dep’t, Report to Congress on

                                                 system of record data, known as the OHSS Persist         harris-administration-takes-new-actions-increase-       Proposed Refugee Admissions for Fiscal Year 2024
                                                 Dataset, which is typically released by OHSS on a        border.                                                 (Nov. 3, 2023) https://www.state.gov/report-to-
                                                 90-day delay. Other data in this IFR are pulled from        8 Id.; see also DOD, Austin Approves Homeland        congress-on-proposed-refugee-admissions-for-fiscal-
                                                 OHSS’s Enforcement Lifecycle dataset, which              Security Request for Troops at Border (May 2,           year-2024/.



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                                                    • Completing approximately 89                        decisions and consequences to                              resources provided to implement them
                                                 percent more immigration court cases in                 individuals who cross unlawfully and                       came into stark focus. Despite the
                                                 FY 2023 as compared to FY 2019; 14 and                  cannot establish a legal basis to remain                   expanded ability to impose
                                                    • Increasing the immigration judge                   in the United States, or to provide                        consequences at the SWB through the
                                                 (‘‘IJ’’) corps by 66 percent from FY 2019               timely protection to those ultimately                      Circumvention of Lawful Pathways rule
                                                 to FY 2023, including maximizing the                    found eligible for protection when                         and complementary measures, which
                                                 congressionally authorized number in                    individuals are arriving at such                           led to the highest numbers of returns
                                                 FY 2023 for a total corps of 734.15                     elevated, historic volumes.18                              and removals in more than a decade,20
                                                    The Proclamation further states that                   This became even more clear in the                       encounter levels have remained
                                                 although these efforts and other                        months following the lifting of the Title                  elevated well above historical levels,
                                                 complementary measures are having                       42 public health Order.19 As the                           with December 2023 logging the highest
                                                 their intended effect—DHS is processing                 Departments resumed widespread                             monthly total on record.21 While
                                                 noncitizens for removal in record                       processing under title 8 authorities, the                  encounter levels in calendar year 2024
                                                 numbers and with record efficiency 16—                  insufficiency of both the available                        have decreased from these record
                                                 the border security and immigration                     statutorily authorized tools and the                       numbers, there is still a substantial and
                                                 systems have not been able to keep pace                                                                            elevated level of migration, and
                                                 with the number of individuals arriving                    18 Id.; see also Ariel G. Ruiz-Soto et al., Migration
                                                                                                                                                                    historically high percentages of migrants
                                                 at the southern border.17 Simply put,                   Pol’y Inst., Shifting Realities at the U.S.-Mexico         are claiming fear and are challenging to
                                                                                                         Border: Immigration Enforcement and Control in a
                                                 the Departments do not have adequate                    Fast-Evolving Landscape 20 (Jan. 2024), https://           remove, as discussed in more detail in
                                                 resources and tools to deliver timely                   www.migrationpolicy.org/sites/default/files/               Section III.B.1 of this preamble.22 This
                                                                                                         publications/mpi-contemporary-border-policy-
                                                    14 See EOIR, Adjudication Statistics: New Cases      2024_final.pdf (‘‘Across the border, interviewed              20 In the ten and a half months between May 12,
                                                 and Total Completions—Historical 1–2 (Oct. 12,          agents expressed frustration with low staffing levels      2023, and March 31, 2024, DHS completed over
                                                 2023), https://www.justice.gov/d9/pages/                and resource allocations compared to the challenge         662,000 removals and enforcement returns, more
                                                 attachments/2022/09/01/3_new_cases_and_total_           of managing the border.’’). DHS acknowledges that          than in any full fiscal year since FY 2011, and the
                                                 completions_-_historical.pdf.                           the enacted FY 2024 DHS budget does appropriate            highest monthly average of enforcement
                                                    15 See EOIR, Adjudication Statistics: Immigration    funding sufficient to pay for approximately 2,000          repatriations since FY 2010. Post-May 12, 2023,
                                                 Judge (IJ) Hiring 1 (Jan. 2024), https://               additional Border Patrol agents, bringing the total        repatriations from OHSS analysis of data
                                                 www.justice.gov/eoir/media/1344911/dl?inline            level indicated by Congress up to 22,000 agents,           downloaded from UIP on April 2, 2024; see also
                                                 (showing 734 total IJs on board in FY 2023);            compared with 19,855 agents for FY 2023. 170 Cong          OHSS, Immigration Enforcement and Legal
                                                 Executive Office for Immigration Review (‘‘EOIR’’)      Rec. H1809–10 (daily ed. Mar. 22, 2024)                    Processes Monthly Tables, https://www.dhs.gov/
                                                 Strategic Plan 2024, Current Operating                  (Explanatory Statement Regarding H.R. 2882,                ohss/topics/immigration/enforcement-and-legal-
                                                 Environment, https://www.justice.gov/eoir/              Further Consolidated Appropriations Act, 2024)             processes-monthly-tables (last updated May 10,
                                                 strategic-plan/strategic-context/current-operating-     (‘‘The agreement includes . . . [funding] to hire          2024) (providing historic data on repatriations);
                                                 enviroment (last visited May 27, 2024) (‘‘The           22,000 Border Patrol Agents.’’); 168 Cong Rec.             OHSS, 2022 Yearbook of Immigration Statistics
                                                 agency’s streamlining efforts also enabled EOIR, by     S8557 (daily ed. Dec. 20, 2022) (Explanatory               103–04 tbl. 39 (Nov. 2023), https://www.dhs.gov/
                                                 the close of FY 2023, to fill all 734 appropriated IJ   Statement Regarding H.R. 2617, Consolidated                sites/default/files/2023-11/2023_0818_plcy_
                                                 positions, thus creating the largest judge corps in     Appropriations Act, 2023) (‘‘The agreement                 yearbook_immigration_statistics_fy2022.pdf
                                                 the agency’s history.’’).                               provides funding for 19,855 Border Patrol agents.’’).      (noncitizen removals, returns, and expulsions for
                                                    16 See supra note 9. Since May 12, 2023, the         However, the FY 2024 appropriations do not fully           FY 1892 to FY 2022).
                                                 median time to refer noncitizens encountered by         fund CBP’s existing operational and staffing                  21 There were nearly 302,000 CBP encounters at
                                                 CBP at the SWB who claim a fear for credible fear       requirements. Additionally, CBP estimates that it
                                                                                                                                                                    and between POEs along the SWB in December
                                                 interviews decreased by 77 percent from its             will likely be unable to implement a hiring surge
                                                                                                                                                                    2023, higher than any previous month on record.
                                                 historical average, from 13 days in the FY 2014 to      to meaningfully grow its overall staffing levels
                                                                                                                                                                    OHSS analysis of March 2024 OHSS Persist Dataset
                                                 FY 2019 pre-pandemic period to 3 days in the four       towards the staffing levels funded by the FY 2024
                                                                                                         budget before the end of the current fiscal year. The      and historic CBP data for encounters prior to FY
                                                 weeks ending March 31, 2024; for those who                                                                         2000; see also OHSS, 2022 Yearbook of Immigration
                                                                                                         hiring process requires time and resources to bring
                                                 receive negative credible fear determinations, the                                                                 Statistics 89 tbl. 33 (Nov. 2023) (total apprehensions
                                                                                                         additional agents on board. For example, it
                                                 median time from encounter to removal, over the                                                                    and Title 42 expulsions from 1925 to 2022), https://
                                                                                                         generally takes more than six months for an
                                                 same time frames, decreased 85 percent from 73                                                                     www.dhs.gov/sites/default/files/2023-11/2023_
                                                                                                         applicant to complete the hiring process and report
                                                 days to 11 days. Pre-May 12, 2023, data from OHSS                                                                  0818_plcy_yearbook_immigration_statistics_
                                                                                                         to the U.S. Border Patrol (‘‘USBP’’) Academy to
                                                 Lifecycle Dataset as of December 31, 2023; post-May                                                                fy2022.pdf; id. at 94–96 tbl. 35 (apprehensions from
                                                                                                         receive necessary training. See DHS, Statement
                                                 11, 2023, data from OHSS analysis of data                                                                          FY 2013 to FY 2022); OHSS, Immigration
                                                                                                         from Secretary Mayorkas on the President’s Fiscal
                                                 downloaded from UIP on April 2, 2024.                                                                              Enforcement and Legal Processes Monthly Tables,
                                                                                                         Year 2025 Budget for the U.S. Department of
                                                    DHS removed or returned over 662,000                 Homeland Security (Mar. 11, 2024), https://                https://www.dhs.gov/ohss/topics/immigration/
                                                 noncitizens between May 12, 2023, and March 31,         www.dhs.gov/news/2024/03/11/statement-                     enforcement-and-legal-processes-monthly-tables
                                                 2024, or an average of over 61,300 per month            secretary-mayorkas-presidents-fiscal-year-2025-            (last updated May 10, 2024) (SWB encounters from
                                                 (excluding crew members detained on board their         budget-us-department (‘‘However, DHS’s border              FY 2014 through December 2023).
                                                 vessels and other administrative returns); this         security and immigration enforcement efforts along            22 After peaking at nearly 302,000 in December
                                                 represents the highest average monthly count of         the Southwest border desperately require the               2023, encounters at and between POEs along the
                                                 removals and returns since FY 2010. Post-May 12,        additional funds requested by the Administration           SWB fell to approximately 176,000 in January 2024,
                                                 2023, repatriations from OHSS analysis of data          and included in the Senate’s bipartisan border             190,000 in February 2024, and 189,000 in March
                                                 downloaded from UIP on April 2, 2024; see also          security legislation, which would provide DHS with         2024. At an average of 185,000 for the first three
                                                 OHSS, Immigration Enforcement and Legal                 approximately $19 billion to fund additional               months of 2024, monthly encounters levels were
                                                 Processes Monthly Tables, https://www.dhs.gov/          personnel, facilities, repatriation capabilities, and      almost 4 times higher than the pre-pandemic (FY
                                                 ohss/topics/immigration/enforcement-and-legal-          other enforcement resources.’’).                           2014 through 2019) average of 48,000 encounters at
                                                 processes-monthly-tables (last updated May 10,             19 See Public Health Determination and Order            and between POEs per month and—with the
                                                 2024) (providing historic data on repatriations);       Regarding Suspending the Right To Introduce                exceptions of FY 2022 and FY 2023—represented
                                                 OHSS, 2022 Yearbook of Immigration Statistics           Certain Persons From Countries Where a                     the highest second quarter count of encounters in
                                                 103–04 tbl. 39 (Nov. 2023), https://www.dhs.gov/        Quarantinable Communicable Disease Exists, 87 FR           any year since FY 2001. March 2024 OHSS Persist
                                                 sites/default/files/2023-11/2023_0818_plcy_             19941, 19941–42 (Apr. 6, 2022) (describing the             Dataset; see also OHSS, 2022 Yearbook of
                                                 yearbook_immigration_statistics_fy2022.pdf                                                                         Immigration Statistics 89 tbl. 33 (Nov. 2023),
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                                                                                                         CDC’s recent Title 42 public health Orders, which
                                                 (noncitizen removals, returns, and expulsions for       ‘‘suspend[ed] the right to introduce certain persons       https://www.dhs.gov/sites/default/files/2023-11/
                                                 FY 1892 to FY 2022).                                    into the United States from countries or places            2023_0818_plcy_yearbook_immigration_statistics_
                                                    17 See Letter for Kevin McCarthy, Speaker of the                                                                fy2022.pdf (total apprehensions and title 42
                                                                                                         where the quarantinable communicable disease
                                                 House of Representatives, from Shalanda D. Young,       exists in order to protect the public health from an       expulsions from 1925 to 2022); id. at 94–96 tbl. 35
                                                 Director, Office of Management and Budget               increased risk of the introduction of COVID–19’’).         (apprehensions from FY 2013 to FY 2022); OHSS,
                                                 (‘‘OMB’’) (Aug. 10, 2023), https://                     Although the CDC indicated its intention to lift the       Immigration Enforcement and Legal Processes
                                                 www.whitehouse.gov/wp-content/uploads/2023/08/          order on May 23, 2022, ongoing litigation prevented        Monthly Tables, https://www.dhs.gov/ohss/topics/
                                                 Final-Supplemental-Funding-Request-Letter-and-          the order from being lifted until it ultimately            immigration/enforcement-and-legal-processes-
                                                 Technical-Materials.pdf.                                expired on May 11, 2023. See 88 FR at 31319.                                                           Continued




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                                                 substantial migration throughout the                      INA, 8 U.S.C. 1229a (‘‘section 240                         Said another way, at the current levels
                                                 hemisphere, combined with inadequate                      removal proceedings’’), before an IJ, a                 of encounters and with current
                                                 resources and tools to keep pace, limits                  process that can take several years to                  resources, the Departments cannot
                                                 DHS’s ability to impose timely                            conclude.25 These immigration court                     predictably and swiftly deliver
                                                 consequences through expedited                            proceedings can be less resource                        consequences to most noncitizens who
                                                 removal, the main consequence                             intensive for processing upon initial                   cross the border without a lawful basis
                                                 available at the border under title 8                     encounter, because individuals can be                   to remain. This inability to predictably
                                                 authorities.                                              released from custody fairly quickly, but               deliver timely decisions and
                                                   The sustained, high encounter rates                     are also far less likely to result in swift             consequences further compounds
                                                 the Departments have experienced over                     decisions and swift consequences, and                   incentives for migrants to make the
                                                 the past year have outstripped the                        generally require more IJ and ICE                       dangerous journey to the SWB,
                                                 Departments’ abilities—based on                           attorney time to resolve. Compare INA                   regardless of any individual
                                                 available resources—to process                            235(b)(1), 8 U.S.C. 1225(b)(1), with INA                noncitizen’s ultimate likelihood of
                                                 noncitizens through expedited removal                     240, 8 U.S.C. 1229a. Notably, in FY                     success on an asylum or protection
                                                 in significant numbers. Due to its                        2023, when the immigration courts had                   application.27 Smugglers and
                                                 funding shortfall, DHS simply lacks                       a historic high number of case                          transnational criminal organizations
                                                 sufficient resources, such as sufficient                  completions, the number of new cases                    (‘‘TCOs’’) have exploited this mismatch,
                                                 USCIS asylum officers (‘‘AOs’’) to                        far outnumbered those completions and                   further fueling migration by actively
                                                 conduct fear screenings and sufficient                    led to a larger backlog—likely extending                advertising to migrants that they are
                                                 temporary processing facilities, often                    the length of time it will take                         likely to be able to remain in the United
                                                 called ‘‘soft-sides,’’ which limits DHS’s                 individuals encountered and referred                    States.28
                                                 ability to conduct credible fear                          into section 240 removal proceedings to                    The Departments’ ability to refer and
                                                 interviews for individuals in CBP                         finish their immigration court process.26               process noncitizens through expedited
                                                 custody and to process and hold                                                                                   removal thus continues to be
                                                 individuals in U.S. Immigration and                          25 EOIR decisions completed in December 2023         overwhelmed, creating a vicious cycle
                                                 Customs Enforcement (‘‘ICE’’) custody                     were, on average, initiated in December 2020,           in which the border security and
                                                 during the expedited removal process.23                   during the significant operational disruptions
                                                                                                           caused by the COVID–19 pandemic (with
                                                                                                                                                                   immigration systems cannot deliver
                                                 This mismatch in available resources                      encounters several months earlier than that), but 50    timely decisions and consequences to
                                                 and encounters creates stress on the                      percent of EOIR cases initiated during that time        all the people who are encountered at
                                                 border and immigration systems and                        were still pending as of December 2023, so the final    the SWB and lack a lawful basis to
                                                 forces DHS to rely on processing                          mean processing time (once all such cases are
                                                                                                                                                                   remain in the United States. This, in
                                                 pathways outside of expedited                             complete) will be longer. OHSS analysis of EOIR
                                                                                                           data as of February 12, 2024; EOIR Strategic Plan       turn, forces DHS to release individuals
                                                 removal—limiting the Departments’                         2024, Current Operating Environment, https://           into the backlogged immigration court
                                                 ability to deliver timely consequences to                 www.justice.gov/eoir/strategic-plan/strategic-          system; for the many cases in that
                                                 individuals who do not have a legal                       context/current-operating-enviroment (last visited
                                                                                                                                                                   system initiated just prior to or during
                                                 basis to remain in the United States.24                   May 26, 2024) (‘‘EOIR [ ] suffered operational
                                                                                                           setbacks during the COVID–19 pandemic years of          the COVID–19 pandemic, the process
                                                 Individuals who are subject to but                        FY 2020 through FY 2022, including declining case       can take several years to result in a final
                                                 cannot be processed under expedited                       completions due to health closures and scheduling       decision or consequence,29 which then
                                                 removal due to resource constraints are                   complications and delays in agency efforts to
                                                                                                                                                                   incentivizes more people to make the
                                                 instead released pending removal                          transition to electronic records and the efficiencies
                                                                                                           they represent. While the challenges of the             dangerous journey north to take their
                                                 proceedings under section 240 of the                      pandemic were overcome by adaptive measures             chances at the SWB.30 The status quo of
                                                                                                           taken during those years, the pandemic’s impact on      the broken immigration and asylum
                                                 monthly-tables (last updated May 10, 2024) (SWB           the pending caseload is still being felt.’’). While
                                                 encounters from FY 2014 through December 2023).           EOIR does not report statistics on pending median
                                                                                                                                                                   system has become a driver for unlawful
                                                    23 ‘‘Because ICE has very limited detention            completion times for removal proceedings in             migration throughout the region and an
                                                 capacity and appropriated bedspace has remained           general, it does report median completion times for     increasingly lucrative source of income
                                                 relatively static, the agency must carefully prioritize   certain types of cases, such as detained cases and      for dangerous TCOs.31 Without
                                                 whom it detains. Similar to FY 2022, during FY            cases involving UCs. See, e.g., EOIR, Median
                                                                                                           Unaccompanied Noncitizen Child (UAC) Case
                                                                                                                                                                   countermeasures, those TCOs will
                                                 2023, Enforcement and Removal Operations’
                                                 limited detention capacity was primarily used to          Completion and Case Pending Time (Jan. 18, 2024),       continue to grow in strength, likely
                                                 house two populations: noncitizens CBP arrested at        https://www.justice.gov/eoir/media/1344951/             resulting in even more smuggling
                                                 the Southwest Border and noncitizens with                 dl?inline (median completion time of 1,346 days);       operations and undermining democratic
                                                 criminal histories [Enforcement and Removal               EOIR, Median Completion Times for Detained Cases
                                                 Operations] arrested in the interior.’’ Fiscal Year       (Jan. 18, 2024), https://www.justice.gov/eoir/media/
                                                                                                                                                                   governance in the countries where they
                                                 2023 ICE Annual Report 18 (Dec. 29, 2023), https://       1344866/dl?inline (median completion time of 47         operate.32 All of these factors, taken
                                                 www.ice.gov/doclib/eoy/                                   days in the first quarter of 2024 for removal,          together, pose significant threats to the
                                                 iceAnnualReportFY2023.pdf. In FY 2024, ICE was            deportation, exclusion, asylum-only, and
                                                 appropriated $5,082,218,000.00 ‘‘for enforcement,         withholding-only cases); EOIR, Percentage of DHS-       1.1 million of the nearly 1.2 million case receipts
                                                 detention and removal operations.’’ Consolidated          Detained Cases Completed within Six Months (Jan.        (95 percent) resulted from SWB encounters. OHSS
                                                 Appropriations Act, 2024, Public Law 118–47, 138          18, 2024), https://www.justice.gov/eoir/media/          analysis of March 2024 OHSS Persist Dataset.
                                                 Stat. 460, 598 (2024). The joint explanatory              1344886/dl?inline (reporting seven percent of             27 Miriam Jordan, One Big Reason Migrants Are
                                                 statement states that the bill provides                   detained cases not completed within six months).
                                                                                                                                                                   Coming in Droves: They Believe They Can Stay,
                                                 ‘‘$5,082,218,000 for Enforcement and Removal                 26 EOIR completed more than 520,000 cases in FY
                                                                                                                                                                   N.Y. Times (Jan. 31, 2024), https://
                                                 Operations (ERO)’’ and ‘‘$355,700,000 for 41,500          2023 (a record number), but also had almost 1.2         www.nytimes.com/2024/01/31/us/us-immigration-
                                                 beds for the full fiscal year and inflationary            million case receipts, resulting in a net increase of   asylum-border.html.
                                                 adjustments to support current detention facility         nearly 700,000 cases in its backlog. See EOIR,
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                                                                                                                                                                     28 See Parker Asmann & Steven Dudley, How US
                                                 operations.’’ 170 Cong. Rec. H1807, 1812 (daily ed.       Adjudication Statistics: Pending Cases, New Cases,
                                                 Mar. 22, 2024).                                                                                                   Policy Foments Organized Crime on US-Mexico
                                                                                                           and Total Completions 1 (Oct. 12, 2023), https://
                                                    24 See CBP, Custody and Transfer Statistics,                                                                   Border, Insight Crime (June 28, 2023), https://
                                                                                                           www.justice.gov/d9/pages/attachments/2020/01/31/
                                                                                                                                                                   insightcrime.org/investigations/how-us-policy-
                                                 https://www.cbp.gov/newsroom/stats/custody-and-           1_pending_new_receipts_and_total_
                                                                                                                                                                   foments-organized-crime-us-mexico-border/.
                                                 transfer-statistics (last updated Apr. 12, 2024) (table   completions.pdf; EOIR, Adjudication Statistics:           29 See supra note 25.
                                                 showing that, under current constraints, the number       New Cases and Total Completions—Historical (Oct.
                                                                                                                                                                     30 See, e.g., Jordan, supra note 27.
                                                 of individuals processed for expedited removal            12, 2023), https://www.justice.gov/d9/pages/
                                                                                                                                                                     31 See Asmann & Dudley, supra note 28.
                                                 makes up only a fraction of total processing              attachments/2022/09/01/3_new_cases_and_total_
                                                 dispositions, including section 240 proceedings).         completions_-_historical.pdf. OHSS estimates that         32 See Jordan, supra note 27.




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                                                 safety and security of migrants exploited                Proclamation, but excluding noncitizens                the safe and orderly entry of noncitizens
                                                 into making the dangerous journey to                     determined to be inadmissible at a SWB                 into the United States;
                                                 the SWB and the U.S. communities                         POE. Unaccompanied children                               (vi) any noncitizen who is permitted
                                                 through which many such migrants                         (‘‘UCs’’) 34 from non-contiguous                       to enter by the Secretary of Homeland
                                                 transit.                                                 countries are not included in calculating              Security, acting through a U.S. Customs
                                                    In the absence of congressional action                the number of encounters. If at any time               and Border Protection immigration
                                                 to appropriately resource DHS and EOIR                   after such a factual determination the                 officer, based on the totality of the
                                                 and to reform the outdated statutory                     Secretary makes a factual determination                circumstances, including consideration
                                                 framework, the Proclamation and the                      that there has been a 7-consecutive-                   of significant law enforcement, officer
                                                 changes made by this rule are intended                   calendar-day average of 2,500                          and public safety, urgent humanitarian,
                                                 to substantially improve the                             encounters or more, the suspension and                 and public health interests at the time
                                                 Departments’ ability to deliver timely                   limitation on entry will apply at 12:01                of the entry or encounter that warranted
                                                 decisions and consequences to                            a.m. eastern time on the next calendar                 permitting the noncitizen to enter; and
                                                 noncitizens who lack a lawful basis to                   day (or will continue to apply, if the 14-                (vii) any noncitizen who is permitted
                                                 remain. By suspending and limiting                       calendar-day period has yet to elapse)                 to enter by the Secretary of Homeland
                                                 entries until 12:01 a.m. eastern time on                 until 14 days after the Secretary makes                Security, acting through a U.S. Customs
                                                 the date that is 14 calendar days after                  another factual determination that there               and Border Protection immigration
                                                 the Secretary makes a factual                            has been a 7-consecutive-calendar-day                  officer, due to operational
                                                 determination that there has been a 7-                   average of less than 1,500 encounters or               considerations at the time of the entry
                                                 consecutive-calendar-day average of less                 the President revokes the Proclamation,                or encounter that warranted permitting
                                                 than 1,500 encounters, as defined by the                 at which time its application will be                  the noncitizen to enter.
                                                 Proclamation, but excluding noncitizens                  discontinued once again.                                  The President authorized the
                                                 determined to be inadmissible at a SWB                      The Proclamation does not apply to                  Secretary of Homeland Security and the
                                                 POE, and by imposing a limitation on                     the following persons:                                 Attorney General to issue any
                                                 asylum eligibility and making other                         (i) any noncitizen national of the                  instructions, orders, or regulations as
                                                 policy changes, the Proclamation and                     United States;                                         may be necessary to implement the
                                                 IFR will realign incentives at the                          (ii) any lawful permanent resident of               Proclamation, including the
                                                 southern border.33 The Proclamation                      the United States;                                     determination of the exceptions in
                                                 and IFR will do this by improving                           (iii) any unaccompanied child as
                                                                                                                                                                 section 3(b), and directed them to
                                                 DHS’s ability to place into expedited                    defined in section 279(g)(2) of title 6,
                                                                                                                                                                 promptly consider issuing any
                                                 removal the majority of noncitizens who                  United States Code;
                                                                                                                                                                 instructions, orders, or regulations as
                                                 are amenable to such processing; to                         (iv) any noncitizen who is determined
                                                                                                                                                                 may be necessary to address the
                                                 avoid large-scale releases of such                       to be a victim of a severe form of
                                                                                                                                                                 circumstances at the southern border,
                                                 individuals pending section 240                          trafficking in persons, as defined in
                                                                                                                                                                 including any additional limitations and
                                                 removal proceedings; and to allow for                    section 7102(16) of title 22, United
                                                                                                                                                                 conditions on asylum eligibility that
                                                 swift resolution of their cases and,                     States Code;
                                                                                                                                                                 they determine are warranted, subject to
                                                 where appropriate, removal.                                 (v) any noncitizen who has a valid
                                                                                                                                                                 any exceptions that they determine are
                                                    The Proclamation imposes a                            visa or other lawful permission to seek
                                                                                                                                                                 warranted.
                                                 suspension and limitation on entry                       entry or admission into the United
                                                 upon certain classes of noncitizens who                  States, or presents at a port of entry                    Consistent with the President’s
                                                 are encountered while the suspension                     pursuant to a pre-scheduled time and                   direction, the Departments have
                                                 and limitation is in effect. The                         place, including:                                      determined that this IFR is necessary to
                                                 Proclamation provides that the                              (A) members of the United States                    address the situation at the southern
                                                 suspension and limitation on entry                       Armed Forces and associated personnel,                 border. This IFR aligns the Departments’
                                                 applies beginning at 12:01 a.m. eastern                  United States Government employees or                  border operations and applicable
                                                 daylight time on June 5, 2024. The                       contractors on orders abroad, or their                 authorities with the Proclamation’s
                                                 suspension and limitation on entry will                  accompanying family members who are                    policy and objectives. Specifically, this
                                                 be discontinued 14 calendar days after                   on their orders or are members of their                IFR establishes a limitation on asylum
                                                 the Secretary makes a factual                            household;                                             eligibility that applies to certain
                                                 determination that there has been a 7-                      (B) noncitizens who hold a valid visa               individuals who enter during
                                                 consecutive-calendar-day average of less                 or who have all necessary documents                    emergency border circumstances and
                                                 than 1,500 encounters, as defined by the                 required for admission consistent with                 revises certain procedures applicable to
                                                                                                          the requirements of section 1182(a)(7) of              the expedited removal process to more
                                                    33 Under the Proclamation, the term ‘‘encounter’’
                                                                                                          title 8, United States Code, upon arrival              swiftly apply consequences for irregular
                                                 refers to a noncitizen who (i) is physically             at a port of entry;                                    migration 35 and remove noncitizens
                                                 apprehended by CBP immigration officers within
                                                                                                             (C) noncitizens traveling pursuant to               who do not have a legal basis to remain
                                                 100 miles of the United States SWB during the 14-                                                               in the United States. Although the
                                                 day period immediately after entry between POEs;         the visa waiver program as described in
                                                 (ii) is physically apprehended by DHS personnel at       section 217 of the INA, 8 U.S.C. 1187;                 Departments are adopting these
                                                 the southern coastal borders during the 14-day           and                                                    measures to respond to the emergency
                                                 period immediately after entry between POEs; or
                                                                                                             (D) noncitizens who arrive in the                   situation at the southern border, they
                                                 (iii) is determined to be inadmissible at a SWB POE.                                                            are not a substitute for congressional
                                                 But the 1,500 and 2,500 encounter thresholds in the      United States at a southwest land border
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                                                 Proclamation and this rule exclude the third             port of entry pursuant to a process the                action—which remains the only long-
                                                 category of encounters—individuals determined to         Secretary of Homeland Security                         term solution to the challenges the
                                                 be inadmissible at a SWB POE. When describing
                                                                                                          determines is appropriate to allow for                 Departments have confronted on the
                                                 historical data in this preamble, the Departments                                                               border for more than a decade.
                                                 have generally sought to distinguish between
                                                 encounters between POEs (also referred to as               34 In this rulemaking, as in the Proclamation, the

                                                 ‘‘USBP encounters’’) and encounters at and between       term ‘‘unaccompanied children’’ or ‘‘UCs’’ has the       35 In this preamble, ‘‘irregular migration’’ refers to

                                                 the POEs (also referred to as ‘‘total CBP encounters’’   same meaning as the term ‘‘unaccompanied alien         the movement of people into another country
                                                 or ‘‘encounters,’’ depending on the context).            child[ren]’’ under 6 U.S.C. 279(g)(2).                 without authorization.



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                                                 B. Legal Authority                                      removal proceedings’’). These                           Attorney General to ‘‘provide by
                                                    The Secretary and the Attorney                       adjudications are conducted by IJs                      regulation for any other conditions or
                                                 General jointly issue this rule pursuant                within DOJ’s EOIR. See 6 U.S.C. 521;                    limitations on the consideration of an
                                                 to their shared and respective                          INA 103(g)(1), 8 U.S.C. 1103(g)(1). With                application for asylum not inconsistent
                                                 authorities concerning consideration of                 limited exceptions, IJs adjudicate                      with [the INA]’’).38 The INA also
                                                 claims for asylum, statutory                            asylum, statutory withholding of                        provides the Secretary and Attorney
                                                 withholding of removal, and protection                  removal, and CAT protection                             General authority to publish regulatory
                                                 under regulations implemented                           applications filed by noncitizens during                amendments governing their respective
                                                 pursuant to U.S. obligations under                      the pendency of section 240 removal                     roles regarding apprehension,
                                                 Article 3 of the Convention Against                     proceedings, including asylum                           inspection and admission, detention
                                                 Torture and Other Cruel, Inhuman or                     applications referred by USCIS to the                   and removal, withholding of removal,
                                                 Degrading Treatment or Punishment                       immigration court. INA 101(b)(4), 8                     deferral of removal, and release of
                                                 (‘‘CAT’’).36 The Homeland Security Act                  U.S.C. 1101(b)(4); INA 240(a)(1), 8                     noncitizens encountered in the interior
                                                 of 2002 (‘‘HSA’’), Public Law 107–296,                  U.S.C. 1229a(a)(1); INA 241(b)(3), 8                    of the United States or at or between
                                                 116 Stat. 2135, as amended, created                     U.S.C. 1231(b)(3); 8 CFR 1208.2(b),                     POEs. See INA 235, 236, 241, 8 U.S.C.
                                                 DHS and transferred to the Secretary of                 1240.1(a); see also Dhakal v. Sessions,                 1225, 1226, 1231.
                                                 Homeland Security many functions                        895 F.3d 532, 536–37 (7th Cir. 2018)                       The HSA granted DHS the authority
                                                 related to the administration and                       (describing affirmative and defensive                   to adjudicate asylum applications and to
                                                 enforcement of Federal immigration law                  asylum processes). The Board of                         conduct credible fear interviews, make
                                                 while maintaining some functions and                    Immigration Appeals (‘‘BIA’’), also                     credible fear determinations in the
                                                 authorities with the Attorney General,                  within DOJ’s EOIR, in turn hears                        context of expedited removal, and
                                                 including some shared concurrently                      appeals from IJ decisions. See 8 CFR                    establish procedures for further
                                                 with the Secretary.                                     1003.1(a)(1), (b)(3); see also Garland v.               consideration of asylum applications
                                                    The INA, as amended by the HSA,                      Ming Dai, 593 U.S. 357, 366–67 (2021)                   after an individual is found to have a
                                                 charges the Secretary ‘‘with the                        (describing appeals from IJs to the BIA).               credible fear. INA 103(a)(3), 8 U.S.C.
                                                 administration and enforcement of [the                  And the INA provides that the                           1103(a)(3); INA 235(b)(1)(B), 8 U.S.C.
                                                 INA] and all other laws relating to the                 ‘‘determination and ruling by the                       1225(b)(1)(B); see also 6 U.S.C. 271(b)
                                                 immigration and naturalization of                       Attorney General with respect to all                    (providing for the transfer of
                                                 aliens,’’ except insofar as those laws                  questions of law shall be controlling.’’                adjudication of asylum and refugee
                                                 assign functions to other agencies. INA                 INA 103(a)(1), 8 U.S.C. 1103(a)(1).                     applications from the Commissioner of
                                                 103(a)(1), 8 U.S.C. 1103(a)(1). The INA                    In addition to the separate authorities              Immigration and Naturalization to the
                                                 also grants the Secretary the authority to              discussed above, the Attorney General                   Director of the Bureau of Citizenship
                                                 establish regulations and take other                    and the Secretary share some                            and Immigration Services, now USCIS).
                                                 actions ‘‘necessary for carrying out’’ the              authorities.37 Section 208 of the INA, 8                Within DHS, the Secretary has delegated
                                                 Secretary’s authority under the                         U.S.C. 1158, authorizes the ‘‘Secretary                 some of those authorities to the Director
                                                 immigration laws, INA 103(a)(3), 8                      of Homeland Security or the Attorney                    of USCIS, and AOs conduct credible
                                                 U.S.C. 1103(a)(3); see also 6 U.S.C. 202.               General’’ to ‘‘grant asylum’’ to a                      fear interviews, make credible fear
                                                    The HSA provides the Attorney                        noncitizen ‘‘who has applied for asylum                 determinations, and determine whether
                                                 General with ‘‘such authorities and                     in accordance with the requirements                     a noncitizen’s asylum application
                                                 functions under [the INA] and all other                 and procedures established by’’ the                     should be granted. See DHS, No. 0150.1,
                                                 laws relating to the immigration and                    Secretary or the Attorney General under                 Delegation to the Bureau of Citizenship
                                                 naturalization of aliens as were                        section 208 if the Secretary or the                     and Immigration Services (June 5, 2003);
                                                 [previously] exercised by [EOIR], or by                 Attorney General determines that the                    8 CFR 208.2(a), 208.9, 208.30.
                                                 the Attorney General with respect to                    noncitizen is a ‘‘refugee’’ within the                     The United States is a party to the
                                                 [EOIR].’’ INA 103(g)(1), 8 U.S.C.                       meaning of section 101(a)(42)(A) of the                 1967 Protocol Relating to the Status of
                                                 1103(g)(1); see also 6 U.S.C. 521. In                   INA, 8 U.S.C. 1101(a)(42)(A). INA                       Refugees, Jan. 31, 1967, 19 U.S.T. 6223,
                                                 addition, under the HSA, the Attorney                   208(b)(1)(A), 8 U.S.C. 1158(b)(1)(A).                   606 U.N.T.S. 267 (‘‘Refugee Protocol’’),
                                                 General retains authority to ‘‘establish                Section 208 thereby authorizes the                      which incorporates Articles 2 through
                                                 such regulations, . . . issue such                      Secretary and the Attorney General to                   34 of the 1951 Convention Relating to
                                                 instructions, review such administrative                ‘‘establish[ ]’’ ‘‘requirements and                     the Status of Refugees, July 28, 1951, 19
                                                 determinations in immigration                           procedures’’ to govern asylum                           U.S.T. 6259, 189 U.N.T.S. 150 (‘‘Refugee
                                                 proceedings, delegate such authority,                   applications. Id. The statute further                   Convention’’). Article 33 of the Refugee
                                                 and perform such other acts as the                      authorizes them to ‘‘establish,’’ ‘‘by                  Convention generally prohibits parties
                                                 Attorney General determines to be                       regulation,’’ ‘‘additional limitations and              to the Convention from expelling or
                                                 necessary for carrying out’’ the Attorney               conditions, consistent with’’ section                   returning (‘‘refouler’’) ‘‘a refugee in any
                                                 General’s authorities under the INA.                    208, under which a noncitizen ‘‘shall be                manner whatsoever to the frontiers of
                                                 INA 103(g)(2), 8 U.S.C. 1103(g)(2).                     ineligible for asylum.’’ INA 208(b)(2)(C),              territories where his life or freedom
                                                    Under the HSA, the Attorney General                  8 U.S.C. 1158(b)(2)(C); see also INA                    would be threatened on account of his
                                                 retains authority over the conduct of                   208(d)(5)(B), 8 U.S.C. 1158(d)(5)(B)                    race, religion, nationality, membership
                                                 removal proceedings under section 240                   (authorizing the Secretary and the                      of a particular social group or political
                                                 of the INA, 8 U.S.C. 1229a (‘‘section 240                                                                       opinion.’’ Refugee Convention, supra,
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                                                                                                            37 The HSA further provides, ‘‘Nothing in this
                                                   36 Convention Against Torture and Other Cruel,
                                                                                                                                                                 19 U.S.T. at 6276, 189 U.N.T.S. at 176.
                                                                                                         Act, any amendment made by this Act, or in section
                                                 Inhuman or Degrading Treatment or Punishment            103 of the [INA], as amended . . . , shall be
                                                 art. 3, Dec. 10, 1984, S. Treaty Doc. No. 100–20        construed to limit judicial deference to regulations,     38 Under the HSA, the references to the ‘‘Attorney

                                                 (1988), 1465 U.N.T.S. 85, 114; see also 8 U.S.C.        adjudications, interpretations, orders, decisions,      General’’ in the INA also encompass the Secretary
                                                 1231 note (United States Policy With Respect to         judgments, or any other actions of the Secretary of     with respect to statutory authorities vested in the
                                                 Involuntary Return of Persons in Danger of              Homeland Security or the Attorney General.’’            Secretary by the HSA or subsequent legislation,
                                                 Subjection to Torture); 8 CFR 208.16(c)–208.18,         Public Law 107–296, 116 Stat. 2135, 2274 (codified      including in relation to immigration proceedings
                                                 1208.16(c)–1208.18.                                     at 6 U.S.C. 522).                                       before DHS. 6 U.S.C. 251, 271(b)(3), (5), 557.



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                                                    Congress implemented these                            asylum system has contributed to the                     first enacted in the Refugee Act of 1980,
                                                 obligations through the Refugee Act of                   border emergency, the Proclamation                       today provides that ‘‘[a]ny alien who is
                                                 1980, Public Law 96–212, 94 Stat. 102                    itself does not and cannot affect                        physically present in the United States
                                                 (‘‘Refugee Act’’), creating the precursor                noncitizens’ right to apply for asylum,                  or who arrives in the United States . . .
                                                 to what is now known as statutory                        eligibility for asylum, or asylum                        irrespective of such alien’s status, may
                                                 withholding of removal. The Supreme                      procedures. That has been the Executive                  apply for asylum.’’ INA 208(a)(1), 8
                                                 Court has long recognized that the                       Branch’s consistent position for four                    U.S.C. 1158(a)(1). The right to apply for
                                                 United States implements its non-                        decades.40 That longstanding                             asylum thus turns on whether a
                                                 refoulement obligations under Article                    understanding follows from the text and                  noncitizen is ‘‘physically present’’ or
                                                 33 of the Refugee Convention (via the                    structure of the governing statutes.                     has ‘‘arrive[d] in the United States,’’ id.,
                                                 Refugee Protocol) through the statutory                  Section 212(f) provides that under                       as those terms are properly understood,
                                                 withholding of removal provision in                      certain circumstances, the President                     and exists regardless of whether a
                                                 section 241(b)(3) of the INA, 8 U.S.C.                   may ‘‘suspend the entry of all aliens or                 noncitizen is inadmissible.42 As a result,
                                                 1231(b)(3) (‘‘statutory withholding of                   any class of aliens as immigrants or                     the power under section 212(f) to
                                                 removal’’), which provides that a                        nonimmigrants, or impose on the entry                    suspend ‘‘entry’’ does not authorize the
                                                 noncitizen may not be removed to a                       of aliens any restrictions he may deem                   President to override the asylum rights
                                                 country where their life or freedom                      to be appropriate.’’ INA 212(f), 8 U.S.C.                of noncitizens who have already
                                                 would be threatened on account of one                    1182(f). Although this provision—first                   physically entered the United States and
                                                 of the protected grounds listed in                       enacted in 1952—‘‘grants the President                   who are entitled to an adjudication of
                                                 Article 33 of the Refugee                                broad discretion,’’ it ‘‘operate[s]’’ only               eligibility under the applicable statutory
                                                 Convention.39 See INA 241(b)(3), 8                       in its ‘‘sphere[ ].’’ Trump v. Hawaii, 585               and regulatory rules and standards.43
                                                 U.S.C. 1231(b)(3); see also 8 CFR 208.16,                U.S. 667, 683–84, 695 (2018). Section
                                                 1208.16. The INA also authorizes the                     212 of the INA, 8 U.S.C. 1182 (entitled                  Cf., e.g., Sale v. Haitian Ctrs. Council, Inc., 509 U.S.
                                                 Secretary and the Attorney General to                                                                             155, 174–77 (1993) (upholding a Coast Guard
                                                                                                          ‘‘Inadmissible aliens’’), generally                      program of intercepting migrant vessels and
                                                 implement statutory withholding of                       ‘‘defines the universe of aliens who are                 returning migrants to their home country,
                                                 removal under section 241(b)(3) of the                   admissible’’ and ‘‘sets the boundaries of                authorized in part by section 212(f), on the basis
                                                 INA, 8 U.S.C. 1231(b)(3). See INA                        admissibility into the United States.’’ Id.              that statutory rights under the withholding of
                                                 103(a)(1), (3), (g)(1)–(2), 8 U.S.C.                                                                              removal statute did not have ‘‘extraterritorial
                                                                                                          at 695. Hence, when section 212(f)                       application’’ to migrants who were not physically
                                                 1103(a)(1), (3), (g)(1)–(2).                             authorizes the President to suspend                      present); Hawaii, 585 U.S. at 689, 695 (assuming,
                                                    The Departments also have authority                   ‘‘entry,’’ it ‘‘enabl[es] the President to               without deciding, that section 212(f) ‘‘does not
                                                 to implement Article 3 of the CAT. The                   supplement the other grounds of
                                                                                                                                                                   allow the President to expressly override particular
                                                 Foreign Affairs Reform and                                                                                        provisions of the INA,’’ while emphasizing the
                                                                                                          inadmissibility in the INA,’’ id. at 684                 particular ‘‘sphere[ ]’’ in which it operates).
                                                 Restructuring Act of 1998 (‘‘FARRA’’)                    (citing Abourezk v. Reagan, 785 F.2d                        42 Section 212(f) contrasts with 42 U.S.C. 265,
                                                 provides the Departments with the                        1043, 1049 n.2 (D.C. Cir. 1986)), and to                 which authorizes the CDC to temporarily suspend
                                                 authority to ‘‘prescribe regulations to                  bar individuals from entry into the
                                                                                                                                                                   ‘‘the right to introduce . . . persons and property’’
                                                 implement the obligations of the United                                                                           into the United States if such suspension ‘‘is
                                                                                                          United States.                                           required in the interest of the public health.’’
                                                 States under Article 3 of the [CAT],                        This authority, though broad, does not                During the COVID–19 pandemic and to prevent the
                                                 subject to any reservations,                             authorize the President to override the                  ‘‘serious danger of the introduction of [the] disease
                                                 understandings, declarations, and                        asylum statute.41 The asylum statute,
                                                                                                                                                                   into the United States,’’ 42 U.S.C. 265, the CDC
                                                 provisos contained in the United States                                                                           issued an order invoking section 265 to expel
                                                                                                                                                                   certain noncitizens without allowing asylum
                                                 Senate resolution of ratification of the                    40 In 1984, then-Assistant Attorney General of the    applications. As the final rule implementing section
                                                 Convention.’’ Public Law 105–277, div.                   Office of Legal Counsel Theodore B. Olson advised        265 explained, the provision is part of a ‘‘broad
                                                 G, sec. 2242(b), 112 Stat. 2681, 2681–                   that section 212(f) did not permit the President to      public health statute’’ that ‘‘operates separately and
                                                                                                          eliminate the asylum rights of noncitizens who had       independently of the immigration power’’ and
                                                 822 (codified at 8 U.S.C. 1231 note).                                                                             authorizes the CDC ‘‘to temporarily suspend the
                                                                                                          hijacked a plane and, as a condition of the plane’s
                                                 DHS and DOJ have implemented the                         release, been flown to the United States. And in         effect of any law . . . by which a person would
                                                 obligations of the United States under                   2018, the Departments reaffirmed that ‘‘[a]n alien       otherwise have the right to be introduced . . . into
                                                 Article 3 of the CAT in the Code of                      whose entry is suspended or restricted under . . .       the U.S.,’’ Control of Communicable Diseases;
                                                                                                          a [section 212(f)] proclamation, but who                 Foreign Quarantine: Suspension of the Right To
                                                 Federal Regulations, consistent with                                                                              Introduce and Prohibition of Introduction of
                                                                                                          nonetheless reaches U.S. soil contrary to the
                                                 FARRA. See, e.g., 8 CFR 208.16(c)–                       President’s determination that the alien should not      Persons Into United States From Designated Foreign
                                                 208.18, 1208.16(c)–1208.18; Regulations                  be in the United States, would remain subject to         Countries or Places for Public Health Purposes, 85
                                                 Concerning the Convention Against                                                                                 FR 56424, 56426, 56442 (Sept. 11, 2020), including
                                                                                                          various procedures under immigration laws,’’
                                                                                                                                                                   the immigration laws, id. at 56426 (noting that
                                                 Torture, 64 FR 8478 (Feb. 19, 1999),                     including ‘‘expedited-removal proceedings’’ where
                                                                                                                                                                   legislative history indicates that section 265 was
                                                 amended by 64 FR 13881 (Mar. 23,                         they could ‘‘raise any claims for protection.’’ Aliens
                                                                                                                                                                   intended to suspend immigration if public health
                                                                                                          Subject to a Bar on Entry Under Certain
                                                 1999).                                                                                                            required it). The drafting history of section 265 also
                                                                                                          Presidential Proclamations; Procedures for               confirms that Congress conferred authority to
                                                    This rule is necessary because, while                 Protection Claims, 83 FR 55934, 55940 (Nov. 9,           prohibit ‘‘the introduction of persons’’ in order to
                                                 the Proclamation recognizes that the                     2018). Although Presidents have invoked section          broaden this provision and that this provision
                                                                                                          212(f) at least 90 times since 1981, to the              subsumed but was not limited to the authority to
                                                    39 See INS v. Aguirre-Aguirre, 526 U.S. 415, 426–     Departments’ knowledge, none of those                    ‘‘suspend immigration.’’ Br. for Appellants at 41–
                                                 27 (1999); see also INS v. Cardoza-Fonseca, 480          proclamations was understood to affect the right of      43, Huisha-Huisha v. Mayorkas, 27 F.4th 718 (D.C.
                                                 U.S. 421, 440–41 (1987) (distinguishing between          noncitizens on U.S. soil to apply for, or noncitizens’   Cir. 2022) (No. 21–5200); see Huisha-Huisha, 27
                                                 Article 33’s non-refoulement prohibition, which          statutory eligibility to receive, asylum. See Kelsey     F.4th at 730–31 (determining plaintiffs not likely to
                                                 aligns with what was then called withholding of          Y. Santamaria et al., Cong. Rsch. Serv., Presidential    succeed on their challenge to the CDC order on the
                                                                                                          Authority to Suspend Entry of Aliens Under 8             ground that it improperly suspended migrants’ right
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                                                 deportation, and Article 34’s call to ‘‘facilitate the
                                                 assimilation and naturalization of refugees,’’ which     U.S.C. 1182(f) (Feb. 21, 2024). At the same time,        to apply for asylum). Section 265 is a public-health
                                                 the Court found aligned with the discretionary           nothing in the proclamations or the INA have             authority under the Public Health Service Act. Its
                                                 provisions in section 208 of the INA, 8 U.S.C. 1158).    precluded the Departments from considering as an         grant of authority to allow the CDC to temporarily
                                                 The Refugee Convention and Protocol are not self-        adverse discretionary criterion that a noncitizen is     suspend immigration laws in case of a public health
                                                 executing. E.g., Al-Fara v. Gonzales, 404 F.3d 733,      described in a section 212(f) proclamation.              emergency has no relevance to the interpretation of
                                                 743 (3d Cir. 2005) (‘‘The 1967 Protocol is not self-        41 The Supreme Court, though it has never             section 212(f), which is in title 8.
                                                 executing, nor does it confer any rights beyond          squarely addressed this issue, has also never               43 For similar reasons, section 215(a) of the INA,

                                                 those granted by implementing domestic                   indicated that section 212(f) confers power to affect    8 U.S.C. 1185(a), which the Proclamation also
                                                 legislation.’’).                                         asylum rights of those present in the United States.                                                   Continued




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                                                    This rule, as discussed elsewhere, is                 specific questions of every noncitizen                (providing that, unless subject to a
                                                 authorized because Congress has                          encountered and processed for                         mandatory bar, the Secretary or
                                                 conferred upon the Secretary and the                     expedited removal to elicit whether the               Attorney General ‘‘may’’ grant asylum to
                                                 Attorney General express rulemaking                      noncitizen may have a fear of                         refugees); INA 101(a)(42)(A), 8 U.S.C.
                                                 power to create new conditions and                       persecution or an intent to apply for                 1101(a)(42)(A) (defining ‘‘refugee’’). As
                                                 limitations on asylum eligibility and                    asylum, for those who enter across the                long as they retain their asylee status,
                                                 create certain procedures for                            southern border and are not described                 noncitizens who are granted asylum (1)
                                                 adjudicating asylum claims. INA                          in section 3(b) of the Proclamation, DHS              cannot be removed or returned to their
                                                 103(a)(1), (a)(3), (g), 208(b)(1)(A),                    will provide general notice regarding                 country of nationality or, if they have no
                                                 (b)(2)(C), (d)(5)(B), 8 U.S.C. 1103(a)(1),               the process for seeking asylum, statutory             nationality, their last habitual residence,
                                                 (a)(3), (g), 1158(b)(1)(A), (b)(2)(C),                   withholding of removal, or protection                 (2) receive employment authorization
                                                 (d)(5)(B); INA 235(b)(1)(B)(iii)(III), (iv), 8           under the CAT and will refer a                        incident to their status, (3) may be
                                                 U.S.C. 1225(b)(1)(B)(iii)(III), (iv).                    noncitizen for a credible fear interview              permitted to travel outside of the United
                                                                                                          only if the noncitizen manifests a fear of            States and return with prior consent,
                                                 C. Summary of Provisions of the IFR                      return, expresses an intention to apply               and (4) may seek derivative benefits for
                                                    This IFR adds provisions at 8 CFR                     for asylum or protection, or expresses a              their spouses or children. INA 208(c)(1),
                                                 208.13(g), 208.35, 235.15, 1208.13(g),                   fear of persecution or torture or a fear              8 U.S.C. 1158(c)(1); see Johnson v.
                                                 and 1208.35 that effectuate three key                    of return to his or her country or the                Guzman Chavez, 594 U.S. 523, 536
                                                 changes to the process for those seeking                 country of removal.                                   (2021) (‘‘[A] grant of asylum permits an
                                                 asylum, statutory withholding of                            • The limitation on asylum eligibility             alien to remain in the United States and
                                                 removal, or protection under the CAT                     will be applied during credible fear                  to apply for permanent residency after
                                                 during emergency border circumstances                    interviews and reviews, and those who                 one year[.]’’ (emphasis omitted)
                                                 giving rise to the suspension and                        enter across the southern border during               (internal quotation marks and citation
                                                 limitation on entry under the                            emergency border circumstances and                    omitted)); 8 CFR 274a.12(a)(5)
                                                 Presidential Proclamation of June 3,                     are not described in section 3(b) of the              (employment authorization incident to
                                                 2024, Securing the Border (‘‘Presidential                Proclamation will receive a negative                  asylum status); 8 CFR 223.1(b) (allowing
                                                 Proclamation of June 3’’):                               credible fear determination with respect              for return to the United States after
                                                    • During emergency border                             to their asylum claim unless there is a               travel with a requisite travel document
                                                 circumstances, persons who enter across                  significant possibility the noncitizen                for a ‘‘person who holds . . . asylum
                                                 the southern border and who are not                      could demonstrate by a preponderance                  status pursuant to section 208 of the
                                                 described in section 3(b) of the                         of the evidence that exceptionally                    Act’’); see also 6 U.S.C. 271(b)(3)
                                                 Proclamation will be ineligible for                      compelling circumstances exist. Such                  (transferring asylum functions to DHS);
                                                 asylum unless they demonstrate by a                      noncitizens will thereafter be screened               6 U.S.C. 557 (providing that references
                                                 preponderance of the evidence that                       for a reasonable probability of                       to any other officer shall be deemed to
                                                 exceptionally compelling circumstances                   persecution because of a protected                    refer to the ‘‘Secretary’’ with respect to
                                                 exist, including if the noncitizen                       ground or torture, a higher standard                  any transferred function); INA 208(b)(3),
                                                 demonstrates that they or a member of                    than that applied to noncitizens in a                 8 U.S.C. 1158(b)(3) (derivative asylum
                                                 their family as described in 8 CFR                       similar posture under the                             status).
                                                 208.30(c) with whom they are traveling:                  Circumvention of Lawful Pathways rule.                   Asylum applications are generally
                                                 (1) faced an acute medical emergency;                    The ‘‘reasonable probability’’ standard               classified as ‘‘affirmative’’ or
                                                 (2) faced an imminent and extreme                        is defined to mean substantially more                 ‘‘defensive’’ applications, depending on
                                                 threat to life or safety, such as an                     than a ‘‘reasonable possibility’’ but                 the agency with which they are filed. If
                                                 imminent threat of rape, kidnapping,                     somewhat less than more likely than                   a noncitizen is physically present in the
                                                 torture, or murder; or (3) satisfied the                 not.                                                  United States, not detained, and not in
                                                 definition of ‘‘victim of a severe form of                  As discussed throughout this IFR,                  section 240 removal proceedings, the
                                                 trafficking in persons’’ provided in 8                   these changes are designed to                         noncitizen may file an asylum
                                                 CFR 214.11.                                              implement the policies and objectives of              application with USCIS. These
                                                    • During emergency border                             the Proclamation by enhancing the                     applications are ‘‘affirmative’’ filings.
                                                 circumstances, rather than asking                        Departments’ ability to address historic              Generally, if the noncitizen is in section
                                                                                                          levels of migration and efficiently                   240 removal proceedings before an IJ,
                                                 invokes, does not authorize the President to impose      process migrants arriving at the                      the noncitizen may apply for asylum
                                                 the condition and limitation on asylum eligibility       southern border during emergency                      before the IJ as a defense to removal.44
                                                 created by this rule. Cf. United States ex rel. Knauff   border circumstances.                                 These applications are ‘‘defensive’’
                                                 v. Shaughnessy, 338 U.S. 537, 540–47 (1950)
                                                                                                                                                                filings.
                                                 (holding that under the precursor to section             III. Discussion of the IFR                               Noncitizens are eligible for asylum if
                                                 215(a)(1) of the INA and the presidential
                                                 proclamation and regulations issued pursuant to          A. Current Framework                                  they have been persecuted or have a
                                                 that provision, which during times of national                                                                 well-founded fear of future persecution
                                                 emergency made it unlawful for ‘‘any alien to . . .      1. Asylum, Statutory Withholding of                   in their country of nationality or, if they
                                                 enter or attempt to . . . enter the United States        Removal, and CAT Protection                           have no nationality, their last habitual
                                                 except under such reasonable rules, regulations,
                                                 and orders, and subject to such limitations and             Asylum is a discretionary benefit that             residence, on account of one of five
                                                 exceptions as the President shall prescribe,’’ the       can be granted by the Secretary or the                protected grounds and are not subject to
                                                 Attorney General could issue regulations governing       Attorney General if a noncitizen
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                                                                                                                                                                a bar to eligibility. See generally INA
                                                 entry during such an emergency to ‘‘deny [certain
                                                 noncitizens] a hearing . . . in special cases’’
                                                                                                          establishes, among other things, that                 208, 8 U.S.C. 1158; INA 101(a)(42), 8
                                                 notwithstanding the ordinary exclusion hearing           they have experienced past persecution                U.S.C. 1101(a)(42). To be granted
                                                 provisions governing entry). This does not mean,         or have a well-founded fear of future
                                                 however, that the President could not invoke             persecution on account of race, religion,               44 The only exception is that USCIS has initial
                                                 section 215(a) as authority to impose reasonable                                                               jurisdiction over asylum applications filed by a UC
                                                 rules, regulations, and orders on asylum applicants
                                                                                                          nationality, membership in a particular               even where the applicant is in section 240 removal
                                                 and asylees, such as travel document requirements        social group, or political opinion. INA               proceedings. INA 208(b)(3)(C), 8 U.S.C.
                                                 for re-entry and departure controls.                     208(b)(1)–(2), 8 U.S.C. 1158(b)(1)–(2)                1158(b)(3)(C).



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                                                 asylum, eligible noncitizens must also                  not provide the noncitizen any                         alien’s claim and such other facts as are
                                                 establish that they merit asylum in the                 permanent right to remain in the United                known to the officer, that the alien
                                                 exercise of discretion. Id. Noncitizens                 States); Matter of A–K–, 24 I&N Dec.                   could establish eligibility for asylum.’’
                                                 who are ineligible for a grant of asylum,               275, 279 (BIA 2007) (stating that ‘‘the                INA 235(b)(1)(B)(v), 8 U.S.C.
                                                 or who are denied asylum based on the                   Act does not permit derivative                         1225(b)(1)(B)(v). If the AO determines
                                                 Attorney General’s or the Secretary’s                   withholding of removal under any                       that the noncitizen does not have a
                                                 discretion, may qualify for other forms                 circumstances’’); INA 208(b)(3)(A), 8                  credible fear of persecution or torture,
                                                 of protection. An application for asylum                U.S.C. 1158(b)(3)(A) (statutory provision              the noncitizen may request that an IJ
                                                 submitted by a noncitizen in section 240                allowing asylum status to be granted to                review that determination. See INA
                                                 removal proceedings is also considered                  accompanying or following-to-join                      235(b)(1)(B)(iii)(III), 8 U.S.C.
                                                 an application for statutory withholding                spouse or children of a noncitizen                     1225(b)(1)(B)(iii)(III); 8 CFR 208.30(g),
                                                 of removal under section 241(b)(3) of                   granted asylum; no equivalent statutory                208.33(b)(2)(v), 1208.30(g).
                                                 the INA, 8 U.S.C. 1231(b)(3). See 8 CFR                 or regulatory provision for individuals                   If the AO (or an IJ reviewing the AO’s
                                                 1208.3(b), 1208.13(c)(1). An IJ also may                granted withholding or deferral of                     decision) determines that a noncitizen
                                                 consider a noncitizen’s eligibility for                 removal).                                              has a credible fear of persecution or
                                                 statutory withholding of removal and                                                                           torture, USCIS can refer the noncitizen
                                                                                                         2. Expedited Removal and Screenings in                 to an immigration court for adjudication
                                                 CAT protection under regulations
                                                                                                         the Credible Fear Process                              of the noncitizen’s claims in section 240
                                                 issued pursuant to the implementing
                                                 legislation regarding the obligations of                   In the Illegal Immigration Reform and               removal proceedings, 8 CFR 208.30(f), 8
                                                 the United States under Article 3 of the                Immigrant Responsibility Act of 1996                   CFR 1208.30(g)(2)(iv)(B), and the
                                                 CAT. FARRA sec. 2242(b) (codified at 8                  (‘‘IIRIRA’’), Public Law 104–208, div. C,              noncitizen may subsequently file a
                                                 U.S.C. 1231 note); 8 CFR 1208.3(b),                     110 Stat. 3009, 3009–546, Congress                     defensive asylum application with the
                                                 1208.13(c)(1); see also 8 CFR 1208.16(c),               established the expedited removal                      court during those proceedings, see 8
                                                 1208.17.                                                process. The process is applicable to                  CFR 1240.1(a)(1)(ii). Alternatively,
                                                    Statutory withholding of removal and                 certain noncitizens present or arriving                USCIS can retain jurisdiction over the
                                                 CAT protection preclude removing a                      in the United States (and, in the                      application for asylum for further
                                                 noncitizen to any country where the                     discretion of the Secretary, certain other             consideration in an asylum merits
                                                 noncitizen would ‘‘more likely than                     designated classes of noncitizens) who                 interview. See 8 CFR 208.30(f). During
                                                 not’’ face persecution or torture,                      are found to be inadmissible under                     an asylum merits interview, a positive
                                                 meaning that the noncitizen’s life or                   either section 212(a)(6)(C) of the INA, 8              credible fear determination is treated as
                                                 freedom would be threatened because of                  U.S.C. 1182(a)(6)(C), which renders                    the asylum application, and strict
                                                 a protected ground or that the                          inadmissible noncitizens who make                      timelines thereafter govern the
                                                 noncitizen would be tortured. 8 CFR                     certain material misrepresentations, or                applicant’s case before both USCIS and
                                                 1208.16(b)(2), (c)(2). Thus, if a                       section 212(a)(7) of the INA, 8 U.S.C.                 EOIR. See 8 CFR 208.2(a)(1)(ii),
                                                 noncitizen establishes that it is more                  1182(a)(7), which renders inadmissible                 208.3(a)(2), 208.4(b)(2), 208.9(a)(1),
                                                 likely than not that their life or freedom              noncitizens who lack documentation                     (e)(1)–(2), (g)(2), (i), 1240.17. The AO
                                                 would be threatened because of a                        requirements for admission. INA                        may grant asylum, subject to review
                                                 protected ground, but is denied asylum                  235(b)(1)(A)(i), 8 U.S.C. 1225(b)(1)(A)(i).            within USCIS, where the noncitizen is
                                                 for some other reason, the noncitizen                   Upon being subject to expedited                        eligible and warrants a grant as a matter
                                                 nonetheless may be entitled to statutory                removal, such noncitizens may be                       of discretion. 8 CFR 208.14(b). If the
                                                 withholding of removal if not otherwise                 ‘‘removed from the United States                       noncitizen is not eligible or does not
                                                 barred from that form of protection. INA                without further hearing or review unless               warrant a grant of asylum as a matter of
                                                 241(b)(3)(A), 8 U.S.C. 1231(b)(3)(A); 8                 the [noncitizen] indicates either an                   discretion, the AO refers the application
                                                 CFR 208.16, 1208.16. Likewise, a                        intention to apply for asylum . . . or a               to EOIR. 8 CFR 208.14(c)(1). Where
                                                 noncitizen who establishes that they                    fear of persecution.’’ Id.                             USCIS does not grant asylum, the AO’s
                                                 more likely than not will face torture in                  Congress created a screening process,               decision will also include a
                                                 their country of removal will qualify for               known as ‘‘credible fear’’ screening, to               determination on eligibility for statutory
                                                 CAT protection. See 8 CFR 208.16(c),                    identify potentially valid claims for                  withholding of removal and CAT
                                                 208.17(a), 1208.16(c), 1208.17(a).                      asylum by noncitizens in expedited                     protection based on the record before
                                                    In contrast to the more generous                     removal proceedings. The Departments                   USCIS. 8 CFR 208.16(a), (c)(4).
                                                 benefits available by attaining asylum,                 have used the same screening process to                   For cases referred to EOIR following
                                                 statutory withholding of removal and                    identify potentially valid claims for                  an asylum merits interview, the written
                                                 CAT protection do not: (1) prohibit the                 statutory withholding of removal and                   record of the positive credible fear
                                                 Government from removing the                            CAT protection. If a noncitizen                        determination serves as the asylum
                                                 noncitizen to a third country where the                 indicates a fear of persecution or torture,            application, 8 CFR 1240.17(e), and the
                                                 noncitizen would not face the requisite                 a fear of return, or an intention to apply             record the AO developed during the
                                                 likelihood of persecution or torture                    for asylum during the course of the                    asylum merits interview, as
                                                 (even in the absence of an agreement                    expedited removal process, DHS refers                  supplemented by the parties, serves as
                                                 with that third country); (2) create a                  the noncitizen to a USCIS AO to                        the record before the IJ, 8 CFR
                                                 path to lawful permanent resident                       determine whether the noncitizen has a                 1240.17(c), (f)(2)(i)(A)(1), (f)(2)(ii)(B).
                                                 status; or (3) afford the same ancillary                credible fear of persecution or torture in             The IJ reviews applications for asylum
                                                                                                         the country of citizenship or removal.
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                                                 benefits, such as derivative protection                                                                        de novo and also reviews applications
                                                 for family members. See, e.g., Guzman                   INA 235(b)(1)(A)(ii), (B), 8 U.S.C.                    for statutory withholding of removal
                                                 Chavez, 594 U.S. at 536                                 1225(b)(1)(A)(ii), (B); see also 8 CFR                 and CAT protection de novo where
                                                 (‘‘distinguish[ing] withholding-only                    235.3(b)(4). A noncitizen has a ‘‘credible             USCIS found the noncitizen ineligible
                                                 relief from asylum’’ on the ground that                 fear of persecution’’ if ‘‘there is a                  for such protection. 8 CFR 1240.17(i)(1).
                                                 withholding does not preclude the                       significant possibility, taking into                   However, where USCIS found the
                                                 Government from removing the                            account the credibility of the statements              noncitizen eligible for statutory
                                                 noncitizen to a third country and does                  made by the alien in support of the                    withholding of removal or CAT


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                                                 protection, IJs must give effect to                        As the Departments stated in the                    last habitual residence, that is a party to
                                                 USCIS’s eligibility determination unless                Circumvention of Lawful Pathways rule,                 the Refugee Convention or Refugee
                                                 DHS demonstrates, through evidence or                   absent further action, the end of the                  Protocol. 8 CFR 208.33(a)(1),
                                                 other testimony that specifically                       Title 42 public health Order was                       1208.33(a)(1).
                                                 pertains to the noncitizen and was not                  expected to cause encounters with                         The presumption does not apply to
                                                 in the record of proceedings for the                    noncitizens seeking to enter the United                UCs or to noncitizens who availed
                                                 asylum merits interview, that the                       States at the SWB to rise to or remain                 themselves of or were traveling with a
                                                 noncitizen is not eligible for such                     at all-time highs—as high as 11,000                    family member who availed themselves
                                                 protection. 8 CFR 1240.17(i)(2). With a                 migrants daily. 88 FR at 31331, 31315.                 of certain safe, orderly, and lawful
                                                 limited exception, DHS may not appeal                   And many of these individuals would                    pathways—specifically those who (1)
                                                 the grant of any protection for which the               be entitled to remain in the United                    received appropriate authorization to
                                                 AO determined the noncitizen eligible.                  States pending resolution of their                     travel to the United States to seek
                                                 Id.                                                     asylum and protection claims. See INA                  parole, pursuant to a DHS-approved
                                                                                                         235(b)(1)(B)(ii), 8 U.S.C. 1225(b)(1)(B)(ii)           parole process; (2) presented at a POE
                                                 3. Lawful Pathways Condition on                         (not allowing for removal of those found               pursuant to a pre-scheduled time and
                                                 Asylum Eligibility                                      to have a credible fear pending further                place or presented at a POE without a
                                                                                                         consideration of the asylum claim); see                pre-scheduled time and place but who
                                                    On March 20, 2020, the Director of the                                                                      can demonstrate by a preponderance of
                                                 Centers for Disease Control and                         also 88 FR at 31363 (noting that ‘‘most
                                                                                                         non-Mexicans processed for expedited                   the evidence that it was not possible to
                                                 Prevention (‘‘CDC’’) issued an order                                                                           access or use the DHS scheduling
                                                 under 42 U.S.C. 265 and 268                             removal under Title 8 would likely
                                                                                                         establish credible fear and remain in the              system due to language barrier,
                                                 suspending the introduction of certain                                                                         illiteracy, significant technical failure,
                                                 noncitizens from foreign countries or                   United States for the foreseeable
                                                                                                         future’’). The Departments thus faced a                or other ongoing and serious obstacle; or
                                                 places where the existence of a                                                                                (3) sought asylum or other protection in
                                                 communicable disease creates a serious                  looming urgent situation: absent policy
                                                                                                         change, the end of the Title 42 public                 a country through which the noncitizen
                                                 danger of the introduction of such                                                                             traveled and received a final decision
                                                 disease into the United States and the                  health Order was expected to result in
                                                                                                         many more migrants crossing the border                 denying that application. 8 CFR
                                                 danger is so increased by the                                                                                  208.33(a)(2), 1208.33(a)(2). Noncitizens
                                                 introduction of persons from the foreign                and asserting claims of fear or seeking
                                                                                                         protection, which would in turn exceed                 may also overcome the presumption by
                                                 country or place that a temporary                                                                              demonstrating by a preponderance of
                                                 suspension of such introduction is                      the border security and immigration
                                                                                                         systems’ capacity to process migrants in               the evidence that ‘‘exceptionally
                                                 necessary to protect the public health.45                                                                      compelling circumstances exist.’’ 8 CFR
                                                 The CDC’s Title 42 public health Order                  a safe, expeditious, and orderly way.
                                                                                                         See 88 FR at 31363. To address this                    208.33(a)(3)(i), 1208.33(a)(3)(i). Such
                                                 was extended multiple times.46 While                                                                           circumstances necessarily exist where,
                                                 the Title 42 public health Order was in                 expected increase in the number of
                                                                                                         migrants at the SWB and adjacent                       at the time of entry, the noncitizen or a
                                                 effect, noncitizens who did not have                                                                           family member with whom the
                                                 proper travel documents were generally                  coastal borders seeking to enter the
                                                                                                         United States without authorization, the               noncitizen is traveling: (1) faced an
                                                 not processed into the United States;                                                                          acute medical emergency; (2) faced an
                                                 they were instead expelled to Mexico or                 Departments promulgated the
                                                                                                                                                                imminent and extreme threat to life or
                                                 to their home countries under the                       Circumvention of Lawful Pathways rule.
                                                                                                                                                                safety, such as an imminent threat of
                                                 Order’s authority without being                         See 88 FR 31314.
                                                                                                                                                                rape, kidnapping, torture, or murder; or
                                                 processed under the authorities set forth                  The Circumvention of Lawful                         (3) was a victim of a severe form of
                                                 in title 8 of the United States Code,                   Pathways rule, which became effective                  trafficking in persons under 8 CFR
                                                 which includes the INA. Circumvention                   on its public inspection date, May 11,                 214.11(a). 8 CFR 208.33(a)(3)(i)(A)–(C),
                                                 of Lawful Pathways, 88 FR 11704, 11705                  2023, id., and applies to those who enter              (ii), 1208.33(a)(3)(i)(A)–(C), (ii). A
                                                 (Feb. 23, 2023) (‘‘Circumvention of                     during a two-year period, imposes a                    noncitizen presumed ineligible for
                                                 Lawful Pathways NPRM’’). In early                       rebuttable presumption of asylum                       asylum under the rule may still apply
                                                 2023, the President announced that the                  ineligibility on certain noncitizens who               for statutory withholding of removal or
                                                 Administration expected to end the                      fail to pursue safe, orderly, and lawful               CAT protection and thus may not be
                                                 public health emergency on May 11,                      processes for entry into the United                    removed to a country where it is more
                                                 2023, which would cause the then-                       States or seek protection in another                   likely than not that they will be
                                                 operative Title 42 public health Order to               qualifying country through which they                  persecuted because of a protected
                                                 end. See id. at 11708.                                  traveled. 8 CFR 208.33(a), 1208.33(a).                 ground or tortured.
                                                                                                         The rebuttable presumption applies to                     The condition on asylum eligibility in
                                                    45 CDC, Order Under Sections 362 & 365 of the        noncitizens who enter the United States                the Circumvention of Lawful Pathways
                                                 Public Health Services Act (42 U.S.C. 265, 268):        from Mexico at the SWB or adjacent                     rule (‘‘Lawful Pathways condition’’)
                                                 Order Suspending Introduction of Certain Persons        coastal borders without documents                      applies to asylum applications before
                                                 from Countries Where a Communicable Disease             sufficient for lawful admission where
                                                 Exists (Mar. 20, 2020), https://www.cdc.gov/
                                                                                                                                                                USCIS and EOIR. 8 CFR 208.13(f),
                                                 quarantine/pdf/CDC-Order-Prohibiting-                   the entry is: (1) between May 11, 2023,                1208.13(f). It also applies during
                                                 Introduction-of-Persons_Final_3-20-20_3-p.pdf.          and May 11, 2025; (2) subsequent to the                credible fear screenings. 8 CFR
                                                    46 See Public Health Determination and Order         end of implementation of the Title 42                  208.33(b), 1208.33(b). Noncitizens
                                                 Regarding Suspending the Right to Introduce             public health Order issued on August 2,
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                                                                                                                                                                subject to expedited removal who
                                                 Certain Persons From Countries Where a
                                                 Quarantinable Communicable Disease Exists, 87 FR
                                                                                                         2021, and related prior orders issued                  indicate a fear of persecution or an
                                                 19941, 19941–42 (Apr. 6, 2022) (describing the          pursuant to the authorities in 42 U.S.C.               intention to apply for asylum are
                                                 CDC’s recent Title 42 public health Orders, which       265 and 268 and the implementing                       currently first screened to assess
                                                 ‘‘suspend[ed] the right to introduce certain persons    regulation at 42 CFR 71.40; and (3) after              whether the rebuttable presumption
                                                 into the United States from countries or places
                                                 where the quarantinable communicable disease
                                                                                                         the noncitizen traveled through a                      applies and, if so, whether the
                                                 exists in order to protect the public health from an    country other than their country of                    noncitizen is able to rebut the
                                                 increased risk of the introduction of COVID–19’’).      citizenship, nationality, or, if stateless,            presumption. 8 CFR 208.33(b). If the AO


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                                                 determines that the rebuttable                          CAT protection, or any other form of                    the makeup of border crossers has
                                                 presumption does not apply or the                       relief or protection for which the                      significantly changed, expanding from
                                                 noncitizen has rebutted the                             noncitizen is eligible. See 8 CFR                       Mexican single adults to single adults
                                                 presumption, the general procedures                     1208.33(b)(4). Where a principal asylum                 and families from the northern Central
                                                 governing the credible fear process then                applicant in section 240 removal                        American countries, and now to single
                                                 apply. See 8 CFR 208.33(b)(1)(ii). On the               proceedings is eligible for statutory                   adults and families from throughout the
                                                 other hand, if the AO determines that                   withholding of removal or withholding                   hemisphere (and beyond). Those
                                                 the noncitizen is covered by the                        of removal under the CAT and would be                   encountered also have been more likely
                                                 rebuttable presumption and no rebuttal                  granted asylum but for the rebuttable                   to seek asylum and other forms of relief
                                                 ground applies, the AO will consider                    presumption, and where either an                        or protection, straining the Departments’
                                                 whether the noncitizen has established                  accompanying spouse or child does not                   capacity to process individuals through
                                                 a reasonable possibility of persecution                 independently qualify for asylum or                     expedited removal.50
                                                 or torture with respect to the identified               other protection from removal or the                       In the early 2010s, U.S. Border Patrol
                                                 country or countries of removal. See 8                  principal asylum applicant has a spouse                 (‘‘USBP’’) encounters along the SWB
                                                 CFR 208.33(b)(1)(i), (b)(2). The                        or child who would be eligible to follow                reached modern lows, averaging fewer
                                                 Circumvention of Lawful Pathways rule                   to join that applicant, the presumption                 than 400,000 per year from 2011 to
                                                 currently provides that, if a noncitizen                shall be deemed rebutted as an                          2018. See 88 FR at 11708. This followed
                                                 has established a reasonable possibility                exceptionally compelling circumstance.                  decades during which annual USBP
                                                 of persecution or torture, then DHS will                8 CFR 1208.33(c).                                       encounters routinely numbered in the
                                                 issue a notice to appear (‘‘NTA’’) to                                                                           millions; however, the overall share of
                                                                                                         B. Justification
                                                 commence section 240 removal                                                                                    those who were processed for expedited
                                                 proceedings and may not refer the case                  1. Global Migration at Record Levels                    removal and claimed a fear never
                                                 to the asylum merits interview process.                    Border encounters in the 1980s,                      exceeded 2 percent until 2011. Id. at
                                                 8 CFR 208.33(b)(2)(ii).                                 1990s, and 2000s consisted                              11708, 11716. Despite these historically
                                                    Where a noncitizen requests review                   overwhelmingly of single adults from                    low encounter numbers, the
                                                 by an IJ, the IJ reviews the negative                   Mexico, most of whom were migrating                     Departments faced significant
                                                 credible fear finding de novo. See 8 CFR                for economic reasons.47 Beginning in                    challenges in 2014 due to an
                                                 1208.33(b). If the IJ determines that the               the 2010s, a growing share of migrants                  unprecedented surge in migration by
                                                 noncitizen has made a sufficient                        were from northern Central America 48                   UCs and in 2016 due to a surge in
                                                 showing that the rebuttable                             and, since the late 2010s, from countries               family units at the border—
                                                 presumption does not apply to them or                   throughout the Americas.49 Since 2010,                  demographics that present unique
                                                 that they can rebut the presumption,
                                                                                                                                                                 challenges due to their vulnerability.51
                                                 and that the noncitizen has established                    47 See 88 FR at 11708. According to OHSS Persist
                                                 a significant possibility of eligibility for                                                                       From FY 2017 to FY 2019, however,
                                                                                                         data and historic Office of Immigration Statistics
                                                 asylum, statutory withholding of                        (‘‘OIS’’) Yearbooks of Immigration Statistics,          encounters between the POEs along the
                                                 removal, or CAT protection, the IJ issues               Mexican nationals accounted for 87 to over 99           SWB more than doubled, to more than
                                                                                                         percent of apprehensions between POEs of persons        850,000, and—following a significant
                                                 a positive credible fear finding and the                entering without inspection between 1981 and
                                                 case proceeds under existing                            2010. See March 2024 OHSS Persist Dataset; see,
                                                                                                                                                                 drop during the beginning of the
                                                 procedures. See 8 CFR                                   e.g., INS, 1981 Statistical Yearbook of the             COVID–19 pandemic—continued to
                                                 208.33(b)(2)(v)(A), 1208.33(b)(2)(i). If                Immigration and Naturalization Service 119 tbl. 53      increase in FY 2021 and FY 2022.52 In
                                                                                                         (1981); INS, 1999 Statistical Yearbook of the           FY 2021, USBP encounters between
                                                 the IJ determines that the noncitizen is                Immigration and Naturalization Service 208–11 tbl.
                                                 covered by the rebuttable presumption                   56 (Mar. 2002), https://www.dhs.gov/sites/default/
                                                                                                                                                                 POEs along the SWB reached a level not
                                                 and it has not been rebutted, but the                   files/publications/Yearbook_Immigration_                seen since the early 2000s—over 1.6
                                                 noncitizen has established a reasonable                 Statistics_1999.pdf. For more information about         million.53 In FY 2022, encounters at the
                                                                                                         Mexican migrants’ demographics and economic
                                                 possibility of persecution or torture, the              motivations during some of that time period, see
                                                 IJ issues a positive credible fear finding              Jorge Durand et al., The New Era of Mexican             accounted for roughly 42 percent from FY 2021
                                                 and DHS will issue an NTA to                            Migration to the United States, 86 J. Am. Hist. 518,    through March 2024, including roughly 51 percent
                                                                                                         525–27, 530–31, 535–36 (1999).                          of FY 2024 encounters through March 2024. Id.
                                                 commence section 240 removal                               48 Northern Central America refers to El Salvador,      50 For noncitizens encountered at the SWB from
                                                 proceedings. 8 CFR 208.33(b)(2)(v)(B),                  Guatemala, and Honduras. 88 FR at 11708 n.35.           FY 2014 to FY 2019 who were placed in expedited
                                                 1208.33(b)(2)(ii). And finally, if the IJ                  49 According to OHSS Persist data, Mexican           removal proceedings, roughly 6 percent of Mexican
                                                 issues a negative credible fear                         nationals continued to account for 89 percent of        nationals made fear claims that were referred to
                                                 determination, the case is returned to                  total CBP SWB encounters in FY 2010, with               USCIS for determination compared to roughly 57
                                                                                                         northern Central Americans accounting for 8             percent of people from northern Central America
                                                 DHS for removal of the noncitizen. See                                                                          and 90 percent of all other nationalities. OHSS
                                                                                                         percent and all other nationalities accounting for 3
                                                 8 CFR 208.33(b)(2)(v)(C),                               percent. March 2024 OHSS Persist Dataset.               analysis of Enforcement Lifecycle data as of
                                                 1208.33(b)(2)(ii). In such a                            Northern Central Americans’ share of total CBP          December 31, 2023; see also 88 FR at 11709 n.37.
                                                                                                                                                                    51 Decl. of Blas Nuñez-Neto ¶ 6, E. Bay Sanctuary
                                                 circumstance, the noncitizen may not                    SWB encounters increased to 21 percent by FY
                                                                                                         2012 and averaged 48 percent from FY 2014 to FY         Covenant v. Biden, No. 18–cv–6810 (N.D. Cal. June
                                                 appeal the IJ’s decision or request that                                                                        16, 2023) (Dkt. 176–2).
                                                                                                         2019, the last full year before the start of the
                                                 USCIS reconsider the AO’s negative                      COVID–19 pandemic. Id. Nationals from all other            52 OHSS analysis of March 2024 OHSS Persist
                                                 determination, although USCIS may, in                   countries except Mexico and the northern Central        Dataset; see also OHSS, Immigration Enforcement
                                                 its sole discretion, reconsider a negative              American countries accounted for an average of 5        and Legal Processes Monthly Tables, https://
                                                 determination. See 8 CFR                                percent of total CBP SWB encounters from FY 2010        www.dhs.gov/ohss/topics/immigration/
                                                                                                         to FY 2013, and for 10 percent of total encounters      enforcement-and-legal-processes-monthly-tables
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                                                 208.33(b)(2)(v)(C).                                                                                             (last updated May 10, 2024) (providing historic data
                                                                                                         from FY 2014 to FY 2019. Id. This transition has
                                                    A noncitizen who has not established                 accelerated since the start of FY 2021, as Mexican      on SWB encounters).
                                                 during expedited removal proceedings a                  nationals accounted for approximately 32 percent of        53 OHSS analysis of March 2024 OHSS Persist

                                                 significant possibility of eligibility for              total CBP SWB encounters in FY 2021 through             Dataset; see also OHSS, Immigration Enforcement
                                                 asylum because of the Lawful Pathways                   March 2024, including roughly 29 percent in the         and Legal Processes Monthly Tables, https://
                                                                                                         first six months of FY 2024; northern Central           www.dhs.gov/ohss/topics/immigration/
                                                 condition may, if placed in section 240                 Americans accounted for roughly 25 percent from         enforcement-and-legal-processes-monthly-tables
                                                 removal proceedings, apply for asylum,                  FY 2021 through March 2024 (20 percent in FY            (last updated May 10, 2024) (providing historic data
                                                 statutory withholding of removal, or                    2024 through March 2024); and all other countries       on SWB encounters).



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                                                 SWB reached a new high-water mark,                      claims returned to these historically                   to December 2020.61 Encounters of
                                                 with total USBP encounters exceeding                    high levels after the Title 42 public                   Mexican nationals have fallen to 29
                                                 2.2 million.54 FY 2023 saw a slight drop,               health Order ended. From May 2023                       percent of total SWB encounters during
                                                 but USBP encounters remained high—                      through March 2024, approximately 54                    this time frame—an enormous change
                                                 over 2.0 million.55 By early 2023, while                percent of noncitizens encountered at                   from historical trends that has sweeping
                                                 the Title 42 public health Order was in                 and between SWB POEs who were                           ramifications for the border and
                                                 place, total encounters at the SWB—                     subject to expedited removal claimed                    immigration system, which are detailed
                                                 referring to the number of times U.S.                   fear (approximately 169,000 fear claims                 below.62
                                                 officials encountered noncitizens                       out of 315,000 noncitizens processed for                   The increase in migration at the SWB
                                                 attempting to cross the SWB without                     expedited removal, excluding cases                      is consistent with global and regional
                                                 authorization to do so either between or                processed for expedited removal but                     trends. Over the past three years,
                                                 at POEs—had reached all-time highs.56                   reprocessed into other dispositions by                  migration around the world has reached
                                                 This dramatic increase in encounters                    ICE).58 These high numbers of both                      levels not seen since World War II.63
                                                 has coincided with a substantial and—                   encounters and fear claims combine to                   The Western Hemisphere is no
                                                 setting aside the period of time when                   further compound the significant stress                 exception and has been facing historic
                                                 the Title 42 public health Order was in                 on the immigration system.                              levels of migration that have severely
                                                 effect—persistent increase in the                                                                               strained the immigration systems of
                                                                                                           Much of this growth in encounters
                                                 number of noncitizens making fear                                                                               countries throughout the region.64 There
                                                                                                         was driven by nationalities that DHS
                                                 claims in recent years. See 88 FR at                                                                            is a growing consensus within the
                                                                                                         had never before encountered in large
                                                 11716.57 In 2019—prior to the                                                                                   region that this shared challenge cannot
                                                                                                         numbers at the border—including
                                                 implementation of the Title 42 public                                                                           be solved without collective action—a
                                                                                                         nationals of countries such as Brazil,
                                                 health Order—44 percent of noncitizens                                                                          consensus reflected by the 22 countries
                                                                                                         Colombia, Cuba, Ecuador, Haiti,
                                                 encountered at the SWB placed in                                                                                that have supported the Los Angeles
                                                                                                         Nicaragua, Peru, and Venezuela, as well
                                                 expedited removal proceedings claimed                                                                           Declaration on Migration and
                                                                                                         as migrants from Eastern Hemisphere                     Protection, which proposes a
                                                 fear, resulting in 98,000 credible fear                 countries.59 Because of this, DHS has
                                                 screenings. Id. The number of fear                                                                              comprehensive approach to managing
                                                                                                         had to undertake a focused diplomatic                   migration throughout the region.65
                                                                                                         effort, working closely with the
                                                    54 OHSS analysis of March 2024 OHSS Persist

                                                 Dataset; see also OHSS, Immigration Enforcement
                                                                                                         Department of State, to enter into                         61 March 2024 OHSS Persist Dataset; see also

                                                 and Legal Processes Monthly Tables, https://            commitments with countries to facilitate                OHSS, Immigration Enforcement and Legal
                                                 www.dhs.gov/ohss/topics/immigration/                    the return of their nationals. However,                 Processes Monthly Tables, https://www.dhs.gov/
                                                 enforcement-and-legal-processes-monthly-tables          despite this concerted effort, it remains               ohss/topics/immigration/enforcement-and-legal-
                                                 (last updated May 10, 2024) (providing historic data                                                            processes-monthly-tables (last updated May 10,
                                                 on SWB encounters).
                                                                                                         difficult for DHS to repatriate nationals               2024) (‘‘CBP SW Border Encounters by Agency and
                                                    55 OHSS analysis of March 2024 OHSS Persist          of some of these countries who do not                   Selected Citizenship’’).
                                                 Dataset; see also OHSS, Immigration Enforcement         establish a legal basis to remain in the                   The application of title 42 authorities at the SWB
                                                 and Legal Processes Monthly Tables, https://            United States, including those from the                 also altered migratory patterns, in part by
                                                 www.dhs.gov/ohss/topics/immigration/                                                                            incentivizing individuals who were expelled—
                                                                                                         Eastern Hemisphere—substantially                        without being issued a removal order, which,
                                                 enforcement-and-legal-processes-monthly-tables
                                                 (last updated May 10, 2024) (providing historic data    limiting DHS’s ability to impose                        unlike a title 42 expulsion, carries immigration
                                                 on SWB encounters).                                     consequences on those nationals.60                      consequences—to try to re-enter, often multiple
                                                    56 OHSS analysis of March 2024 OHSS Persist                                                                  times. See 88 FR at 11709. The majority of repeat
                                                                                                           Overall, countries other than Mexico                  encounters were of Mexican and northern Central
                                                 Dataset; see also OHSS, Immigration Enforcement
                                                 and Legal Processes Monthly Tables, https://
                                                                                                         and the northern Central American                       American nationals, who were much more likely
                                                 www.dhs.gov/ohss/topics/immigration/                    countries of El Salvador, Guatemala,                    than others to be expelled to the Mexican side of
                                                                                                                                                                 the U.S.-Mexico border—between FY 2020 and FY
                                                 enforcement-and-legal-processes-monthly-tables          and Honduras accounted for 43 percent                   2023, 72 percent of Mexican and 50 percent of
                                                 (last updated May 10, 2024) (providing historic data    of total SWB encounters from January                    northern Central American encounters at and
                                                 on SWB encounters). During the initial seven
                                                 months of FY 2023, while the Title 42 public health
                                                                                                         2021 to March 2024—including 51                         between SWB POEs resulted in title 42 expulsion,
                                                                                                         percent of total SWB encounters in FY                   contrasting sharply with 8 percent of non-Mexican
                                                 Order was still in effect, total CBP encounters
                                                                                                                                                                 and non-northern Central American encounters
                                                 surged to an all-time high of 1.4 million—an 11         2023 and in the first two quarters of FY                experiencing similar outcomes. March 2024 OHSS
                                                 percent increase over the same period in FY 2022        2024—up from 10 percent from FY 2014                    Persist Dataset; see also OHSS, Immigration
                                                 and nearly double the encounters recorded in FY
                                                                                                                                                                 Enforcement and Legal Processes Monthly Tables,
                                                 2021 for the same time period.
                                                    57 The percentage of noncitizens encountered at         58 OHSS analysis of data downloaded from CBP         https://www.dhs.gov/ohss/topics/immigration/
                                                                                                         UIP on April 2, 2024.                                   enforcement-and-legal-processes-monthly-tables
                                                 and between SWB POEs processed for expedited                                                                    (last updated May 10, 2024) (‘‘CBP SW Border
                                                                                                            59 Nationals from all countries other than Mexico
                                                 removal who made fear claims steadily rose from                                                                 Encounters Book-Outs by Selected Citizenship’’).
                                                 16 percent in FY 2013 to 44 percent in FY 2019,         and the northern Central American countries
                                                                                                         accounted for less than 5 percent of total CBP SWB         Even accounting for increased repeat encounters,
                                                 experienced a temporary dip in FY 2020 at the start
                                                                                                         encounters each year between FY 1981 and FY             unique encounters at and between SWB POEs also
                                                 of the Title 42 public health Order, and then
                                                                                                         2010, an average of 5 percent of SWB encounters         hit all-time highs in each year from FY 2021 to FY
                                                 resumed an upward trajectory, reaching a peak of
                                                                                                         from FY 2010 to FY 2013, and 10 percent of total        2023. Nationals of countries other than Mexico and
                                                 59 percent in FY 2023, marking the highest level
                                                                                                         SWB encounters from FY 2014 to FY 2019. The             the northern Central America countries account for
                                                 of fear claims as a share of the SWB expedited
                                                                                                         increase in encounters from these new countries of      an even larger share of the growth in unique
                                                 removal population ever recorded. See OHSS
                                                                                                         origin has accelerated since the start of FY 2021, as   encounters, comprising 51 percent of unique
                                                 Enforcement Lifecycle as of December 31, 2023;
                                                                                                         non-Mexican, non-northern Central American              encounters from January 2021 to March 2024, up
                                                 March 2024 OHSS Persist Dataset. Data on the exact
                                                                                                         countries accounted for 42 percent of encounters        from 9 percent in FY 2014 to December 2020.
                                                 number of noncitizens encountered at the SWB
                                                                                                         from the start of FY 2021 through the second            March 2024 OHSS Persist Dataset.
                                                 processed for expedited removal who made fear                                                                      62 March 2024 OHSS Persist Dataset.
                                                 claims is not available for years prior to FY 2013,     quarter of FY 2024, including 51 percent of FY 2024
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                                                                                                                                                                    63 Decl. of Blas Nuñez-Neto ¶ 2, M.A. v.
                                                 but OHSS estimates that about 84 percent of all fear    encounters through March 2024. OHSS analysis of
                                                 claims made in prior years were made by                 historic OIS Yearbooks of Immigration Statistics        Mayorkas, No. 23–cv–1843 (D.D.C. Oct. 27, 2023)
                                                 noncitizens encountered at and between SWB              and March 2024 OHSS Persist Dataset; see also           (Dkt. 53–1).
                                                                                                         OHSS, Immigration Enforcement and Legal                    64 See 88 FR at 11710–11.
                                                 POEs. Even if 100 percent of fear claims made
                                                 before FY 2013 were made by noncitizens                 Processes Monthly Tables, https://www.dhs.gov/             65 See The White House, Los Angeles Declaration

                                                 encountered at the SWB, the level of fear claims as     ohss/topics/immigration/enforcement-and-legal-          on Migration and Protection (June 10, 2022),
                                                 a share of SWB encounters at and between POEs           processes-monthly-tables (last updated May 10,          https://www.whitehouse.gov/briefing-room/
                                                 processed for expedited removal in 2023 would be        2024) (‘‘SW Border Encounters by Citizenship’’).        statements-releases/2022/06/10/los-angeles-
                                                 the highest ever.                                          60 See 88 FR at 11708–11.                            declaration-on-migration-and-protection/.



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                                                    As it prepared for the return to title               with established processes under the                    sharp increase in encounters between
                                                 8 processing of all noncitizens, DHS led                INA; 73 permitting certain non-Mexican                  POEs during the 30 days preceding May
                                                 a comprehensive, all-of-government                      citizens to withdraw their application                  11 represented the largest month-over-
                                                 planning and preparation effort that                    for admission and voluntarily return to                 month increase in almost two decades—
                                                 lasted more than 18 months.66 This                      Mexico; 74 and increasing USCIS’s                       since January 2004.79
                                                 included record deployments of                          capacity to train and prepare additional                   As a consequence of the elevated
                                                 personnel, infrastructure, and resources                staff temporarily detailed as AOs to                    flows USBP experienced in the days
                                                 to support DHS’s frontline personnel at                 conduct credible fear interviews.75                     leading up to the end of the Title 42
                                                 a substantial cost to other DHS                         These measures, combined with existing                  public health Order, USBP saw a steady
                                                 operations.67 This effort also included                 processes and resources and work with                   increase in the numbers of noncitizens
                                                 the development and implementation of                   regional and international partners to                  in custody, leading to significant
                                                 policy measures, including the joint                    disrupt irregular migration and                         operational challenges.80 From May 8 to
                                                 DHS and DOJ Circumvention of Lawful                     smuggling networks, seek to form a                      11, 2023, USBP’s daily in-custody
                                                 Pathways rule and complementary                         comprehensive framework for managing                    average was approximately 27,000
                                                 measures, which were critically                         migratory flows to the border—one that                  noncitizens, with a single-day peak of
                                                 important components of DHS                             seeks to disincentivize noncitizens from                approximately 28,500 on May 10—well
                                                 preparations to manage the anticipated                  putting their lives in the hands of                     above its holding capacity at that time
                                                 significant influx of migrants associated               callous smugglers by crossing the SWB                   of approximately 18,500.81 During this
                                                 with the end of the Title 42 public                     between POEs and to incentivize                         same time frame, eight out of nine SWB
                                                 health Order’s application at the                       noncitizens to use lawful, safe, and                    sectors were over their holding
                                                 border.68 And the United States                         orderly pathways and processes instead.                 capacity—with four sectors (El Centro,
                                                 Government’s efforts were                                  Without the Circumvention of Lawful                  El Paso, Rio Grande Valley, and Yuma)
                                                 complemented by a range of measures                     Pathways rule and complementary                         at more than 50 percent over their
                                                 taken by foreign partners in the region,                measures, DHS assesses that irregular                   holding capacity and one sector
                                                 such as Mexico’s independent decision                   migration at the border would be                        (Tucson) at more than two-and-a-half
                                                 to continue to accept the return of                     substantially higher today. DHS saw                     times over its holding capacity.82
                                                 certain non-Mexican migrants after May                  evidence of very high levels of irregular                  This record number of encounters
                                                 11, 2023,69 and campaigns by Colombia                   migration in the days leading up to the                 between POEs severely strained DHS
                                                 and Panama to attack smuggling                          end of the Title 42 public health Order                 operations and resources, as well as the
                                                 networks operating in the Darién Gap.70                on May 11, 2023.76 A historic surge in                  resources of other Federal Government
                                                    The Circumvention of Lawful                          migration culminated with what were                     agencies, local communities, and non-
                                                 Pathways rule has strengthened the                      then the highest recorded encounter                     governmental organizations (‘‘NGOs’’).83
                                                 consequences in place for those who                     levels in U.S. history over the days                    CBP redirected limited resources from
                                                 cross the border irregularly and is a                   immediately preceding May 11, which                     other mission needs—in particular,
                                                 critical component of the Government’s                  placed a significant strain on DHS’s                    legitimate travel and trade operations,
                                                 regional strategy. DHS has also put in                  operational capacity at the border.77                   the volume of which by that time had
                                                 place complementary measures to                         Encounters between POEs almost                          surpassed pre-pandemic levels—to
                                                 streamline expedited removal                            doubled from an average of                              focus on processing apprehended
                                                 processing to more quickly apply                        approximately 4,900 per day the week                    noncitizens.84 Overcrowding in CBP
                                                 consequences to those who fail to use                   ending April 11, 2023, to an average of                 facilities increased the potential for
                                                 lawful pathways. These measures                         approximately 9,500 per day the week                    health and safety risks to noncitizens,
                                                 include holding noncitizens processed                   ending May 11, 2023, including an                       Government personnel, and contract
                                                 for expedited removal for the pendency                  average of approximately 10,000                         support staff. Such risks were
                                                 of their credible fear interviews in CBP                encounters immediately preceding the                    exacerbated by an increase in the
                                                 facilities to maximize the use of                       termination of the Title 42 public health               average time in custody, which
                                                 expedited removal and limit noncitizens                 Order (from May 8 to May 11).78 The                     generally occurs when there are large
                                                 absconding; 71 changing the                                                                                     numbers of noncitizens in custody who
                                                 consultation period such that credible                     73 See, e.g., The White House, Mexico and United     must be processed.85 To manage these
                                                 fear interviews take place no earlier                   States Strengthen Joint Humanitarian Plan on            conditions, USBP sectors redirected
                                                 than 24 hours after the noncitizen’s                    Migration (May 2, 2023), https://                       personnel from the field to perform
                                                                                                         www.whitehouse.gov/briefing-room/statements-            tasks for noncitizens in custody,
                                                 acknowledgement of receipt of                           releases/2023/05/02/mexico-and-united-states-
                                                 information explaining the credible fear                strengthen-joint-humanitarian-plan-on-migration/        including processing, transporting, and
                                                 process; 72 returning certain third-                    (noting the United States and Mexico’s commitment       escorting noncitizens.86 This, in turn,
                                                 country nationals to Mexico, consistent                 to increase joint actions to counter human              decreased USBP’s ability to respond to
                                                                                                         smugglers and traffickers, address root causes of       noncitizens avoiding detection, other
                                                                                                         migration, and continue to combine expanded
                                                   66 Decl. of Blas Nuñez-Neto ¶ 8, E. Bay Sanctuary
                                                                                                         lawful pathways with consequences for irregular
                                                                                                                                                                 agency calls for assistance, and
                                                 Covenant v. Biden, No. 18–cv–6810 (N.D. Cal. June       migration, and noting that Mexico will continue to      noncitizens in distress.87
                                                 16, 2023) (Dkt. 176–2).                                 accept back migrants on humanitarian grounds).             The surge in encounters between
                                                   67 Id.                                                   74 Decl. of Blas Nuñez-Neto ¶ 5, M.A. v.            POEs immediately preceding the end of
                                                   68 Id.                                                Mayorkas, No. 23–cv–1843 (D.D.C. Oct. 27, 2023)         the Title 42 public health Order also led
                                                   69 The White House, Mexico and United States          (Dkt. 53–1).
                                                 Strengthen Joint Humanitarian Plan on Migration            75 Id.
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                                                                                                                                                                  79 Id.
                                                 (May 2, 2023), https://www.whitehouse.gov/                 76 Decl. of Blas Nuñez-Neto ¶ 9, E. Bay Sanctuary
                                                                                                                                                                  80 Id. ¶ 10.
                                                 briefing-room/statements-releases/2023/05/02/           Covenant v. Biden, No. 18–cv–6810 (N.D. Cal. June        81 Id.
                                                 mexico-and-united-states-strengthen-joint-              16, 2023) (Dkt. 176–2); Decl. of Matthew J. Hudak
                                                                                                                                                                  82 Id.
                                                 humanitarian-plan-on-migration/.                        ¶ 11, Florida v. Mayorkas, No. 22–cv–9962 (N.D.
                                                   70 Decl. of Blas Nuñez-Neto ¶ 40, M.A. v.                                                                     83 Id. ¶ 11.
                                                                                                         Fla. May 12, 2023) (Dkt. 13–1).
                                                                                                                                                                  84 Id.
                                                 Mayorkas, No. 23–cv–1843 (D.D.C. Oct. 27, 2023)            77 Decl. of Blas Nuñez-Neto ¶ 9, E. Bay Sanctuary
                                                 (Dkt. 53–1).                                            Covenant v. Biden, No. 18–cv–6810 (N.D. Cal. June        85 Id.
                                                   71 Id. ¶ 5.                                           16, 2023) (Dkt. 176–2).                                  86 Id.
                                                   72 Id.                                                   78 Id.                                                87 Id.




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                                                 to significant challenges for local border              These efforts have significantly reduced                Circumvention of Lawful Pathways rule
                                                 communities.88 For example, in the                      the median time to process credible fear                and complementary measures.99
                                                 days leading up to May 11, 2023, local                  cases. Since May 12, 2023, the median                      While the Circumvention of Lawful
                                                 community resources in El Paso, Texas,                  time to refer noncitizens claiming a fear               Pathways rule and complementary
                                                 were quickly overwhelmed as the                         for credible fear interviews decreased by               measures have yielded demonstrable
                                                 number of noncitizens arriving in the                   77 percent from its historical average,                 results, the resources provided to the
                                                 United States surpassed the city’s                      from 13 days in the FY 2014 to FY 2019                  Departments still have not kept pace
                                                 capacity.89 In anticipation of an influx                pre-pandemic period to 3 days in the                    with irregular migration.
                                                 of noncitizens arriving to the city—an                  four weeks ending March 31, 2024; for                      After months of relatively lower
                                                 influx that ultimately materialized—the                 those who receive negative fear                         encounter levels between POEs
                                                 city declared a state of emergency, as                  determinations, the median time from                    following the changes put in place after
                                                 more than 1,000 noncitizens were                        encounter to removal, in the same time                  May 11, 2023, encounter levels
                                                 sleeping on the sidewalks and left                      frames, decreased by 85 percent from 73                 increased through the fall of 2023,100
                                                 without shelter.90 Similarly, the cities of             days to 11 days.96                                      and December 2023 saw the highest
                                                 Brownsville and Laredo, Texas,                                                                                  levels of encounters between POEs in
                                                 declared states of emergency to allow                      The increase in referrals into
                                                                                                                                                                 history, including a surge in which
                                                 them to seek additional resources to                    expedited removal proceedings,
                                                                                                                                                                 border encounters between POEs
                                                 bolster their capacities.91 The surge in                combined with the streamlining of the
                                                                                                                                                                 exceeded 10,000 for three consecutive
                                                 encounters also placed strain on interior               process, has had tangible results. From
                                                                                                                                                                 days and averaged more than 8,000 a
                                                 cities. In May 2023, for instance, New                  May 12, 2023, to March 31, 2024, DHS
                                                                                                                                                                 day for the month.101 That surge in
                                                 York’s Governor declared a State                        removed more than 662,000
                                                                                                                                                                 migration was focused increasingly on
                                                 Disaster Emergency.92                                   individuals—more removals than in any
                                                                                                                                                                 western areas of the border—California
                                                    Since their implementation in May                    full fiscal year since 2013 and an
                                                                                                                                                                 and Arizona—that had not been the
                                                 2023, the Circumvention of Lawful                       indication that the increased efficiencies
                                                                                                                                                                 focal point of migration over the prior
                                                 Pathways rule and complementary                         gained through these measures have
                                                                                                                                                                 two years, and in areas that are
                                                 measures have helped DHS to better                      enabled DHS to swiftly impose
                                                                                                                                                                 geographically remote and challenging
                                                 manage migratory flows. Between May                     immigration consequences when
                                                                                                                                                                 to respond to. For instance, the Tucson
                                                 12, 2023, and March 31, 2024, CBP                       individuals do not establish a legal basis
                                                                                                                                                                 sector’s average full-year encounter total
                                                 placed into expedited removal more                      to remain in the United States.97 Over
                                                                                                                                                                 for the pre-pandemic period (FY 2014 to
                                                 than 970 individuals encountered at and                 the first six months immediately
                                                                                                                                                                 FY 2019) was approximately 62,000; by
                                                 between POEs each day on average, and                   following May 12, 2023, DHS saw a
                                                                                                                                                                 contrast, in November and December of
                                                 USCIS conducted a record number of                      significant decrease in border
                                                                                                                                                                 2023, the sector recorded approximately
                                                 credible fear interviews (more than                     encounters between POEs. After peaking
                                                                                                                                                                 64,000 and 80,000 encounters,
                                                 152,000) resulting from such cases. This                at 9,700 per day in the seven days just
                                                                                                                                                                 respectively.102 And while the number
                                                 is more interviews from SWB                             before the end of the Title 42 public
                                                                                                                                                                 of encounters between POEs since
                                                 encounters at and between POEs during                   health Order, daily SWB encounters
                                                                                                                                                                 December 2023 has decreased,
                                                 the span of ten and a half months than                  between POEs decreased by 45 percent
                                                                                                                                                                 consistent with seasonal migration
                                                 in any full fiscal year prior to 2023, and              to an average of 5,200 per day for the
                                                                                                                                                                 flows and as a result of increased
                                                 more than twice as many as the annual                   period from May 12, 2023, to November
                                                                                                                                                                 enforcement, they still remain at
                                                 average from FY 2010 to FY 2019.93 On                   30, 2023.98 While this months-long
                                                                                                                                                                 historically high levels—USBP
                                                 average, since May 12, 2023, USCIS has                  trend included variability over shorter
                                                                                                                                                                 encounters from January 2024 to March
                                                 completed approximately 3,300 cases                     periods, border encounters between
                                                                                                                                                                 2024 are just 5 percent below the levels
                                                 each week, more than double its average                 POEs remained below the levels
                                                 weekly completed cases from FY 2014                     projected to occur in the absence of the                   99 Decl. of Blas Nuñez-Neto ¶ 4, E. Bay Sanctuary
                                                 to FY 2019.94 In addition, in FY 2023,                                                                          Covenant v. Biden, No. 18–cv–6810 (N.D. Cal. June
                                                 IJs conducted over 38,000 credible fear                    96 Historic processing times are based on OHSS       16, 2023) (Dkt. 176–2) (noting that in the absence
                                                 and reasonable fear reviews, the highest                Enforcement Lifecycle data as of December 31,           of the rule, DHS planning models suggest that
                                                                                                         2023; post-May 12 estimates are based on OHSS           irregular migration could meet or exceed the levels
                                                 figure on record since at least 2000.95                                                                         that DHS recently experienced in the days leading
                                                                                                         analysis of operational CBP, ICE, USCIS, and DOJ/
                                                                                                         EOIR data downloaded from UIP on April 2, 2024.         up to the end of the Title 42 public health Order).
                                                   88 Id. ¶ 12.
                                                                                                         Encounter-to-removal cases include noncitizens             100 See CBP, Southwest Land Border Encounters,
                                                   89 Id.
                                                                                                         removed after being placed in expedited removal         https://www.cbp.gov/newsroom/stats/southwest-
                                                   90 Id.                                                proceedings, claiming fear, and receiving a negative    land-border-encounters (last visited May 27, 2024)
                                                   91 Id.                                                fear determination or an administrative closure that    (providing monthly figures for 2021 to 2024).
                                                    92 See N.Y. Exec. Order No. 28, Declaring a          is not referred to EOIR. Comparisons to the                101 OHSS analysis of March 2024 OHSS Persist

                                                 Disaster Emergency in the State of New York (May        pandemic period are not relevant because many           Dataset; see also OHSS, Immigration Enforcement
                                                 9, 2023), https://www.governor.ny.gov/executive-        noncitizens who normally would have been                and Legal Processes Monthly Tables, https://
                                                 order/no-28-declaring-disaster-emergency-state-         referred for expedited removal processing were          www.dhs.gov/ohss/topics/immigration/
                                                 new-york; see also Mayor of Chicago Emergency           instead expelled under title 42 authority.              enforcement-and-legal-processes-monthly-tables
                                                 Exec. Order No. 2023–2 (May 9, 2023).                      97 OHSS analysis of data downloaded from UIP         (last updated May 10, 2024); OHSS, 2022 Yearbook
                                                    93 Pre-May 12, 2023, data from OHSS Lifecycle        on April 2, 2024; see OHSS, Immigration                 of Immigration Statistics 103–04 tbl. 39 (Nov. 2023),
                                                 Dataset; post-May 11, 2023, data from OHSS              Enforcement and Legal Processes Monthly Tables,         https://www.dhs.gov/sites/default/files/2024-02/
                                                 analysis of data downloaded from UIP on April 2,        https://www.dhs.gov/ohss/topics/immigration/            2023_0818_plcy_yearbook_immigration_statistics_
                                                 2024.                                                   enforcement-and-legal-processes-monthly-tables          fy2022.pdf; -Priscilla Alvarez, Authorities
                                                    94 Completed cases are those with credible fear      (last updated May 10, 2024); OHSS, 2022 Yearbook        Encountering Record Number of Migrants at the
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                                                 interviews that have been adjudicated or that have      of Immigration Statistics 103–04 tbl. 39 (Nov. 2023),   Border Each Day Amid Unprecedented Surge, CNN
                                                 been closed. Pre-May 12, 2023, data from OHSS           https://www.dhs.gov/sites/default/files/2023-11/        (Dec. 22, 2023), https://www.cnn.com/2023/12/22/
                                                 Lifecycle Dataset; post-May 11, 2023, data from         2023_0818_plcy_yearbook_immigration_statistics_         politics/border-surge-record-amounts/index.html.
                                                 OHSS analysis of data downloaded from UIP on            fy2022.pdf (noncitizen removals, returns, and              102 See March 2024 OHSS Persist Dataset; see also

                                                 April 2, 2024.                                          expulsions for FY 1892 to FY 2022).                     OHSS, Immigration Enforcement and Legal
                                                    95 EOIR, Adjudication Statistics: Credible Fear         98 Pre-May 12, 2023, data from March 2024 OHSS       Processes Monthly Tables, https://www.dhs.gov/
                                                 and Reasonable Fear Review Decisions (Apr. 27,          Persist Dataset; post-May 11, 2023, data from OHSS      ohss/topics/immigration/enforcement-and-legal-
                                                 2023), https://www.justice.gov/eoir/media/1344816/      analysis of data downloaded from UIP on December        processes-monthly-tables (last updated May 10,
                                                 dl?inline.                                              12, 2023.                                               2024) (‘‘SW Border Encounters by Sector’’).



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                                                 reached during the same months in                       January 4, 2024, once the volume of                      subsequent high-level meetings, both
                                                 2023,103 while some USBP sectors, such                  migrants had diminished and CBP                          countries committed to expanding
                                                 as Tucson and San Diego, have seen                      officers were able to return to normal                   efforts to increase enforcement measures
                                                 increases of 83 percent and 62 percent,                 duties, port operations in these                         to deter irregular migration, expanding
                                                 respectively, from the second quarter of                locations resumed.108                                    safe and lawful pathways, and
                                                 FY 2023, and Tucson is on pace for an                      The decision to close POEs was not                    strengthening cooperation.112 The
                                                 all-time high number of annual                          one taken lightly. The United States                     Government of Mexico expressed its
                                                 encounters.104                                          Government fully understands the                         concern about the economic impact of
                                                    Since the lifting of the Title 42 public             impacts of such closures on local                        the POE closures and committed to
                                                 health Order, then, it has become                       communities on both sides of the                         increasing enforcement on key transit
                                                 increasingly clear that DHS’s ability to                border, both socially and                                routes north.113 On January 22, 2024,
                                                 process individuals encountered at the                  economically.109 Closing international                   after a series of follow-on meetings
                                                 SWB under applicable title 8                            POEs is a measure of last resort, and one                between United States and Mexican
                                                 authorities—including, critically, to                   that DHS was compelled to take in order                  Cabinet members in Washington, DC,
                                                 deliver timely consequences to a                        to reassign its resources to support                     Mexico’s Foreign Secretary enumerated
                                                 meaningful proportion of those who do                   frontline agents in a challenging                        a series of steps that the United States
                                                 not establish a legal basis to remain in                moment.                                                  and Mexico committed to taking to
                                                 the United States—is significantly                         In addition to concerted efforts to                   continue to address migration,
                                                 limited by the lack of resources and                    strengthen and maximize consequences,                    including combating human smuggling
                                                 tools available to the Departments. In                  including through new regulations, the                   and trafficking organizations.114
                                                 response to the record high levels of                   United States Government has engaged                        DHS assesses that the surge in late
                                                 encounters between POEs in December                     intensively with the Government of                       2023 was likely the result of a number
                                                 2023, DHS had to take extraordinary                     Mexico to identify coordinated                           of factors, including the growing
                                                 steps to shift personnel and resources to               measures both countries could take, as                   understanding by smugglers and
                                                 the affected sectors: CBP curtailed or                  partners, to address irregular migration.                migrants that DHS’s capacity to impose
                                                 suspended operations at a number of                     During the period before and after the                   consequences at the border is limited by
                                                 POEs, and, just before December 25,                     December surge, the United States                        the lack of resources and tools that
                                                 2023, CBP reassigned 246 officers to                    Government and the Government of                         Congress has made available and the
                                                 support USBP operations. As part of                     Mexico held numerous talks at the                        Government of Mexico’s operational
                                                 these extraordinary measures: vehicular                 highest levels of government to address                  constraints at the end of its fiscal year,
                                                 traffic through the Eagle Pass, Texas,                  migration. For example, President Biden                  which limited its ability to enforce its
                                                 POE was suspended on November 27,                       and President of Mexico Andrés Manuel                   own immigration laws.115 The
                                                 2023; the POE in Lukeville, Arizona,                    López Obrador spoke on December 21,
                                                 was closed on December 4, 2023; rail                    2023, and February 3, 2024.110 During                    bidens-call-with-president-andres-manuel-lopez-
                                                 operations at POEs in El Paso and Eagle                                                                          obrador-of-mexico-2/.
                                                                                                         their conversation on December 21, the                      112 The White House, Readout of Homeland
                                                 Pass, Texas, were suspended on                          presidents agreed that additional                        Security Advisor Dr. Liz Sherwood-Randall’s Trip to
                                                 December 18, 2023; 105 the Morley Gate                  enforcement actions were urgently                        Mexico (Feb. 7, 2024), https://www.whitehouse.gov/
                                                 POE in Nogales, Arizona, which was                      needed so that the POEs that were                        briefing-room/statements-releases/2024/02/07/
                                                 closed due to construction and slated to                temporarily closed could reopen.111 In                   readout-of-homeland-security-advisor-dr-liz-
                                                 be reopened in November 2023, delayed                                                                            sherwood-randalls-trip-to-mexico/.
                                                                                                                                                                     113 Id.; see also, e.g., Amna Nawaz, Mexico’s
                                                 its reopening; 106 and operations at                       108 See CBP, Statement from CBP on Resumption
                                                                                                                                                                  Foreign Secretary Discusses What Her Country Is
                                                 Pedestrian West, part of the San Ysidro                 of Operations in Arizona, California, and Texas          Doing to Ease Border Crisis, PBS News Hour (Jan.
                                                 POE in San Diego, California, were                      (Jan. 2, 2024), https://www.cbp.gov/newsroom/            25, 2024), https://www.pbs.org/newshour/show/
                                                                                                         national-media-release/statement-cbp-resumption-         mexicos-foreign-secretary-discusses-what-her-
                                                 suspended on December 9, 2023.107 On                    field-operations-arizona-california-and/.                country-is-doing-to-ease-border-crisis; US, Mexico
                                                                                                            109 See, e.g., Russel Contreras, U.S.-Mexico Border   Agree to Strengthen Efforts to Curb Record
                                                    103 OHSS analysis of March 2024 OHSS Persist
                                                                                                         Closures Could Cost Billions, Axios (Dec. 22, 2023),     Migration, Reuters (Dec. 28, 2023), https://
                                                 Dataset; see also OHSS, Immigration Enforcement         https://www.axios.com/2023/12/22/us-mexico-              www.reuters.com/world/us-mexico-keep-border-
                                                 and Legal Processes Monthly Tables, https://            border-closures-could-cost-billions (discussing          crossings-open-lopez-obrador-says-2023-12-28/.
                                                 www.dhs.gov/ohss/topics/immigration/                    evidence of the ‘‘devastating consequences’’ that           114 See, e.g., Valentine Hilaire & Cassandra
                                                 enforcement-and-legal-processes-monthly-tables          follow from partial border closings); cf. Bryan          Garrison, Mexico, US Pitch Measures to Ease
                                                 (last updated May 10, 2024) (‘‘SW Border                Roberts et al., The Impact on the U.S. Economy of        Pressure on Border, Plan Guatemala Talks, Reuters
                                                 Encounters by Sector’’).                                Changes in Wait Times at Ports of Entry: Report to       (Jan. 22, 2024), https://www.reuters.com/world/
                                                    104 OHSS analysis of March 2024 OHSS Persist
                                                                                                         U.S. Customs and Border Protection 5 (Apr. 2013),        americas/mexico-us-guatemala-officials-meet-
                                                 Dataset; see also OHSS, Immigration Enforcement         https://ebtc.info/wp-content/uploads/2014/07/            migration-talks-2024-01-22/; Amna Nawaz,
                                                 and Legal Processes Monthly Tables, https://            U.S.C.-Create-CBP-Final-Report.pdf (discussing the       Mexico’s Foreign Secretary Discusses What Her
                                                 www.dhs.gov/ohss/topics/immigration/                    benefits of adding staffing to land border POEs).        Country Is Doing to Ease Border Crisis, PBS News
                                                 enforcement-and-legal-processes-monthly-tables             110 See The White House, Readout of President         Hour (Jan. 25, 2024), https://www.pbs.org/
                                                 (last updated May 10, 2024) (‘‘SW Border                Joe Biden’s Call with President Andrés Manuel           newshour/show/mexicos-foreign-secretary-
                                                 Encounters by Sector’’).                                López Obrador of Mexico (Dec. 21, 2023), https://       discusses-what-her-country-is-doing-to-ease-border-
                                                    105 See CBP, Statement from CBP on Operations
                                                                                                         www.whitehouse.gov/briefing-room/statements-             crisis (quoting Mexico’s Foreign Affairs Secretary as
                                                 in Eagle Pass, Texas and Lukeville, Arizona (Nov.       releases/2023/12/21/readout-of-president-joe-            saying that ‘‘we have done much more law
                                                 27, 2023), https://www.cbp.gov/newsroom/national-       bidens-call-with-president-andres-manuel-lopez-          enforcement to bring down the pressure in the
                                                 media-release/statement-cbp-operations-eagle-pass-      obrador-of-mexico-2/; The White House, Readout of        border in the north’’).
                                                 texas-and-lukeville-arizona.                            President Joe Biden’s Call with President Andrés           115 See Marı́a Verza, Mexico Halts Deportations
                                                    106 See CBP, Statement on Operational Changes        Manuel López Obrador of Mexico (Feb. 3, 2024),          and Migrant Transfers Citing Lack of Funds, AP
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                                                 and Resumption of Rail Operations in Eagle Pass         https://www.whitehouse.gov/briefing-room/                News (Dec. 4, 2023), https://apnews.com/article/
                                                 and El Paso (Dec. 22, 2023), https://www.cbp.gov/       statements-releases/2024/02/03/readout-of-               mexico-immigration-migrants-venezuela-
                                                 newsroom/national-media-release/statement-cbp-          president-joe-bidens-call-with-president-andres-         17615ace23d0677bb443d8386e254fbc; Smugglers
                                                 operational-changes-and-resumption-rail-                manuel-lopez-obrador-of-mexico-3/.                       Are Bringing Migrants To a Remote Arizona
                                                 operations.                                                111 The White House, Readout of President Joe         Crossing, Overwhelming Agents, NPR (Dec. 10,
                                                    107 See CBP, Statement from CBP on Operations        Biden’s Call with President Andrés Manuel López        2023), https://www.npr.org/2023/12/10/
                                                 in San Diego, California (Dec. 7, 2023), https://       Obrador of Mexico (Dec. 21, 2023), https://              1218428530/smugglers-are-bringing-migrants-to-a-
                                                 www.cbp.gov/newsroom/national-media-release/            www.whitehouse.gov/briefing-room/statements-             remote-arizona-crossing-overwhelming-agents;
                                                 statement-cbp-operations-san-diego-california.          releases/2023/12/21/readout-of-president-joe-                                                       Continued




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                                                 Departments cannot address all of these                 impose consequences at the border.                     funding, personnel, and infrastructure
                                                 factors in one rule, but assess that this               These factors resulted in USBP’s main                  of both countries’ immigration
                                                 rule will significantly increase the                    processing facility in San Diego                       enforcement systems in ways that have,
                                                 ability to deliver timely decisions and                 reaching over 200 percent capacity in                  at times, contributed to high encounters
                                                 timely consequences at the border                       April 2024, despite a recent expansion                 between POEs.
                                                 within current resources, combating                     of this facility.
                                                                                                            Since January 2024, the United States               2. Need for These Measures
                                                 perceptions and messaging to the
                                                 contrary.                                               and Mexico have continued to hold                         DHS projects that, absent the policy
                                                    Encounters between POEs in January                   regular, high-level conversations, as                  changes being promulgated here,
                                                 2024 were substantially lower than                      partners, to continue to deepen their                  irregular migration will once again
                                                 December 2023 encounters, consistent                    collaboration, identify emerging trends,               increase, and that any disruption in
                                                 with historic seasonal trends, and                      and coordinate additional steps by both                Mexican enforcement will only
                                                 encounters in January 2022 and January                  countries to address changing flows.                   exacerbate that trend. Without the
                                                 2023.116 In February and March 2024,                    These meetings have informed                           Proclamation and this rule, the
                                                 encounter levels increased from the                     operational deployments by both                        anticipated increase in migration will,
                                                 levels in January but remained                          governments, including the coordinated                 in turn, worsen significant strains on
                                                 significantly lower than in December                    response to the shift in migratory flows               resources already experienced by the
                                                 2023.117 Overall, from January 1 to                     to the San Diego and Tucson sectors.                   Departments and communities across
                                                 March 31, 2024, encounters between                      This extensive ongoing collaboration                   the United States.
                                                 POEs were 5 percent lower than during                   was reflected by another bilateral                        Current trends and historical data
                                                 the same months in 2023 and 22 percent                  engagement between President Biden                     indicate that migration and
                                                 lower than those in 2022.118 However,                   and President López-Obrador on April                  displacement in the Western
                                                 despite the overall decrease in                         28, 2024, after which the presidents                   Hemisphere will continue to increase as
                                                 encounters since December 2023,                         released a joint statement in which they               a result of violence, persecution,
                                                 specific areas of the border—in                         ‘‘ordered their national security teams to             poverty, human rights abuses, the
                                                 particular USBP’s San Diego and                         work together to immediately                           impacts of climate change, and other
                                                 Tucson Sectors—have experienced                         implement concrete measures to                         factors. The case of migration through
                                                 localized increases in encounters that                  significantly reduce irregular border                  the Darién jungle between Colombia and
                                                 have, at times, strained DHS’s holding                  crossings while protecting human                       Panama is illustrative. For example,
                                                 capacity, adversely impacted local                      rights.’’ 120                                          between January and April, 2024, the
                                                 operations, and limited DHS’s ability to                   Since then, the United States and the               United Nations High Commissioner for
                                                 swiftly impose consequences on                          Government of Mexico have worked                       Refugees (‘‘UNHCR’’) tracked 139,000
                                                 individuals who do not establish a legal                together, cooperatively, to increase                   irregular entries, up from 128,000 for
                                                 basis to remain in the United States.                   enforcement.121 But these efforts—while                the same months in 2023 and a seven-
                                                 During the last week of April 2024,                     significant—are likely to be less                      fold increase over migration levels
                                                 USBP’s San Diego Sector encountered                     effective over time. Smuggling networks                during that period in 2022.122 The
                                                 an average of more than 1,400 migrants                  are adaptable, responding to changes                   number of migrants crossing the Darién
                                                 each day, including many migrants from                  put in place. Despite their immediate                  will only further increase the pressure
                                                 countries outside the Western                           effectiveness, such changes are not                    on Mexico at its southern border and on
                                                 Hemisphere who are more difficult to                    enough—and will almost certainly have                  the United States at the SWB.
                                                 process.119 The USBP Tucson Sector is                   diminished effect over time. The reality                  Past unprecedented migration surges
                                                 experiencing similar, unprecedented                     is that the scale of irregular migration               bolster the Departments’ views and the
                                                 migratory flows and consequent                          over the past two years has strained the               need for this rulemaking. As described
                                                 challenges. This high concentration of                                                                         in detail in Section III.B.1 of this
                                                 encounters, including comparatively                       120 See The White House, Joint Statement by the
                                                                                                                                                                preamble, migration trends have been
                                                 large numbers of migrants who are hard                  President of the United States Joe Biden and the
                                                                                                         President of Mexico Andrés Manuel López Obrador
                                                                                                                                                                steadily increasing in scope and
                                                 to remove, in a focused geographic area                 (Apr. 29, 2024), https://www.whitehouse.gov/           complexity, featuring increasingly
                                                 places particular strain on the                         briefing-room/statements-releases/2024/04/29/joint-    varied nationalities and demographic
                                                 immigration enforcement system. This                    statement-by-the-president-of-the-united-states-joe-   groups. This has been true even as DHS
                                                 is particularly true in areas of the                    biden-and-the-president-of-mexico-andres-manuel-
                                                                                                         lopez-obrador.                                         has experienced sustained levels of
                                                 border—such as San Diego—where                            121 See Valerie Gonzalez & Elliot Spagat, The US     historically high encounter levels. Over
                                                 infrastructure-related capacity                         Sees a Drop in Illegal Border Crossings After Mexico   the past two years, an increasing
                                                 constraints limit DHS’s ability to swiftly              Increases Enforcement, AP News (Jan. 7, 2024),         proportion of total CBP encounters at
                                                                                                         https://apnews.com/article/mexico-immigration-
                                                                                                         enforcement-crossings-drop-
                                                                                                                                                                the SWB has been composed of families
                                                 Adam Isaacson, Weekly U.S.-Mexico Border Update:                                                               and UCs, and DHS has seen record
                                                                                                         b67022cf0853dca95a8e0799bb99b68a; Luke Barr,
                                                 Senate Negotiations, Migration Trends, Washington
                                                 Office of Latin America (Dec. 15, 2023), https://
                                                                                                         US Customs And Border Protection Reopening 4           flows of migrants from countries outside
                                                                                                         Ports of Entry After Migrant Surge Subsides, ABC       of northern Central America.123 These
                                                 www.wola.org/2023/12/weekly-u-s-mexico-border-
                                                                                                         News (Jan. 2, 2024), https://abcnews.go.com/US/us-
                                                 update-senate-negotiations-migration-trends/;
                                                                                                         customs-border-protection-reopening-4-ports-entry/
                                                 Jordan, supra note 27.                                                                                           122 The UNHCR tracked 20,000 irregular entries in
                                                    116 OHSS analysis of March 2024 OHSS Persist
                                                                                                         story?id=106062555; Seung Min Kim, US and
                                                                                                         Mexico Will Boost Deportation Flights and              the Darién gap in 2022. OHSS analysis of
                                                 Dataset.                                                Enforcement to Crack Down on Illegal Immigration,      downloaded from UNHCR Operational Data Portal,
                                                    117 OHSS analysis of March 2024 OHSS Persist                                                                Darien Panama: Mixed Movements Protection
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                                                                                                         AP News (Apr. 30, 2024), https://apnews.com/
                                                 Dataset.                                                article/joe-biden-andres-manuel-lopez-obrador-         Monitoring—January–December 2023, https://
                                                    118 OHSS analysis of March 2024 OHSS Persist
                                                                                                         mexico-immigration-border-                             data.unhcr.org/en/documents/details/105569 (last
                                                 Dataset.                                                c7e694f7f104ee0b87b80ee859fa2b9b; Julia Ainsley        visited May 31, 2024); Darien Panama: Mixed
                                                    119 See Elliot Spagat, The Latest Hot Spot for       & Chloe Atkins, Mexico Is Stopping Nearly Three        Movements Protection Monitoring—April 2024,
                                                 Illegal Border Crossings is San Diego. But Routes       Times as Many Migrants Now, Helping Keep U.S.          https://data.unhcr.org/en/documents/details/
                                                 Change Quickly, AP News (May 17, 2024), https://        Border Crossings Down, NBC News (May 15, 2024),        108399 (last visited May 31, 2024).
                                                 apnews.com/article/san-diego-border-asylum-             https://www.nbcnews.com/politics/immigration/            123 March 2024 OHSS Persist Dataset; see also

                                                 biden-mexico-                                           mexico-stopping-three-times-as-many-migrants-as-       OHSS, Immigration Enforcement and Legal
                                                 da1e7b7c81e4e58912deff6d36dbdb9e.                       last-year-rcna146821.                                  Processes Monthly Tables, https://www.dhs.gov/



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                                                 international migration trends are the                      model includes encounter data                            justified in light of high levels of
                                                 result of exceedingly complex factors                       disaggregated by country and                             migration that have ultimately proved
                                                 and are shaped by, among other things,                      demographic characteristics, data on                     persistent even in the face of new
                                                 family and community networks, labor                        apprehensions of third-country                           policies that have resulted in processing
                                                 markets, environmental and security-                        nationals by Mexican enforcement                         migrants with record efficiency, as
                                                 related push factors, and rapidly                           agencies, and economic data. DHS uses                    evidenced by the migration patterns
                                                 evolving criminal smuggling                                 the encounter projection to generate a                   witnessed in December 2023. Current
                                                 networks.124 The United States                              range of planning models, which can                      sustained, high encounter rates exceed
                                                 Government is working to address these                      include ‘‘low’’ planning models that are                 the border security and immigration
                                                 root causes of migration and to abate                       based on the lower bound of the 95                       systems’ capacity to effectively and
                                                 adverse effects from unprecedented                          percent forecast interval, ‘‘moderate’’                  safely process, detain, and remove, as
                                                 levels of irregular migration,125                           planning models that are based on the                    appropriate, all migrants who are
                                                 including through working closely with                      upper bound of the 68 percent forecast                   encountered.130 This is generally true
                                                 partner countries across the Western                        interval, and ‘‘high’’ planning models                   when considering total encounters
                                                 Hemisphere.126 But these efforts will                       based on the upper bound of the 95                       across the entire SWB, and even more
                                                 take time to have significant impacts                       percent forecast interval. These                         the case when specific sectors along the
                                                 and will not alleviate the stress that the                  planning models account for changes in                   border are targeted by smuggling
                                                 border security and immigration                             effectiveness of current enforcement and                 organizations with focused localized
                                                 systems are currently experiencing, as                      lawful migration processes.128                           surges in encounters—as has been
                                                 described in the Proclamation.                                 Because of the significant time and                   happening since the late fall in Tucson,
                                                    The Departments’ views and the need                      operational cost it takes to redeploy                    Arizona, which accounted for 35
                                                 for this rulemaking are further                             resources, DHS is generally conservative                 percent of SWB encounters between
                                                 supported by projections developed                          in its enforcement planning. 88 FR at                    POEs in the second quarter of FY 2024,
                                                 from ongoing work by DHS’s Office of                        31328. As a result, it focuses on its                    up from 18 percent in FY 2023 and 13
                                                 Homeland Security Statistics (‘‘OHSS’’),                    higher planning models as it projects                    percent in FY 2022.131
                                                 which leads an interagency working                          future resource deployments to avoid                       Despite the fact that the average of
                                                 group that produces encounter                               using more optimistic scenarios that                     4,400 daily encounters between POEs in
                                                 projections used for operational                            could leave enforcement efforts badly                    the second quarter of FY 2024 is below
                                                 planning, policy development, and                           under-resourced. Id. The current                         the highs experienced in the days
                                                 short-term budget planning. OHSS uses                       internal projections, based on this                      immediately preceding the end of the
                                                 a mixed-method approach that                                robust modeling methodology, suggest                     Title 42 public health Order and in
                                                 combines a statistical predictive model                     that encounters may once again reach                     December 2023,132 daily encounter
                                                 with subject matter expertise intended                      extremely elevated levels in the weeks                   numbers remain sufficiently high—
                                                 to provide informed estimates of future                     to come, averaging in the three months                   especially in the locations where
                                                 migration flow and trends. The mixed-                       from July to September, 2024, in the                     encounters have been extremely
                                                 methods approach blends multiple                            range of approximately 3,900 to                          elevated, such as California and
                                                 types of models through an ensemble                         approximately 6,700 encounters at and                    Arizona—that the numbers significantly
                                                 approach of model averaging.127 The                         between POEs per day, not including an                   impact the operational flexibility
                                                                                                             additional 1,450 noncitizens per day                     required to process individuals in a
                                                 ohss/topics/immigration/enforcement-and-legal-              who are expected to be encountered at                    timely and consequential manner.133
                                                 processes-monthly-tables (last updated May 10,              POEs after making appointments though
                                                 2024) (‘‘SWB Encounters by Agency and Family                                                                            130 See, e.g., Decl. of Blas Nuñez-Neto ¶ 8, M.A.
                                                 Status’’ and ‘‘SWB Encounters by Citizenship and            the CBP One app.129 The Departments                      v. Mayorkas, No. 23–cv–1843 (D.D.C. Oct. 27, 2023)
                                                 Family Status’’).                                           believe the policies in this rule are                    (Dkt. 53–1).
                                                    124 See 88 FR at 31327–28 & n.59.                                                                                    131 March 2024 OHSS Persist Dataset; see also
                                                    125 See, e.g., The White House, Mexico and               multidisciplinary team members). DHS notes that          OHSS, Immigration Enforcement and Legal
                                                 United States Strengthen Joint Humanitarian Plan            the complexity of international migration limits         Processes Monthly Tables—October 2023, https://
                                                 on Migration (May 2, 2023), https://                        DHS’s ability to precisely project border encounters     www.dhs.gov/ohss/topics/immigration/
                                                 www.whitehouse.gov/briefing-room/statements-                under the best of circumstances. The current period      enforcement-and-legal-processes-monthly-tables
                                                 releases/2023/05/02/mexico-and-united-states-               is characterized by greater than usual uncertainty       (last updated May 10, 2024) (‘‘SW Border
                                                 strengthen-joint-humanitarian-plan-on-migration/            due to ongoing changes in the major migration            Encounters by Sector’’).
                                                 (committing to addressing root causes of migration).        source countries (i.e., the shift in demographics of        132 March 2024 OHSS Persist Dataset. As noted
                                                    126 See The White House, Fact Sheet: Third               those noncitizens encountered by DHS), the               supra note 5, preliminary April data show SWB
                                                 Ministerial Meeting on the Los Angeles Declaration          growing impact of climate change on migration,           encounters between POEs fell slightly, by 6 percent,
                                                 On Migration and Protection in Guatemala (May 7,            political instability in several source countries, the   between March and April. OHSS analysis of data
                                                 2024), https://www.whitehouse.gov/briefing-room/            evolving recovery from the COVID–19 pandemic,            obtained from CBP, Southwest Land Border
                                                 statements-releases/2024/05/07/fact-sheet-third-            and uncertainty generated by border-related              Encounters, https://www.cbp.gov/newsroom/stats/
                                                 ministerial-meeting-on-the-los-angeles-                     litigation, among other factors. See 88 FR at 31316      southwest-land-border-encounters (last accessed
                                                 declarationon-migration-and-protection-in-                  n.14.                                                    May 24, 2024). The preliminary April data are best
                                                 guatemala.                                                     128 OHSS Southwest Border Encounter Projection,       understood to reflect a continuation of the general
                                                    127 Blending multiple models and basing                  April 2024.                                              pattern described elsewhere in this rule.
                                                 predictions on prior data has been understood to               129 OHSS Encounter Projections, April 2024. Note         133 The Tucson Sector accounted for 35 percent

                                                 improve modeling accuracy. See, e.g., Spyros                that the OHSS encounter projection excludes              of USBP encounters in the second quarter of FY
                                                 Makridakis et al., Forecasting in Social Settings:          encounters of people who have registered with the        2024, up from 18 percent in FY 2023 and 13 percent
                                                 The State of the Art, 36 Int’l J. Forecasting 15, 16        CBP One app along with administrative encounters         in FY 2022. OHSS analysis of March 2024 OHSS
                                                 (2020) (noting that it has ‘‘stood the test of time . . .   at POEs (i.e., encounters in which removal               Persist Dataset; see also CBP, Southwest Land
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                                                 that combining forecasts improves the [forecast]            proceedings are not considered), but includes non-       Border Encounters (By Component), https://
                                                 accuracy’’); The Forecasting Collaborative, Insights        CBP One enforcement encounters at POEs, which            www.cbp.gov/newsroom/stats/southwest-land-
                                                 into the Accuracy of Social Scientists’ Forecasts of        have averaged about 190 per day since May 2023,          border-encounters-by-component (last modified
                                                 Societal Change, 7 Nat. Hum. Behaviour 484 (2023),          based on OHSS analysis of March 2024 OHSS                May 15, 2024). Border encounters typically fall
                                                 https://doi.org/10.1038/s41562-022-01517-1                  Persist Dataset. See also CBP, CBP OneTM                 around the New Year and often remain lower than
                                                 (comparing forecasting methods and suggesting that          Appointments Increased to 1,450 Per Day (June 30,        other months in January. See OHSS, Immigration
                                                 forecasting teams may materially improve accuracy           2023), https://www.cbp.gov/newsroom/national-            Enforcement and Legal Processes Monthly Tables,
                                                 by, for instance, basing predictions on prior data          media-release/cbp-one-appointments-increased-            https://www.dhs.gov/ohss/topics/immigration/
                                                 and including scientific experts and                        1450-day.                                                                                           Continued




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                                                 When capacity is strained like this in                  CBP sectors along the border, disrupt                    would further support critical border
                                                 specific locations along the border, it                 operations more quickly, and affect                      enforcement efforts, including:
                                                 becomes even more difficult for the                     readiness in other critical areas as DHS                   • An additional 1,300 Border Patrol
                                                 Departments to deliver timely decisions                 diverts resources, including front-line                  Agents to work alongside the 20,200
                                                 and timely consequences. At increased                   agents, from other urgent tasks and                      agents proposed in the President’s FY
                                                 levels of encounters and without a                      geographic areas.137 These actions, in                   2024 budget request, as well as 300
                                                 change in policy, most non-Mexicans                     turn, impact other critical mission sets,                Border Patrol Processing Coordinators
                                                 processed for expedited removal under                   including processing lawful trade and                    and support staff; 142
                                                 title 8 would likely establish a credible               travel at POEs.138                                         • An additional 1,600 AOs and
                                                 fear and remain in the United States for                   DHS continues to lack the necessary                   associated support staff to process
                                                 the foreseeable future despite the fact                 funding and resources to deliver timely                  migrant claims, which would provide
                                                 that most of them will not ultimately be                consequences to the majority of                          USCIS with the critical resources
                                                 granted asylum, assuming results are                    noncitizens encountered given the                        needed to expand its current credible
                                                 similar to historic rates,134 a scenario                increased level of encounters it is                      fear interview capacity to support
                                                 that would likely continue to                           experiencing at the SWB.139 On August                    timely processing of those placed in
                                                 incentivize an increasing number of                     10, 2023, the Administration submitted                   expedited removal; 143 and
                                                 migrants to journey to the United States                to Congress a request for $2.2 billion in                  • An expansion of detention beds and
                                                 and further increase the likelihood of                  supplemental funding for border                          ICE removal flight funding to sustain the
                                                 sustained high encounter rates.                         operations, including $1.4 billion for                   current significantly increased use of
                                                    Even in times with sustained lower                   CBP and $714 million for ICE for border                  expedited removal, provide necessary
                                                 encounter volumes, such as between                      management and enforcement and an                        surge capacity, and allow DHS to
                                                 2011 and 2017, the Departments                          additional $416 million for counter-                     process more expeditiously noncitizens
                                                 experienced challenging situations,                     fentanyl efforts.140                                     who cross the SWB unlawfully and
                                                 including the first surge in UCs in 2014,                  On October 20, 2023, the                              swiftly remove those without a legal
                                                 that severely strained the United States                Administration submitted to Congress a                   basis to remain in the United States.144
                                                 Government’s capacity.135 Surges in                     second request for supplemental                            On January 31, 2024, DHS published
                                                 encounters at the southern border—both                  funding for DHS, which would provide                     a new USCIS fee schedule, effective
                                                 at and between POEs—are now                             funding to enhance enforcement and                       April 1, 2024, that adjusted the fees to
                                                 occurring more frequently and at higher                 processing, procure and operationalize                   fully recover costs and maintain
                                                 magnitudes, and featuring more diverse                  needed technologies, and hire                            adequate service. See U.S. Citizenship
                                                 demographics and nationalities than                     additional personnel.141 This funding                    and Immigration Services Fee Schedule
                                                 ever before.136 These surges affect more                                                                         and Changes to Certain Other
                                                                                                         ohss/topics/immigration/enforcement-and-legal-           Immigration Benefit Request
                                                 enforcement-and-legal-processes-monthly-tables          processes-monthly-tables (last updated May 10,           Requirements, 89 FR 6194, 6194 (Jan.
                                                 (last updated May 10, 2024) (‘‘Nationwide CBP           2024) (‘‘CBP SW Border Encounters by Agency and
                                                                                                         Family Status’’ and ‘‘CBP SW Border Encounters by        31, 2024); U.S. Citizenship and
                                                 Encounters by Encounter Type and Region’’). Thus,
                                                 while CBP’s apprehension of 402,000 noncitizens         Agency and Selected Citizenship’’); The                  Immigration Services Fee Schedule and
                                                 between POEs in the second quarter of FY 2024 is        Unaccompanied Children Crisis: Does the                  Changes to Certain Other Immigration
                                                 slightly lower than the 424,000 observed in FY 2023     Administration Have a Plan to Stop the Border            Benefit Request Requirements;
                                                 and 518,000 in FY 2022, it is almost four times as      Surge and Adequately Monitor the Children?:
                                                                                                         Hearing Before the S. Comm. On the Judiciary,            Correction, 89 FR 20101 (Mar. 21, 2024)
                                                 high as the pre-pandemic second-quarter average
                                                 for FY 2014 through FY 2019, and with the               114th Cong. (2016) (statement of Ronald Vitiello,        (making corrections). Because there is
                                                 exceptions of FY 2022 and FY 2023 the highest           Acting Chief of USBP), https://
                                                 second-quarter count recorded since FY 2001. Even       www.judiciary.senate.gov/imo/media/doc/02-23-            National Security Priorities (Oct. 20, 2023), https://
                                                 with the downturn between January and March,            16%20Vitiello%20Testimony.pdf; Memorandum on             www.whitehouse.gov/briefing-room/statements-
                                                 2024, the high volume of encounters and                 the Response to the Influx of Unaccompanied Alien        releases/2023/10/20/fact-sheet-white-house-calls-
                                                 challenging demographic mix still meant that most       Children Across the Southwest Border, 1 Pub.             on-congress-to-advance-critical-national-security-
                                                 noncitizens processed by USBP were released from        Papers of Pres. Barack Obama 635, 635 (June 2,           priorities/.
                                                 custody into the United States (including               2014).                                                     142 See DHS, Fact Sheet: Biden-Harris
                                                 noncitizens enrolled in an ICE Alternatives to            137 See, e.g., Decl. of Raul L. Ortiz ¶¶ 11–12,
                                                                                                                                                                  Administration Supplemental Funding Request
                                                 Detention program and those paroled by the Office       Florida v. Mayorkas, No. 23–11644 (11th Cir. May         (Oct. 20, 2023), https://www.dhs.gov/news/2023/10/
                                                 of Field Operations). OHSS analysis of March 2024       19, 2023) (Dkt. 3–2).                                    20/fact-sheet-biden-harris-administration-
                                                 OHSS Persist Dataset; see also OHSS, Immigration          138 See, e.g., Decl. of Raul L. Ortiz ¶¶ 11–12,
                                                                                                                                                                  supplemental-funding-request; The White House,
                                                 Enforcement and Legal Processes Monthly Tables,         Florida v. Mayorkas, No. 23–11644 (11th Cir. May
                                                 https://www.dhs.gov/ohss/topics/immigration/                                                                     Fact Sheet: White House Calls on Congress to
                                                                                                         19, 2023) (Dkt. 3–2); Decl. of Blas Nuñez-Neto ¶ 32,    Advance Critical National Security Priorities (Oct.
                                                 enforcement-and-legal-processes-monthly-tables
                                                                                                         E. Bay Sanctuary Covenant v. Biden, No. 18–cv–           20, 2023), https://www.whitehouse.gov/briefing-
                                                 (last updated May 10, 2024) (‘‘CBP SW Border
                                                                                                         6810 (N.D. Cal. June 16, 2023) (Dkt. 176–2).             room/statements-releases/2023/10/20/fact-sheet-
                                                 Encounters Book-Outs by Agency’’).                        139 Letter for Kevin McCarthy, Speaker of the
                                                    134 Since May 12, 2023, 60 percent of non-                                                                    white-house-calls-on-congress-to-advance-critical-
                                                 Mexican noncitizen SWB encounters (at and               House of Representatives, from Shalanda D. Young,        national-security-priorities/.
                                                 between POEs) processed for expedited removal           Director, OMB, at 2–3 (Aug. 10, 2023), https://            143 See The White House, Fact Sheet: White

                                                 who have made fear claims have been referred to         www.whitehouse.gov/wp-content/uploads/2023/08/           House Calls on Congress to Advance Critical
                                                 EOIR for immigration proceedings. OHSS analysis         Final-Supplemental-Funding-Request-Letter-and-           National Security Priorities (Oct. 20, 2023), https://
                                                 of data downloaded from UIP on April 2, 2024. But       Technical-Materials.pdf; The White House, Fact           www.whitehouse.gov/briefing-room/statements-
                                                 based on historic (pre-pandemic) data, only 18          Sheet: White House Calls on Congress to Advance          releases/2023/10/20/fact-sheet-white-house-calls-
                                                 percent of non-Mexican noncitizens processed for        Critical National Security Priorities (Oct. 20, 2023),   on-congress-to-advance-critical-national-security-
                                                 expedited removal that are referred to EOIR result      https://www.whitehouse.gov/briefing-room/                priorities/.
                                                 in an individual being granted relief or protection     statements-releases/2023/10/20/fact-sheet-white-           144 See The White House, Fact Sheet: White

                                                 from removal once the case is completed. OHSS           house-calls-on-congress-to-advance-critical-             House Calls on Congress to Advance Critical
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                                                 Enforcement Lifecycle December 31, 2023.                national-security-priorities/.                           National Security Priorities (Oct. 20, 2023), https://
                                                                                                           140 See Letter for Kevin McCarthy, Speaker of the
                                                    135 OHSS, Immigration Enforcement and Legal                                                                   www.whitehouse.gov/briefing-room/statements-
                                                 Processes Monthly Tables, https://www.dhs.gov/          House of Representatives, from Shalanda D. Young,        releases/2023/10/20/fact-sheet-white-house-calls-
                                                 ohss/topics/immigration/enforcement-and-legal-          Director, OMB, at 2–3, attach. at 45–50 (Aug. 10,        on-congress-to-advance-critical-national-security-
                                                 processes-monthly-tables (last updated May 10,          2023), https://www.whitehouse.gov/wp-content/            priorities/; DHS, Fact Sheet: Biden-Harris
                                                 2024) (‘‘CBP SW Border Encounters by Agency and         uploads/2023/08/Final-Supplemental-Funding-              Administration Supplemental Funding Request
                                                 Family Status’’).                                       Request-Letter-and-Technical-Materials.pdf.              (Oct. 20, 2023), https://www.dhs.gov/news/2023/10/
                                                    136 OHSS, Immigration Enforcement and Legal            141 See The White House, Fact Sheet: White             20/fact-sheet-biden-harris-administration-
                                                 Processes Monthly Tables, https://www.dhs.gov/          House Calls on Congress to Advance Critical              supplemental-funding-request.



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                                                 no fee required to file an asylum                          • Over 1,500 new CBP personnel,                       this increase is helpful, there are a
                                                 application or for protection screenings,               including Border Patrol Agents and CBP                   number of ways in which the FY 2024
                                                 8 CFR 106.2(a)(28), and because                         Officers;                                                budget falls well short of what DHS
                                                 Congress has not provided other funds                      • Over 4,300 new AOs, as well as                      needs to respond to the current elevated
                                                 to pay for the operating expenses of the                USCIS staff to facilitate timely and fair                levels of migration. For example, the FY
                                                 Asylum Division,145 fees generated from                 decisions;                                               2024 appropriations failed to fund the
                                                 other immigration applications and                         • 100 additional IJ teams to help                     salary increase set across the Federal
                                                 petitions must be used to pay for these                 reduce the asylum caseload backlog and                   Government by the Office of
                                                 expenses. See INA 286(m), 8 U.S.C.                      adjudicate cases more quickly;                           Management and Budget (‘‘OMB’’),
                                                 1356(m). While the new fee rule does                       • Shelter and critical services for                   effectively reducing salary funding for
                                                 provide for increased funding for the                   newcomers in U.S. cities and States; and                 the entirety of the appropriations-
                                                 Refugee, Asylum, and International                         • 1,200 new ICE personnel for                         funded DHS workforce.154 This
                                                 Operations Directorate,146 keeping pace                 functions including enforcement and                      reduction will limit the availability of
                                                 with USCIS’s protection screening and                   removals.151                                             overtime to respond to surges in
                                                 affirmative asylum workloads requires                      However, Congress failed to move                      irregular migration and may require
                                                 additional funding, as reflected in the                 forward with this bipartisan legislative                 difficult operational decisions during
                                                 President’s FY 2025 Budget.147 Raising                  proposal.152 It also failed to pass the                  the closing months of the fiscal year,
                                                 fees on other applications and petitions                emergency supplemental funding                           which is historically a busier period for
                                                 to cover the $755 million that would be                 requests that the Administration                         such migration. The appropriations also
                                                 required to hire and support the                        submitted. Although Congress did                         did not provide sufficient funding to
                                                 additional 1,600 AOs called for in the                  ultimately enact an FY 2024                              maintain the temporary processing
                                                 President’s 2025 FY Budget 148 would                    appropriations bill for DHS, the funding                 facilities needed to hold migrants in
                                                 impose a burden on other filers.                        falls significantly short of what DHS                    custody. Further, the funds for hiring
                                                    In early February 2024, a bipartisan                 requires to deliver timely consequences                  additional personnel were restricted to
                                                 group of Senators proposed reforms of                   and avoid large-scale releases pending                   the current fiscal year rather than being
                                                 the country’s asylum laws that would                    section 240 removal proceedings. For                     provided as multi-year funds as
                                                 have provided new authorities to                        example, the bill does not provide the                   requested; given the length of the hiring
                                                 significantly streamline and speed up                   resources necessary for DHS to refer the                 process, DHS will not be able to realize
                                                 immigration enforcement proceedings                     majority of noncitizens encountered by                   the increases in personnel envisioned
                                                 and immigration adjudications for                       USBP who are amenable to expedited                       by the legislation before the funding
                                                 individuals encountered at the border,                  removal into such processing, resulting                  expires.
                                                 including those who are seeking                         in large-scale releases pending section                     All of these factors, taken together,
                                                 protection, while preserving principles                 240 removal proceedings based on                         mean that under the current
                                                 of fairness and humane treatment.149                    current encounter numbers. Such                          appropriations law, DHS will, at best, be
                                                 Critically, the proposal included nearly                releases, in turn, have significant                      able only to sustain most of its current
                                                 $20 billion in additional resources for                 impacts on communities and contribute                    operations, resulting in an operating
                                                 DHS, DOJ, and other departments to                      to further migration by incentivizing                    capacity that already experiences strain
                                                 implement those new authorities,150                     potential migrants to travel to the                      during times of high migration levels;
                                                 including resources for:                                United States with the belief that, even                 this will, in turn, reduce DHS’s ability
                                                                                                         if initially detained, they will ultimately              to maximize the delivery of timely
                                                    145 See DHS, U.S. Citizenship and Immigration
                                                                                                         be released to live and work in the                      consequences for those without a lawful
                                                 Services, Budget Overview, Fiscal Year 2025
                                                 Congressional Justification CIS—IEFA—22 (Mar. 8,        United States for long periods of time.                  basis to remain. Additionally, DHS will
                                                 2024), https://www.dhs.gov/sites/default/files/2024-    Absent the Proclamation and this rule,                   not be able to expand capacity along the
                                                 03/2024_0308_us_citizenship_and_immigration_            these harmful results are especially                     border or increase its ability to deliver
                                                 services.pdf (showing AOs are funded by
                                                 Immigration Examinations Fee Account); id. at
                                                                                                         likely given the circumstances described                 consequences through referrals into
                                                 CIS—O&S—30 (showing that appropriated funds             in the Proclamation.                                     expedited removal. Instead, DHS may
                                                 from the Refugee, Asylum, and International                The FY 2024 appropriations provided                   actually need to reduce capacity in
                                                 Operations Directorate of USCIS support Refugee         some additional funding for DHS above                    some key areas, including by closing
                                                 Officers).
                                                    146 DHS, Immigration Examinations Fee Account:
                                                                                                         its request, including for additional                    critical temporary processing facilities
                                                 Fee Review Supporting Documentation with                Border Patrol Agents and a higher level                  and pulling USBP agents away from the
                                                 Addendum 53 (Nov. 2023), https://                       of ICE detention beds than was                           frontline to undertake processing and
                                                 www.regulations.gov/document/USCIS-2021-0010-           previously appropriated.153 Although                     tasks related to custody. Thus, while
                                                 8176.
                                                    147 See The White House, Fact Sheet: The                                                                      DHS has made significant progress
                                                                                                         it dead in the House, NPR (Feb. 4, 2024), https://       toward a migration strategy focused on
                                                 President’s Budget Secures Our Border, Combats
                                                                                                         www.npr.org/2024/02/04/1226427234/senate-
                                                 Fentanyl Trafficking, and Calls on Congress to
                                                                                                         border-deal-reached.                                     enforcement, deterrence, encouragement
                                                 Enact Critical Immigration Reform (Mar. 11, 2024),                                                               of the use of lawful pathways, and
                                                                                                            151 The White House, Fact Sheet: Biden-Harris
                                                 https://www.whitehouse.gov/briefing-room/
                                                 statements-releases/2024/03/11/fact-sheet-the-          Administration Calls on Congress to Immediately          diplomacy, a lack of needed resources
                                                 presidents-budget-secures-our-border-combats-           Pass the Bipartisan National Security Agreement          and tools hampers DHS’s current ability
                                                 fentanyl-trafficking-and-calls-on-congress-to-enact-    (Feb. 4, 2024), https://www.whitehouse.gov/
                                                                                                         briefing-room/statements-releases/2024/02/04/fact-
                                                                                                                                                                  to manage the unprecedented flow of
                                                 critical-immigration-reform/.
                                                    148 Id.                                              sheet-biden-harris-administration-calls-on-              hemispheric migration, and the
                                                                                                         congress-to-immediately-pass-the-bipartisan-
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                                                    149 The White House, Fact Sheet: Biden-Harris

                                                 Administration Calls on Congress to Immediately         national-security-agreement/.                            18, 2024), https://docs.house.gov/billsthisweek/
                                                                                                            152 Associated Press, Border Bill Fails Senate Test   20240318/Division%20C%20Homeland.pdf.
                                                 Pass the Bipartisan National Security Agreement
                                                 (Feb. 4, 2024), https://www.whitehouse.gov/             Vote as Democrats Seek to Underscore Republican             154 See id. at 14, 22 (explaining that for CBP,

                                                 briefing-room/statements-releases/2024/02/04/fact-      Resistance (May 23, 2024), https://apnews.com/           ‘‘[t]he agreement includes $346,498,000 below the
                                                 sheet-biden-harris-administration-calls-on-             article/border-immigration-senate-vote-                  request, including the following: $182,772,000 for
                                                 congress-to-immediately-pass-the-bipartisan-            924f48912eecf1dc544dc648d757c3fe.                        the 2024 pay raise,’’ and for ICE, ‘‘[t]he agreement
                                                 national-security-agreement/.                              153 See House of Representatives, Explanatory         provides $9,501,542,000 for Operations and
                                                    150 Deirdre Walsh & Claudia Grisales, Negotiators    Statement: Division C, Department of Homeland            Support, including a decrease below the request of
                                                 release $118 billion border bill as GOP leaders call    Security Appropriations Act, 2024, at 14, 25 (Mar.       $74,153,000 for the 2024 pay raise’’).



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                                                 situation will only worsen with                          creates even greater strains on EOIR.                 than not to be released to pursue a
                                                 expected seasonal and other increases.                   EOIR received $844 million this fiscal                years-long immigration court process
                                                    Immigration-related resource                          year,158 a cut of $16 million from FY                 during which, beginning 180 days after
                                                 challenges are not unique to front-line                  2023.159 EOIR’s budget was also cut                   applying for asylum, they may be
                                                 border officials. The immigration                        $94.3 million from its inflation-adjusted             authorized to work.162 These smuggling
                                                 removal continuum—from                                   funding requirements (referred to as                  organizations have built a multi-billion-
                                                 apprehension, processing, and                            ‘‘Current Services’’).160 As a result of the          dollar industry, featuring online
                                                 inspection to protection interviews and                  significant budgetary gap, EOIR will                  marketing campaigns to spread
                                                 removal—is hampered by a lack of                         necessarily be required to reduce the                 misinformation and sophisticated
                                                 sufficient funding, resources, and tools                 Federal and contract labor force that has             logistics networks designed to quickly
                                                 at every stage.155 EOIR is underfunded,                  been supporting its immigration courts                funnel migrants to the parts of the
                                                 without sufficient resources to address                  nationwide and cut spending to                        border where DHS capacity is lower.163
                                                 the backlog of over 2.78 million cases                   technological initiatives. Specifically,                 While the emergency measures
                                                 that were pending in the immigration                     EOIR has identified a need to cut 200 of              instituted by the Proclamation are in
                                                 courts at the end of the first quarter of                its authorized Federal positions and is               effect, the Departments will put in place
                                                 FY 2024.156 This under-resourcing has                    identifying areas in which it can make                extraordinary procedures to more
                                                 contributed to the growth of this                        cuts to contracts, including those                    quickly process individuals
                                                 backlog; in FY 2023, IJs completed more                  supporting the Office of Information                  encountered at the southern border,
                                                 cases than they ever had before in a                     Technology, with the least amount of                  reducing the time noncitizens spend in
                                                 single year, but more than twice as                      impact on operations.                                 DHS facilities. The specific measures
                                                 many cases were received by the                             Similarly, the USCIS backlog of                    introduced by this rule are designed to
                                                 immigration courts as were                               affirmative asylum cases stands at over               further streamline DHS processes at the
                                                 completed.157 The FY 2024 budget                         1.16 million and is growing.161 USCIS                 border so that DHS can more quickly
                                                                                                          does not have enough AOs to keep pace                 deliver meaningful consequences to
                                                    155 See DHS, Statement from Secretary Mayorkas        with the number of individuals who                    more individuals who cross unlawfully
                                                 on the President’s Fiscal Year 2025 Budget for the       could be referred for credible fear                   or without authorization within the
                                                 U.S. Department of Homeland Security (Mar. 11,
                                                 2024), https://www.dhs.gov/news/2024/03/11/              interviews at the border, much less keep              resource and operational constraints
                                                 statement-secretary-mayorkas-presidents-fiscal-          pace with new affirmative asylum                      that have limited DHS capacity to date.
                                                 year-2025-budget-us-department (‘‘DHS reiterates         receipts or even marginally reduce the                   Under this rule, while emergency
                                                 previously submitted funding requests that are           affirmative asylum backlog. In sum, the               border circumstances persist, the way
                                                 critical to secure the border, build immigration
                                                 enforcement capacity, combat fentanyl and address        border security and immigration                       noncitizens are processed, their
                                                 domestic needs like natural disaster response,           systems are badly strained and not                    eligibility for asylum, and the way in
                                                 which Congress has failed to act on. Among them,         functioning to provide timely relief or               which their eligibility for protection is
                                                 the October funding request, which includes $8.7                                                               assessed, will change in three ways.
                                                 billion for border, immigration, and counter
                                                                                                          protection for those who warrant it or
                                                 fentanyl requirements and $9.2 billion for FEMA’s        timely consequences for those without a               First, during emergency border
                                                 Disaster Relief Fund and Nonprofit Security Grant        legal basis to remain, including those                circumstances, those who enter the
                                                 Program. Notably, the Administration’s border            without viable asylum or protection                   United States across the southern border
                                                 supplemental request includes funding to build
                                                 capacity in the areas of border security, immigration    claims.                                               and who are not described in section
                                                 enforcement, and countering fentanyl. DHS strongly          The TCOs operating in the region, and              3(b) of the Proclamation will be
                                                 supports the additional $19 billion in funding           the migrants they prey upon who intend                ineligible for asylum unless they
                                                 proposals included in the Senate’s bipartisan border     to make the dangerous journey north,                  demonstrate by a preponderance of the
                                                 legislation that would, among other things, enable
                                                 DHS to hire more CBP agents and officers, ICE
                                                                                                          have taken notice of this situation. They             evidence that exceptionally compelling
                                                 enforcement and investigative personnel, and             understand that when the capacity of                  circumstances exist. As discussed in
                                                 USCIS asylum officers and provide new tools to           DHS to quickly process individuals at                 Section III.B.3.a of this preamble, the
                                                 bolster the Department’s efforts to secure and           the border is strained, DHS is limited in             Departments expect that applying the
                                                 manage the border.’’); see also Letter for Kevin
                                                 McCarthy, Speaker of the House of Representatives,       its ability to deliver timely                         limitation on asylum eligibility will
                                                 from Shalanda D. Young, Director, OMB, at 2–3            consequences. Because of these resource               encourage noncitizens to make an
                                                 (Aug. 10, 2023), https://www.whitehouse.gov/wp-          limitations, individuals are more likely              appointment to present at the SWB, take
                                                 content/uploads/2023/08/Final-Supplemental-                                                                    advantage of other lawful migration
                                                 Funding-Request-Letter-and-Technical-                      158 Consolidated Appropriations Act, 2024, Public
                                                 Materials.pdf; The White House, Fact Sheet: White
                                                 House Calls on Congress to Advance Critical              Law 118–42, 138 Stat. 25, 133 (‘‘[f]or expenses         162 See 8 CFR 208.7, 274a.12(c)(8). Sixty-seven

                                                 National Security Priorities (Oct. 20, 2023), https://   necessary for the administration of immigration-      percent of individuals encountered by CBP at and
                                                 www.whitehouse.gov/briefing-room/statements-             related activities of the Executive Office for        between POEs at the SWB between May 2023 and
                                                 releases/2023/10/20/fact-sheet-white-house-calls-        Immigration Review, $844,000,000’’).                  March 2024 were released, including 66 percent of
                                                                                                            159 Consolidated Appropriations Act, 2023, Public
                                                 on-congress-to-advance-critical-national-security-                                                             such individuals in the second quarter of FY 2024.
                                                 priorities/; DHS, Fact Sheet: Biden-Harris               Law 117–328, 136 Stat. 4459, 4522 (2022) (‘‘[f]or     These individuals include noncitizens enrolled in
                                                 Administration Supplemental Funding Request              expenses necessary for the administration of          an ICE Alternatives to Detention program. March
                                                 (Oct. 20, 2023), https://www.dhs.gov/news/2023/10/       immigration-related activities of the Executive       2024 OHSS Persist Dataset; see also OHSS,
                                                 20/fact-sheet-biden-harris-administration-               Office for Immigration Review, $860,000,000’’);       Immigration Enforcement and Legal Processes
                                                 supplemental-funding-request.                            EOIR, FY 2024 Budget Request at a Glance, https://    Monthly Tables, https://www.dhs.gov/ohss/topics/
                                                    156 See EOIR, Adjudication Statistics: Pending        www.justice.gov/d9/2023-03/eoir_fy_24_budsum_ii_      immigration/enforcement-and-legal-processes-
                                                 Cases, New Cases, and Total Completions (Jan. 18,        omb_cleared_03.08.23.pdf (showing FY 2023             monthly-tables (last updated May 10, 2024) (‘‘CBP
                                                 2024), https://www.justice.gov/eoir/workload-and-        enacted budget providing EOIR $860 million).          SW Border Encounters Book-Out Outcomes by
                                                                                                            160 EOIR, FY 2024 Budget Request at a Glance,       Agency’’).
                                                 adjudication-statistics.
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                                                    157 See EOIR, Adjudication Statistics: New Cases      https://www.justice.gov/d9/2023-03/eoir_fy_24_          163 See, e.g., Priscilla Alvarez, Human smugglers

                                                 and Total Completions (Oct. 12, 2023), https://          budsum_ii_omb_cleared_03.08.23.pdf (providing         peddle misinformation to US-bound migrants on
                                                 www.justice.gov/d9/pages/attachments/2018/05/08/         the Current Services Adjustment as an increase of     Facebook, watchdog says, CNN (July 27, 2022),
                                                 2_new_cases_and_total_completions.pdf; EOIR,             $78.3 million, bringing the inflation-adjusted        https://www.cnn.com/2022/07/27/politics/human-
                                                 Adjudication Statistics: New Cases and Total             amount to $938.3 million).                            smuggling-misinformation/index.html; Bernd
                                                 Completions—Historical 1 (Oct. 12, 2023), https://         161 OHSS analysis of USCIS Global Affirmative       Debusmann Jr, TikTok and Title 42 rumours fuel
                                                 www.justice.gov/d9/pages/attachments/2022/09/01/         Data as of April 25, 2024 (noting that ‘‘[d]ata is    human smuggling at the US border, BBC (July 8,
                                                 3_new_cases_and_total_completions_-_                     limited to filings between FY2000 and March 31,       2023), https://www.bbc.com/news/world-us-
                                                 historical.pdf.                                          2024’’).                                              canada-65848683.



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                                                 pathways, or not undertake the                          time required to process and remove                       Congress provided the personnel,
                                                 dangerous journey north to begin with.                  noncitizens ineligible for protection has                 infrastructure, technology, and broader
                                                    Second, this rule will reduce the time               grown (during which individuals may                       reforms that the Departments have
                                                 it takes to process individuals placed in               become eligible to apply for                              requested. Communities all over the
                                                 expedited removal at the border by                      employment authorization), the                            United States are being adversely
                                                 changing the way CBP immigration                        deterrent effect of apprehending                          impacted as a result. The goal of these
                                                 officers identify and refer noncitizens                 noncitizens at the SWB has become                         measures is to quickly reduce unlawful
                                                 for credible fear interviews. Under                     more limited.167                                          and unauthorized entries at the border
                                                 current title 8 procedures, noncitizens                    The provisions in this rule are                        and to quickly impose decisions and
                                                 encountered at the border and processed                 intended to be emergency measures that                    consequences on those who cross our
                                                 for expedited removal are provided                      impact the expedited removal process                      border unlawfully and lack a legal basis
                                                 lengthy advisals regarding the credible                 and eligibility for relief or protection                  to remain.
                                                 fear and asylum process and are asked                   only for those who enter the United
                                                 questions to ascertain whether they may                 States across the southern border during                  3. Description of the Rule and
                                                 potentially have a fear of persecution or               emergency border circumstances.                           Explanation of Regulatory Changes
                                                 torture.164 During emergency border                     Unfortunately, the significant efforts the                   This rule amends the Departments’
                                                 circumstances, DHS will move to a                       Departments have made to address such                     regulations to further the purpose of the
                                                 ‘‘manifestation of fear’’ process at the                circumstances to date have not been as                    Presidential Proclamation of June 3,
                                                 border, detailed below in Section                       effective as they could have been had                     2024, which suspends and limits entry
                                                 III.B.3.b of this preamble, that will                                                                             along the southern border to address the
                                                 involve general (rather than individual)                   167 According to OHSS Persist data, Mexican            emergency border circumstances
                                                 advisals and require individuals who                    nationals continued to account for 89 percent of          outlined in that Proclamation. The rule
                                                                                                         total CBP SWB encounters in FY 2010, with
                                                 have a fear of persecution or torture to                northern Central Americans accounting for 8
                                                                                                                                                                   does so by amending 8 CFR 208.13 and
                                                 manifest that fear, verbally, non-                      percent and all other nationalities accounting for 3      1208.13 and adding regulatory
                                                 verbally, or physically, in order for DHS               percent. March 2024 OHSS Persist Dataset.                 provisions at 8 CFR 208.35, 235.15, and
                                                 personnel to refer them for a credible                  Northern Central Americans’ share of total CBP            1208.35 that (1) limit asylum eligibility
                                                                                                         SWB encounters increased to 21 percent by FY
                                                 fear interview.                                         2012 and averaged 48 percent from FY 2014 to FY
                                                                                                                                                                   for those who enter the United States
                                                    Third, the limitation on asylum                      2019, the last full year before the start of the          across the southern border during
                                                 eligibility will be considered during                   COVID–19 pandemic. Id. Nationals from all other           emergency border circumstances
                                                 credible fear interviews and reviews,                   countries except Mexico and the northern Central          described in the Proclamation and this
                                                                                                         American countries accounted for an average of 5
                                                 and those who are subject to the                        percent of total CBP SWB encounters from FY 2010          rule, are not described in section 3(b) of
                                                 limitation and are unable to establish a                to FY 2013, and for 10 percent of total encounters        the Proclamation, and do not establish
                                                 significant possibility of showing                      from FY 2014 to FY 2019. Id. This transition has          the existence of exceptionally
                                                 exceptionally compelling circumstances                  accelerated since the start of FY 2021, as Mexican        compelling circumstances; (2) alter the
                                                                                                         nationals accounted for approximately 32 percent of
                                                 will be screened for eligibility for                    total CBP SWB encounters in FY 2021 through               process for advising noncitizens of their
                                                 statutory withholding of removal and                    March 2024, including roughly 29 percent in the           rights to seek asylum and for identifying
                                                 CAT protection under a heightened                       first six months of FY 2024; northern Central             which noncitizens to refer to an AO for
                                                 ‘‘reasonable probability of persecution                 Americans accounted for roughly 25 percent from           credible fear screening during
                                                                                                         FY 2021 through March 2024 (20 percent in FY
                                                 or torture’’ standard—a higher standard                 2024 through March 2024); and all other countries         emergency border circumstances; and
                                                 than the ‘‘reasonable possibility’’                     accounted for roughly 42 percent from FY 2021             (3) alter the standard for screening for
                                                 standard under the Circumvention of                     through March 2024, including roughly 51 percent          statutory withholding of removal and
                                                                                                         of FY 2024 encounters through March 2024. Id.             CAT protection while such
                                                 Lawful Pathways rule.
                                                                                                            For noncitizens encountered at and between SWB
                                                    As the Departments described more                    POEs from FY 2014 through FY 2019 who were
                                                                                                                                                                   circumstances exist.168 Below is an
                                                 fully in the Circumvention of Lawful                    placed in expedited removal, nearly 6 percent of          explanation of the limitation and each
                                                 Pathways rule, the current asylum                       Mexican nationals made fear claims that were              change to the expedited removal and
                                                 system—in which a high number of                        referred to USCIS for determination. OHSS analysis        fear screening process. The specific
                                                                                                         of Enforcement Lifecycle data as of December 31,
                                                 migrants are initially determined to be                 2023. In contrast, as discussed in Section III.B.3.a.iv
                                                                                                                                                                   content of each provision and
                                                 eligible to pursue their claims, even                   of this preamble, from May 12, 2023 to March 31,          amendment is set forth in detail in
                                                 though most ultimately are not granted                  2024, 29 percent of all Mexican nationals processed       Section III.C of this preamble.
                                                 asylum or protection at the merits                      for expedited removal at the SWB made fear claims,
                                                                                                         including 39 percent in February 2024. OHSS               a. Limitation on Asylum Eligibility
                                                 stage—has contributed to the growing                    analysis of UIP ER Daily Report Data Dashboard as
                                                 backlog of cases awaiting review by                     of April 2, 2024.
                                                                                                                                                                      As discussed above in Sections III.B.1
                                                 IJs.165 The practical result is that those                 For noncitizens encountered at and between SWB         and 2 of this preamble, irregular
                                                 with meritorious claims may have to                     POEs from FY 2014 through FY 2019, nearly 57              migration is continuing to strain the
                                                 wait years for their claims to be granted,
                                                                                                         percent of people from northern Central America           Departments’ ability to timely process,
                                                                                                         (i.e., El Salvador, Guatemala, and Honduras), and         detain, and remove, as appropriate, and
                                                 while individuals who are ultimately                    close to 90 percent of all other nationalities made
                                                 denied protection may spend years in                    fear claims that were referred to USCIS for
                                                                                                                                                                      168 The Departments understand that the
                                                 the United States before being issued a                 determination. OHSS analysis of Enforcement
                                                                                                         Lifecycle data as of December 31, 2023. Of note,          President has directed the agencies to promptly
                                                 final order of removal.166 As the                       according to OHSS analysis of historic EOIR and           consider issuing ‘‘any instructions, orders, or
                                                 demographics of border encounters have                  CBP data, there is a clear correlation since FY 2000      regulations as may be necessary to address the
                                                 shifted in recent years to include                      between the increasing time it takes to complete          circumstances at the southern border.’’ Such actions
                                                                                                                                                                   may include other measures that are not addressed
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                                                                                                         immigration proceedings, which results in a lower
                                                 Mexicans claiming fear at a higher rate,                share of noncitizens being removed, and the growth        in this rule, and the Departments have considered
                                                 and large numbers of non-Mexicans—                      in non-Mexican encounters at and between SWB              and are continuing to consider such other actions.
                                                 who have historically been far more                     POEs. Both trends accelerated in the 2010s, as non-       The Departments believe that the changes made in
                                                 likely to assert fear claims—and as the                 Mexicans became the majority of such encounters,          this rule are the most appropriate means to begin
                                                                                                         and they have accelerated further since FY 2020, as       addressing the concerns identified in the
                                                                                                         people from countries other than Mexico and               Proclamation, and the Departments will assess the
                                                   164 8 CFR 235.3(b)(2).
                                                                                                         northern Central America now account for the              effectiveness of this rule as they continue to
                                                   165 88 FR at 31315.
                                                                                                         largest numbers of such encounters. OHSS analysis         consider other actions to respond to the President’s
                                                   166 See supra note 25.                                of March 2024 OHSS Persist Dataset.                       direction.



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                                                 thus to swiftly deliver timely decisions                   The limitation on asylum eligibility is               are subject to this limitation on asylum
                                                 and timely consequences to noncitizens                  needed to address the emergency border                   eligibility, including those who evade
                                                 at the southern border. This challenge is               circumstances outlined in the                            detection at the southern border and are
                                                 exacerbated by the sheer number of                      Proclamation and this rule and responds                  later placed in section 240 removal
                                                 migrants who invoke credible fear                       to the President’s direction to the                      proceedings, as well as those who
                                                 procedures at a POE or when they are                    Secretary of Homeland Security and the                   affirmatively apply for asylum. The
                                                 encountered between POEs without                        Attorney General to promptly consider                    Departments have considered applying
                                                 following the lawful, safe, and orderly                 issuing such instructions, orders, or                    the rule’s asylum limitation only to
                                                 processes that DHS has made available.                  regulations as may be necessary to                       those who enter and are encountered at
                                                 The Departments have implemented the                    address the circumstances at the                         the southern border during emergency
                                                 Circumvention of Lawful Pathways rule                   southern border, including any                           border circumstances. The Departments
                                                 and complementary measures, but                         additional limitations and conditions on                 believe, however, that the rule’s asylum
                                                 Congress has not provided the resources                 asylum eligibility that they determine                   limitation should avoid creating an
                                                 necessary to timely and effectively                     are warranted, subject to any exceptions                 incentive for noncitizens to take risky
                                                 process and interview all those who                     that they determine are warranted.                       measures to evade detection, which
                                                 invoke credible fear procedures through                 Under the circumstances described in                     would further strain resources dedicated
                                                 the expedited removal process at the                    the Proclamation, the Departments                        to apprehension at the border.170
                                                 southern border, particularly during                    assess that the limitation on asylum is                     Additionally, the approach adopted in
                                                 times in which the country’s border                     necessary to help streamline the                         this rule is consistent with the
                                                 faces an emergency of the magnitude                     Departments’ processing of noncitizens,                  Circumvention of Lawful Pathways rule,
                                                 described in the Proclamation. The                      thereby conserving limited resources                     which, with narrow exceptions, applies
                                                 record numbers of migrants invoking                     during the emergency border                              to all those who enter during the two-
                                                 the credible fear procedures at the                     circumstances described in the                           year period currently specified in that
                                                 southern border exacerbate the risk of                  Proclamation and this rule and allowing                  rule, regardless of whether they are
                                                 severe overcrowding in USBP facilities                  for enough resources to continue to                      apprehended at or near the border
                                                 and POEs, and it creates a situation in                 process lawful cross-border trade and                    during the 14-day period immediately
                                                 which large numbers of migrants—only                    travel and noncitizens who present in a                  after entry or within 100 miles of the
                                                 a small proportion of whom are likely                   safe and orderly manner at a POE.169                     border. See 8 CFR 208.33(c), 1208.33(d).
                                                 to be granted asylum—are not able to be                    The Departments have further made                     Moreover, the Departments note that the
                                                 expeditiously removed but are instead                   the determination to apply the                           provisions of §§ 208.35(b) and 235.15
                                                 referred to backlogged immigration                      limitation on asylum eligibility to those                would be applicable only to those who
                                                 courts. This situation is self-reinforcing:             who enter the United States across the                   have entered the United States during
                                                 the expectation of a lengthy stay in the                southern border during emergency                         the emergency border circumstances
                                                 United States and the lack of timely                    border circumstances irrespective of                     described in the Proclamation and this
                                                 consequences for irregular migration                    whether the noncitizen is encountered                    rule and are processed for expedited
                                                 encourage more migrants without                         during such emergency border                             removal. Thus, those provisions would
                                                 potentially meritorious claims for                      circumstances. This will permit a                        not apply to those who have long since
                                                 asylum to make the dangerous journey                    consistent application of the rule to all                entered the United States. Accordingly,
                                                 to the southern border to invoke                        those who enter across the southern                      the Departments have determined that it
                                                                                                         border during such circumstances and
                                                 credible fear procedures at the southern                                                                         is reasonable to apply this rule’s
                                                 border and take their chances on being                     169 When it comes to determining the
                                                                                                                                                                  limitation on asylum eligibility
                                                 allowed to remain in the country for a                  applicability of the Proclamation, CBP immigration       consistent with the Circumvention of
                                                 lengthy period.                                         officers, who first encounter noncitizens when they      Lawful Pathways rule, without regard to
                                                                                                         enter or attempt to enter, must determine whether        the date of encounter or commencement
                                                    For these reasons, pursuant to section               a noncitizen is subject to the Proclamation under
                                                 208(b)(1)(A), (b)(2)(C), (d)(5)(B) of the               section 3(a), including whether the noncitizen is
                                                                                                                                                                  of proceedings.
                                                 INA, 8 U.S.C. 1158(b)(1)(A), (b)(2)(C),                 excluded from the suspension and limitation on              Even if a noncitizen entered the
                                                 (d)(5)(B), the Departments are adopting                 entry under section 3(b). See 8 CFR 208.35(a),           United States across the southern border
                                                                                                         1208.35(a). The Departments anticipate that, when        during emergency border circumstances
                                                 a limitation on asylum eligibility for                  determining whether the limitation on asylum
                                                 noncitizens who (1) enter the United                    eligibility applies, AOs and IJs will rarely have        and is not described in section 3(b) of
                                                 States across the southern border during                grounds to reach a different result from the CBP         the Proclamation, they may avoid
                                                                                                         immigration officers. See 8 CFR 208.35(b),               application of the limitation on asylum
                                                 emergency border circumstances; (2) are                 1208.35(b). In part, the Proclamation’s application
                                                 not described in section 3(b) of the                    turns on straightforward questions of status—e.g.,
                                                                                                                                                                  eligibility if they establish by a
                                                 Proclamation; and (3) do not establish                  whether someone was a noncitizen, Proclamation           preponderance of the evidence that
                                                 exceptionally compelling                                sec. 3(a)(i); was a noncitizen national, id. sec.        exceptionally compelling circumstances
                                                                                                         3(b)(i); was a lawful permanent resident, id. sec.       exist.171 Such circumstances necessarily
                                                 circumstances. See 8 CFR 208.13(g),                     3(b)(ii); was a UC, id. sec. 3(b)(iii); or had a valid
                                                 208.35(a), 1208.13(g), 1208.35(a).                      visa or other lawful permission to seek entry or
                                                                                                                                                                     170 The Departments note that adjudicators
                                                 Section 3(b) of the Proclamation lists                  admission into the United States or presented at a
                                                                                                         POE pursuant to a pre-scheduled time and place,          already make determinations regarding the
                                                 classes of individuals to whom the                                                                               noncitizen’s date of arrival when determining
                                                                                                         id. sec. 3(b)(v). The Proclamation’s application also
                                                 Proclamation’s suspension and                           turns on questions of historical fact, including         whether the noncitizen is barred from filing an
                                                 limitation on entry and this limitation                 whether the suspension and limitation on entry was       asylum application (unless meeting an exception)
                                                 on asylum eligibility does not apply;                                                                            within one year of arrival. See INA 208(a)(2)(B) and
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                                                                                                         in place at the relevant time, id. sec. 3(a), and
                                                                                                         whether someone was ‘‘permitted to enter by . . .        (D), 8 U.S.C. 1158(a)(2)(B) and (D).
                                                 those classes are discussed in Section                                                                              171 The Departments decline to adopt an
                                                                                                         a CBP immigration officer’’ based on two sets of
                                                 II.A of this preamble. The exceptionally                specified considerations ‘‘at the time of the entry or   exception mirroring the exception from the
                                                 compelling circumstances exception to                   encounter that warranted permitting the noncitizen       Circumvention of Lawful Pathways rule for those
                                                 this rule’s limitation on asylum                        to enter,’’ id. Sec. 3(b)(vi)–(vii). These two           who present at a POE without a pre-scheduled time
                                                                                                         exceptions allow CBP immigration officers to             and place but show that it was not possible to
                                                 eligibility is discussed below in                       permit the entry of noncitizens who present at the       access or use the DHS scheduling system due to
                                                 Sections III.B.3.a and III.C.2 of this                  encounter with—for example—medical issues                language barrier, illiteracy, significant technical
                                                 preamble.                                               requiring immediate attention. See id. sec. 3(b)(vi).    failure, or other ongoing and serious obstacle. See



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                                                 exist where the noncitizen demonstrates                   adequately addressed outside of the                   family unity provision in the
                                                 that, at the time of entry, the noncitizen                United States. Examples of imminent                   Circumvention of Lawful Pathways rule,
                                                 or a member of the noncitizen’s family                    and extreme threats would include                     see 8 CFR 1208.33(c), where a principal
                                                 as described in 8 CFR 208.30(c) with                      imminent threats of rape, kidnapping,                 asylum applicant is eligible for statutory
                                                 whom the noncitizen was traveling                         torture, or murder that the noncitizen                withholding of removal or CAT
                                                 faced an acute medical emergency;                         faced at the time the noncitizen crossed              protection and would be granted asylum
                                                 faced an imminent and extreme threat to                   the southern border, such that they                   but for the limitation on eligibility
                                                 their life or safety; or was a ‘‘victim of                cannot wait for an appointment at a pre-              established in this rule, and where an
                                                 a severe form of trafficking in persons’’                 scheduled time and place or until this                accompanying spouse or child as
                                                 as defined in 8 CFR 214.11.172 8 CFR                      IFR’s limitation on asylum eligibility is             defined in section 208(b)(3)(A) of the
                                                 208.35(a)(2)(i), 1208.35(a)(2)(i). Acute                  not in effect for an opportunity to                   INA, 8 U.S.C. 1158(b)(3)(A), does not
                                                 medical emergencies would include, but                    present at a POE without putting their                independently qualify for asylum or
                                                 would not be limited to, situations in                    life or well-being at extreme risk; it                other protection from removal or the
                                                 which someone faces a life-threatening                    would not include generalized threats of              principal asylum applicant has a spouse
                                                 medical emergency or faces acute and                      violence.                                             or child who would be eligible to follow
                                                 grave medical needs that cannot be                           The ‘‘exceptionally compelling                     to join that applicant as described in
                                                                                                           circumstances’’ exception mirrors the                 section 208(b)(3)(A) of the INA, 8 U.S.C.
                                                 8 CFR 208.33(a)(2)(ii)(B), 1208.33(a)(2)(ii)(B). This     rebuttal circumstance the Departments                 1158(b)(3)(A), the noncitizen shall be
                                                 rule, unlike the Circumvention of Lawful Pathways         adopted in the Circumvention of Lawful                excepted from the limitation on
                                                 rule, applies only in the emergency circumstances
                                                 described in the Proclamation and the rule, where
                                                                                                           Pathways rule. See 8 CFR                              eligibility by the IJ if placed in section
                                                 encounters strain the border security and                 208.33(a)(3)(i), 1208.33(a)(3)(i). That               240 removal proceedings. 8 CFR
                                                 immigration systems’ capacity. And although the           exception is adopted here for the                     1208.35(c). The Departments have
                                                 Circumvention of Lawful Pathways rule was also            reasons articulated for adopting it in the            determined that the possibility of
                                                 aimed at reducing irregular migration, it was
                                                 focused on encouraging the use of lawful pathways,
                                                                                                           Circumvention of Lawful Pathways                      separating the family should be avoided.
                                                 rather than the number of daily entrants. In these        NPRM and rule and the exception is                    See E.O. 14011, Establishment of
                                                 emergency border circumstances, this rule’s               intended to apply to the same                         Interagency Task Force on the
                                                 exception for ‘‘exceptionally compelling                  circumstances identified in that NPRM                 Reunification of Families, 86 FR 8273,
                                                 circumstances’’ captures individuals with a time-
                                                 sensitive imperative; such individuals may also be
                                                                                                           and rule. See, e.g., 88 FR at 11723; 88               8273 (Feb. 2, 2021) (‘‘It is the policy of
                                                 permitted to enter under one of the exceptions in         FR at 31318, 31338, 31348, 31351,                     my Administration to respect and value
                                                 section 3(b) of the Proclamation. And in these            31380, 31390, 31391–93.                               the integrity of families seeking to enter
                                                 emergency border circumstances, the Departments              Like the Circumvention of Lawful                   the United States.’’).
                                                 have determined that individuals who do not               Pathways rule, this rule recognizes an
                                                 qualify for this exception should wait for a CBP One
                                                                                                                                                                    In the Circumvention of Lawful
                                                 appointment. Moreover, under the Circumvention            additional exception that avoids the                  Pathways rule, the Departments
                                                 of Lawful Pathways rule, this exception requires          separation of families. See 8 CFR                     included a family unity provision in
                                                 additional questioning of any noncitizen who              208.35(c), 1208.35(c). Those noncitizens              EOIR’s regulations but not DHS’s. The
                                                 entered at a POE and is subject to the rule—time          who are subject to the limitation on
                                                 that, in the aggregate, could diminish the
                                                                                                                                                                 Departments did so because they
                                                 Departments’ ability to deploy resources to address       asylum eligibility and who do not                     decided at that time that those who an
                                                 the emergency circumstances that support                  establish exceptionally compelling                    AO concludes are subject to the Lawful
                                                 application of this rule.                                 circumstances under 8 CFR                             Pathways presumption and who are not
                                                    In addition, the Departments did not include an        208.35(a)(2)(i) or 1208.35(a)(2)(i) would             able to establish an exception or rebut
                                                 exception for a noncitizen who sought asylum or
                                                 other protection in a country through which the
                                                                                                           be able to continue to apply for statutory            the presumption during a credible fear
                                                 noncitizen traveled and received a final decision         withholding of removal and protection                 screening may not be placed into the
                                                 denying that application. See 8 CFR                       under the CAT, forms of protection to                 asylum merits interview process and
                                                 208.33(a)(2)(ii)(C), 1208.33(a)(2)(ii)(C). This rule      which the limitation does not apply if                may instead only be issued an NTA and
                                                 serves a different purpose than 8 CFR                     placed in section 240 removal
                                                 208.33(a)(2)(ii)(C) and 1208.33(a)(2)(ii)(C);
                                                                                                                                                                 placed into section 240 removal
                                                 specifically, this rule is aimed at deterring irregular   proceedings. Unlike asylum, spouses                   proceedings. See 88 FR at 11725–26; 88
                                                 migration and speeding up the border process              and minor children are not eligible for               FR at 31336–37. For purposes of this
                                                 during a period of high encounters, rather than           derivative grants of statutory                        rule, the Departments have allowed for
                                                 encouraging noncitizens to seek protection in other       withholding of removal or CAT
                                                 countries. During the emergency border
                                                                                                                                                                 an asylum merits interview process at
                                                 circumstances described in the Proclamation and           protection. Compare INA 208(b)(3)(A), 8               the discretion of USCIS that includes
                                                 this rule, narrowing the exceptions to those who are      U.S.C. 1158(b)(3)(A) (‘‘[a] spouse or                 USCIS discretion to apply a parallel
                                                 unable to wait for an appointment is key. Those           child . . . of an alien who is granted                family unity provision. See 8 CFR
                                                 who sought and were denied protection in another          asylum under this subsection may, if                  208.35(c). This provision is
                                                 country will still be eligible for asylum if they enter
                                                 pursuant to an appointment, meet another
                                                                                                           not otherwise eligible for asylum under               discretionary to allow USCIS flexibility
                                                 exception to the Proclamation, or establish               this section, be granted the same status              as it implements the new process. The
                                                 exceptionally compelling circumstances, such as           as the alien if accompanying, or                      Departments request comment on
                                                 that at the time of entry they faced an acute medical     following to join, such alien’’), with INA            whether to adopt a non-discretionary
                                                 emergency or an imminent and extreme threat to
                                                 life or safety.
                                                                                                           241(b)(3), 8 U.S.C. 1231(b)(3) (not                   family unity provision for the asylum
                                                    172 The Departments note that noncitizens who          providing for derivative statutory                    merits interview process in a final rule.
                                                 are a ‘‘victim of a severe form of trafficking in         withholding of removal), and 8 CFR
                                                 persons’’ are already excepted from the                   1208.16(c) (not providing for derivative              i. Authority To Impose Additional
                                                 Proclamation’s suspension and limitation on entry                                                               Limitations on Asylum Eligibility
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                                                                                                           CAT protection); see also Sumolang v.
                                                 as provided in section 3(b) of the Proclamation and
                                                 are therefore also not subject to the rule’s limitation
                                                                                                           Holder, 723 F.3d 1080, 1083 (9th Cir.                    The Secretary and the Attorney
                                                 on asylum eligibility. Nonetheless, the Departments       2013) (recognizing that the asylum                    General have authority to adopt this
                                                 have opted to retain ‘‘victims of severe form of          statute allows for derivative                         additional limitation on asylum
                                                 trafficking in persons’’ as an exceptional                beneficiaries of the principal applicant              eligibility. Both have long exercised
                                                 circumstance to avoid any confusion and to ensure
                                                 that the exceptions in this rule mirror the rebuttal
                                                                                                           for asylum, but that the withholding of               discretion, now expressly authorized by
                                                 circumstances the Departments adopted in the              removal statute makes no such                         Congress, to create new rules governing
                                                 Circumvention of Lawful Pathways rule.                    allowance). Again, mirroring EOIR’s                   the granting of asylum. When section


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                                                 208 of the INA was first enacted as part                exercise of his or her discretion, shall                  conditions on the granting of asylum.
                                                 of the Refugee Act of 1980, it simply                   deny the asylum application.’’ 174 8 CFR                  The INA provides that the Attorney
                                                 provided that the Attorney General                      208.13(b)(1)(i), 1208.13(b)(1)(i). In 1990,               General and Secretary ‘‘may by
                                                 ‘‘shall establish a procedure’’ for a                   Congress added a mandatory statutory                      regulation establish additional
                                                 noncitizen ‘‘to apply for asylum,’’ and                 bar for those with aggravated felony                      limitations and conditions, consistent
                                                 that the noncitizen ‘‘may be granted                    convictions. Immigration Act of 1990,                     with [section 208], under which an alien
                                                 asylum in the discretion of the Attorney                Public Law 101–649, sec. 515, 104 Stat.                   shall be ineligible for asylum.’’ INA
                                                 General if the Attorney General                         4978, 5053.                                               208(b)(2)(C), 8 U.S.C. 1158(b)(2)(C); see
                                                 determines that such [noncitizen] is a                     With the passage of IIRIRA, Congress                   6 U.S.C. 552(d); INA 103(a)(1), 8 U.S.C.
                                                 refugee within the meaning of section                   added three categorical statutory bars to                 1103(a)(1). In addition, while section
                                                 1101(a)(42)(A).’’ 8 U.S.C. 1158(a) (1982).              the ability to apply for asylum for (1)                   208(d)(5) of the INA, 8 U.S.C.
                                                 In 1980, the Attorney General, in the                   noncitizens who can be removed,                           1158(d)(5), establishes certain
                                                 exercise of that broad statutory                        pursuant to a bilateral or multilateral                   procedures for consideration of asylum
                                                 discretion, established several                         agreement, to a third country where                       applications, Congress specified that the
                                                 mandatory bars to the granting of                       they would not be persecuted on                           Attorney General and Secretary ‘‘may
                                                 asylum. See 8 CFR 208.8(f)(1) (1980);                   account of a specified ground; (2)                        provide by regulation for any other
                                                 Aliens and Nationality; Refugee and                     noncitizens who failed to apply for                       conditions or limitations on the
                                                 Asylum Procedures, 45 FR 37392, 37392                   asylum within one year of arriving in                     consideration of an application for
                                                 (June 2, 1980). In 1990, the Attorney                   the United States; and (3) noncitizens                    asylum’’ so long as those conditions or
                                                 General substantially amended the                       who have previously applied for asylum                    limitations are ‘‘not inconsistent with
                                                 asylum regulations, but exercised his                   and had the application denied. Public                    this chapter,’’ INA 208(d)(5)(B), 8 U.S.C.
                                                 discretion to retain the mandatory bars                 Law 104–208, div. C, sec. 604, 110 Stat.                  1158(d)(5)(B). In sum, the current
                                                 to asylum eligibility related to                        3009, 3009–690 to –691. Congress also                     statutory framework retains the broad
                                                 persecution of others on account of a                   adopted six mandatory bars to asylum                      discretion of the Attorney General (and,
                                                 protected ground, conviction of a                       eligibility that largely reflected the pre-               after the HSA, also the Secretary) to
                                                 particularly serious crime in the United                existing, discretionary bars that had                     adopt additional limitations on the
                                                 States, firm resettlement in another                    been set forth in the Attorney General’s                  granting of asylum and procedures for
                                                 country, and the existence of reasonable                asylum regulations. These bars cover (1)                  implementing those limitations.
                                                 grounds to regard the noncitizen as a                   noncitizens who ‘‘ordered, incited,                          Previous Attorneys General and
                                                 danger to the security of the United                    assisted, or otherwise participated’’ in                  Secretaries have since invoked their
                                                 States. See Aliens and Nationality;                     the persecution of others; (2)                            authorities under section 208 of the
                                                 Asylum and Withholding of Deportation                   noncitizens who, having been convicted                    INA, 8 U.S.C. 1158, to establish
                                                 Procedures, 55 FR 30674, 30678, 30683                   of a ‘‘particularly serious crime,’’                      eligibility bars beyond those required by
                                                 (July 27, 1990); see also Yang v. INS, 79               constitute a danger to the United States;                 the statute itself. See, e.g., Asylum
                                                 F.3d 932, 936–39 (9th Cir. 1996)                        (3) noncitizens for whom there are                        Procedures, 65 FR 76121, 76126 (Dec. 6,
                                                 (upholding firm-resettlement bar);                      serious reasons to believe committed a                    2000) (requiring consideration of the
                                                 Komarenko v. INS, 35 F.3d 432, 436 (9th                 ‘‘serious nonpolitical crime outside the                  applicant’s ability to relocate safely in
                                                 Cir. 1994) (upholding particularly-                     United States’’ before arriving in the                    his or her home country in assessing
                                                 serious-crime bar), abrogated on other                  United States; (4) noncitizens for whom                   asylum eligibility); Aliens Subject to a
                                                 grounds by Abebe v. Mukasey, 554 F.3d                   there are reasonable grounds to regard                    Bar on Entry Under Certain Presidential
                                                 1203 (9th Cir. 2009) (en banc).                         as a ‘‘danger to the security of the                      Proclamations; Procedures for
                                                    In that 1990 rule, the Attorney                      United States’’; (5) noncitizens who are                  Protection Claims, 83 FR 55934 (Nov. 9,
                                                 General also codified another limitation                removable under a set of specified                        2018) (‘‘Proclamation Bar IFR’’) (limit
                                                 that was first discussed in Matter of                   grounds relating to terrorist activity; and               on eligibility for applicants subject to
                                                 Chen, 20 I&N Dec. 16 (BIA 1989). 55 FR                  (6) noncitizens who were ‘‘firmly                         certain presidential proclamations); 175
                                                 at 30678. Specifically, although the                    resettled’’ in another country prior to                   Asylum Eligibility and Procedural
                                                 statute defines a ‘‘refugee’’ and thus                  arriving in the United States. Id. at                     Modifications, 85 FR 82260 (Dec. 17,
                                                 allows asylum for a noncitizen based on                 3009–691 (codified at INA 208(b)(2)(A),                   2020) (‘‘TCT Bar final rule’’) (limit on
                                                 a showing of past ‘‘persecution or a                    8 U.S.C. 1158(b)(2)(A)). Congress further                 eligibility for certain noncitizens who
                                                 well-founded fear of persecution,’’ INA                 added that aggravated felonies, defined                   failed to apply for protection while in a
                                                 101(a)(42)(A), 8 U.S.C. 1101(a)(42)(A),                 in section 101(a)(43) of the INA, 8                       third country through which they
                                                 by regulation, a showing of past                        U.S.C. 1101(a)(43), would be considered                   transited en route to the United
                                                 persecution only gives rise to a                        ‘‘particularly serious crime[s].’’ Id. at                 States); 176 Procedures for Asylum and
                                                 presumption of a well-founded fear of                   3009–692 (codified at INA                                 Bars to Asylum Eligibility, 85 FR 67202
                                                 future persecution, which can be                        208(b)(2)(B)(i), 8 U.S.C. 1158(b)(2)(B)(i)).              (Oct. 21, 2020) (limits on eligibility for
                                                 rebutted by showing that circumstances                     In IIRIRA, Congress also made clear                    noncitizens convicted of certain
                                                 have changed such that the noncitizen                   that the Executive Branch may continue                    criminal offenses); 177 Inspection and
                                                 no longer has a well-founded fear of                    to exercise its broad discretion in                       Expedited Removal of Aliens; Detention
                                                 future persecution or that the noncitizen               determining whether to grant asylum by                    and Removal of Aliens; Conduct of
                                                 can relocate to avoid persecution and                   creating additional limitations and
                                                                                                                                                                     175 See O.A. v. Trump, 404 F. Supp. 3d 109
                                                 under all the circumstances it is                                                                                 (D.D.C. 2019) (vacating Proclamation Bar IFR).
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                                                                                                           174 There is a narrow exception to this mandatory
                                                 reasonable to expect the noncitizen to                  discretionary ground for denial, called                     176 See E. Bay Sanctuary Covenant v. Barr, 519 F.

                                                 do so.173 8 CFR 208.13(b)(1),                           ‘‘humanitarian asylum,’’ where the noncitizen             Supp. 3d 663 (N.D. Cal. 2021) (preliminarily
                                                 1208.13(b)(1). Where the presumption is                 establishes ‘‘compelling reasons for being unwilling      enjoining the TCT Bar final rule).
                                                                                                         or unable to return to the [noncitizen’s] country           177 See Pangea Legal Servs. v. U.S. Dep’t of
                                                 rebutted, the adjudicator, ‘‘in the                     arising out of the severity of . . . past persecution’’   Homeland Sec., 501 F. Supp. 3d 792, 827 (N.D. Cal.
                                                                                                         or ‘‘that there is a reasonable possibility that [the     2020) (granting temporary restraining order against
                                                   173 As noted below, the internal relocation           non-citizen] may suffer other serious harm upon           operation of the rule and ordering defendants to
                                                 provision was added in 2000 by Asylum                   removal to [the noncitizen’s] country.’’ 8 CFR            show cause why the rule should not be
                                                 Procedures, 65 FR 76121, 76126 (Dec. 6, 2000).          208.13(b)(1)(iii), 1208.13(b)(1)(iii).                    preliminarily enjoined).



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                                                 Removal Proceedings; Asylum                             United States waters), irrespective of                 categorical bar based on ‘‘manner of
                                                 Procedures, 62 FR 10312, 10342 (Mar. 6,                 such alien’s status, may apply for                     entry’’ because it applies only to
                                                 1997) (IFR codifying mandatory bars                     asylum.’’ Id. at 670.179                               individuals who enter during
                                                 and adding provision allowing for                          The Departments regard this rule as                 emergency border circumstances and
                                                 discretionary denials of asylum where                   substantially different than the rule the              would not treat solely the manner of
                                                 ‘‘the alien can be removed to a third                   Ninth Circuit deemed invalid in East                   entry as dispositive in determining
                                                 country which has offered resettlement                  Bay III. The Proclamation and limitation               eligibility even during such
                                                 and in which the alien would not face                   on asylum eligibility at issue here differ             circumstances, given that the rule
                                                 harm or persecution’’); see also Yang, 79               significantly from the prior categorical               applies both at and between POEs and
                                                 F.3d at 936–39 (upholding firm-                         bar on ‘‘manner of entry’’ because they                in light of the exceptions available
                                                 resettlement bar); Komarenko, 35 F.3d at                do not treat the manner of entry as                    under section 3(b) of the Proclamation
                                                 436 (upholding particularly-serious-                    dispositive in determining eligibility.                and for exceptionally compelling
                                                 crime bar). Consistent with this                        Rather, the limitation at issue here turns             circumstances under 8 CFR 208.35(a)(2)
                                                 historical practice, the Secretary and                  on whether—during emergency border                     and 1208.35(a)(2).
                                                 Attorney General exercised this                         circumstances described in the                            Moreover, the Departments disagree
                                                 authority when adopting the Lawful                      Proclamation and this rule—an                          with important aspects of the reasoning
                                                 Pathways presumption of asylum                          individual has followed the lawful, safe,              that the district court and Ninth Circuit
                                                 ineligibility. See Circumvention of                     and orderly pathways that the United                   relied upon in East Bay III. The
                                                 Lawful Pathways rule, 88 FR 31314.178                   States Government has established                      Departments argued in East Bay III that
                                                 ii. Litigation Over the Proclamation Bar                during these emergency situations when                 section 208(a)(1) of the INA, 8 U.S.C.
                                                 IFR                                                     it is essential that noncitizens use such              1158(a)(1), by its plain terms requires
                                                                                                         pathways to ensure the United States                   only that a noncitizen be permitted to
                                                    This rule places a limitation on                     Government’s ability to manage the
                                                 asylum eligibility for those noncitizens                                                                       ‘‘apply’’ for asylum, regardless of their
                                                                                                         border. And even during these                          manner of entry. It does not require that
                                                 who are described in the Proclamation                   situations, AOs and IJs have the ability
                                                 subject to certain exceptions. The                                                                             a noncitizen be eligible to be granted
                                                                                                         to except noncitizens from the rule’s                  asylum, regardless of their manner of
                                                 Departments acknowledge prior judicial                  asylum limitation where the noncitizens
                                                 decisions addressing a different limit on                                                                      entry. Indeed, the BIA has long taken
                                                                                                         establish that an exceptionally                        account of a noncitizen’s manner of
                                                 asylum eligibility adopted pursuant to                  compelling circumstance exists. See 8
                                                 section 208(b)(2)(C) of the INA, 8 U.S.C.                                                                      entry in determining whether to grant
                                                                                                         CFR 208.35(a)(2)(i), 1208.35(a)(2)(i). For             asylum. See Matter of Pula, 19 I&N Dec.
                                                 1158(b)(2)(C), relating to suspensions
                                                                                                         example, a noncitizen may be excepted                  467, 473 (BIA 1987) (holding that
                                                 and limitations on entry by presidential
                                                                                                         from the limitation on asylum eligibility              ‘‘manner of entry . . . is a proper and
                                                 proclamation under section 212(f) of the
                                                                                                         if they experienced an acute medical                   relevant discretionary factor to consider
                                                 INA, 8 U.S.C. 1182(f). In East Bay
                                                                                                         emergency at the time of entry                         in adjudicating asylum applications’’).
                                                 Sanctuary Covenant v. Biden, 993 F.3d
                                                                                                         regardless of where that entry occurred.               The court in East Bay III rejected this
                                                 640 (9th Cir. 2021) (‘‘East Bay III’’), the
                                                                                                         Other exceptionally compelling                         argument, stating that ‘‘[e]xplicitly
                                                 Ninth Circuit affirmed a preliminary
                                                                                                         circumstances include, but are not                     authorizing a refugee to file an asylum
                                                 injunction against the Proclamation Bar
                                                                                                         limited to, if the noncitizen                          application because he arrived between
                                                 IFR, which categorically rendered
                                                 certain noncitizens ineligible for asylum               demonstrates that, at the time of entry,               ports of entry and then summarily
                                                 if they entered the United States in                    the noncitizen or a member of their                    denying the application for the same
                                                 violation of a presidential proclamation                family as described in 8 CFR 208.30(c)                 reason borders on absurdity,’’ 993 F.3d
                                                 or other presidential order suspending                  with whom the noncitizen was traveling                 at 670 (emphasis omitted), but the
                                                 or limiting the entry of noncitizens                    faced an imminent and extreme threat to                statute draws a clear distinction
                                                 along the southern border. The relevant                 their life or safety or was a ‘‘victim of              between the two. Section 208(a) of the
                                                 presidential proclamation in that case                  a severe form of trafficking in persons’’              INA, 8 U.S.C. 1158(a), governs who may
                                                 suspended entry of all migrants along                   as defined in 8 CFR 214.11. 8 CFR                      ‘‘apply for asylum’’ and includes several
                                                 the southern border except those who                    208.35(a)(2)(i)(B)–(C),                                categorical bars, such as the bar for
                                                 entered at a POE. See id. at 659. The                   1208.33(a)(2)(i)(B)–(C). Indeed, the                   applications for noncitizens present in
                                                 court held that the Proclamation Bar IFR                rule’s exceptionally compelling                        the country for more than one year. INA
                                                 was inconsistent with section 208(a) of                 circumstances exception is identical to                208(a)(1), (2)(B), 8 U.S.C. 1158(a)(1),
                                                 the INA, 8 U.S.C. 1158(a), which                        the grounds that would rebut the                       (2)(B); see INA 241(a)(5), 8 U.S.C.
                                                 provides that any migrant ‘‘who is                      presumption of asylum ineligibility                    1231(a)(5). Section 208(b) of the INA, 8
                                                 physically present in the United States                 under the Circumvention of Lawful                      U.S.C. 1158(b), in turn, governs who is
                                                 or who arrives in the United States                     Pathways rule, which has been allowed                  eligible to be granted asylum.
                                                 (whether or not at a designated port of                 to continue in effect despite litigation               Specifically, section 208(b)(1)(A) of the
                                                 arrival and including an alien who is                   challenging its validity. See E. Bay                   INA, 8 U.S.C. 1158(b)(1)(A), provides
                                                 brought to the United States after having               Sanctuary Covenant v. Biden, No. 23–                   that the Attorney General or the
                                                 been interdicted in international or                    16032, 2023 WL 11662094, at *1 (9th                    Secretary ‘‘may grant asylum to an alien
                                                                                                         Cir. Aug. 3, 2023) (staying order                      who has applied,’’ INA 208(b)(2), 8
                                                   178 The Circumvention of Lawful Pathways rule         vacating Circumvention of Lawful                       U.S.C. 1158(b)(2), then specifies six
                                                 was vacated by East Bay Sanctuary Covenant v.           Pathways rule pending appeal).                         categories of noncitizens to whom
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                                                 Biden, 683 F. Supp. 3d 1025 (N.D. Cal. 2023). But       Furthermore, this rule does not
                                                 the Ninth Circuit has stayed that vacatur pending
                                                                                                                                                                ‘‘[p]aragraph (1)’’ (i.e., the discretionary
                                                 appeal, see E. Bay Sanctuary Covenant v. Biden,
                                                                                                         implicate the same concerns as the prior               authority to grant asylum to an
                                                 No. 23–16032 (9th Cir. Aug. 3, 2023), and thus the                                                             applicant) ‘‘shall not apply.’’ Any
                                                 rule and its presumption remain in effect. On             179 The court also held that the Proclamation Bar
                                                                                                                                                                noncitizen falling within one of those
                                                 February 21, 2024, the Ninth Circuit placed the case    IFR likely did not properly fall under the good
                                                 in abeyance pending settlement discussions. E. Bay      cause or foreign affairs exceptions to notice-and-
                                                                                                                                                                categories may apply for asylum under
                                                 Sanctuary Covenant v. Biden, 93 F.4th 1130 (9th         comment rulemaking under 5 U.S.C. 553(a)(1) and        section 208(a)(1) of the INA, 8 U.S.C.
                                                 Cir. 2024).                                             (b)(B). See East Bay III, 993 F.3d at 676–77.          1158(a)(1), but is categorically ineligible


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                                                 to receive it under section 208(b) of the               Singh v. Nelson, 623 F. Supp. 545, 560–                with section 208’s allowing noncitizens
                                                 INA, 8 U.S.C. 1158(b).                                  61 & n.14 (S.D.N.Y. 1985) (quoting the                 to apply for asylum regardless of
                                                    The broad preemptive sweep that the                  Refugee Convention). And a bar to the                  manner of entry).
                                                 Ninth Circuit attributed to section                     granting of the discretionary relief of                   Regardless, this rule is consistent with
                                                 208(a)(1) of the INA, 8 U.S.C. 1158(a)(1),              asylum is not a penalty under Article                  section 208 of the INA, 8 U.S.C. 1158,
                                                 also fails to account for the                           31(1), especially given that the                       as a limitation on asylum eligibility.180
                                                 discretionary nature of asylum. No                      noncitizen remains eligible to apply for               The President has determined that,
                                                 noncitizen ever has a right to be granted               statutory withholding of removal, which                under certain emergency border
                                                 asylum. The ultimate ‘‘decision whether                 implements U.S. non-refoulement                        circumstances, entries must be
                                                 asylum should be granted to an eligible                 obligations under the Refugee Protocol.                suspended and limited because in such
                                                 alien is committed to the Attorney                      See Mejia v. Sessions, 866 F.3d 573, 588               circumstances the border security and
                                                 General’s [and the Secretary’s]                         (4th Cir. 2017); Cazun v. U.S. Att’y Gen.,             immigration systems lack capacity to
                                                 discretion.’’ INS v. Aguirre-Aguirre, 526               856 F.3d 249, 257 n.16 (3d Cir. 2017).                 deliver timely decisions and timely
                                                 U.S. 415, 420 (1999). The East Bay III                                                                         consequences, which threatens to
                                                 court did not dispute that manner of                    iii. Litigation Over Other Limitations                 incentivize further migration. And in
                                                 entry is a permissible consideration in                    The Departments also acknowledge                    light of such circumstances and their
                                                 determining whether to exercise that                    other prior precedent concerning the                   pernicious effects, the Departments have
                                                 discretion to grant asylum in individual                scope of the Departments’ statutory                    determined that special procedures
                                                 cases. 99 F.3d at 671; see also Matter of               rulemaking authority under section                     must be used to quickly process the
                                                 Pula, 19 I&N Dec. at 473; Fook Hong                     208(b)(2)(C) of the INA, 8 U.S.C.                      influx of noncitizens, including those
                                                 Mak v. INS, 435 F.2d 728, 730 (2d Cir.                  1158(b)(2)(C). Specifically, when                      seeking asylum. Those determinations
                                                 1970) (Friendly, J.) (upholding the INS’s               reviewing the TCT Bar final rule, the                  do not conflict with the text or structure
                                                 authority to ‘‘determine[ ] certain                     Ninth Circuit in East Bay Sanctuary                    of section 208 of the INA, 8 U.S.C. 1158,
                                                 conduct to be so inimical to the                        Covenant v. Garland, 994 F.3d 962 (9th                 and are consistent with (and an
                                                 statutory scheme that all persons who                   Cir. 2020) (‘‘East Bay I’’), held that a               appropriate exercise of the Departments’
                                                 have engaged in it shall be ineligible for              new condition on asylum eligibility                    authority under) that provision. Nothing
                                                 favorable consideration’’).                             under section 208(b)(2)(C) of the INA, 8               more is required for the rule to
                                                    The East Bay III court also suggested                U.S.C. 1158(b)(2)(C), must ‘‘further[ ] the            constitute a valid exercise of authority
                                                 that a regulation categorically barring                 purpose’’ of another provision in section              under section 208(b)(2)(C) of the INA, 8
                                                 asylum based on manner of entry is                      208 to be ‘‘consistent with’’ it. 994 F.3d             U.S.C. 1158(b)(2)(C).
                                                 inconsistent with the United States’                    at 977, 977–80. The Departments                           Moreover, this rule’s propriety is
                                                 commitments under the Refugee                           disagree. A requirement that additional                reinforced by the statutory bars on
                                                 Protocol, in which the United States                    asylum limitations can only ‘‘further[ ]               asylum Congress has enacted. Just as
                                                 adhered to specified provisions of the                  the purpose’’ of the existing exceptions               Congress has chosen to promote
                                                 Refugee Convention. See 993 F.3d at                     by either targeting threats to the nation              systemic efficiency by prohibiting
                                                 972–75. Even accepting East Bay III’s                   or promoting the purposes the Ninth                    asylum applications filed more than one
                                                 reasoning on this point, that reasoning                 Circuit identified in the safe-third-                  year after entry and by generally
                                                 is limited to a categorical eligibility bar             country or firm-resettlement bars, id. at              prohibiting noncitizens from pursuing
                                                 premised on manner of entry; this IFR                   977, is irreconcilable with the statute’s              successive asylum applications, INA
                                                 does not implicate the same concerns as                 meaning and conflicts with its history.                208(a)(2)(B)–(C), 8 U.S.C. 1158(a)(2)(B)–
                                                 the prior categorical bar on ‘‘manner of                Not only has Congress adopted asylum                   (C), this rule furthers systemic efficiency
                                                 entry’’ for the reasons identified above.               bars that do not further the purpose the               by limiting asylum in certain situations
                                                 In any event, the East Bay III court’s                  Ninth Circuit identified—e.g., the one-                where the strains on the immigration
                                                 conclusion was incorrect. The United                    year filing deadline and the bar on                    system are at their peak. Congress did
                                                 States’ non-refoulement obligation                      successive applications—it has granted
                                                 under Article 33 of the Refugee                         to the Departments the broad discretion                   180 The Departments’ interpretation of the phrase

                                                 Convention is implemented by statute                    to add more such bars. The Ninth                       ‘‘consistent with’’ is supported by judicial
                                                                                                                                                                interpretation of the term in other contexts. The
                                                 through the provision in section                        Circuit’s approach is also inconsistent                D.C. Circuit, for example, has cautioned against
                                                 241(b)(3) of the INA, 8 U.S.C.                          with Trump v. Hawaii, 585 U.S. 667,                    construing ‘‘consistent with’’ too narrowly in a
                                                 1231(b)(3)(A), for mandatory                            690–91 (2018) (INA’s express provisions                Clean Air Act case. Envtl. Def. Fund, Inc. v. EPA,
                                                 withholding of removal. This rule                       governing entry ‘‘did not implicitly                   82 F.3d 451, 457 (D.C. Cir. 1996) (per curiam),
                                                                                                                                                                amended by 92 F.3d 1209 (D.C. Cir. 1996). The
                                                 specifically preserves the availability of              foreclose the Executive from imposing                  court emphasized that this ‘‘flexible statutory
                                                 that protection from removal. The INA’s                 tighter restrictions,’’ even if restrictions           language’’ does not require ‘‘exact correspondence
                                                 provision in section 208 of the INA, 8                  addressed a subject that is ‘‘similar’’ to             . . . but only congruity or compatibility’’ and
                                                                                                         one that Congress ‘‘already touch[ed]                  underscored that the phrase’s ambiguity warranted
                                                 U.S.C. 1158, for the discretionary                                                                             deference to the agency’s policy. Id. Other courts
                                                 granting of asylum instead aligns with                  on’’). The statutory asylum bars likewise              have adopted the same understanding of
                                                 Article 34 of the Refugee Convention,                   do not foreclose imposing further                      ‘‘consistent with.’’ See, e.g., Jimenez-Rodriguez v.
                                                 which is precatory and does not require                 conditions, even if those conditions                   Garland, 996 F.3d 190, 198 (4th Cir. 2021) (‘‘The
                                                                                                         address subjects similar to those already              phrase ‘consistent with’ does not require ‘exact
                                                 any signatory to actually grant asylum to                                                                      correspondence . . . but only congruity or
                                                 all those who are eligible. See, e.g., INS              in the asylum statute. See, e.g., INA                  compatibility.’ ’’ (quoting Nuclear Energy Inst., Inc.
                                                 v. Cardoza-Fonseca, 480 U.S. 421, 440–                  241(a)(5), 8 U.S.C. 1231(a)(5) (barring                v. EPA, 373 F.3d 1251, 1269 (D.C. Cir. 2004))); Nat’l
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                                                 41 (1987). The East Bay III court also                  from asylum those whose orders of                      Wildlife Fed’n v. Sec’y of U.S. Dep’t of Transp., 960
                                                                                                         removal have been reinstated regardless                F.3d 872, 878 (6th Cir. 2020) (‘‘[T]he phrase
                                                 misread Article 31(1) of the Refugee                                                                           ‘consistent with’ cannot bear the weight that the
                                                 Convention, which pertains only to                      whether they have asylum claims                        Federation places on it. Response plans are
                                                 ‘‘penalties’’ imposed ‘‘on account of                   stemming from events that occurred                     ‘consistent’ with the contingency plans if they
                                                 . . . illegal entry or presence’’ on                    after the original order of removal); see              ‘show no noteworthy opposing, conflicting,
                                                                                                                                                                inharmonious, or contradictory qualities’—in other
                                                 refugees who, among other criteria, are                 R–S–C v. Sessions, 869 F.3d 1176, 1184                 words, if the documents put together are ‘not self-
                                                 ‘‘coming directly from a territory                      (10th Cir. 2017) (reconciling the                      contradictory. Consistency does not mean exact,
                                                 where’’ they face persecution. See, e.g.,               reinstatement provision’s bar on asylum                point-by-point correspondence.’’ (cleaned up)).



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                                                 not foreclose the Departments from                      President’s direction in section 3(d) of                 iv. This Limitation on Asylum
                                                 likewise taking systemic considerations                 the Proclamation to promptly consider                    Eligibility
                                                 into account when exercising their                      issuing any instructions, orders, or                        For the reasons discussed above, the
                                                 discretion to add conditions or                         regulations as may be necessary to                       East Bay cases dealt with different
                                                 limitations on eligibility. Indeed, the                 address the situation at the southern                    limitations on asylum and involved
                                                 ultimate consideration when                             border; and given the strain on                          different factual circumstances, and
                                                 determining whether someone warrants                    operations and resources that high                       hence are distinguishable from this
                                                 a grant of relief as a matter of discretion             volumes of new arrivals create, such                     rule.182 Moreover, the Departments
                                                 is whether granting relief ‘‘appears in                 that consequences cannot be                              respectfully disagree with some of the
                                                 the best interests of th[e] country,’’                  appropriately delivered; the                             substantive holdings of the Ninth
                                                 Matter of Marin, 16 I&N Dec. 581, 584                   Departments believe that the rule’s                      Circuit and the district court as
                                                 (BIA 1978), a point Congress was aware                  limitation on asylum eligibility should                  described above. The Secretary and the
                                                 of when it amended the INA in 1996,                     apply to noncitizens who enter the                       Attorney General permissibly may
                                                 see id. (best interests standard preceded               United States across the southern                        determine that, during emergency
                                                 1996 amendments by nearly two                           border, including at a POE during the                    border circumstances, it is in the ‘‘best
                                                 decades). The Departments find that the                 emergency border circumstances                           interests of th[e] country,’’ Matter of
                                                 rule’s limitation on asylum eligibility                 described in the Proclamation and this                   Marin, 16 I&N Dec. at 584, to limit
                                                 furthers the efficiency aims of the                     rule, unless an exception applies.                       asylum eligibility for those who enter in
                                                 asylum statute and is in the best                          In Matter of Pula, the BIA explained                  violation of the Proclamation, which, in
                                                 interests of the United States because it               that a noncitizen’s ‘‘circumvention of                   turn, will allow the Departments to
                                                 allows the Departments to deliver                       orderly refugee procedures,’’ including                  allocate their limited resources to
                                                 timely decisions and timely                             their ‘‘manner of entry or attempted                     prioritize processing noncitizens who
                                                 consequences in order to address the                    entry,’’ is a relevant factor for asylum,                do not enter in violation of it. Nothing
                                                 emergency border circumstances                          19 I&N Dec. at 473–74, and this rule
                                                                                                                                                                  in section 208 of the INA, 8 U.S.C. 1158,
                                                 discussed in the Proclamation and this                  merely takes such circumvention into
                                                                                                                                                                  forecloses that view, and securing the
                                                 rule.                                                   account. Because the Proclamation
                                                                                                                                                                  best interests of the country is a
                                                    Consistent with the best-interest                    contains an exception for arrivals at a
                                                                                                                                                                  reasonable policy goal under section
                                                 standard, the BIA has long held a                       pre-scheduled time and place under a
                                                                                                                                                                  208 and thus ‘‘consistent with’’ it. INA
                                                 noncitizen’s ‘‘circumvention of orderly                 process approved by the Secretary, this
                                                                                                                                                                  208(b)(2)(C), 8 U.S.C. 1158(b)(2)(C); see
                                                 refugee procedures’’ to be relevant to                  rule’s limitation on asylum will also not
                                                                                                                                                                  Yang, 79 F.3d at 939 (observing that ‘‘it
                                                 whether a favorable exercise of                         apply to such arrivals. One of the
                                                                                                                                                                  is precisely to cope with the unexpected
                                                 discretion is warranted. Matter of Pula,                mechanisms by which a noncitizen may
                                                                                                                                                                  that Congress deferred to the experience
                                                 19 I&N Dec. at 473. And the BIA has                     arrive at a POE with a pre-scheduled
                                                                                                                                                                  and expertise of the Attorney General in
                                                 specifically considered as relevant                     time to appear is through the CBP One
                                                 factors the noncitizen’s ‘‘manner of                                                                             fashioning section 208’’); see also id. at
                                                                                                         app. Use of the CBP One app creates
                                                 entry or attempted entry.’’ Id. Although                                                                         935 (‘‘We must reject the argument that
                                                                                                         efficiencies that enable CBP to safely
                                                 the rule places greater weight on these                                                                          [the] regulation [establishing a
                                                                                                         and humanely expand its ability to
                                                 factors under certain emergency                                                                                  categorical discretionary bar to asylum
                                                                                                         process noncitizens at POEs, including
                                                 circumstances, this decades-old                                                                                  eligibility] exceeds the authority of the
                                                                                                         those who may be seeking asylum. See
                                                 precedent establishes that the                                                                                   Attorney General if we find that the
                                                                                                         88 FR at 11719. Indeed, without CBP
                                                 Departments can permissibly take into                                                                            regulation has a ‘reasonable foundation
                                                                                                         One, noncitizens could have longer wait
                                                 account manner of entry. And exactly                                                                             . . . that is, if it rationally pursues a
                                                                                                         times for processing at the POE
                                                 how much weight to place on those                                                                                purpose that it is lawful for the
                                                                                                         depending on daily operational
                                                 factors, and whether to do so in                        constraints and circumstances. See 88                    reveals that the phrase ‘irrespective of such alien’s
                                                 weighing asylum eligibility, falls well                 FR at 31342. During emergency border                     status’ modifies only the word ‘alien.’ ’’ Matter of
                                                 within the broad discretion conferred on                circumstances, use of the CBP One app                    Pula, 19 I&N Dec. at 473. ‘‘The function of that
                                                 the Departments by section 208(b)(2)(C)                 is especially critical because it allows                 phrase is to ensure that the procedure established
                                                 of the INA, 8 U.S.C. 1158(b)(2)(C). Cf.                                                                          by the Attorney General for asylum applications
                                                                                                         DHS to maximize the use of its limited                   includes provisions for adjudicating applications
                                                 Lopez v. Davis, 531 U.S. 230, 244                       resources. See, e.g., id. at 31317–18                    from any alien present in the United States or at
                                                 (2001); Reno v. Flores, 507 U.S. 292, 313               (explaining the benefits of having                       a land or port of entry, ‘irrespective of such alien’s
                                                 (1993); Yang, 79 F.3d at 936–37.                        noncitizens pre-schedule appointments                    status.’ ’’ Id. (collecting cases). Congress accordingly
                                                    The Departments acknowledge that                     using the CBP One app). The CBP One                      made clear that noncitizens like stowaways, who,
                                                 Matter of Pula did not consider a                                                                                at the time the Refugee Act was passed, could not
                                                                                                         app and other lawful pathways that the                   avail themselves of our immigration laws, would be
                                                 noncitizen’s arrival at a POE to weigh                  United States Government has made                        eligible at least to apply for asylum ‘‘irrespective of
                                                 against a discretionary grant of asylum.                available to those seeking to enter the                  [their] status.’’ Id. ‘‘Thus, while section 208(a)
                                                 See 19 I&N Dec. at 473. But Matter of                   United States, including to seek asylum                  provides that an asylum application be accepted
                                                 Pula also did not involve circumstances                                                                          from an alien ‘irrespective of such alien’s status,’ no
                                                                                                         or protection, are intended to allow for                 language in that section precludes the consideration
                                                 in which the country’s border faced an                  orderly processing. Therefore, those                     of the alien’s status in granting or denying the
                                                 emergency of a magnitude comparable                     who ‘‘circumvent orderly refugee                         application in the exercise of discretion.’’ Id.
                                                 to the emergency border circumstances                   procedures,’’ consistent with Matter of
                                                                                                                                                                     182 The Departments have considered the July 25,

                                                 described by the Proclamation and this                  Pula, 19 I&N Dec. at 474, during
                                                                                                                                                                  2023 district court decision vacating the
                                                                                                                                                                  Circumvention of Lawful Pathways rule. See E. Bay
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                                                 rule, where even arrivals at POEs                       emergency border circumstances                           Sanctuary Covenant v. Biden, 683 F. Supp. 3d 1025
                                                 significantly contribute to the
                                                                                                         without meeting one of the recognized                    (N.D. Cal. 2023). That decision applied the holdings
                                                 Departments’ inability to process                                                                                of the other East Bay decisions generally, and the
                                                                                                         exceptions will be ineligible for
                                                 migrants and deliver timely decisions                                                                            Departments do not see a need to address it
                                                                                                         asylum.181                                               separately except to note that as of publication the
                                                 and timely consequences to those
                                                                                                                                                                  court’s vacatur remains stayed pending appeal in
                                                 without a lawful basis to remain. Given                   181 As the BIA further explained with respect to       the Ninth Circuit, and thus the rule is in effect. See
                                                 the emergency border circumstances                      the asylum statute as it existed at the time, ‘‘[a]      E. Bay Sanctuary Covenant v. Biden, No. 23–16032,
                                                 described by the Proclamation and the                   careful reading of the language of [section 208(a)(1)]   2023 WL 11662094, at *1 (9th Cir. Aug. 3, 2023).



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                                                 [immigration agencies] to seek.’ ’’                     for waivers under section 212(h) of the                2019) average of approximately 239,000
                                                 (quoting Reno, 507 U.S. at 309)).                       INA, 8 U.S.C. 1182(h), for certain classes             to more than 717,000 in FY 2023.183 Of
                                                    Beyond the clear statutory text, settled             of noncitizens, even if a few could meet               note, this increase in encounters has
                                                 principles of administrative law dictate                the heightened discretionary standard                  been accompanied by a sharp increase
                                                 that the Departments may adopt                          (citing cases)).                                       in referrals for credible fear interviews
                                                 generally applicable eligibility                           The Departments recognize that in the               of Mexican nationals in expedited
                                                 requirements. Those principles establish                Circumvention of Lawful Pathways rule                  removal. The percentage of Mexican
                                                 that it is permissible for agencies to                  they declined to adopt on a permanent                  nationals processed for expedited
                                                 establish general rules or guidelines in                basis the Proclamation Bar IFR because                 removal who claimed a fear of return
                                                 lieu of case-by-case assessments, so long               it conflicted with the tailored approach               averaged 6 percent in the pre-pandemic
                                                 as those rules or guidelines are not                    in that rule and because barring all                   period (FY 2014 through FY 2019), and
                                                 inconsistent with the statute, and that                 noncitizens who enter between POEs                     never exceeded 7 percent for any fiscal
                                                 principle is especially salient here as                 along the SWB was not the proper                       year.184 But 29 percent of all Mexican
                                                 asylum is inherently discretionary in                   approach under the circumstances the                   nationals processed for expedited
                                                 nature. See Lopez, 531 U.S. at 243–44                   Departments then faced. See 88 FR at                   removal at the SWB from May 12, 2023,
                                                 (rejecting the argument that the Bureau                 31432. The Departments continue to                     to March 31, 2024, made fear claims,
                                                 of Prisons was required to make ‘‘case-                 believe that the approach taken in the                 including 39 percent in February
                                                 by-case assessments’’ of eligibility for                Proclamation Bar IFR conflicts with the                2024.185 Because of this sharp increase
                                                                                                         tailored approach of the Circumvention                 from the historical average, the
                                                 sentence reductions and explaining that
                                                                                                         of Lawful Pathways rule as well as the                 Departments believe that applying this
                                                 an agency ‘‘is not required continually
                                                                                                         tailored approach in this rule, which                  rule to Mexican nationals will result in
                                                 to revisit ‘issues that may be established
                                                                                                         borrows heavily from the                               faster processing of a significant number
                                                 fairly and efficiently in a single
                                                                                                         Circumvention of Lawful Pathways rule.                 of Mexican noncitizens and thereby
                                                 rulemaking’ ’’ (quoting Heckler v.
                                                                                                         The Proclamation Bar IFR contained no                  significantly advance this rule’s
                                                 Campbell, 461 U.S.458, 467 (1983)));
                                                                                                         exceptions and was open-ended,                         overarching goal of alleviating the strain
                                                 Reno, 507 U.S. at 313–14 (holding that
                                                                                                         allowing for implementation of any                     on the border security and immigration
                                                 a statute requiring ‘‘individualized
                                                                                                         future proclamations or orders                         systems while entry is suspended and
                                                 determination[s]’’ does not prevent
                                                                                                         regardless of their terms. See 83 FR at                limited under the Proclamation. At the
                                                 immigration authorities from using                      55952. In contrast, like the                           same time, the Departments continue to
                                                 ‘‘reasonable presumptions and generic                   Circumvention of Lawful Pathways rule,                 believe that, if encounters decrease to
                                                 rules’’ (quotation marks omitted)); Fook                this rule is narrowly tailored to address              levels under which the systems do not
                                                 Hong Mak, 435 F.2d at 730 (upholding                    the emergency border circumstances                     experience the substantial strains they
                                                 INS’s authority to ‘‘determine[ ] certain               described in the Proclamation and the                  currently experience while the
                                                 conduct to be so inimical to the                        rule and includes exceptions to account                Circumvention of Lawful Pathways rule
                                                 statutory scheme that all persons who                   for circumstances in which waiting for                 remains in effect, the application of that
                                                 have engaged in it shall be ineligible for              an end to the suspension and limitation                rule only to those noncitizens who
                                                 favorable consideration’’ and observing                 on entry and the limitation on asylum                  travel through a third country en route
                                                 that there is no legal principle                        eligibility is not possible. And by                    to the United States appropriately
                                                 forbidding an agency that is ‘‘vested                   relating the rule to a specific                        accounts for the goals of encouraging
                                                 with discretionary power’’ from                         proclamation and the circumstances                     migrants to seek protection in other
                                                 determining that it will not use that                   described therein, the Departments have                countries or to use safe, orderly, and
                                                 power ‘‘in favor of a particular class on               been able to tailor its provisions to the              lawful pathways to enter the United
                                                 a case-by-case basis’’); see also Singh,                terms of the Proclamation and the                      States, ensuring the border security and
                                                 623 F. Supp. at 556 (‘‘attempting to                    circumstances under which it is                        immigration systems can efficiently
                                                 discourage people from entering the                     applied.                                               process noncitizens, and affording
                                                 United States without permission . . .                     Finally, the Departments acknowledge                asylum and other protection to those
                                                 provides a rational basis for                           that, unlike the Circumvention of                      seeking it who establish their eligibility.
                                                 distinguishing among categories of                      Lawful Pathways rule, neither the                         Under this rule, Mexican nationals
                                                 illegal aliens’’); Matter of Salim, 18 I&N              Proclamation nor this rule excepts                     will still be eligible for asylum in some
                                                 Dec. 311, 315–16 (BIA 1982) (before                     Mexican nationals. See 8 CFR                           circumstances—they may present at a
                                                 Pula, explaining that a certain form of                 208.33(a)(1)(iii), 1208.33(a)(1)(iii)                  POE pursuant to a pre-scheduled
                                                 entry can be considered an ‘‘extremely                  (providing that the Lawful Pathways                    appointment, or, if they are unable to
                                                 adverse factor which can only be                        rebuttable presumption of asylum                       wait in Mexico while scheduling an
                                                 overcome with the most unusual                          ineligibility applies only to those who                appointment, they may be able to
                                                 showing of countervailing equities’’); cf.              enter the United States along the SWB                  establish an exception to the
                                                 Peulic v. Garland, 22 F.4th 340, 346–48                 after transiting through a third country).             Proclamation or exceptionally
                                                 (1st Cir. 2022) (rejecting challenge to                 Traveling through a third country is a                 compelling circumstances under the
                                                 Matter of Jean, 23 I&N Dec. 373 (A.G.                   key part of the Circumvention of Lawful                rule. Even if they are not able to do so,
                                                 2002), which established strong                         Pathways rule because one lawful                       the rule does not preclude eligibility for
                                                 presumption against a favorable exercise                pathway for obtaining protection is
                                                 of discretion for certain categories of                 applying for protection in a third                       183 March 2024 OHSS Persist Dataset; see also

                                                 applicants for asylee and refugee                                                                              OHSS, Immigration Enforcement and Legal
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                                                                                                         country. See 8 CFR 208.33(a)(2)(ii)(C),
                                                                                                                                                                Processes Monthly Tables, https://www.dhs.gov/
                                                 adjustment of status under section                      1208.33(a)(2)(ii)(C). The Departments                  ohss/topics/immigration/enforcement-and-legal-
                                                 209(c) of the INA, 8 U.S.C. 1159(c)                     recognize that some Mexican nationals                  processes-monthly-tables (last updated May 10,
                                                 (citing cases)); Cisneros v. Lynch, 834                 seek asylum and protection in the                      2024) (‘‘CBP SW Border Encounters by Agency and
                                                 F.3d 857, 863–64 (7th Cir. 2016)                        United States. Indeed, since 2021, DHS                 Selected Citizenship’’).
                                                                                                                                                                  184 OHSS Enforcement Lifecycle December 31,
                                                 (rejecting challenge to 8 CFR 1212.7(d),                has seen a sharp increase in total SWB                 2023.
                                                 which established strong presumption                    encounters of Mexican nationals, from a                  185 OHSS analysis of UIP ER Daily Report Data

                                                 against a favorable exercise of discretion              pre-pandemic (FY 2014 through FY                       Dashboard as of April 2, 2024.



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                                                 statutory withholding of removal and                       The Departments recognize that in the                 exceptions established here will be just
                                                 CAT protection, and they will be able to                recent past they changed course                          as straightforward to apply as the
                                                 seek such protection. In the absence of                 regarding whether to apply bars and                      similar provisions are for the
                                                 an exception, however, Mexican                          conditions and limitations on asylum                     Circumvention of Lawful Pathways rule.
                                                 nationals should be ineligible for                      eligibility during credible fear
                                                                                                                                                                  b. Manifestation of Fear
                                                 asylum under the rule because, during                   screenings by rescinding provisions that
                                                 the emergency border circumstances                      would have applied the mandatory                            This rule also alters certain aspects of
                                                 described in the Proclamation and this                  asylum bars during credible fear                         the expedited removal process for
                                                 rule, it is important to deter irregular                screenings. See 87 FR at 18135. In the                   individuals who enter across the
                                                 entry by all noncitizens regardless of                  Circumvention of Lawful Pathways                         southern border during emergency
                                                 country of origin. And the above data                   NPRM, the Departments explained their                    border circumstances and are not
                                                 make clear that additional incentives are               reasoning for nevertheless applying that                 described in section 3(b) of the
                                                 necessary to encourage Mexican                          condition on asylum eligibility during                   Proclamation. When an immigration
                                                 nationals to pursue the available lawful,               credible fear screenings, stating that the               officer inspects a noncitizen at a POE or
                                                 safe, and orderly pathways, rather than                 rebuttable presumption would be less                     between POEs and determines that the
                                                 entering the country unlawfully.                        difficult to apply than other bars,                      noncitizen is inadmissible and will be
                                                                                                         limitations, or conditions because the                   subject to expedited removal, current
                                                 v. Application During Credible Fear                                                                              regulations require the immigration
                                                                                                         facts regarding the presumption’s
                                                 Screenings and Reviews                                                                                           officer to take certain steps before
                                                                                                         applicability, exceptions, and rebuttal
                                                    The limitation on asylum eligibility                 circumstances would generally be                         ordering the noncitizen removed from
                                                 adopted here applies during merits                      straightforward to apply. 88 FR at                       the United States. See 8 CFR 235.3(b).
                                                 adjudications, see 8 CFR 208.13(g),                     11744–45. Indeed, the Departments                        This process takes approximately two
                                                 1208.13(g), but will most frequently be                 have applied the presumption                             hours per individual in USBP custody.
                                                 relevant for noncitizens who are subject                effectively in credible fear screenings for              In particular, the immigration officer
                                                 to expedited removal under section                      the time in which the Circumvention of                   conducts an inspection, including
                                                 235(b)(1) of the INA, 8 U.S.C. 1225(b)(1).              Lawful Pathways rule has been in                         taking biometrics; running background
                                                 Noncitizens in expedited removal are                    effect.186                                               checks; collecting biographic
                                                 subject to removal ‘‘without further                       The limitation adopted here is in                     information, citizenship, and place and
                                                 hearing or review’’ unless they indicate                many ways parallel to the Lawful                         manner of entry; and advising the
                                                 an intention to apply for asylum or fear                Pathways rebuttable presumption—                         noncitizen of the charges against them.
                                                 of persecution. INA 235(b)(1)(A)(i), 8                  specifically, it borrows from the                        8 CFR 235.3(b)(2)(i). The noncitizen has
                                                 U.S.C. 1225(b)(1)(A)(i). Noncitizens in                 Circumvention of Lawful Pathways                         an opportunity to provide a response.
                                                 expedited removal who indicate an                       rule’s rebuttal circumstances—although                   Id. The officer must also read (or have
                                                 intention to apply for asylum or fear of                it is more straightforward because it                    read through an interpreter, if
                                                 persecution are referred to an AO for an                does not include the Lawful Pathways                     appropriate) the information contained
                                                 interview to determine if they have a                   rebuttable presumption’s exceptions for                  in the Form I–867A, Record of Sworn
                                                 credible fear of persecution and should                 those who applied and were denied                        Statement in Proceedings under Section
                                                 accordingly remain in proceedings for                   asylum or other protection in a third                    235(b)(1) of the Act, which advises the
                                                 further consideration of the application.               country and those who were unable to                     noncitizen of their ability to seek
                                                 INA 235(b)(1)(A)(ii), (b)(1)(B)(i), (ii), 8             schedule an appointment through the                      protection in the United States. Id. The
                                                 U.S.C. 1225(b)(1)(A)(ii), (b)(1)(B)(i), (ii).           CBP One app for certain reasons. See 8                   examining immigration officer must also
                                                 In addition, AOs consider whether a                     CFR 208.33(a)(2)(ii)(B)–(C),                             read the noncitizen the questions on the
                                                 noncitizen in expedited removal may be                  1208.33(a)(2)(ii)(B)–(C). Given the                      Form I–867B, Jurat for Record of Sworn
                                                 eligible for statutory withholding of                   Departments’ experience with                             Statement in Proceedings under Section
                                                 removal or for CAT protection. See 8                    implementing the Circumvention of                        235(b)(1) of the Act, which asks, among
                                                 CFR 208.30(e)(2), (3).                                  Lawful Pathways rule, the Departments                    other things, whether the noncitizen has
                                                    This rule instructs AOs and IJs to                   are confident that the limitation and                    any fear of return or would be harmed
                                                 apply the limitation it adopts during                                                                            if returned. Id. After the noncitizen has
                                                 credible fear screenings and reviews. 8                    186 In the post-May 12, 2023, period, the median      provided answers to the questions on
                                                 CFR 208.35(b), 1208.35(b). Under the                    time to refer noncitizens encountered by CBP at the      Form I–867B, the immigration officer
                                                 rule, when screening for asylum                         SWB who claim a fear for credible fear interviews        records the answers, and the noncitizen
                                                                                                         has decreased by 77 percent from its historical
                                                 eligibility, the AO and IJ must                         average, from 13 days in the FY 2014 to FY 2019          then reads the statement (or has the
                                                 determine whether there is a significant                pre-pandemic period to 3 days in the four weeks          statement read to them) and signs the
                                                 possibility that the noncitizen would be                ending March 31, 2024; for those who receive             statement. Id. On average, USBP agents
                                                 able to establish by a preponderance of                 negative fear determinations or administrative           spend about 20 to 30 minutes of the
                                                                                                         closures that are not referred to EOIR, the median
                                                 the evidence that they were not subject                 time from encounter to removal, in the same time         inspection period completing both the
                                                 to the rule’s limitation on asylum                      frames, decreased 85 percent from 73 days to 11          Form I–867A and the Form I–867B.
                                                 eligibility or that they will be able to                days. Pre-pandemic medians based on OHSS                 Finally, a noncitizen who indicates a
                                                 establish by a preponderance of the                     analysis of OHSS Enforcement Lifecycle December
                                                                                                         31, 2023; post-May 12 estimates based on OHSS
                                                                                                                                                                  fear of return or an intention to seek
                                                 evidence exceptionally compelling                       analysis of operational CBP, ICE, USCIS, and DOJ/        asylum is served with and
                                                 circumstances. For the reasons noted in                 EOIR data downloaded from UIP on April 2, 2024.          acknowledges receipt of a Form M–444,
                                                 the Circumvention of Lawful Pathways
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                                                                                                         The Departments note that DHS recently published         which includes more detailed
                                                                                                         a notice of proposed rulemaking proposing that
                                                 rule, the Departments expect that                       certain mandatory bars be considered at the
                                                                                                                                                                  information about the credible fear
                                                 noncitizens rarely would be found                       screening stage under a reasonable possibility           process. 8 CFR 235.3(b)(4)(i).
                                                 excepted from the limitation on asylum                  standard. Application of Certain Mandatory Bars in          Instead of this current process, DHS is
                                                 for credible fear purposes and                          Fear Screenings, 89 FR 41347 (May 13, 2024). If          adding a new provision at 8 CFR
                                                                                                         DHS were to finalize that rule as drafted, this rule’s
                                                 subsequently be found not to be                         ‘‘reasonable probability’’ standard would still apply
                                                                                                                                                                  235.15(b)(4) to modify the process for
                                                 excepted at the merits stage. See 88 FR                 when the noncitizen is subject to this rule’s            determining whether a noncitizen who
                                                 at 31380–81.                                            limitation on asylum eligibility.                        enters across the southern border and is


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                                                 not described in section 3(b) of the                     Proclamation and the rule in a manner                 section 235(b)(1)(A)(ii) of the INA, 8
                                                 Proclamation during the emergency                        consistent with its legal obligations.                U.S.C. 1225(b)(1)(A)(ii).188
                                                 circumstances giving rise to the                         DHS has broad authority to change the                    Interpreting the statute in this manner
                                                 Proclamation’s suspension and                            procedures that immigration officers                  is also consistent with the United States’
                                                 limitation on entry should be referred to                apply to determine whether a                          international law obligations. As
                                                 an AO for a credible fear interview.                     noncitizen subject to expedited removal               described in Section II.B of this
                                                 These procedures apply during                            will be referred for a credible fear                  preamble, the United States is a party to
                                                 emergency border circumstances. See 8                    interview by an AO so long as those                   the Refugee Protocol, which
                                                 CFR 235.15(a). Under the new rule,                                                                             incorporates Articles 2 through 34 of the
                                                                                                          procedures are consistent with the INA.
                                                 immigration officers will conduct an                                                                           Refugee Convention. Article 33 of the
                                                                                                          See INA 103(a)(1), (3), 8 U.S.C.
                                                 immigration inspection and, where the                                                                          Refugee Convention generally prohibits
                                                                                                          1103(a)(1), (3) (granting the Secretary               parties to the Convention from expelling
                                                 noncitizen will be subject to expedited
                                                 removal, will advise the noncitizen of                   the authority to establish regulations                or returning ‘‘a refugee in any manner
                                                 the removal charges against them and                     and take other actions ‘‘necessary for                whatsoever to the frontiers of territories
                                                 provide an opportunity to respond,                       carrying out’’ the Secretary’s authority              where his life or freedom would be
                                                 consistent with existing practice and                    under the immigration laws); see also 6               threatened on account of his race,
                                                 regulations outlined above. 8 CFR                        U.S.C. 202; Motor Vehicle Mfrs. Ass’n of              religion, nationality, membership of a
                                                 235.3(b)(2)(i). However, the immigration                 U.S., Inc. v. State Farm Mut. Auto. Ins.              particular social group or political
                                                 officer will not complete either the                     Co., 463 U.S. 29, 42 (1983) (emphasizing              opinion.’’ Refugee Convention, supra,
                                                 Form I–867A or Form I–867B or a sworn                    that agencies ‘‘must be given ample                   19 U.S.T. at 6276, 189 U.N.T.S. at
                                                 statement. Moreover, the officer will not                latitude to adapt their rules and policies            176.189 Neither the Refugee Convention
                                                 be required to provide individualized                    to the demands of changing                            nor the Protocol prescribes minimum
                                                 advisals on asylum or ask the noncitizen                 circumstances’’ (quotation marks                      screening procedures that must be
                                                 questions related to whether they have                   omitted)).                                            implemented.190 Rather, each state party
                                                 a fear. See 8 CFR 235.15(b)(4). Under the                                                                      has the authority ‘‘to establish the
                                                                                                             DHS believes that the above-described
                                                 rule, the immigration officer will                                                                             procedure that it considers most
                                                                                                          changes are fully consistent with the                 appropriate, having regard to its
                                                 instead refer the noncitizen to an AO for
                                                 a credible fear interview only if the                    statutory procedures governing                        particular constitutional and
                                                 noncitizen manifests a fear of return,                   expedited removal under section                       administrative structure,’’ as long as
                                                 expresses an intention to apply for                      235(b)(1)(A) of the INA, 8 U.S.C.                     such procedures are consistent with the
                                                 asylum, expresses a fear of persecution                  1225(b)(1)(A). Section 235(b)(1)(A) of                purposes of the Convention.191 The
                                                 or torture, or expresses a fear of return                the INA, 8 U.S.C. 1225(b)(1)(A), does                 United States has also ratified the CAT,
                                                 to the noncitizen’s country or country of                not specify the relevant aspects of the               which includes a non-refoulement
                                                 removal. See id. This manifestation can                  procedures that immigration officers                  provision at Article 3 that prohibits the
                                                 occur at any time in the process and can                 must follow to determine whether a                    return of a person from the United
                                                 be expressed verbally, non-verbally, or                  noncitizen who is subject to expedited                States to a country where there are
                                                 physically.187 In such situations, the                   removal can be ordered removed or                     ‘‘substantial grounds for believing’’ the
                                                 immigration officer will not proceed                     whether the noncitizen must be referred               person would be tortured. See Pierre v.
                                                 further with the removal and will                        to an AO for a credible fear interview.               Gonzales, 502 F.3d 109, 114 (2d Cir.
                                                 comply with the existing regulations,                    Instead, the statute provides that the                2007); see id. at 115 (‘‘ ‘[T]he United
                                                 policies, and procedures, including as                   immigration officer may order removed                 States understands the phrase, ‘where
                                                 outlined in 8 CFR 235.3(b)(4), regarding                 any noncitizen who, subject to certain                there are substantial grounds for
                                                 processing and referring noncitizens for                 exceptions, is arriving in the United                 believing that he would be in danger of
                                                 credible fear interviews. At the time that               States, or who is within a class of                   being subjected to torture,’ as used in
                                                 a noncitizen is referred for a credible                  noncitizens subject to expedited
                                                 fear interview, they will receive                                                                                188 See Vermont Yankee Nuclear Power Corp. v.
                                                                                                          removal as designated by the Secretary,               Nat. Res. Def. Council, Inc., 435 U.S. 519, 543
                                                 additional information about the
                                                                                                          and who is inadmissible under sections                (1978) (‘‘Absent constitutional constraints or
                                                 credible fear process that has the same                                                                        extremely compelling circumstances the
                                                 substantive information as in the                        212(a)(6)(C) or 212(a)(7) of the INA, 8
                                                                                                                                                                administrative agencies should be free to fashion
                                                 current process, but without the                         U.S.C. 1182(a)(6)(C) or 1182(a)(7). The               their own rules of procedure and to pursue methods
                                                 requirement that such information be                     statute further provides that only those              of inquiry capable of permitting them to discharge
                                                 provided on a particular form.                           noncitizens who ‘‘indicate[] either an                their multitudinous duties.’’ (quotation marks
                                                                                                                                                                omitted)); United States ex rel. Knauff v.
                                                    DHS is making these changes to                        intention to apply for asylum . . . or a              Shaughnessy, 338 U.S. 537, 543 (1950) (‘‘[T]he
                                                 address the emergency circumstances at                   fear of persecution,’’ INA 235(b)(1)(A)(i),           decision to admit or to exclude an alien may be
                                                 the southern border discussed in the                     8 U.S.C. 1225(b)(1)(A)(i), must be                    lawfully placed with the President, who may in
                                                                                                          referred to an AO for a credible fear                 turn delegate the carrying out of this function to a
                                                                                                                                                                responsible executive officer of the sovereign, such
                                                   187 By these terms, DHS intends to include a wide
                                                                                                          interview, INA 235(b)(1)(A)(ii), 8 U.S.C.             as the Attorney General.’’); Las Americas Immigrant
                                                 range of human communication and behavior, such          1225(b)(1)(A)(ii). But the statute does               Advoc. Ctr. v. Wolf, 507 F. Supp. 3d 1, 18 (D.D.C.
                                                 that ‘‘non-verbally’’ could include things like noises
                                                                                                          not require immigration officers to                   2020).
                                                 or sounds without any words, while physical                                                                      189 See INS v. Stevic, 467 U.S. 407, 428 & n.22
                                                 manifestations could include behaviors, with or          affirmatively ask every noncitizen                    (1984); Al-Fara v. Gonzales, 404 F.3d 733, 743 (3d
                                                 without sound, such as shaking, crying, or signs of      subject to expedited removal if they                  Cir. 2005) (‘‘The 1967 Protocol is not self-executing,
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                                                 abuse. See U.S. State Dep’t, Bureau of Population,
                                                 Refugees, and Migration, Fact Sheet: U.S.                have a fear of persecution or torture.                nor does it confer any rights beyond those granted
                                                 Commemorations Pledges, Fact Sheet, Bureau of            Moreover, Congress has not provided a                 by implementing domestic legislation.’’).
                                                                                                                                                                  190 UNHCR, Handbook on Procedures and
                                                 Population, Refugees, and Migration (June 24,            particular definition of the phrase
                                                 2013), https://2009-2017.state.gov/j/prm/releases/                                                             Criteria for Determining Refugee Status ¶ 189 (Jan.
                                                 factsheets/2013/211074.htm. A noncitizen could           ‘‘indicates . . . an intention.’’ The                 1992 ed., reissued Feb. 2019), https://
                                                 thus manifest a fear of returning to a previous          statute’s text thus gives DHS discretion              www.unhcr.org/media/handbook-procedures-and-
                                                 location without using actual words to state that        to employ the procedures it reasonably                criteria-determining-refugee-status-under-1951-
                                                 they are specifically afraid of return to their home                                                           convention-and-1967.
                                                 country or country of removal.                           concludes are appropriate to implement                  191 Id.




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                                                 Article 3 of the Convention, to mean ‘if                 immigration officer, and they will be                     Proclamation and likely subject to the
                                                 it is more likely than not that he would                 referred to an AO for consideration of                    provisions of this rule.196
                                                 be tortured.’’ ’’ (quoting the Senate                    their fear claim. DHS believes that these                    The video will also explain to
                                                 resolution of ratification)). The CAT                    operational changes and notice                            noncitizens that, if they inform an
                                                 similarly does not prescribe screening                   provisions, as implemented, are                           immigration officer that they have a
                                                 requirements. As such, the United                        consistent with the notice provision in                   fear, an AO will conduct an interview
                                                 States has broad discretion in what                      section 235(b)(1)(B)(iv) of the INA, 8                    to ask questions about their fear.
                                                 procedures are appropriate to                            U.S.C. 1225(b)(1)(B)(iv).194 Moreover,                    Consistent with CBP’s Language Access
                                                 implement, through domestic law, to                      CBP will provide immigration officers                     Plan, CBP provides language assistance
                                                 satisfy its non-refoulement                              with information on how to apply the                      services for those who may not speak
                                                 obligations.192                                          manifestation standard, including that                    one of those languages.197 CBP
                                                    The United States implements its                      manifestation may occur verbally, non-                    immigration officers have extensive
                                                 obligations under the Refugee Protocol                   verbally, or physically.                                  experience and training in identifying
                                                 and the CAT through the INA and                             Upon implementation of this rule,                      whether an individual requires a
                                                 related rulemaking, and it provides                      signs will be posted in areas of CBP                      translator or interpreter or is unable to
                                                 specified procedures—including in the                    facilities where individuals are most                     understand a particular language. In
                                                 expedited removal process, as described                  likely to see those signs. The signs will                 addition, CBP facilities have ‘‘I Speak’’
                                                 above—for seeking asylum or other                        provide clear direction to individuals                    signs, which are signs that assist literate
                                                 protection in the United States. The                     that, in addition to being able to inform                 individuals to identify a preferred
                                                 process outlined in this rule temporarily                the inspecting immigration officers of                    language from one of over 60 possible
                                                 affords immigration officers the ability                 urgent medical or other concerns, they                    languages.198 Furthermore, individuals
                                                 to refer noncitizens to an AO for a                      should inform the inspecting                              who are unable to read the signs or
                                                 credible fear interview if the noncitizen                immigration officer if they have a fear of                communicate effectively in one of the
                                                 manifests a fear of return, expresses an                 return, and that, if they do, they will be                languages in which the sign and video
                                                 intention to apply for asylum, expresses                 referred for a screening. These signs will                will be presented will be read the
                                                 a fear of persecution or torture, or                     be in the languages spoken by the most                    contents of the sign and video in a
                                                 expresses a fear of return to the                        common nationalities encountered by                       language they understand.199
                                                 noncitizen’s country or country of                       CBP and thus will likely be understood
                                                                                                                                                                       196 These large capacity facilities currently hold
                                                 removal. The Departments have                            by those described in the Proclamation
                                                                                                                                                                    the vast majority of individuals in CBP custody.
                                                 concluded that the manifestation                         and likely subject to the provisions of                   Although the videos will not be shown at smaller
                                                 standard is consistent with their                        this rule.195                                             facilities, including small POEs and Border Patrol
                                                 obligations (1) not to return noncitizens                   Moreover, in CBP’s large capacity                      stations, these facilities house very few noncitizens
                                                 to countries where they would be                         facilities—where the vast majority of                     who are subject to the asylum limitation. These
                                                                                                                                                                    small facilities will still post the relevant signs in
                                                 persecuted; and (2) not to return                        individuals subject to expedited                          the processing areas. And at these small facilities,
                                                 noncitizens to countries where it is                     removal undergo processing—a short                        resources are such that immigration officers will be
                                                 more likely than not that they would be                  video explaining the importance of                        able to devote a great deal of attention to observing
                                                 tortured.193                                             raising urgent medical concerns, a need                   individuals, including for any manifestations of fear
                                                                                                                                                                    or any indication that an individual requires
                                                    In addition to changing to a                          for food or water, or fear of return will                 assistance from a translator or reading assistance to
                                                 ‘‘manifestation’’ standard, CBP is                       be shown on a loop in the processing                      understand the information provided at the facility,
                                                 implementing operational changes to                      areas and will also be available in those                 including the information provided on the signs.
                                                 generally inform noncitizens subject to                  languages most commonly spoken by                         Immigration officers at these facilities are trained to
                                                                                                                                                                    provide such assistance as needed and will
                                                 expedited removal that, if they have a                   those noncitizens encountered by CBP                      continue to do so under this rule.
                                                 fear of return, they should inform an                    who may be described in the                                  197 See CBP, Language Access Plan (Nov. 18,

                                                                                                                                                                    2016), https://www.dhs.gov/sites/default/files/
                                                   192 Although neither the Refugee Convention nor           194 DHS acknowledges that an argument could be         publications/final-cbp-language-access-plan.pdf;
                                                 the Refugee Protocol nor the CAT includes specific       made that the requirement in section                      CBP, Supplementary Language Access Plan (Oct.
                                                 screening requirements, the United States is bound       235(b)(1)(B)(iv) of the INA, 8 U.S.C.                     30, 2023), https://www.dhs.gov/sites/default/files/
                                                 not to return noncitizens from the United States to      1225(b)(1)(B)(iv), which states that DHS ‘‘shall          publications/cbp-updated-language-access-plan-
                                                 countries where they would be tortured, or, with         provide information concerning the asylum                 2020.pdf.
                                                 limited exceptions, to countries where they would        interview . . . to aliens who may be eligible,’’ is not      198 See CBP, Language Access Plan 7 (Nov. 18,

                                                 be persecuted on account of a protected ground. As       limited only to noncitizens who are eligible for a        2016), https://www.dhs.gov/sites/default/files/
                                                 discussed in detail above in Section III.A.1 of this     credible fear interview, but instead applies to           publications/final-cbp-language-access-plan.pdf;
                                                 preamble, the United States implements its non-          noncitizens who are suspected of qualifying for           see also DHS, DHS Language Access Resources,
                                                 refoulement obligations under Article 33 of the          expedited removal and ‘‘may’’ be eligible for an          https://www.dhs.gov/publication/dhs-language-
                                                 Refugee Convention (via the Refugee Protocol)            interview. In all events, DHS is providing                access-materials (last updated July 17, 2023); DHS,
                                                 through the statutory withholding of removal             information to noncitizens who are being processed        I Speak . . . Language Identification Guide, https://
                                                 provision in section 241(b)(3) of the INA, 8 U.S.C.      for expedited removal about their right to seek           www.dhs.gov/sites/default/files/publications/crcl-i-
                                                 1231(b)(3), not through the asylum provisions at         asylum and protection in the United States. As            speak-poster-2021.pdf (last updated Mar. 10, 2021).
                                                 section 208 of the INA, 8 U.S.C. 1158. And the           explained below, DHS is posting signs on display             199 These videos and signs will be presented in
                                                 United States implements its obligations under the       for all noncitizens in CBP custody and including          a manner that is consistent with how CBP provides
                                                 CAT through regulations. See FARRA, Pub. L. 105–         information in a video that will be on display for        other important notifications to individuals in its
                                                 277, sec. 2242(b), 112 Stat. 2681, 2631–822 (8           the vast majority of noncitizens in CBP custody,          facilities. CBP utilizes posters for other critical
                                                 U.S.C. 1231 note); 8 CFR 208.16(c), 208.17, 208.18,      informing them that if they have a fear of return,        information, such as ensuring that individuals are
                                                 1208.16(c), 1208.17, 1208.18.                            they should inform an immigration officer and, if         on the lookout for those who may commit suicide,
                                                   193 136 Cong. Rec. 36198 (1990) (recording the         they do, an AO will conduct an interview and ask          advising all children in custody of the amenities
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                                                 Senate’s advice and consent to the ratification of the   the noncitizens questions about any fear they may         available to them (e.g., food, water, medical care,
                                                 CAT, subject to certain reservations,                    have. Noncitizens who indicate a fear of return will      blankets, and hygiene products), communicating its
                                                 understandings, and declarations, including that         be given a more detailed written explanation of the       zero tolerance regarding sexual assault, and
                                                 the phrase in Article 3 of the CAT, ‘‘ ‘where there      credible fear interview process prior to being            conveying critical information about oversight
                                                 are substantial grounds for believing that he would      referred for the interview. That explanation will be      entities such as the Office of the Inspector General.
                                                 be in danger of being subjected to torture,’ ’’ is       translated into certain common languages or will be       CBP also has a video targeted towards UCs
                                                 understood to mean ‘‘ ‘if it is more likely than not     read to the noncitizen if required.                       explaining the process that they will go through.
                                                 that he would be tortured’ ’’); see also Pierre, 502        195 Currently, these languages are English,            These signs and videos are similarly posted in the
                                                 F.3d at 115.                                             Spanish, Mandarin, and Hindi.                                                                          Continued




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                                                    DHS’s experience, based on the nature                502, 515 (2009) (holding that an agency                processed more than 28,000 in March
                                                 of CBP facilities and the utility of the                changing an established rule need not                  2024.207 Since May 2023, USCIS has
                                                 existing signs, is that short, concise, and             justify the change with a more detailed                completed about 3,300 credible fear
                                                 simple notifications are effective. This is             justification than that supporting the                 interviews per week of individuals
                                                 because CBP holds individuals only for                  original so long as it can show ‘‘good                 encountered at and between SWB
                                                 as long as it takes to complete                         reasons’’ for the new policy). Given the               POEs,208 and in FY 2023, IJs reviewed
                                                 inspection and processing, including                    extraordinary circumstances currently                  over 34,000 credible fear decisions.209
                                                 conducting any basic medical                            facing the Departments, DHS has                        These high levels of encounters and
                                                 screenings and making arrangements for                  determined it is reasonable to change                  credible fear referrals impose a
                                                 transfer out of CBP custody. Particularly               the procedures here.                                   significant burden on the expedited
                                                 for those who are apprehended by USBP                      When the existing regulations were                  removal process and have strained DHS
                                                 between POEs, noncitizens will go                       adopted in 1997, the situation at the                  and EOIR resources, substantially
                                                 through a number of steps during their                  border was different. In 1998 (the first               impairing the Departments’ ability to
                                                 time in a CBP facility, including                       full year that statistics concerning the
                                                                                                                                                                deliver timely decisions and timely
                                                 completion of processing paperwork,                     expedited removal process were
                                                                                                                                                                consequences. At a processing time of
                                                 fingerprinting, and being interviewed by                available), approximately 80,000
                                                                                                                                                                approximately 2 hours per person,
                                                 an inspecting immigration officer. In                   noncitizens were processed for
                                                                                                         expedited removal.200 In that same year,               USBP agents spent approximately
                                                 many USBP facilities, these steps occur
                                                                                                         AOs conducted fewer than 3,000                         56,000 hours—the equivalent of
                                                 at the same time as the facility provides
                                                                                                         credible fear interviews 201 and IJ                    approximately 2,333 calendar days—
                                                 showers and hygiene products, medical
                                                 evaluations, and food and water. Given                  reviews numbered around 100.202                        processing the approximately 28,000
                                                 that noncitizens may move through                       Additionally, at that time, expedited                  expedited removal cases in March 2024
                                                 other areas of the facility and do not                  removal was applied only to ‘‘arriving                 under the current process. High
                                                 remain in custody for a long period of                  aliens,’’ noncitizens processed at a POE,              numbers, such as those giving rise to the
                                                 time, DHS regularly places important                    not noncitizens encountered between                    Proclamation and this rule, increase the
                                                 signs in both the processing areas and                  POEs.203 Expedited removal was not                     likelihood that USBP facilities will
                                                 the detention areas of its facilities,                  extended to certain noncitizens                        become quickly overcrowded.210 This
                                                 which are the locations where                           encountered after entering between                     type of crowding in USBP facilities
                                                 noncitizens spend time while being                      POEs until 2004. See Designating Aliens                creates health and safety concerns for
                                                 inspected or while in CBP custody; DHS                  for Expedited Removal, 69 FR 48877                     noncitizens and Government
                                                 is confident that noncitizens see these                 (Aug. 11, 2004) (extending expedited                   personnel.211
                                                 existing signs and that the new signs                   removal to noncitizens encountered                        Additionally, compared to 1997,
                                                 added as part of this rule are also likely              within 100 air miles of the border and                 today’s high levels of migration impose
                                                 to be seen. DHS has determined that                     within 14 days of entry). At that time,                a severe strain on the credible fear
                                                 more complicated videos and signs are                   USBP apprehended approximately 1.1                     process. AOs and IJs must devote
                                                 less effective for conveying important                  million noncitizens between POEs                       substantial resources to credible fear
                                                 information.                                            annually.204 The numbers have changed                  interviews and reviews.212 Despite the
                                                    DHS acknowledges that these                          significantly since that time. In FY 2023,             strengthened consequences in place at
                                                 procedures represent a departure from                   USBP apprehended more than 2 million                   the SWB through the Circumvention of
                                                 the justification that the former                       noncitizens between POEs along the                     Lawful Pathways rule and the
                                                 Immigration and Naturalization Service                  SWB.205 In February 2024, USBP                         complementary measures that have led
                                                 (‘‘INS’’) provided, in 1997, when it                    processed more than 33,000 individuals
                                                                                                                                                                to record returns and removals,
                                                 adopted the current procedures in 8                     for expedited removal,206 and USBP
                                                                                                                                                                encounter levels and credible fear
                                                 CFR 235.3(b)(2)(i). At the time, INS
                                                                                                                                                                referrals are exceeding the capacity of
                                                 explained that adopting these                              200 See INS, 1998 Statistical Yearbook of the

                                                 procedures would ‘‘ensure that bona                     Immigration and Naturalization Service 203 (Nov.
                                                                                                         1998), https://www.dhs.gov/sites/default/files/           207 OHSS analysis of data downloaded from UIP
                                                 fide asylum claimants are given every                   publications/Yearbook_Immigration_Statistics_          on April 2, 2024.
                                                 opportunity to assert their claim[s],’’                 1998.pdf.                                                 208 OHSS analysis of data downloaded from UIP
                                                 and that it was including the                              201 See id. at 91.
                                                                                                                                                                on April 2, 2024.
                                                 requirement that immigration officers                      202 EOIR, Statistical Yearbook 2000, at D1 (Jan.       209 See EOIR, Adjudication Statistics: Credible

                                                 must provide advisals about the credible                2001), https://www.justice.gov/sites/default/files/    Fear and Reasonable Fear Review Decisions (Oct.
                                                                                                         eoir/legacy/2001/05/09/SYB2000Final.pdf                12, 2023), https://www.justice.gov/d9/pages/
                                                 fear process and ask questions about                    (reporting that EOIR received 90 credible fear         attachments/2018/10/26/7_credible_fear_review_
                                                 fear as ‘‘safeguards’’ to ‘‘protect                     reviews in FY 1998).                                   and_reasonable_fear_review_decisions.pdf.
                                                 potential asylum claimants.’’ See 62 FR                    203 See 62 FR at 10318–19; compare INA                 210 See Decl. of Matthew J. Hudak ¶¶ 11, 17,

                                                 at 10318–19. INS further explained that                 235(b)(1)(A)(i), 8 U.S.C. 1225(b)(1)(A)(i) (applying   Florida v. Mayorkas, Case No. 3:22 cv 9962 (N.D.
                                                                                                         expedited removal to noncitizens arriving at ports     Fla. May 12, 2023) (Dkt. 13–1).
                                                 these procedures would ‘‘not                            of entry), with INA 235(b)(1)(A)(iii), 8 U.S.C.           211 Id.
                                                 unnecessarily burden[] the inspections                  1225(b)(1)(A)(iii) (permitting the application to         212 USCIS closed or adjudicated an estimated
                                                 process or encourag[e] spurious asylum                  designated noncitizens).                               135,000 credible fear interviews resulting from
                                                 claims.’’ Id. at 10318. While such                         204 CBP, United States Border Patrol Nationwide
                                                                                                                                                                SWB encounters in FY 2023, up from an average of
                                                 procedures have remained in place                       Encounters Fiscal Year 1925–2020, https://             52,000 from 2010 to 2019 and an average of 5,400
                                                                                                         www.cbp.gov/sites/default/files/assets/documents/      from 2005 to 2009. OHSS analysis of March 2024
                                                 since 1997, this fact alone is not an                   2021-Aug/U.S.%20Border%20Patrol%20                     OHSS Persist Dataset and Enforcement Lifecycle
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                                                 indication that they are required by the                Total%20Apprehensions%20%28FY%201925%20-               December 31, 2023. See OHSS, Immigration
                                                 statute, and DHS maintains discretion to                %20FY%202020%29%20%28508%29.pdf (last                  Enforcement and Legal Processes Monthly Tables,
                                                 update the procedures in a manner                       accessed May 27, 2024).                                https://www.dhs.gov/ohss/topics/immigration/
                                                                                                            205 CBP, Southwest Land Border Encounters,
                                                 consistent with the statute. See FCC v.                                                                        enforcement-and-legal-processes-monthly-tables
                                                                                                         https://www.cbp.gov/newsroom/stats/southwest-          (last updated May 10, 2024) (reflecting ever
                                                 Fox Television Stations, Inc., 556 U.S.                 land-border-encounters (last modified May 15,          increasing numbers of credible fear interview
                                                                                                         2024).                                                 screenings at the ‘‘SW Border Credible Fear
                                                 areas of CBP facilities where DHS is confident they        206 OHSS analysis of data downloaded from UIP       Screenings Referred to USCIS by citizenship’’ tab);
                                                 are likely to be seen by noncitizens being processed.   on April 2, 2024.                                      see also 88 FR at 31314, 31326, 31381.



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                                                 the expedited removal process.213                       million people on the SWB in FY                        have a fear of persecution or torture.220
                                                 Therefore, DHS has determined that a                    2023.217                                               DHS acknowledges that there are mixed
                                                 different approach is needed here. The                     In addition, DHS, including through                 opinions on this point and that this may
                                                 manifestation standard in the new rule                  its predecessor agencies, has been                     not be the case for all individuals, such
                                                 is designed to reasonably help meet                     implementing the expedited removal                     that questioning may be helpful in order
                                                 these challenges during emergency                       provisions since 1997. It therefore has                for some individuals to feel comfortable
                                                 border circumstances. It is intended to                 nearly 30 years of experience                          articulating a fear.221 DHS recognizes
                                                 help immigration officers process                       completing the Form I–867A advisals
                                                 noncitizens more expeditiously, while                                                                             220 This is also reflected in the behavioral science
                                                                                                         and asking the questions on Form I–                    concept of ‘‘acquiescence,’’ in which individuals
                                                 still affording opportunities for those
                                                                                                         867B.218 Based on this experience, it is               tend to ‘‘consistently agree to questionnaire items,
                                                 seeking protection to do so.
                                                    DHS acknowledges that, by                            DHS’s determination that, when                         irrespective of item directionality.’’ Shane Costello
                                                                                                         individuals are asked affirmative                      & John Roodenburg, Acquiescence Response Bias—
                                                 implementing a manifestation standard                                                                          Yeasaying and Higher Education, 32 Australian Ed.
                                                 in the circumstances outlined in this                   questions, such as those on Form I–                    & Dev. Pysch. 105, 105 (2015). Studies have shown
                                                 rule, it is temporarily eliminating the                 867B, individuals are more likely to                   that this bias is higher amongst those with lower
                                                 requirement to provide individualized                   respond in the affirmative, even if they               education levels and from countries that score
                                                                                                         do not in fact have a fear of return or                higher on scales of corruption or collectivism. See,
                                                 advisals and ask affirmative questions                                                                         e.g., Beatrice Rammstedt, Daniel Danner & Michael
                                                 via Forms I–867A and B. DHS has                         intention of seeking asylum. Moreover,                 Bosnjak, Acquiescence Response Styles: A
                                                 determined that, in light of the                        based on this experience, DHS                          Multilevel Model Explaining Individual-Level and
                                                 circumstances giving rise to the                        concludes that providing noncitizens                   Country-Level Differences, 107 Personality &
                                                                                                         with specific advisals on fear claims—                 Individual Differences 190 (2017); Seth J. Hill &
                                                 Proclamation and this rule, it is critical                                                                     Margaret E. Roberts, Acquiescence Bias Inflates
                                                 to have a system in place that more                     particularly given the emergency                       Estimates of Conspiratorial Beliefs and Political
                                                 effectively and efficiently identifies                  context of this rule and because few if                Misperceptions, 31 Pol. Analysis 575 (2023).
                                                 those who may have a fear of return or                  any other advisals are provided—would                     221 DHS acknowledges that some studies of the

                                                                                                         be suggestive and prompt many                          expedited removal process concluded that the Form
                                                 indicate an intention to seek asylum.                                                                          I–867A information and the Form I–867B questions
                                                 DHS is making the decision to use the                   individuals to respond in the affirmative              are important protections, and that failure to read
                                                 manifestation standard consistent with                  even if they do not have any actual fear               the advisals led to lower referrals for credible fear
                                                 the statute, as described above, and for                or intention to seek asylum. For this                  interviews. See, e.g., Allen Keller et al., Study on
                                                                                                         reason, as well, DHS has made the                      Asylum Seekers in Expedited Removal as
                                                 the reasons outlined below. At bottom,                                                                         Authorized by Section 605 of the International
                                                 based on DHS’s long experience                          determination, based on its experience                 Religious Freedom Act of 1998: Evaluation of
                                                 inspecting and interviewing                             and expertise inspecting noncitizens, to               Credible Fear Referral in Expedited Removal at
                                                 individuals, DHS has determined that a                  temporarily adjust its approach to                     Ports of Entry in the United States 16–18 (2005),
                                                                                                         individualized advisals and questions                  https://www.uscirf.gov/sites/default/files/resources/
                                                 manifestation approach is the most                                                                             stories/pdf/asylum_seekers/evalCredibleFear.pdf
                                                 appropriate way to address emergency                    about fear.                                            (‘‘USCIRF Report’’) (finding that noncitizens who
                                                 border circumstances while still                           As part of this approach, DHS is                    are read the information in Form I–867A are seven
                                                 sufficiently affording the ability to seek              temporarily forgoing asking the fear                   times more likely to be referred for a credible fear
                                                                                                                                                                interview and ‘‘the likelihood of referral for a
                                                 protection. Specifically, DHS makes this                questions on Form I–867B with respect                  Credible Fear interview was roughly doubled for
                                                 determination based on its significant                  to noncitizens who (1) are described in                each fear question asked’’); see also U.S. Gov’t
                                                 experience relating to the inspection of                § 208.13(g), (2) are not described in                  Accountability Off., Opportunities Exist to Improve
                                                 individuals seeking entry and admission                 section 3(b) of the Proclamation, and (3)              the Expedited Removal Process, No. GAO/GGD–00–
                                                 into the United States. DHS immigration                                                                        176 (Sept. 2000). DHS acknowledges that one study
                                                                                                         are processed for expedited removal.                   concluded that there was ‘‘little evidence’’ that the
                                                 officers have expertise observing and                   DHS anticipates that this approach will                advisals and fear questions prompted noncitizens to
                                                 inspecting individuals, as they                         likely lead to a higher proportion of                  make fear claims, but rather most of the noncitizens
                                                 consistently encounter and inspect large                those referred having colorable claims                 whose cases were studied ‘‘spontaneously
                                                 numbers of people every day. In FY                                                                             expressed fear of returning to their home country.’’
                                                                                                         for protection. Based on the expertise of              See USCIRF Report at 21. The same study noted
                                                 2019, prior to COVID–19, for example,                   DHS in administering Form I–867B, it                   that three quarters of those had been read the
                                                 the approximately 28,000 officers of                    has determined that affirmative                        advisals on Form I–867A. See id. Given the small
                                                 CBP’s Office of Field Operations 214                    questions are suggestive and account for               sample size (n=73) and the report’s uncertain
                                                 processed more than 1.1 million people                                                                         conclusion, this report does not alleviate CBP’s long
                                                                                                         part of the high rates of referrals and                held ‘‘concerns that [noncitizens] may be
                                                 at POEs every day.215 USBP’s 20,000                     screen-ins that do not ultimately result               ‘prompted’ to express fears to officers by the I–867B
                                                 agents 216 encountered more than 2                      in a grant of asylum or protection.219                 fear questions.’’ Id. As in 2005, at the time of the
                                                                                                         DHS believes that those noncitizens                    report, DHS continues to have such concerns, and
                                                    213 See Decl. of Blas Nuñez-Neto ¶¶ 9–10, E. Bay                                                           DHS further believes that the individualized
                                                 Sanctuary Covenant v. Biden, No. 18 cv 6810 (N.D.
                                                                                                         who indicate a fear of return on their                 advisals on Form I–867A raise similar ‘‘prompting’’
                                                 Cal. June 16, 2023) (Dkt. 176–2); Decl. of Matthew      own, in the absence of suggestive                      concerns. And, even to the extent that the study
                                                 J. Hudak ¶¶ 10–12, Florida v. Mayorkas, No.             questions, are more likely to be urgently              concluded otherwise, DHS notes that, under the
                                                 3:22 cv 9962 (N.D. Fla. May 12, 2023) (Dkt. 13–1);      seeking protection. Indeed, it is DHS’s                manifestation standard outlined in the rule,
                                                 Decl. of Enrique M. Lucero ¶ 7, Innovation Law Lab                                                             noncitizens continue to have the ability to
                                                 v. Wolf, No. 19–15716 (9th Cir. Mar. 3, 2020) (Dkt.     experience and assessment that asking                  affirmatively manifest a fear. Thus, considering the
                                                 95–3).                                                  questions is likely to lead individuals to             current situation at the border that gives rise to the
                                                    214 See CBP, About CBP: Leadership &
                                                                                                         answer yes, even if they do not actually               Proclamation and this rule and the need to allocate
                                                 Organization, Executive Assistant Commissioners’                                                               limited resources to those urgently seeking
                                                 Offices, https://www.cbp.gov/about/leadership-                                                                 protection, DHS believes that, notwithstanding the
                                                                                                           217 See CBP, Southwest Land Border Encounters,
                                                 organization/executive-assistant-commissioners-                                                                study’s finding, the approach taken in this rule
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                                                 offices (last updated Jan. 30, 2024).                   https://www.cbp.gov/newsroom/stats/southwest-          provides an appropriate standard for the emergency
                                                    215 See CBP, On a Typical Day in 2019, CBP           land-border-encounters (last modified May 15,          border circumstances at issue. As noted, CBP will
                                                 . . . , https://www.cbp.gov/newsroom/stats/typical-     2024).                                                 be providing signs and videos advising, in a general
                                                                                                           218 See 62 FR at 10312, 10318–19.
                                                 day-fy2019 (last modified May 11, 2022).                                                                       matter, that individuals may express a fear of
                                                    216 See CBP, About CBP: Leadership &                   219 From 2014 through 2019, of total SWB             return. Accordingly, DHS has fully considered and
                                                 Organization, Executive Assistant Commissioners’        encounters with positive fear determinations, only     weighed the contrary evidence and has concluded
                                                 Offices, https://www.cbp.gov/about/leadership-          18 percent of EOIR case completions ultimately         that the rule adopts the appropriate approach to
                                                 organization/executive-assistant-commissioners-         resulted in a grant of protection or relief. OHSS      help meet the challenge when emergency border
                                                 offices (last updated Apr. 19, 2024).                   Enforcement Lifecycle December 31, 2023.               circumstances are present.



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                                                 that the manifestation standard, as with                experience, the nature of the emergency                  not be comfortable answering a question
                                                 any other screening standard, could                     border circumstances facing the                          about whether they have a fear of return
                                                 result in some noncitizens with                         Departments, and the statutory                           may nevertheless manifest that fear
                                                 meritorious claims not being referred to                requirements, DHS has determined that                    through an unconscious behavior,
                                                 a credible fear interview. However, in                  the approach taken here—eliminating                      which can be observed by the inspecting
                                                 light of the emergency border                           the requirement to provide                               immigration officer, and the individual
                                                 circumstances facing the Departments                    individualized advisals but providing                    may then be referred for a fear
                                                 and addressed by the Proclamation and                   signage and videos—is appropriate.224                    screening. DHS acknowledges that, in
                                                 this rule, DHS believes the standard is                    Indeed, DHS notes that the                            some cases, these behaviors may reflect
                                                 appropriate and necessary. During                       manifestation standard has been used in                  circumstances other than a fear of
                                                 emergency border circumstances, it is                   other urgent and challenging situations                  return—for instance, a noncitizen who
                                                 critical for the Departments to devote                  to identify noncitizens with fear claims.                has just arrived at the border may be
                                                 their processing and screening resources                This standard has long been used by the                  physically tired, cold, hungry, and
                                                 to those urgently seeking protection                    United States Coast Guard, a DHS                         disoriented, which may present
                                                 while quickly removing those who are                    component, to determine whether an at-                   similarly to manifestation of fear. In
                                                 not. DHS believes that the manifestation                sea protection screening interview is                    such cases, DHS immigration officers
                                                 standard, rather than affirmative                       required for migrants interdicted at                     will use their expertise and training to
                                                 questioning, better achieves this balance               sea.225 This standard was also adopted                   determine whether the noncitizen is
                                                 in emergency border circumstances.                      by the United States Government to                       manifesting a fear. If there is any doubt,
                                                    Additionally, DHS is eliminating the                 screen family units during the pendency                  however, immigration officers will be
                                                 requirement that officers and agents                    of the Title 42 public health Order,                     instructed to err on the side of caution
                                                 read the individualized advisals on                     when the Government was similarly                        and refer the noncitizen to an AO for a
                                                 Form I–867A. DHS plans to replace                       dealing with urgent, exigent                             credible fear interview.
                                                 these advisals with a generalized                       circumstances—the global pandemic—                         Moreover, DHS will provide
                                                 notice—for all individuals in CBP                       while still allowing noncitizens an                      immigration officers with information
                                                 facilities—of the ability to raise a claim              opportunity to seek protection.226                       on how to apply the standard, which
                                                 of fear of persecution or torture. DHS is                  DHS believes that the manifestation                   will build on their existing training and
                                                 making this change based on its                         standard is reasonably designed to                       experience. Indeed, as noted above, CBP
                                                 experience suggesting that, like with the               identify meritorious claims even if a
                                                 Form I–867B questions, individualized                                                                            immigration officers (both USBP agents
                                                                                                         noncitizen does not expressly articulate                 and CBP officers) have extensive
                                                 Form I–867A advisals would be                           a fear of return. Manifestations may be
                                                 suggestive and would likely lead many                                                                            experience interviewing and observing
                                                                                                         verbal, non-verbal, or physical.227 A                    individuals. As a result of their
                                                 individuals to claim a fear of return                   manifestation of fear may present with
                                                 when they otherwise would not,                                                                                   experience and training, they have skills
                                                                                                         non-verbal or physical cues, through                     and expertise in interacting with
                                                 particularly given the emergency                        behaviors such as shaking, crying,
                                                 context of this rule and because there                                                                           individuals and observing human
                                                                                                         fleeing, or changes in tone of voice, or                 behavior and in determining
                                                 are few if any other advisals provided.                 through physical injuries consistent
                                                 Based on its experience, DHS                                                                                     appropriate follow up steps with regards
                                                                                                         with abuse.228 An individual who may                     to any behaviors or indicators of
                                                 determines that receiving these advisals
                                                 on their own is also suggestive.222 Thus,                  224 DHS considered whether to provide a short,
                                                                                                                                                                  concern. For instance, upon
                                                 in the context of inspecting individuals                individualized advisal to inform noncitizens of
                                                                                                                                                                  encountering a group of individuals
                                                 who (1) are described in § 208.13(g), (2)               their ability to seek asylum, in addition to these       who purport to be a family, USBP agents
                                                 are not described in section 3(b) of the                signs and videos. But DHS determined that such a         will observe the individuals to
                                                                                                         short, individualized advisal would be unlikely to       determine whether they evidence
                                                 Proclamation, and (3) are processed for                 convey information more effectively than the signs
                                                 expedited removal, DHS has determined                   and videos that CBP already intends to use as a
                                                                                                                                                                  typical familial behavior or whether
                                                 not to require the provision of such                    general notification, and that even a short advisal      there are any concerns about the
                                                 suggestive advisals. DHS acknowledges                   would take undue time to administer. Moreover,           validity of the asserted familial
                                                                                                         CBP assesses that the signs and videos providing         relationship or the safety of any
                                                 that, like with the Form I–867B                         general notification of the ability to seek asylum are
                                                 questions, there are studies that show                  less suggestive than short, individualized advisals
                                                                                                                                                                  children in the group. Agents and
                                                 that such advisals make it more likely                  would be.                                                officers are also trained on identifying
                                                 that a noncitizen will indicate a fear of                  225 U.S. State Dep’t, Bureau of Population,           potential trafficking victims or victims
                                                 return.223 However, based on DHS’s                      Refugees, and Migration, Fact Sheet: U.S.                of crimes and are trained on appropriate
                                                                                                         Commemorations Pledges (June 24, 2013), https://         follow up action. Additionally, agents
                                                                                                         2009-2017.state.gov/j/prm/releases/factsheets/2013/
                                                    222 This determination is based, in part, on CBP’s
                                                                                                         211074.htm (notifying the public that U.S. Coast         and officers frequently encounter
                                                 experience that the language in specific,               Guard personnel were provided updated training           individuals who may be vulnerable,
                                                 individualized advisals often serves as a prompt for
                                                 noncitizens to express a fear while in CBP custody.
                                                                                                         ‘‘on identifying manifestations of fear by interdicted   including those in physical or medical
                                                                                                         migrants’’).                                             distress or in need of humanitarian care,
                                                 This is, in part, because CBP understands that TCOs        226 See Huisha-Huisha v. Mayorkas, 27 F.4th 718,
                                                 coach noncitizens and advise them to listen for
                                                                                                         732–33 (D.C. Cir. 2022); CBP, Office of Field
                                                                                                                                                                  as well as those who may be seeking
                                                 certain words in the language of particular advisals                                                             protection in the United States. Agents
                                                 as a prompt to express a fear. While it is possible     Operations, Processing of Noncitizens Manifesting
                                                 that TCOs will provide noncitizens information          Fear of Expulsion Under Title 42 (May 21, 2022);         and officers can similarly use such skills
                                                 about how to manifest fear, even in the absence of      USBP, Guidance Regarding Family Units Moving             and experiences to identify any
                                                                                                         Forward Under Title 42 (May 21, 2022).
                                                                                                                                                                  manifestations of fear. Agents and
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                                                 affirmative advisals, CBP believes that, at least at
                                                                                                            227 See U.S. State Dep’t, Bureau of Population,
                                                 the outset of the process, individuals without such                                                              officers will also receive information on
                                                 a fear or intent to seek asylum are less likely to      Refugees, and Migration, Fact Sheet: U.S.
                                                 remember the information a TCO provided in the          Commemorations Pledges (June 24, 2013), https://         how to apply the manifestation
                                                 absence of individualized advisals. Additionally,       2009-2017.state.gov/j/prm/releases/factsheets/2013/      standard, including that manifestation
                                                 CBP believes that individuals who do have a fear        211074.htm (noting implementation of training that       may occur verbally, non-verbally, or
                                                 of return or intend to seek asylum will generally       ‘‘demonstrates different ways a migrant might
                                                 make such a claim even in the absence of such           express a verbal or non-verbal manifestation of          physically. DHS believes that this
                                                 advisals.                                               fear’’).                                                 experience, coupled with guidance, will
                                                    223 See, e.g., USCIRF Report at 16–18.                  228 Id.                                               help agents and officers effectively


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                                                 identify noncitizens with potential fear                expeditiously process and swiftly apply                applications.’’ 88 FR at 11742. In
                                                 or asylum claims under a manifestation                  consequences to noncitizens while still                addition, ‘‘the legislative history
                                                 approach. Therefore, DHS believes that                  affording access to protection. Here, the              regarding the credible fear screening
                                                 this rule remains consistent with the                   Departments are currently facing such                  process references only asylum.’’ Id. at
                                                 need to ‘‘safeguard[]’’ the rights of                   emergency circumstances, as explained                  11743. By contrast, section 241(b)(3) of
                                                 asylum seekers. See 62 FR at 10319.                     above in Sections III.B.1 and 2 of this                the INA, 8 U.S.C. 1231(b)(3), and
                                                 Because an immigration officer’s                        preamble. DHS believes that the                        FARRA section 2242 are silent as to
                                                 observation of whether a noncitizen                     approach taken in the rule is the most                 what screening procedures are to be
                                                 manifests a fear—rather than a                          appropriate one in light of the situation              employed, while the INA elsewhere
                                                 noncitizen’s answers to affirmative                     at the southern border, as explained in                confers broad discretionary authority to
                                                 questions regarding asylum—will lead                    this rule and as discussed in the                      establish rules and procedures for
                                                 to a referral to an AO for a fear                       Proclamation, balancing the need to                    implementing those provisions, see, e.g.,
                                                 screening, this standard may result in a                protect those who may wish to seek                     INA 103(a)(3), (g)(2), 8 U.S.C. 1103(a)(3),
                                                 greater proportion of those referred to an              protection in the United States against                (g)(2).
                                                 AO being individuals with meritorious                   an urgent need to use DHS resources                       Moreover, in past rules applying a
                                                 claims.                                                 effectively.                                           ‘‘reasonable possibility’’ screening
                                                    Additionally, the manifestation                                                                             standard to claims for statutory
                                                                                                         c. Raising the Standard for Protection                 withholding of removal or CAT
                                                 standard in the rule will enable DHS to
                                                                                                         Screening                                              protection, the Departments have noted
                                                 streamline the process, allowing it to
                                                 process noncitizens in a more                              Under this rule, if the AO determines               that such a screening standard is used
                                                 expeditious manner during the                           that, in light of the limitation on asylum             ‘‘in other contexts where noncitizens
                                                 emergency border circumstances                          eligibility under 8 CFR 208.35(a), there               would also be ineligible for asylum.’’ 88
                                                 identified in the Proclamation and this                 is not a significant possibility that the              FR at 11743 (citing 8 CFR 208.31(c), (e));
                                                 rule. In particular, DHS anticipates that               noncitizen could establish eligibility for             see also, e.g., Procedures for Asylum
                                                 omitting the requirement to complete                    asylum, see INA 235(b)(1)(B)(v), 8                     and Withholding of Removal; Credible
                                                 Form I–867A and I–867B will save                        U.S.C. 1225(b)(1)(B)(v), the AO will                   Fear and Reasonable Fear Review, 85 FR
                                                 about 20 to 30 minutes per noncitizen,                  enter a negative credible fear                         36264, 36270 (June 15, 2020)
                                                 providing DHS with—based on the                         determination with respect to the                      (referencing ‘‘the established framework
                                                 number of cases in March 2024—                          noncitizen’s asylum claim. See 8 CFR                   for considering whether to grant
                                                 approximately 14,000 extra personnel                    208.35(b)(1)(i). The AO will then assess               statutory withholding of removal or
                                                 hours per month.229 This increased                      whether the noncitizen has established                 CAT protection in the reasonable fear
                                                 efficiency is critical for processing                   a reasonable probability of persecution                context’’). Under the Circumvention of
                                                 noncitizens in an expeditious way, and                  (meaning a reasonable probability of                   Lawful Pathways rule, ‘‘[i]f a noncitizen
                                                 thus will better ensure that, given the                 being persecuted because of their race,                is subject to the lawful pathways
                                                 immense challenges of irregular                         religion, nationality, membership in a                 condition on eligibility for asylum and
                                                 migration at the southern border, DHS’s                 particular social group, or political                  not excepted and cannot rebut the
                                                 limited resources are used most                         opinion) or torture, with respect to the               presumption of the condition’s
                                                 effectively while still affording                       designated country or countries of                     applicability, there would not be a
                                                 opportunities for noncitizens to seek                   removal identified pursuant to section                 significant possibility that the
                                                 asylum or protection. Indeed, this is                   241(b)(2) of the INA, 8 U.S.C.                         noncitizen could establish eligibility for
                                                 particularly critical in the emergency                  1231(b)(2).231 See 8 CFR 208.35(b)(2)(i).              asylum.’’ 88 FR at 11742. For those
                                                 border circumstances described in the                   Likewise, when reviewing a negative                    noncitizens, the Departments
                                                 Proclamation and the rule. As discussed                 credible fear determination, where the IJ              implemented a ‘‘reasonable possibility
                                                 above, given the number of noncitizens                  concludes that there is not a significant              of persecution or torture’’ screening
                                                 and the time it takes to process them                   possibility that the noncitizen could                  standard for statutory withholding of
                                                 during periods of heightened                            establish eligibility for asylum in light              removal and protection under the CAT.
                                                                                                         of the limitation on asylum eligibility,               See 8 CFR 208.33(b)(2)(ii),
                                                 encounters, expediting the process is
                                                                                                         the IJ will assess whether the noncitizen              1208.33(b)(2)(ii). The Departments
                                                 critical for avoiding overcrowding and
                                                                                                         has established a reasonable probability               similarly believe that those who enter
                                                 ensuring safe conditions for those in
                                                                                                         of persecution because of a protected                  across the southern border during the
                                                 custody.230
                                                    For all of these reasons, DHS believes               ground or torture. See 8 CFR                           emergency border circumstances
                                                 that the ‘‘manifestation of fear’’                      1208.35(b)(2)(ii).                                     identified in the Proclamation and this
                                                                                                            The Departments have some                           rule and who are not described in
                                                 standard, as explained in the rule, will
                                                                                                         discretion to articulate the screening                 section 3(b) of the Proclamation, do not
                                                 enable immigration officers to
                                                                                                         standard for claims for statutory                      establish an enumerated exception, and
                                                 effectively identify noncitizens who
                                                                                                         withholding of removal and protection                  are unable to establish a significant
                                                 require credible fear interviews while
                                                                                                         under the CAT. As the Departments                      possibility of eligibility for asylum
                                                 streamlining the process. During the
                                                                                                         observed previously, ‘‘Congress clearly                should be screened for protection under
                                                 emergency circumstances described in
                                                                                                         expressed its intent that the ‘significant             a higher screening standard.
                                                 the Proclamation and the rule, it is
                                                                                                         possibility’ standard be used to screen                   The Departments’ experience with the
                                                 important for immigration officers to
                                                                                                         for asylum eligibility but did not                     Circumvention of Lawful Pathways rule
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                                                   229 At a time savings of 30 minutes per
                                                                                                         express any clear intent as to which                   has validated the Departments’ choice to
                                                 noncitizen, multiplied by 28,466 noncitizens            standard should apply to other                         use an elevated screening standard to
                                                 processed for expedited removal in March 2024, see                                                             narrowly focus limited resources on
                                                 OHSS analysis of data downloaded from UIP on              231 As noted above, DHS is also concurrently         those who are likely to be persecuted or
                                                 April 2, 2024, DHS would save approximately             soliciting comment on the Application of Certain       tortured and to remove those who are
                                                 14,000 hours per month.                                 Mandatory Bars Notice of Proposed Rulemaking,
                                                   230 See Decl. of Matthew J. Hudak ¶¶ 7, 17–22,        which proposes that certain mandatory bars be
                                                                                                                                                                unlikely to establish eligibility for
                                                 Florida v. Mayorkas, No. 3:22–cv–9962 (N.D. Fla.        considered at the screening stage under a              statutory withholding of removal or
                                                 May 12, 2023) (Dkt. 13–1).                              reasonable possibility standard.                       CAT protection. Under that rule, which


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                                                 uses a ‘‘reasonable possibility of                      resulted in a grant of protection or                       To allow for swift removals in the
                                                 persecution or torture’’ screening                      relief.236                                              case of those noncitizens who the
                                                 standard for statutory withholding of                      Screening under the ‘‘reasonable                     Departments are confident are unlikely
                                                 removal and CAT protection claims, the                  possibility’’ standard has allowed the                  to meet their ultimate burden to
                                                 Departments have processed record                       Departments to screen out and swiftly                   establish eligibility for statutory
                                                 numbers of noncitizens through                          remove additional noncitizens whose                     withholding of removal or protection
                                                 expedited removal and have seen a                       claims are unlikely to succeed at the                   under the CAT, the Departments have
                                                 significant decrease in the rate at which               merits stage. Although fewer                            decided to raise the screening standard
                                                 noncitizens receive positive credible                   noncitizens are screened in under the                   to ‘‘reasonable probability of
                                                                                                         ‘‘reasonable possibility’’ standard                     persecution or torture’’ during the
                                                 fear determinations, showing greater
                                                                                                         applied in the context of the                           emergency border circumstances
                                                 operational efficiencies.232 Between
                                                                                                         Circumvention of Lawful Pathways rule,                  described in the Proclamation and this
                                                 May 12, 2023, and March 31, 2024,                                                                               rule. The Departments define this
                                                                                                         that screen-in rate remains significantly
                                                 USCIS completed more than 152,000                       higher than the grant rate for ultimate                 ‘‘reasonable probability’’ standard as
                                                 credible fear interviews resulting from                 merits adjudication for SWB expedited                   ‘‘substantially more than a reasonable
                                                 SWB expedited removal cases—this is                     removal cases that existed prior to the                 possibility, but somewhat less than
                                                 more than twice as many interviews                      rule.237 Under the emergency border                     more likely than not.’’ 8 CFR
                                                 during the span of ten and a half months                circumstances described in the                          208.35(b)(2)(i), 1208.35(b)(2)(ii). Under
                                                 than the 75,000 interviews resulting                    Proclamation and this rule, the                         this standard, a noncitizen would be
                                                 from SWB encounters that USCIS                          Departments’ limited resources must be                  screened in if they provide credible
                                                 averaged each year from FY 2014 to FY                   focused on processing those who are                     testimony 239 and set forth a credible
                                                 2019.233 Between May 12, 2023, and                      most likely to be persecuted or tortured                claim with sufficient specificity for an
                                                 March 31, 2024, 52 percent                              if removed, and overall border security                 AO or IJ to be persuaded that there is
                                                 (approximately 57,000) of those who                     and immigration systems efficiencies                    a reasonable probability that the
                                                 were subject to the rule’s presumption                  outweigh any challenges related to                      noncitizen would be persecuted or
                                                 were able to establish a credible fear of               training on a new screening standard                    tortured so as to qualify for statutory
                                                 persecution or torture under the                        and a possible marginal increase in                     withholding of removal or CAT
                                                 ‘‘reasonable possibility’’ standard,234                 interview length resulting from the                     protection in an ultimate merits
                                                 compared to an 83 percent credible fear                 application of a new standard in                        adjudication.
                                                                                                         screening interviews. Likewise, the                        The Departments view the difference
                                                 screen-in rate in the pre-pandemic
                                                                                                         benefits of this rule, which is consistent              between the ‘‘reasonable possibility’’
                                                 period of 2014 to 2019.235 From 2014
                                                                                                         with all statutory and regulatory                       standard and the new ‘‘reasonable
                                                 through 2019, of SWB expedited                                                                                  probability’’ standard as being that the
                                                 removal cases with positive fear                        requirements and the United States’
                                                                                                         international law obligations, outweigh                 new standard requires a greater
                                                 determinations, less than 25 percent of                                                                         specificity of the claim in the
                                                 EOIR case completions ultimately                        any potential marginal increase in the
                                                                                                         likelihood that a meritorious case would                noncitizen’s testimony before the AO or
                                                                                                         fail under the raised screening standard.               the IJ. In particular, although claims
                                                   232 Decl. of Blas Nuñez-Neto ¶ 7, M.A. v.
                                                                                                         Swiftly removing noncitizens without                    based on general fears of return may at
                                                 Mayorkas, No. 1:23–cv–01843 (D.D.C. Oct. 27, 2023)                                                              times be found to meet the ‘‘reasonable
                                                 (Dkt. 53–1). The screen-in rate refers to the           meritorious claims is critical to
                                                 percentage of cases with a positive fear                deterring noncitizens from seeking entry                possibility’’ standard where evidence in
                                                 determination calculated by dividing the number of      under the belief that they will be                      the record of country conditions
                                                 cases that receive a positive fear determination by     released and able to remain in the
                                                 the total number of determinations made (i.e.,                                                                  enforcement.’’); Doris Meissner, Faye Hipsman, & T.
                                                 positive and negative fear determinations). See id.     United States for a significant period.                 Alexander Aleinikoff, The U.S. Asylum System in
                                                 ¶ 7 n.2.                                                See, e.g., 88 FR at 31324 (discussing the               Crisis: Charting a Way Forward, Migration Pol’y
                                                   233 Pre-May 12, 2023, data from OHSS                  success of the CHNV parole processes as                 Inst., at 9 (2018), https://www.migrationpolicy.org/
                                                 Enforcement Lifecycle Dataset December 31, 2023;        being in part due to imposing                           sites/default/files/publications/MPI-
                                                 post-May 11, 2023, data from OHSS analysis of data                                                              AsylumSystemInCrisis-Final.pdf (‘‘Incentives to
                                                                                                         consequences for failing to use a lawful                misuse the asylum system may also be reemerging.
                                                 downloaded from UIP on April 2, 2024.
                                                   234 OHSS analysis of data downloaded from UIP
                                                                                                         pathway, namely swift removal); 88 FR                   For example, over the past five years, the number
                                                 on April 2, 2024. At this time, data on EOIR’s grant    at 11713 (noting that in the 60 days                    of employment authorization documents (EADs)
                                                                                                         immediately following DHS’s                             approved for individuals with pending asylum
                                                 rate under the Circumvention of Lawful Pathways
                                                                                                                                                                 cases that have passed the 180-day mark increased
                                                 rule is not available because only a small number       resumption of routine repatriation                      from 55,000 in FY 2012 to 270,000 in FY 2016, and
                                                 of cases processed under that rule have been            flights to Guatemala and Honduras,                      further to 278,000 in just the first six months of FY
                                                 completed. From May 12 through November 30,
                                                 2023 (the most recent data for which fully linked
                                                                                                         average daily encounters fell by 38                     2017. This high and growing level of EAD grants
                                                                                                         percent for Guatemala and 42 percent                    may suggest that, as processing times have grown,
                                                 records are available), a total of 61,000 SWB                                                                   so too have incentives to file claims as a means of
                                                 expedited removal cases have been referred to EOIR      for Honduras).238                                       obtaining work authorization and protection from
                                                 for section 240 removal proceedings, including                                                                  deportation, without a sound underlying claim to
                                                 1,400 with case completions (2.2 percent). In             236 OHSS Enforcement Lifecycle Dataset as of
                                                                                                                                                                 humanitarian protection.’’).
                                                 addition, cases that are already completed are a        December 31, 2023.                                         239 Credible testimony alone is sufficient in a
                                                 biased sample of all future completions because in        237 DHS OHSS Enforcement Lifecycle Dataset as
                                                                                                                                                                 credible fear screening, and AOs are trained to ask
                                                 years since FY 2014, the median processing time for     of December 31, 2023.                                   questions to elicit testimony to assist the noncitizen
                                                 cases resulting in relief or other protection from        238 See also, e.g., Muzaffar Chishti et al., At the   in meeting their burden with testimony alone.
                                                 removal has been, on average, about six times           Breaking Point: Rethinking the U.S. Immigration         Although testimony alone could certainly meet the
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                                                 longer than the median processing time for cases        Court System, Migration Pol’y Inst., at 11 (2023),      burden, it is not required that the burden be met
                                                 resulting in removal orders, so reporting on the        https://www.migrationpolicy.org/sites/default/files/    solely through testimony. And even though
                                                 small data set of already completed cases would         publications/mpi-courts-report-2023_final.pdf (‘‘In     corroborating evidence is not required, AOs will
                                                 yield a relief rate that is artificially low. OHSS      the case of noncitizens crossing or arriving at the     consider any additional evidence the noncitizen
                                                 analysis of OHSS Enforcement Lifecycle Dataset          U.S.-Mexico border without authorization to enter,      presents. Additionally, AOs are trained to conduct
                                                 December 31, 2023 and OHSS analysis of EOIR data        years-long delays create incentives to file frivolous   interviews of individuals with persecution or non-
                                                 as of January 31, 2024.                                 asylum claims that further perpetuate delays for        persecution-related injuries, traumas, or conditions
                                                   235 OHSS Enforcement Lifecycle Dataset as of          those eligible for protection, undermining the          that may impact their ability to provide testimony
                                                 December 31, 2023.                                      integrity of the asylum system and border               for themselves.



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                                                 indicates instances of persecution or                   [the applicant] of the obligation to point                 The Departments are confident that
                                                 torture within the country, such claims                 to specific evidence indicating that he,                AOs and IJs can apply this heightened
                                                 are less likely to be sufficient under the              personally, faces a risk of torture                     standard effectively to identify those
                                                 ‘‘reasonable probability’’ standard when                because of these alleged shortcomings’’);               who are likely to have viable claims on
                                                 the noncitizen cannot provide greater                   Delgado-Ortiz v. Holder, 600 F.3d 1148,                 the merits while mitigating the
                                                 detail in their statements and                          1152 (9th Cir. 2010) (‘‘Petitioners’                    possibility that those with a viable claim
                                                 information as to the basis for their                   generalized evidence of violence and                    would be screened out. The level of
                                                 individual claim.                                       crime in Mexico is not particular to                    specificity and certainty that the
                                                    The Departments frequently see such                  Petitioners and is insufficient to meet                 ‘‘reasonable probability’’ standard
                                                 general claims of fear that lack                        th[e] standard [for eligibility for CAT                 requires remains lower than the
                                                 specificity at both the screening and                   protection].’’).                                        ultimate merits standard, and AOs and
                                                 merits stage. However, generalized fear                    Under the ‘‘reasonable possibility’’                 IJs have the training and experience
                                                 of persecution is ultimately not                        standard, a noncitizen presenting a                     necessary to elicit the information
                                                 sufficient to establish a claim. See                    claim based on general civil strife is                  required to determine whether a case is
                                                 Sharma v. Garland, 9 F.4th 1052, 1060                   sometimes found to pass the screening                   sufficiently specific to meet the
                                                 (9th Cir. 2023) (‘‘[A]dverse country                    stage even where they provide only                      ‘‘reasonable probability’’ standard.241
                                                 conditions are not sufficient evidence of               general testimony about their fear of                   This is particularly the case because, in
                                                 past persecution, for the obvious reason                harm. For example, a noncitizen may                     implementing such training, USCIS
                                                 that ‘[t]o establish past persecution, an               meet the ‘‘reasonable possibility’’                     expects to adapt existing training,
                                                 applicant must show that he as                          standard where he expresses a fear of                   including on the ultimate merits
                                                 individually targeted on account of a                   being killed by the government upon his                 standard, to prepare AOs on the
                                                 protected ground rather than simply the                 return to his native country, United                    ‘‘reasonable probability’’ screening
                                                 victim of generalized violence.’ ’’                     States Government reports indicate the                  standard, since the way evidence is
                                                 (quoting Hussain v. Rosen, 985 F.3d                     country may engage in human rights                      evaluated remains the same, save for the
                                                 634, 646 (9th Cir. 2012))); Prasad v. INS,              abuses, and the noncitizen has been                     degree of specificity required. AOs
                                                 101 F.3d 614, 617 (9th Cir. 1996)                       involved in anti-government political                   especially have significant training in
                                                 (stating that to establish past                         activism for years, even absent specific                non-adversarial interview techniques
                                                 persecution, ‘‘[i]t is not sufficient to                information as to an individualized                     and are required to elicit testimony from
                                                 show [the applicant] was merely subject                 threat against the noncitizen or any                    the noncitizen—in effect, to help the
                                                 to the general dangers attending a civil                other individuals who have been                         noncitizen meet their burden through
                                                 war or domestic unrest’’); Al Fara v.                   threatened or harmed. But to meet the                   testimony alone.242 If upon such
                                                 Gonzales, 404 F.3d 733, 740 (3d Cir.                    ‘‘reasonable probability’’ standard, the                questioning a noncitizen is unable to
                                                 2005) (‘‘[G]enerally harsh conditions                   noncitizen would either need to explain                 provide specific facts that lead the AO
                                                 shared by many other persons do not                     with some specificity why he thinks he,                 or IJ to believe that the noncitizen
                                                 amount to persecution. . . . [H]arm                     in particular, is likely to be harmed, or               would be able to meet their burden with
                                                 resulting from country-wide civil strife                the record would have to reflect some                   more opportunity to prepare, such
                                                 is not persecution on account of an                     specific information regarding the                      claims are unlikely to prevail at the
                                                 enumerated statutory factor.’’ (quotation               treatment of anti-government political                  merits stage.
                                                 marks omitted)); see also Debab v. INS,                 activists similarly situated to the                        Moreover, this heightened screening
                                                 163 F.3d 21, 27 (1st Cir. 1998) (citing                 applicant. Such claims are assessed on                  standard targets information—
                                                 cases).                                                 a case-by-case basis. As an example,                    specificity based on the noncitizen’s
                                                    Moreover, to establish ultimate                      however, were the noncitizen to                         own knowledge—that should generally
                                                 eligibility for CAT protection, the                     credibly state that he knew, and to                     be available at the screening stage. A
                                                 noncitizen must demonstrate an                          provide details about, people who are                   noncitizen at the screening stage
                                                 individualized risk of torture—not a                    similarly situated to him who have been                 generally would have information
                                                 general possibility of it. See Escobar-                 killed, harmed, or credibly threatened,                 regarding their fear of harm, such as
                                                 Hernandez v. Barr, 940 F.3d 1358, 1362                  that testimony may be sufficient to meet                whom they are afraid of and why, and
                                                 (10th Cir. 2019) (‘‘[P]ervasive violence                the ‘‘reasonable probability’’ standard                 an AO will elicit information regarding
                                                 in an applicant’s country generally is                  because it provides more specificity as                 the claim that either is sufficiently
                                                 insufficient to demonstrate the                         to why the noncitizen believes he would                 specific to satisfy the heightened
                                                 applicant is more likely than not to be                 be harmed. The Departments believe                      screening standard or is not. Credible
                                                 tortured upon returning there.’’);                      that the ‘‘reasonable probability’’
                                                 Bernard v. Sessions, 881 F.3d 1042,                     standard, by requiring additional                       the Departments are addressing emergency border
                                                 1047 (7th Cir. 2018) (‘‘Evidence of                     specificity, will better identify claims                circumstances rather than regulating to change the
                                                 generalized violence is not enough; the                 that are likely to be meritorious in a full             status quo. The Departments may consider such
                                                 IJ must conclude that there is a                        adjudication while screening out those                  changes in future rulemaking.
                                                                                                                                                                   241 USCIS, RAIO Directorate—Officer Training:
                                                 substantial risk that the petitioner will               whose claims are not likely to                          Interviewing—Eliciting Testimony (Dec. 20, 2019);
                                                 be targeted specifically.’’); Lorzano-                  prevail.240                                             EOIR, Fact Sheet: Immigration Judge Training (June
                                                 Zuniga v. Lynch, 832 F.3d 822, 830–31                                                                           2022), https://www.justice.gov/eoir/page/file/
                                                 (7th Cir. 2016) (‘‘[G]eneralized violence                  240 Although the Departments believe the             1513996/dl?inline.
                                                 or danger within a country is not                       standard will better identify claims that are likely      242 USCIS, RAIO Directorate—Officer Training:

                                                                                                         to be meritorious, for now the Departments do not       Interviewing—Introduction to the Non-Adversarial
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                                                 sufficient to make a claim that it is more
                                                                                                         seek to apply the ‘‘reasonable probability’’ standard   Interview (Dec. 20, 2019). As described in a
                                                 likely than not that a petitioner would                 outside the context of this rule—that is, to those      previous rule, AOs have experience in ‘‘country
                                                 be tortured upon return to his home                     who do not establish a significant possibility of       conditions and legal issues, as well as
                                                 country.’’); Alvizures-Gomes v. Lynch,                  eligibility for asylum because of the limitation on     nonadversarial interviewing techniques,’’ and they
                                                 830 F.3d 49, 55 (1st Cir. 2016) (country                asylum eligibility or, if the limitation is rendered    have ‘‘ready access to country conditions experts.’’
                                                                                                         inoperative by court order, to those who are            Procedures for Credible Fear Screening and
                                                 reports demonstrating overall                           ineligible for asylum under the Circumvention of        Consideration of Asylum, Withholding of Removal,
                                                 corruption and ineffectiveness of                       Lawful Pathways rule, see 8 CFR 208.35(b)(2)(i) and     and CAT Protection Claims by Asylum Officers, 86
                                                 Guatemalan authorities ‘‘do not relieve                 (3), 1208.35(b)(2)(iii) and (4)—because in this rule    FR 46906, 46918 (Aug. 20, 2021).



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                                                 testimony alone can satisfy the                           be the case that where a noncitizen                     significant departure from the types of
                                                 noncitizen’s burden and is sometimes                      expresses only generalized fear of harm                 analyses AOs, supervisory AOs, and IJs
                                                 the only available evidence of                            based on their ethnicity, but country                   conduct on a daily basis. Rather, it is a
                                                 persecution or torture. See, e.g., Matter                 conditions confirm serious, ongoing                     matter of degree—to meet the
                                                 of Mogharrabi, 19 I&N Dec. 439, 443                       harm in the form of widespread,                         ‘‘reasonable probability of persecution
                                                 (BIA 1987). In most cases, noncitizens                    systematic persecutory acts by                          or torture’’ standard, the noncitizen
                                                 would have such information at the                        government institutions targeting                       must present more specificity than is
                                                 screening stage, and the Departments                      individuals who are similarly situated                  required to meet the ‘‘reasonable
                                                 expect—and logic suggests—that such                       to the noncitizen, adjudicators will rely               possibility of persecution or torture’’
                                                 information could be shared through                       on that information to deem the                         standard, but not so much as to
                                                 testimony. Instances of past harm or                      ‘‘reasonable probability’’ standard                     establish ultimate eligibility for
                                                 those that inform a future fear of return                 satisfied.                                              protection. Indeed, to meet the ultimate
                                                 that caused a noncitizen to seek                             AOs, supervisory AOs, and IJs receive                standard, noncitizens may still be
                                                 protection generally occur before entry                   training and have experience applying                   required to provide more evidence—
                                                 and would not be expected to develop                      asylum, statutory withholding of                        whether testimonial or documentary.
                                                 after the fact of entry or after the                      removal, and CAT protection screening
                                                                                                                                                                      The Departments do not believe that
                                                 screening stage. Hence, the Departments                   standards and in applying and
                                                                                                                                                                   applying the ‘‘reasonable probability of
                                                 believe that this standard will screen                    reviewing decisions related to the
                                                                                                                                                                   persecution or torture’’ standard will
                                                 out claims that are likely to fail at the                 ultimate asylum (for USCIS and EOIR)
                                                                                                                                                                   increase the time required for credible
                                                 merits stage and poses only a minimal                     and statutory withholding of removal
                                                                                                                                                                   fear interviews by any great margin.
                                                 risk of screening out claims that could                   and CAT protection (for EOIR) merits
                                                                                                                                                                   AOs generally ask similar questions to
                                                 ultimately succeed. For example, if a                     standards, so they are well-suited to be
                                                                                                                                                                   elicit information from noncitizens
                                                 noncitizen does not know who harmed                       able to identify in a screening whether
                                                                                                                                                                   during screening interviews regardless
                                                 or would harm them or why, in the                         the information the noncitizen has
                                                                                                                                                                   of the standard they will apply to the
                                                 Departments’ experience, AOs and IJs                      provided is sufficiently specific to lead
                                                                                                                                                                   information elicited. The difference will
                                                 will often be able to determine—                          them to believe that the noncitizen may
                                                 depending on the facts of the case—that                                                                           be whether the information provided as
                                                                                                           be able to establish eligibility at the
                                                 it is unlikely that the noncitizen will be                                                                        a result of those questions reaches the
                                                                                                           merits stage.244 Moreover, all credible
                                                 able to provide answers to those critical                                                                         required level of specificity. That said,
                                                                                                           fear determinations must be concurred
                                                 questions at the merits stage.                                                                                    there may be cases where an AO
                                                                                                           upon by a supervisory AO before they
                                                    In addition, AOs and IJs also receive                                                                          believes that the noncitizen may be able
                                                                                                           become final to ensure quality and
                                                 training in, and have substantial                                                                                 to meet the ‘‘reasonable probability of
                                                                                                           consistency and will be subject to de
                                                 experience weighing, country                                                                                      persecution or torture’’ standard after
                                                                                                           novo IJ review if requested by the
                                                 conditions, which will further help                                                                               answering a few additional questions.
                                                                                                           noncitizen. See 8 CFR 235.3(b)(7),
                                                 them assess whether and under what                                                                                But even if there is a marginal increase
                                                                                                           235.15(b)(2)(i)(B), 1208.35(b).
                                                 circumstances the lack of specificity in                                                                          in the length of some interviews, the
                                                                                                              Although AOs, supervisory AOs, and
                                                 a noncitizen’s testimony indicates that                                                                           Departments believe that the interest in
                                                                                                           IJs will have to be trained on applying
                                                 they have little prospect of meeting their                                                                        swift removal of those unlikely to
                                                                                                           the new ‘‘reasonable probability of
                                                 ultimate burden.243 For example, it may                                                                           establish eligibility for protection during
                                                                                                           persecution or torture’’ standard, the
                                                                                                                                                                   emergency border circumstances
                                                                                                           standard as explained above is not a
                                                    243 USCIS, RAIO Directorate—Officer Training:                                                                  outweighs the risk of some interviews
                                                 Decision Making (Dec. 20, 2019); USCIS, RAIO
                                                                                                           conditions reports, such as the U.S. Department of
                                                                                                                                                                   taking longer.245 This is because a
                                                 Directorate—Officer Training: Interviewing—                                                                       higher standard will be more likely to
                                                                                                           State country conditions reports, are longstanding,
                                                 Eliciting Testimony (Dec. 20, 2019); USCIS, RAIO
                                                 Directorate—Officer Training: Interviewing—
                                                                                                           credible sources of information to which IJs often      create a deterrent: Those less likely to
                                                                                                           look. See, e.g., Sowe v. Mukasey, 538 F.3d 1281,        establish eligibility for statutory
                                                 Introduction to the Non-Adversarial Interview (Dec.
                                                                                                           1285 (9th Cir. 2008) (‘‘U.S. Department of State
                                                 20, 2019); 86 FR at 46918. IJs ‘‘receive extensive
                                                                                                           country reports are the most appropriate and
                                                                                                                                                                   withholding of removal or CAT
                                                 training upon entry on duty, annual training, and                                                                 protection will be swiftly removed
                                                 periodic training on specialized topics as                perhaps the best resource for information on
                                                 necessary.’’ Procedures for Credible Fear Screening       political situations in foreign nations.’’ (quotation   rather than being released and waiting
                                                 and Consideration of Asylum, Withholding of               marks omitted)); Xiao Ji Chen v. U.S. Dep’t of          years for a hearing, or in some cases,
                                                                                                           Justice, 471 F.3d 315, 341 (2d Cir. 2006)
                                                 Removal, and CAT Protection Claims by Asylum
                                                                                                           (Department of State country reports are ‘‘usually
                                                                                                                                                                   absconding and remaining in the United
                                                 Officers, 87 FR 18078, 18170 (Mar. 29, 2022); see                                                                 States unlawfully. And this deterrent
                                                 also EOIR, Fact Sheet: Immigration Judge Training         the best available source of information on country
                                                 (June 2022), https://www.justice.gov/eoir/page/file/      conditions’’ (quotation marks omitted)).                effect could lead to lower encounter
                                                 1513996/dl?inline. Moreover, IJs are required to            244 See USCIS, RAIO Directorate—Officer
                                                                                                                                                                   levels as noncitizens and smugglers
                                                 maintain professional competence in the law, U.S.         Training: Note Taking (Feb. 12, 2024); USCIS, RAIO      realize that the process is functioning
                                                 Dep’t of Justice, Ethics and Professionalism Guide        Directorate—Officer Training: Interviewing—
                                                 for Immigration Judges § IV (Jan. 26, 2011), https://     Survivors of Torture and Other Severe Trauma
                                                 www.justice.gov/sites/default/files/eoir/legacy/          (Nov. 2, 2023); USCIS, RAIO Directorate—Officer            245 In Section III.B.3.b of this preamble, the

                                                 2013/05/23/                                               Training: Children’s Claims (Dec. 20, 2020); USCIS,     Departments conclude that there is a need to
                                                 EthicsandProfessionalismGuideforIJs.pdf, which            RAIO Directorate—Officer Training: Interviewing—        streamline immigration officers’ processing of
                                                 necessarily includes the elements required to             Introduction to the Non-Adversarial Interview (Dec.     noncitizens through expedited removal while the
                                                 establish eligibility for relief or entitlement to        20, 2019); USCIS, RAIO Directorate—Officer              Proclamation’s suspension and limitation on entry
                                                 protection from removal, id. Consistent with their        Training: Interviewing—Eliciting Testimony (Dec.        is in effect. That reasoning is not inconsistent with
                                                 role in adjudicating asylum and related protection        20, 2019); USCIS, RAIO Directorate—Officer              the reasoning here. Because AOs interview only a
                                                 applications, IJs have long been able to take             Training: Cross-Cultural Communication and Other        subset of noncitizens processed through expedited
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                                                 administrative notice of commonly known facts,            Factors That May Impede Communication at an             removal, the Departments believe at most a portion
                                                 including country conditions evidence. See 8 CFR          Interview (Dec. 20, 2019); USCIS, RAIO                  of those noncitizens’ credible fear interviews may
                                                 208.12 (1997) (stating that the adjudicator may rely      Directorate—Officer Training: Detecting Possible        be longer, and, as noted, any marginal increase in
                                                 on information from a variety of sources ranging          Victims of Trafficking (Dec. 20, 2019); USCIS, RAIO     the time it takes to conduct some interviews is
                                                 from the Department of State to credible                  Directorate—Officer Training: Interviewing—             outweighed by improving deterrence and avoiding
                                                 international organizations or academic                   Working With an Interpreter (Dec. 20, 2019); EOIR,      erroneous screen-ins, which result in noncitizens
                                                 institutions); 8 CFR 208.1(a) (1997) (stating this part   Fact Sheet: Immigration Judge Training (June 2022),     being added to the backlog of immigration cases
                                                 shall apply to all applicants for asylum whether          https://www.justice.gov/eoir/page/file/1513996/         and being released into and remaining in the United
                                                 before an AO or an IJ). Federal Government country        dl?inline.                                              States for a significant period of time.



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                                                 more effectively.246 Screening out those                and those claims will all be considered                the consequences for those who cross
                                                 unlikely to establish eligibility for                   only under the ‘‘significant possibility’’             unlawfully or without authorization,
                                                 protection has the added benefit of                     standard. Similarly, whether a                         DHS endeavors to deliver consequences
                                                 saving United States Government                         noncitizen faced an imminent and                       swiftly to the highest proportion of
                                                 resources overall because fewer                         extreme threat to life and safety that                 individuals who fail to establish a legal
                                                 noncitizens who are unlikely to                         excepts them from the rule under 8 CFR                 basis to remain the United States. This
                                                 establish eligibility for protection will               208.35(a)(2)(i)(B) or 1208.35(a)(2)(i)(B)              includes, subject to available resources,
                                                 be placed into section 240 removal                      will involve an evaluation of the                      referring the maximum number of
                                                 proceedings before EOIR, which as of                    discrete set of circumstances at the time              eligible individuals possible into
                                                 the end of December 2023 had a backlog                  of the noncitizen’s arrival at the border,             expedited removal to quickly adjudicate
                                                 of more than 2.7 million cases.247                      and will not likely be relevant to                     their claims. However, as described
                                                    In developing this rule, the                         whether the noncitizen has a fear of                   below, DHS has been limited in its
                                                 Departments considered the possibility                  persecution or torture in their
                                                 that the application of different                                                                              ability to do so as a result of capacity
                                                                                                         designated country of removal. The
                                                 screening standards to ‘‘the same or a                                                                         and resource constraints. The number of
                                                                                                         question of an imminent threat relates to
                                                 closely related set of facts’’ might result                                                                    people who can be processed for
                                                                                                         the situation immediately prior to the
                                                 in inefficiencies. See 87 FR at 18091; see                                                                     expedited removal is dependent on the
                                                                                                         noncitizen’s entry into the United
                                                 also 88 FR at 11746. The Departments                    States, rather than necessarily any fear               Departments’ resources and can be
                                                 note, however, that under this rule, that               of persecution or torture. Thus, the                   impacted by several factors, including
                                                 is unlikely to be the case. The facts                   Departments do not believe there will                  limited detention beds and holding
                                                 relevant to whether a noncitizen is                     generally be a need to apply multiple                  capacity; 249 the presence or absence of
                                                 subject to the rule’s limitation on                     standards to the same set of facts.                    sufficient AOs to conduct credible fear
                                                 asylum eligibility will only rarely be                                                                         interviews for all those who claim a fear
                                                 relevant to the inquiry into whether the                d. The Scope of This Rule                              or indicate an intent to apply for
                                                 noncitizen has a fear of persecution or                    The Departments have decided to tie                 asylum; the availability of IJs to review
                                                 torture. For example, whether the                       the application of this IFR, including                 negative fear findings; and the ability to
                                                 noncitizen faced an acute medical                       the limitation on asylum eligibility, to               repatriate individuals ordered removed
                                                 emergency that excepts them from the                    emergency border circumstances. The                    in a timely manner—an option that is
                                                 rule under 8 CFR 208.35(a)(2)(i)(A) or                  suspension and limitation on entry                     not always available because, among
                                                 1208.35(a)(2)(i)(A) will not likely be                  applies beginning at 12:01 a.m. eastern                other things, it relies on independent
                                                 relevant to whether the noncitizen has                  time on June 5, 2024. The suspension                   decisions made by foreign governments.
                                                 a fear of persecution or torture in their               and limitation on entry will be                          Sustained high encounter rates
                                                 designated country of removal and so                    discontinued 14 calendar days after the
                                                                                                                                                                threaten to overwhelm the Departments’
                                                 only the ‘‘reasonable probability’’                     Secretary makes a factual determination
                                                                                                                                                                ability to effectively process, detain, and
                                                 standard will be applied to the facts                   that there has been a 7-consecutive-
                                                                                                                                                                remove the migrants encountered, as
                                                 relevant to their persecution or torture                calendar-day average of less than 1,500
                                                                                                                                                                appropriate, in a timely manner. See 88
                                                 claim. And where a noncitizen meets                     encounters, as defined by the
                                                                                                                                                                FR at 31316. The President has
                                                 such an exception, they will continue to                Proclamation, but excluding noncitizens
                                                                                                         determined to be inadmissible at a SWB                 determined that the suspension and
                                                 be eligible to pursue asylum in addition
                                                                                                         POE. If encounters increase again                      limitation on entry is necessary to
                                                 to any claim of persecution or torture,
                                                                                                         (including during the 14-calendar-day                  manage encounter levels. The
                                                    246 See Muzaffar Chishti et al., At the Breaking     period), the suspension and limitation                 Departments have determined that
                                                 Point: Rethinking the U.S. Immigration Court            will apply again (or continue to apply,                emergency border circumstances
                                                 System, Migration Pol’y Inst., at 11 (2023), https://
                                                                                                         as applicable) after the Secretary makes               described in the Proclamation and this
                                                 www.migrationpolicy.org/sites/default/files/                                                                   rule necessitate this rule’s limitation on
                                                 publications/mpi-courts-report-2023_final.pdf (‘‘In     a factual determination that there has
                                                 the case of noncitizens crossing or arriving at the     been a 7-consecutive-calendar-day                      asylum eligibility and changes to the
                                                 U.S.-Mexico border without authorization to enter,      average of more than 2,500 encounters,                 referral process and screening standard
                                                 years-long delays create incentives to file frivolous
                                                                                                         as defined by the Proclamation, but                    because, in such circumstances, DHS
                                                 asylum claims that further perpetuate delays for
                                                 those eligible for protection, undermining the          excluding noncitizens determined to be                 lacks the capacity to deliver timely
                                                 integrity of the asylum system and border               inadmissible at a SWB POE. These                       consequences, and absent this rule,
                                                 enforcement.’’); Doris Meissner, Faye Hipsman, & T.     thresholds are consistent with those set               must resort to large-scale releases of
                                                 Alexander Aleinikoff, The U.S. Asylum System in                                                                noncitizens pending section 240
                                                 Crisis: Charting a Way Forward, Migration Pol’y
                                                                                                         forth in sections 2(a) and (b) of the
                                                 Inst., at 9 (2018), https://www.migrationpolicy.org/    Proclamation.248 In order to maximize                  removal proceedings, which leads to
                                                 sites/default/files/publications/MPI-                                                                          significant harms and threatens to
                                                 AsylumSystemInCrisis-Final.pdf (‘‘Incentives to           248 The 14-day waiting period prior to a             incentivize further migration by
                                                 misuse the asylum system may also be reemerging.        discontinuation provides time for the Departments      individuals who recognize the
                                                 For example, over the past five years, the number       to complete processing of noncitizens encountered
                                                 of employment authorization documents (EADs)            during emergency border circumstances and to
                                                 approved for individuals with pending asylum            confirm that a downward trend in encounters is         2(b) of the Proclamation. Hence, the data used to
                                                 cases that have passed the 180-day mark increased       sustained. The absence of a similar waiting period     make these factual determinations may differ
                                                 from 55,000 in FY 2012 to 270,000 in FY 2016, and       prior to a reactivation reflects the operational       somewhat from the more definitive numbers that
                                                 further to 278,000 in just the first six months of FY   exigencies in a circumstance in which there has        ultimately emerge from DHS’s full validation
                                                 2017. This high and growing level of EAD grants         been a 7-consecutive-calendar-day average of more      process.
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                                                 may suggest that, as processing times have grown,       than 2,500 encounters and is necessary to avoid a        249 See, e.g., Consolidated Appropriations Act,
                                                 so too have incentives to file claims as a means of     surge to the border in advance of a reactivation. As   2024, Public Law 118–47, 138 Stat. 460, 598 (2024).
                                                 obtaining work authorization and protection from        the Departments have explained, the preliminary        The joint explanatory statement states that the bill
                                                 deportation, without a sound underlying claim to        data pulled from DHS’s operational systems have        provides ‘‘$5,082,218,000 for Enforcement and
                                                 humanitarian protection.’’).                            not undergone a full validation process. See supra     Removal Operations (ERO)’’ and ‘‘$355,700,000 for
                                                    247 See EOIR, Adjudication Statistics: Pending       note 5. But a rapid policy and operational response    41,500 beds for the full fiscal year and inflationary
                                                 Cases, New Cases, and Total Completions (Jan. 18,       to emergency border circumstances requires relying     adjustments to support current detention facility
                                                 2024), https://www.justice.gov/eoir/media/1344791/      on this more recent data when making factual           operations.’’ 170 Cong. Rec. H1807, H1812 (daily
                                                 dl?inline.                                              determinations consistent with sections 2(a) and       ed. Mar. 22, 2024).



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                                                 limitations on the ability to deliver                   encountered at the SWB using                           greater detail in Section III.B.1 of this
                                                 timely consequences.250                                 comparatively few resources. See 88 FR                 preamble, from 2021 to 2023, there was
                                                    DHS simply lacks sufficient resources                at 11708, 11716.                                       a historic surge in migration from other
                                                 to detain and conduct credible fear                        From FY 2009 through FY 2020,                       countries in the Western Hemisphere
                                                 interviews for the number of                            USBP encounters between POEs                           and from Eastern Hemisphere countries,
                                                 noncitizens arriving each day who claim                 declined substantially from these                      which, for the first time ever, accounted
                                                 a fear of return when processed through                 historical highs, averaging                            for more than half of the encounters at
                                                 expedited removal. This mismatch in                     approximately 1,200 per day, and daily                 the border in 2023—with Mexican
                                                 available resources and encounters                      USBP encounters between the POEs                       nationals accounting for just 29 percent
                                                 creates stress on the border and                        averaged less than 3,500 per day in all                of encounters, an all-time low.258
                                                 immigration systems and forces DHS to                   but one month of that 12-year period—                     The change in the nationalities and
                                                 rely on processing pathways outside of                  May 2019 when USBP encounters                          demographics being encountered at the
                                                 expedited removal—limiting DHS’s                        peaked at 4,300 during that year’s                     border has coincided with a dramatic
                                                 ability to swiftly deliver consequences                 surge.254 Within that 12-year stretch,                 increase in the number of individuals
                                                 on individuals who do not have a legal                  there were only four months (from                      who claim fear when they are processed
                                                 basis to remain in the United States.251                March through June 2019) with average                  at the border. Between 2005 and 2015,
                                                 The Departments have determined that                    encounters between the POEs even                       the proportion of noncitizens
                                                 the 1,500-encounter threshold is a                      above 2,500 per day.255 In fact, for the               encountered by CBP and processed for
                                                 reasonable proxy for when the border                    15 years prior to March 2021, DHS did                  expedited removal who claimed fear
                                                 security and immigration system is no                   not experience a single month with                     ranged from 5 percent at the low end to
                                                 longer over capacity and the measures                   more than 5,000 total average daily                    26 percent at the high end.259 Driven by
                                                 adopted in this rule are not necessary to               encounters.256 However, during that                    the changing demographics at the
                                                 deal with such circumstances.                           time, the demographics of these                        border, both the percentage of those
                                                    At the outset, it is important to put                encounters changed significantly, with                 processed for expedited removal as well
                                                 the threshold in context. From FY 2000                  nationals from the northern Central                    as the percentage of those processed for
                                                 through FY 2008, USBP encounters                        American countries steadily increasing                 expedited removal who claimed a fear
                                                 between POEs averaged approximately                     as a proportion of encounters, becoming                of return or an intent to seek asylum
                                                 3,000 per day, routinely including                      a majority of individuals encountered                  generally increased during this time
                                                 monthly averages over 3,500 for a few                   between POEs for the first time in                     frame.260 This, in turn, has resulted in
                                                 months most springs.252 The vast                        history in 2017—a trend that continued                 a steep increase in the number of
                                                 majority (94 percent) of individuals                    until 2020. Starting in 2014, families                 credible fear interviews that USCIS is
                                                 encountered by USBP during this period                  and UCs increased as a proportion of                   required to conduct.261
                                                 were Mexican nationals, and very few of                 USBP encounters as well, reaching a                       In 2023, a record 59 percent of
                                                 those who were processed for expedited                  high of 65 percent of encounters in                    encounters at and between POEs on the
                                                 removal claimed a fear of return or an                  2019.257 Finally, and as described in                  SWB that were processed for expedited
                                                 intent to seek asylum during that
                                                                                                                                                                removal resulted in fear claims. From
                                                 process—fewer than one percent of all                      254 OHSS analysis of March 2024 OHSS Persist
                                                                                                                                                                2016 to 2023, the percentage of SWB
                                                 CBP SWB encounters.253 As a result,                     Dataset. Total CBP encounters (at and between
                                                                                                         POEs) averaged approximately 1,500 per day during      encounters processed for expedited
                                                 DHS and its predecessor agency were
                                                                                                         this period. For most of this period (from FY 2009     removal who claimed a fear dipped
                                                 able to swiftly remove or voluntarily                   through FY 2018), the share of encounters              below 41 percent just once, in FY 2020,
                                                 return the vast majority of those                       processed for expedited removal and the share of       the first year of the COVID–19
                                                                                                         those processed through expedited removal making
                                                    250 See Section III.B.2 of this preamble. The        fear claims generally increased, so that during FY
                                                 Departments acknowledge that, despite the               2018, 41 percent of SWB encounters were processed      immigration/enforcement-and-legal-processes-
                                                 protections preserved by the rule and the available     for expedited removal and 45 percent of those          monthly-tables (last updated May 10, 2024) (‘‘CBP
                                                 exceptions, the provisions adopted by this rule will    processed for expedited removal made fear claims,      SW Border Encounters by Citizenship’’).
                                                                                                         yielding an all-time high of 18 percent of all            258 OHSS analysis of OIS Yearbook of
                                                 result in the denial of some asylum claims that
                                                 otherwise may have been granted and, as with all        encounters making fear claims. OHSS analysis of        Immigration Statistics 1980–1999 and OHSS
                                                 screening mechanisms, there is some risk that a         March 2024 OHSS Persist Dataset. Data on the exact     analysis of March 2024 OHSS Persist Dataset. See
                                                 case that might otherwise warrant protection might      number of SWB encounters processed for expedited       also OHSS, Immigration Enforcement and Legal
                                                 not proceed to a merits adjudication. However, in       removal who made fear claims is not available for      Processes Monthly Tables, https://www.dhs.gov/
                                                 light of the emergency circumstances facing the         years prior to FY 2013, but OHSS estimates that the    ohss/topics/immigration/enforcement-and-legal-
                                                 Departments and addressed in the Proclamation           vast majority (84 percent) of all fear claims made     processes-monthly-tables (last updated May 10,
                                                 and this rule, the Departments believe these            in prior years were made by SWB encounters. Even       2024) (‘‘CBP SW Border Encounters by
                                                 measures are appropriate and necessary. And given       if 100 percent of fear claims made before FY 2013      Citizenship’’). Nationality breakouts of border
                                                 the Departments’ experience with asylum and             were made by SWB encounters, FY 2018 would             encounters are not available prior to 1980, but
                                                 protection screenings and adjudications, the            represent the all-time highest percentage of all       Mexicans accounted for 97 percent of encounters
                                                 Departments believe the rule’s provisions will          encounters making fear claims.                         for all of 1980 through 1999 and never accounted
                                                 produce accurate outcomes, although the                    255 OHSS analysis of March 2024 OHSS Persist        for less than 96 percent in any fiscal year during
                                                 Departments believe the rule continues to be            Dataset. Total CBP encounters (at and between          that period.
                                                 justified even if that expectation turns out to be      POEs) also averaged approximately 2,700 per day           259 OHSS analysis of March 2024 OHSS Persist
                                                 misplaced in close cases.                               and 2,600 per day in February and July 2019,           Dataset.
                                                    251 See CBP, Custody and Transfer Statistics (May    respectively.                                             260 The percentage of those processed via
                                                 15, 2024), https://www.cbp.gov/newsroom/stats/             256 OHSS analysis of March 2024 OHSS Persist        expedited removal fell again in 2019 due to
                                                 custody-and-transfer-statistics (detailing the          Dataset.                                               resource constraints. OHSS analysis of March 2024
                                                 number of individuals processed for expedited              257 OHSS analysis of March 2024 OHSS Persist        OHSS Persist Dataset.
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                                                 removal compared to another processing                  Dataset. Northern Central Americans accounted for         261 The share of noncitizens encountered by CBP
                                                 disposition, including section 240 proceedings).        54 percent of encounters between POEs in 2017.         at and between POEs who were processed through
                                                    252 OHSS analysis of March 2024 OHSS Persist
                                                                                                         Northern Central Americans’ proportion of              expedited removal increased from 6 percent in FY
                                                 Dataset. Total CBP encounters (at and between           encounters between POEs continued to increase          2005 to between 39 and 47 percent each year from
                                                 POEs) also averaged approximately 3,000 per day         until it reached 71 percent of USBP encounters in      FY 2012 to FY 2018, but then dropped in FY 2019
                                                 from FY 2004 to FY 2008; data on encounters at          2019 but dropped at the onset of the pandemic, in      because DHS was unable to scale up expedited
                                                 POEs are not available prior to FY 2004.                2020, to less than 26 percent. See also OHSS,          removal processing in proportion to the substantial
                                                    253 OHSS analysis of March 2024 OHSS Persist         Immigration Enforcement and Legal Processes            increase in USBP encounters. OHSS analysis of
                                                 Dataset.                                                Monthly Tables, https://www.dhs.gov/ohss/topics/       March 2024 OHSS Persist Dataset.



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                                                 pandemic.262 The global COVID–19                        migrants will be able to stay in the                   encounters between POEs) or in 2010
                                                 pandemic briefly interrupted this trend,                United States.266                                      (when DHS averaged 1,000 to 2,000
                                                 which has continued after the lifting of                   The expedited removal process                       daily encounters between POEs) was far
                                                 the Title 42 public health Order in May                 requires the outlay of significant                     lower than the amount of resources
                                                 2023. Between May 12, 2023, and the                     Government resources. When a                           required to manage the same number of
                                                 end of March 2024, DHS processed a                      noncitizen in expedited removal                        encounters today.268
                                                 record number of individuals through                    indicates an intention to seek asylum or                  Of course, as noted above, DHS has
                                                 expedited removal as it sought to                       a fear of persecution, rather than being               been experiencing much higher
                                                 maximize the consequences at the                        swiftly removed, they are referred to an               encounter levels,269 and simply does
                                                 border, and 54 percent of noncitizens                   AO for a credible fear interview and                   not have the resources it would need to
                                                 processed for expedited removal                         may seek review of any negative                        place into expedited removal the
                                                 indicated a fear of persecution or intent               screening by an IJ—all of which takes                  majority of those encountered by USBP
                                                 to seek asylum.263 As part of DHS’s                     time and Government resources. As                      who are amenable to such processing.
                                                 comprehensive effort to impose                          described in further detail above, DHS                 Similarly, DHS has never had the
                                                 strengthened consequences at the border                 has made significant process                           resources to detain every individual
                                                 after the lifting of the Title 42 public                enhancements to reduce the overall time                encountered at the border through the
                                                 health Order, USCIS reassigned a                        it takes for individuals to proceed                    pendency of their immigration removal
                                                 significant number of AOs to conduct                    through this process. However, the                     proceedings—even during FY 2009
                                                 credible fear interviews, which resulted                availability of sufficient numbers of AOs              through FY 2020, when average
                                                 in USCIS completing a record number of                  to conduct credible fear interviews is                 encounters between POEs on the SWB
                                                 such interviews. In fact, USCIS                         critical to DHS’s ability to quickly                   were 1,200 a day. Encounters between
                                                 conducted more interviews from SWB                      adjudicate fear claims and deliver                     POEs on the SWB are now more than
                                                 encounters during the span of ten and                   consequences to those who do not have                  triple that level, resulting in
                                                 a half months after the lifting of the                  a credible fear of persecution or torture.             overcrowded USBP facilities, an
                                                 Title 42 public health Order than in any                   As described above, Congress has                    immigration detention system that has
                                                 full fiscal year prior to 2023, and twice               failed to provide the additional                       regularly been at capacity, and an
                                                 as many as the annual average from FY                   resources requested for USCIS that                     asylum system that has been crippled by
                                                 2010 to FY 2019.264                                     would have increased the number of                     enormous backlogs and cannot deliver
                                                    As DHS transitioned from the                         AOs that are available to conduct                      timely decisions.270 When DHS does not
                                                 enforcement of the Title 42 public                      credible fear interviews for SWB cases.
                                                 health Order at the border to full use of               This reality, combined with increases in                 268 March 2024 OHSS Persist Dataset. The most

                                                 its title 8 authorities after May 11, 2023,             encounters at the border, and increases                notable change has been the rising share of non-
                                                                                                                                                                Mexican nationals as a share of encounters, with
                                                 DHS’s capacity constraints—and the                      in the proportion of noncitizens                       Mexican nationals accounting for 98 percent of
                                                 impact of those constraints on DHS’s                    processed for expedited removal who                    USBP encounters in FY 2000 and 89 percent in
                                                 ability to impose consequences on                       claim fear of return, means that DHS                   2010. OHSS Persist Database March 31, 2024; see
                                                 noncitizens who cross unlawfully or                     cannot impose consequences swiftly or                  also OHSS, Immigration Enforcement and Legal
                                                                                                                                                                Processes Monthly Tables, https://www.dhs.gov/
                                                 without authorization—have come                         predictably on most people whom DHS                    ohss/topics/immigration/enforcement-and-legal-
                                                 increasingly into focus. Given these real               encounters. Due to its resource                        processes-monthly-tables (last updated May 10,
                                                 resource constraints, DHS has had to                    constraints, the majority of individuals               2024) (‘‘CBP SW Border Encounters by Citizenship’’
                                                 make hard choices about whom it can                     USBP encountered since May 11, 2023,                   and ‘‘CBP SW Border Encounters by Family
                                                                                                                                                                Status’’).
                                                 prioritize for detention or refer into                  were ultimately placed in section 240                    269 Even as compared to the 2,000 to 7,000 daily
                                                 expedited removal.265 As a result of a                  removal proceedings,267 undercutting                   encounters between POEs in 2000, the
                                                 lack of sufficient holding spaces,                      the effectiveness of the previous                      corresponding numbers in the recent past have been
                                                 detention beds, and AOs, DHS has only                   measures that have been implemented.                   higher. In FY 2023, there were 3,300 to 7,300 such
                                                                                                                                                                daily encounters, and from October 2023 through
                                                 been able to refer certain noncitizens                  This reality contributes to the vicious                March 2024, the corresponding numbers are 4,000
                                                 into expedited removal—which, as                        cycle described above in which                         to 8,300. March 2024 OHSS Persist Dataset.
                                                 detailed above, is the most efficient tool              increasing numbers of releases lead to                   270 See OHSS analysis of data downloaded from

                                                 available under title 8 authorities to                  increased migration, fueled by the                     UIP on April 2, 2024. CBP completed
                                                 impose swift consequences for irregular                                                                        approximately 1.7 million total encounters at the
                                                                                                         narrative, pushed by smugglers, that                   SWB in FY 2021, 2.4 million in FY 2022, and 2.5
                                                 migration. This means that DHS cannot                   migrants who are encountered at the                    million in FY 2023, with each year exceeding the
                                                 impose consequences swiftly or                          border will be allowed to remain and                   previous record high of 1.6 million in FY 2000. See
                                                 predictably on most people encountered                  work in the United States for long                     OHSS analysis of March 2024 OHSS Persist Dataset.
                                                 at the border, feeding the narrative                                                                           In December 2023, CBP also completed a single-
                                                                                                         periods of time.                                       month record of 302,000 encounters, almost one
                                                 pushed by smugglers that irregular                         As a result of the changes to the                   and a half times as many as the highest monthly
                                                                                                         nationalities and demographics being                   number recorded prior to 2021 (209,000 in March
                                                   262 OHSS analysis of March 2024 OHSS Persist
                                                                                                         encountered at the border, and the                     2000) based on records available in the OHSS
                                                 Dataset.                                                                                                       Persist Dataset for FY 2000 to the present. Although
                                                   263 OHSS analysis of data downloaded from CBP
                                                                                                         associated increase in the rate of                     some of the increase in encounters is explained by
                                                 UIP on April 2, 2024.                                   claiming fear by individuals                           higher-than-normal numbers of repeat encounters of
                                                   264 OHSS analysis of data downloaded from CBP         encountered, the amount of resources                   the same individual during the period in which
                                                 UIP on April 2, 2024. Data on the exact number of       required to deliver consequences                       noncitizens were expelled pursuant to the CDC’s
                                                 SWB encounters processed for expedited removal                                                                 Title 42 public health Order, OHSS analysis of the
                                                                                                         quickly through referrals into expedited               March 2024 OHSS Persist Dataset indicates that
                                                 who made fear claims is only available since FY
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                                                 2013; for the years prior to FY 2013 there was no       removal for the vast majority of                       unique encounters were also at record high levels.
                                                 full fiscal year in which the total number of USCIS     individuals who claimed a fear in 2000                 See also OHSS, Immigration Enforcement and Legal
                                                 fear claims was equal to the number of fear claims      (when DHS’s predecessor agency                         Processes Monthly Tables, https://www.dhs.gov/
                                                 completed for SWB encounters processed for                                                                     ohss/topics/immigration/enforcement-and-legal-
                                                 expedited removal between May 12, 2023, and
                                                                                                         averaged 3,000 to 7,000 daily                          processes-monthly-tables (last updated May 10,
                                                 March 31, 2024.                                                                                                2024) (‘‘CBP SW Border Encounters by Citizenship’’
                                                                                                           266 March 2024 OHSS Persist Dataset.
                                                   265 ICE, Fiscal Year 2023 ICE Annual Report 17–                                                              and ‘‘CBP SW Border Encounters by Family
                                                 18 (Dec. 29, 2023), https://www.ice.gov/doclib/eoy/       267 OHSS analysis of March 2024 OHSS Persist         Status’’).
                                                 iceAnnualReportFY2023.pdf.                              Dataset.                                                                                          Continued




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                                                 have the capacity to process individuals                 on how many people can be put through                     Simply put, at 1,500 daily encounters,
                                                 through expedited removal or detain                      the process—and that limit directly                     DHS would be able to swiftly deliver a
                                                 noncitizens to await their proceedings,                  informs the 1,500 threshold.                            consequence to enough individuals to
                                                 releasing individuals into the interior of                  From May 12, 2023, through March                     meaningfully impact migratory
                                                 the United States is generally the only                  2024, USBP has referred a daily average                 decisions and deter unlawful entries.
                                                 option that is left.271 The need to release              of over 900 individuals encountered at                  DHS would also be able to minimize
                                                 individuals at the border has increased                  the SWB into the expedited removal                      releases of those who are amenable to
                                                 over time and peaked during surges.                      process.272 During the same period,                     expedited removal or transfer them to
                                                   By contrast, when encounters                           about 17 percent of individuals                         ICE custody pending immigration
                                                 (excluding UCs from non-contiguous                       encountered between POEs voluntarily                    proceedings. By contrast, above 2,500
                                                 countries and noncitizens determined to                  returned to Mexico, had their removal                   encounters—the level at which the
                                                 be inadmissible at a SWB POE) are                        orders reinstated at the border, or were                Proclamation and the rule would again
                                                 below 1,500 per day, DHS will be able                    subject to administrative removal                       apply—DHS’s ability to impose such
                                                 to refer most individuals it encounters                  pursuant to INA 238(b), 8 U.S.C.                        consequences is significantly lower and
                                                 into expedited removal and deliver a                     1228(b).273 This means that, at the                     decreases rapidly as encounters increase
                                                 swift consequence to the majority of                     1,500-encounter level and assuming a                    beyond that level. At the 2,500-
                                                 individuals it encounters who do not                     similar level of voluntary repatriations                encounter level and assuming a similar
                                                 establish a legal basis to remain in the                 and reinstatements, DHS would be able                   level of voluntary repatriations and
                                                 United States—in the form of a return or                 to refer for expedited removal more than                reinstatements described above, DHS
                                                 removal. Given limited congressional                     70 percent of the individuals who are                   would be able to place just 43 percent
                                                 appropriations and agency funding                        not quickly repatriated.274 As discussed                of the individuals who are not quickly
                                                 levels, DHS has a finite capacity to                     previously, of those individuals                        repatriated into expedited removal—
                                                 deliver such consequences at the border,                 encountered by USBP and placed into                     significantly less than the 70 percent
                                                 which is reflected in the number of                      expedited removal from May 12, 2023 to                  under the 1,500-encounter threshold.277
                                                 individuals that can be processed                        March 31, 2024, 65 percent have been                    This would, in turn, lead to a significant
                                                 through expedited removal on any given                   quickly removable—either because they                   degradation of DHS’s ability to impose
                                                 day. As detailed above, DHS over the                     do not claim a fear, or because they are                consequences at the border for
                                                 past year has significantly streamlined                  found not to have a credible fear and are               individuals who do not establish a legal
                                                 the expedited removal process and has                    ordered removed.275 This means that, at                 basis to remain in the United States,
                                                 set records in terms of individuals                      1,500 daily encounters between POEs,                    with DHS only able to quickly remove
                                                 placed in expedited removal by CBP at                    and assuming similar fear claim rates,                  or return substantially less than half of
                                                 the SWB and credible fear interviews                     DHS would be able to quickly remove                     the individuals it encounters.278
                                                 conducted by AOs. Given current                          the majority of the people it processes                 Moreover, the percentage of people who
                                                 resources, however, and in the absence                   at the border on any given day who have                 can be referred to expedited removal
                                                 of congressional action, there is a limit                no legal basis to remain in the United                  and ultimately be quickly removed if
                                                                                                          States.276                                              they do not establish a legal basis to
                                                    CBP held an average of 21,863 noncitizens in                                                                  remain decreases rapidly as encounters
                                                 custody each day during December 2023, averaging            272 OHSS analysis of data downloaded from UIP
                                                                                                                                                                  increase beyond 2,500 given the
                                                 104 percent of CBP’s daily custody capacity              on April 2, 2024.                                       baseline constraints outlined above.
                                                 (21,042) roughly each day for the entire month.             273 Based on comprehensive CBP processing
                                                                                                                                                                    This difficulty in imposing swift
                                                 OHSS analysis of data downloaded from UIP on             dispositions for single adults, family units, and UCs
                                                 February 14, 2024.                                       from contiguous countries encountered May 12,           consequences on individuals without a
                                                    EOIR had a backlog of over 2.7 million cases that     2023 to March 31, 2024; data downloaded from UIP        legal basis to remain in the United
                                                 were pending in the immigration courts at the end        on April 2, 2024.                                       States during periods of elevated
                                                 of the first quarter of FY 2024. See EOIR,                  274 At 1,500 single adult, family unit, and UC

                                                 Adjudication Statistics: Pending Cases, New Cases,       from contiguous countries encounters between
                                                                                                                                                                  repatriated pursuant to an expedited removal order
                                                 and Total Completions (Jan. 18, 2024), https://          POEs per day and with 17 percent of such
                                                                                                                                                                  or withdrawal, yielding a total of about 830
                                                 www.justice.gov/eoir/media/1344791/dl?inline; see        encounters voluntarily returning to Mexico or
                                                                                                                                                                  repatriations (sums do not add due to rounding), or
                                                 also Ariel G. Ruiz-Soto et al., Shifting Realities at    subject to reinstatement of a removal order or
                                                                                                                                                                  56 percent of encounters.
                                                 the U.S.-Mexico Border: Immigration Enforcement          administrative removal, 1,250 encounters would             277 At 2,500 single adult, family unit, and UC
                                                 and Control in a Fast-Evolving Landscape,                not be subject to rapid repatriation, including 1,240
                                                                                                          who would potentially be amenable to expedited          from contiguous countries encounters between
                                                 Migration Pol’y Inst., at 1 (Jan. 2024), https://                                                                POEs per day and with 17 percent of such
                                                 www.migrationpolicy.org/sites/default/files/             removal. Further, assuming that CBP could process
                                                                                                                                                                  encounters voluntarily returning to Mexico or
                                                 publications/mpi-contemporary-border-policy-             900 people for expedited removal, the agency
                                                                                                                                                                  subject to reinstatement of a removal order or
                                                 2024_final.pdf (‘‘Insufficiently equipped to respond     would have the ability to place 72 percent of people
                                                                                                                                                                  administrative removal, 2,080 encounters would
                                                 effectively to these and likely future changes, U.S.     not subject to rapid repatriation and 73 percent of
                                                                                                                                                                  not be subject to rapid repatriation. Further,
                                                 immigration agencies must perpetually react and          potentially amenable single adults and family units     assuming that CBP could process 900 people for
                                                 shift operations according to their strained capacity    into expedited removal. OHSS analysis of data           expedited removal, the agency would have the
                                                 and daily changes in migrant arrivals.’’); UNHCR,        downloaded from UIP on April 2, 2024. Applying          ability to place 43 percent of people not subject to
                                                 Global Trends: Forced Displacement in 2022, at 2,        the rule even more broadly based on a lower             rapid repatriation into expedited removal. OHSS
                                                 8–9, 12 (June 14, 2023), https://www.unhcr.org/          threshold would also raise countervailing               analysis of data downloaded from UIP on April 2,
                                                 global-trends-report-2022 (showing rapid global          considerations, see supra note 250, and so the          2024.
                                                 increases in forcibly displaced persons and other        Departments have struck the balance reflected in           278 At 2,500 encounters of single adults, family
                                                 persons in need of international protection in 2021      the rule.                                               units, and UCs from contiguous countries per day
                                                 and 2022, and projecting significant future                 275 OHSS analysis of data downloaded from UIP
                                                                                                                                                                  and assuming similar shares of encounters accept
                                                 increases).                                              on April 2, 2024.                                       voluntary return or are subject to reinstatement of
                                                    271 Consistent with the Departments’ conclusion          276 At 1,500 encounters of single adults, family
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                                                                                                                                                                  removal or administrative removal, about 420
                                                 in the Circumvention of Lawful Pathways rule, the        units, and UCs from contiguous countries per day        people would be repatriated with one of these
                                                 Departments believe the emergency border                 and assuming similar shares of encounters accept        dispositions. Further, assuming 900 encounters
                                                 circumstances described in the Proclamation and          voluntary return or are subject to reinstatement of     would be processed for expedited removal, and that
                                                 this rule cannot be addressed by relying on the          removal or administrative removal, about 250            65 percent of expedited removal encounters would
                                                 programmatic use of its contiguous territory return      people would be repatriated with one of these           be quickly removable, about 590 would be
                                                 authority at section 235(b)(2)(C) of the INA, 8 U.S.C.   dispositions. Further, assuming 900 encounters          repatriated pursuant to an expedited removal order
                                                 1225(b)(2)(C), due to resource constraints and           would be processed for expedited removal, and that      or withdrawal, yielding a total of about 1,010
                                                 foreign affairs considerations. See 88 FR at 31370;      65 percent of expedited removal encounters would        repatriations (sums do not add due to rounding), or
                                                 88 FR at 11731.                                          be quickly removable, about 590 would be                40 percent of encounters.



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                                                 encounters is borne out by both recent                  involving family units and UCs,                        deal of confusion about when the
                                                 experience, which is detailed in                        although still high, is lower today than               provisions of this rule were in effect
                                                 Sections III.B.1 and 2 of this preamble,                it was during periods of high numbers                  based upon a single threshold of 1,500
                                                 and by historical data. DHS historical                  of encounters and releases in FY                       encounters to activate or deactivate the
                                                 data also clearly show the dichotomy                    2019.283 Although shifting                             measures in this rule. The burden of
                                                 between the outcomes for individuals                    demographics affect the Departments’                   tracking, identifying, and applying
                                                 processed at the border at the 1,500- and               capacity to deliver timely decisions and               different standards that change back and
                                                 2,500-encounter levels. DHS data show                   timely consequences at varying levels of               forth over a matter of days is
                                                 that releases from CBP custody as a                     encounters, it remains clear that with                 significantly more complex for USCIS
                                                 share of encounters have generally been                 the challenging demographics being                     personnel as they consider protection
                                                 highest during periods of sustained                     encountered today, DHS would have the                  claims.
                                                 high-encounter levels, and lowest when                  ability to deliver a timely consequence                   For all of these reasons, it is important
                                                 encounters have been at 1,500 or below.                 to the majority of people it processes at              to ensure that there is a clear division
                                                 For example, from FY 2013 through FY                    the border when encounters are below                   between the levels at which the rule is
                                                 2019, months with average daily USBP                    1,500—supporting the decision to                       deactivated and when it is activated.
                                                 encounters of fewer than 1,500 per day                  suspend the application of the rule                    And to ensure that stakeholders are
                                                 resulted in a minimal level of releases                 when DHS reaches that level of                         aware of when the rule is deactivated
                                                 due to capacity constraints at the                      encounters over a 7-day average.                       and activated, DHS will notify the
                                                 border.279 During the 2013 to 2019 pre-                 Likewise, as discussed above, the                      public about Secretarial determinations
                                                 pandemic period, USBP encounters                        Departments have concluded that it is                  of the encounter levels described in
                                                 only exceeded 1,500 per day for a                       reasonable to apply the rule when                      sections 2(a) and 2(b) of the
                                                 sustained period from October 2018 to                   encounter levels rise above a 7-day                    Proclamation. As noted above, the
                                                 August 2019. During that 7-year stretch,                average of 2,500 due to the sharp                      2,500-encounter level is a good proxy
                                                 months in which daily encounters were                   decrease in their ability to swiftly                   for when DHS’s ability to quickly
                                                 between 1,500 and 2,500 resulted in an                  impose meaningful consequences at the                  impose consequences at the border for
                                                 average of 210 individuals released each                border once encounters exceed that                     individuals who do not establish a legal
                                                 day, while months in which daily                        level.                                                 basis to remain is becoming so degraded
                                                 encounters exceeded 2,500 resulted in                      Lastly, it is important to note that                that it is likely to further incentivize
                                                 approximately 1,300 releases each day                   using a single threshold—for example,                  additional unlawful crossings. It also
                                                 with CBP releasing as many as 46                        1,500 encounters—to activate or                        has the benefit of increasing the time
                                                 percent of the individuals it processed                 deactivate the measures in this rule                   that would elapse between deactivations
                                                 pending section 240 removal                             would pose significant challenges and                  and activations, allowing DHS to ensure
                                                 proceedings.280                                         not be operationally viable. Having a                  that its personnel are not having to
                                                    It is important to note, however, the                single threshold would likely lead to                  constantly switch back and forth
                                                 demographics and nationalities                          scenarios where the rule would be                      between different procedures.284
                                                 encountered at the border significantly                 regularly activated and deactivated as                    The exclusion of those determined to
                                                 impact DHS’s ability to impose timely                   the 7-day average rose above and below                 be inadmissible at a SWB POE from the
                                                 consequences and the number of people                   1,500, which would have significant                    1,500- and 2,500-encounter thresholds
                                                 who are ultimately released by CBP                      operational impacts for CBP, ICE, and                  is also reasonable in light of recent
                                                 pending section 240 removal                             USCIS, and be confusing for government                 policy decisions, processing experience,
                                                 proceedings. This is especially true for                personnel, migrants, and other key                     and operational needs. Since May 12,
                                                 periods when CBP has encountered                        stakeholders. For example, the                         2023, SWB daily POE encounters have
                                                 more UCs, family units, or individuals                  Departments will need to notify and                    averaged 1,650—largely because DHS
                                                 from countries to which it is difficult to              provide guidance to their personnel to                 has been incentivizing individuals to
                                                 effectuate removals. During the 2013 to                 apply the provisions of this rule in                   present at POEs in a safe, orderly
                                                 2019 time frame—which forms the basis                   connection with each activation and                    manner.285 This number has stayed
                                                 for the analysis in the preceding                       deactivation. These actions represent a                relatively constant compared to the
                                                 paragraph—the vast majority of                                                                                 number of encounters between POEs,
                                                                                                         burden on staff time and resources that
                                                 encounters at the border were from                                                                             which have varied widely, from a low
                                                                                                         would have negative operational
                                                 Mexico, El Salvador, Guatemala, and                                                                            of 2,554 on May 21, 2023, to a high of
                                                                                                         impacts if activation or deactivation
                                                 Honduras—countries that are                                                                                    10,822 on December 18, 2023.286 The
                                                                                                         happened regularly. CBP and ICE will
                                                 comparatively easy to return people                                                                            predictability in the number of POE
                                                                                                         also face scenarios in which they would
                                                 to.281 Today, a much higher proportion                                                                         encounters, paired with the processing
                                                                                                         have many people in their custody some
                                                 of SWB encounters are from other                                                                               efficiencies gained by the widespread
                                                                                                         of whom would be subject to and others
                                                 countries that are comparatively much                                                                          use of the CBP One app, improves CBP’s
                                                                                                         of whom would not be subject to the
                                                 more difficult to return people to,                     provisions of this rule, and CBP and ICE                 284 The Departments recognize that, due to the
                                                 including record numbers from the                       will need to keep track of which                       rule’s approach, at a given encounter level between
                                                 Eastern Hemisphere.282 At the same                      individuals needed to be processed                     1,500 and 2,500 encounters per day—such as 2,000
                                                 time, the proportion of encounters                      under which procedures—something                       encounters a day—whether the rule applies will be
                                                                                                                                                                path dependent. If encounters have been above
                                                                                                         that could become extraordinarily                      2,500, the rule will apply. If encounters have been
                                                   279 For FY 2013 to FY 2019, in months with fewer
                                                                                                         complex and unwieldy if the rule were                  below 1,500, the rule will not apply. This is a
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                                                 than 1,500 encounters between POEs, USBP
                                                 released an average of 11 encounters per day. OHSS
                                                                                                         to be activated and deactivated                        necessary consequence of providing the clear
                                                                                                         regularly. Legal service providers and                 division that the Departments have deemed
                                                 analysis of March 2024 OHSS Persist Dataset.                                                                   necessary, and the Departments assess that adopting
                                                   280 OHSS analysis of March 2024 OHSS Persist          migrants would similarly face a great                  this approach best balances the relevant
                                                 Dataset.                                                                                                       considerations.
                                                   281 OHSS analysis of March 2024 OHSS Persist            283 UCs and family units accounted for 65 percent      285 OHSS analysis of March 2024 OHSS Persist

                                                 Dataset.                                                of USBP encounters in FY 2019, compared to 45          Dataset.
                                                   282 OHSS analysis of March 2024 OHSS Persist          percent in FY 2024 through March. OHSS analysis          286 OHSS analysis of March 2024 OHSS Persist

                                                 Dataset.                                                of March 2024 OHSS Persist Dataset.                    Dataset.



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                                                 ability to manage encounters at POEs.                   C. Section-by-Section Description of                      Paragraph (a)(2) contains provisions
                                                 The vast majority of noncitizens who                    Amendments                                             regarding an exception to the limitation
                                                 present at a SWB POE have done so                                                                              on asylum eligibility that aligns with the
                                                                                                         1. 8 CFR 208.13 and 1208.13
                                                 after having registered with the CBP                                                                           means for rebutting the presumption of
                                                 One app.287 Because such individuals                       DHS and DOJ are adding a paragraph                  asylum ineligibility in the
                                                 have registered with the CBP One app,                   (g) to the end of 8 CFR 208.13 and                     Circumvention of Lawful Pathways rule.
                                                 CBP can process these individuals more                  1208.13, respectively, Establishing                    See 8 CFR 208.33(a)(3)(i),
                                                 efficiently and in a more orderly way                   asylum eligibility, to explain when a                  1208.33(a)(3)(i). The exception applies if
                                                 than individuals encountered between                    noncitizen is potentially subject to this              the noncitizen, or the noncitizen’s
                                                 POEs.288 This is a critical element of our              IFR’s limitation on asylum eligibility                 family member as described in
                                                 strategy to encourage the use of safe,                  and credible fear screening procedures                 § 208.30(c) with whom the noncitizen is
                                                 orderly, and lawful pathways, as                        and how this limitation and its                        traveling, demonstrates by a
                                                 described above, to incentivize                         associated procedures interact with the                preponderance of the evidence
                                                 noncitizens to seek out lawful pathways                 Lawful Pathways condition referenced                   exceptionally compelling
                                                 instead of attempting to cross into the                 in paragraph (f) of 8 CFR 208.13 and                   circumstances, including that, at the
                                                 United States irregularly. CBP officers                 1208.13. Paragraph (g) refers the reader               time of entry, the noncitizen or a
                                                 will determine the most appropriate                     to the new regulatory provisions at 8                  member of the noncitizen’s family as
                                                 processing disposition on a case-by-case                CFR 208.35 and 1208.35 that establish                  described in § 208.30(c) with whom the
                                                 basis, although DHS expects to generally                the limitation on eligibility for asylum               noncitizen is traveling:
                                                 issue such individuals an NTA for                       where a noncitizen entered the United                     • Faced an acute medical emergency;
                                                 removal proceedings under section 240                   States across the southern border during                  • Faced an imminent and extreme
                                                 of the INA.                                             emergency border circumstances.                        threat to life or safety, such as an
                                                    In short, DHS has assessed that the                                                                         imminent threat of rape, kidnapping,
                                                 emergency border circumstances that                     2. 8 CFR 208.35
                                                                                                                                                                torture, or murder; or
                                                 are described by the Proclamation and                      DHS is adding to 8 CFR part 208,                       • Satisfied the definition of ‘‘victim of
                                                 this rule—and that the President has                    Procedures for Asylum and Withholding                  a severe form of trafficking in persons’’
                                                 concluded warrant the step of                           of Removal, a new subpart D, Eligibility               provided in 8 CFR 214.11.
                                                 suspending and limiting entry—                          for Aliens Who Enter the United States                    Paragraph (a)(2)(ii) makes clear that
                                                 reasonably capture the capacity of the                  During Emergency Border                                where a noncitizen establishes one of
                                                 border security and immigration                         Circumstances. Within subpart D, DHS                   the above, they shall necessarily have
                                                 systems to deliver consequences in a                    is adding a new § 208.35, Limitation on                established exceptionally compelling
                                                 timely manner to individuals who cross                  asylum eligibility and credible fear                   circumstances. This exception for
                                                 unlawfully or without authorization.                    procedures for those who enter the                     exceptionally compelling circumstances
                                                 Thus, the Departments have determined                   United States during emergency border                  limits the potential adverse effects of the
                                                 to tie the application of the rule’s                    circumstances. This section sets forth a               limitation on asylum eligibility on
                                                 provisions to the date that the                         new limitation on asylum eligibility and               certain particularly vulnerable
                                                 Proclamation takes effect, and to                       screening procedures related to the                    populations, and family members with
                                                 include a mechanism to temporarily                      application of such limitation in                      whom they are traveling, without
                                                 halt the application of the rule’s                      expedited removal proceedings and the                  undermining the key policy imperative
                                                 provisions when encounters between                      conduct of credible fear screenings                    to disincentivize irregular migration
                                                 POEs reach 1,500 and to restart the                     during the emergency border                            during a time when encounters are
                                                 application of its provisions if they once              circumstances. This provision applies                  above certain benchmarks.291 Paragraph
                                                 again rise above 2,500. Because the                     notwithstanding any contrary provision                 (a)(2)(iii) deems those who have
                                                 Departments intend for certain                          of part 208.                                           established exceptionally compelling
                                                 provisions of this rule to remain in                       Section 208.35 consists of the                      circumstances for purposes of this
                                                 effect in the event a court enjoins or                  following provisions:                                  asylum limitation or who are described
                                                 otherwise renders inoperable the                           Paragraph (a) sets forth the limitation             in the provisions of the Proclamation as
                                                 Proclamation, the Departments intend                    on asylum eligibility. Under the rule, a               being excepted from its suspension and
                                                 for the Secretary of Homeland Security                  noncitizen is ineligible for asylum if the             limitation on entry as having
                                                 to continue to make the factual                         noncitizen is described in § 208.13(g)                 established exceptionally compelling
                                                 determinations regarding the 1,500 and                  and not described in section 3(b) of the               circumstances for purposes of the
                                                 2,500 thresholds described in this rule                 Proclamation. This approach is                         Lawful Pathways condition. This
                                                 and in sections 2(a) and 2(b) of the                    consistent with the general policy of the              provision is intended to simplify
                                                 Proclamation, even if the Proclamation                  Proclamation and rule and provides                     administration of this asylum limitation
                                                 is enjoined, in order to provide                        important exceptions that continue to                  while it and the Circumvention of
                                                 continuity during emergency border                      incentivize the use of safe, orderly, and
                                                 circumstances. Lastly, the Proclamation                 lawful pathways, such as for those who                 Manage Border through Deterrence, Enforcement,
                                                 may be revoked by the President upon                    arrive in the United States at a                       and Diplomacy (May 10, 2023), https://
                                                 a determination that it is no longer                    southwest land border POE pursuant to                  www.dhs.gov/news/2023/05/10/fact-sheet-
                                                                                                         a process approved by the Secretary of                 additional-sweeping-measures-humanely-manage-
                                                 needed.289                                                                                                     border.
                                                                                                         Homeland Security.290                                    291 See, e.g., 88 FR at 31325 (‘‘These exceptions
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                                                   287 OHSS analysis of March 2024 OHSS Persist
                                                                                                                                                                and opportunities for rebuttal are meant to ensure
                                                 Dataset.                                                action. Moreover, a decision by the President would    that migrants who are particularly vulnerable, who
                                                   288 See, e.g., 88 FR at 11719.                        reflect important changed circumstances, and the       are in imminent danger, or who could not access
                                                   289 The Departments have not sought to apply the      Departments would want to take into account those      the lawful pathways provided are not made
                                                 rule even after any revocation of the Proclamation      changed circumstances in assessing the appropriate     ineligible for asylum by operation of the rebuttable
                                                 by the President, because the Departments expect        policy as to the issues covered by this rule.          presumption. Those who are not excepted from and
                                                 that any such revocation would only follow                290 See DHS, Fact Sheet: Department of State and     are unable to rebut the presumption of ineligibility
                                                 consultation with the Departments regarding the         Department of Homeland Security Announce               may still pursue statutory withholding of removal
                                                 policy and operational implications of such an          Additional Sweeping Measures To Humanely               and protection under the CAT.’’).



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                                                 Lawful Pathways rule are both                           eligibility for statutory withholding of               pursuant to § 208.30(f), the written
                                                 operative.                                              removal or CAT protection consistent                   record of the positive credible fear
                                                    Paragraph (b) prescribes procedures                  with § 208.30.293 Third, where the AO                  determination is treated as the asylum
                                                 for considering the limitation on asylum                determines that the noncitizen is not                  application. 8 CFR 208.3(a)(2). Under
                                                 eligibility during the credible fear                    subject to this IFR’s limitation on                    this IFR, however, noncitizens who are
                                                 screening process and for applying the                  asylum eligibility because there is a                  subject to the limitation on asylum
                                                 ‘‘reasonable probability’’ standard in the              significant possibility that the                       eligibility under 8 CFR 208.35(a), and
                                                 event the Proclamation or the limitation                noncitizen could establish either that                 fail to show a significant possibility of
                                                 on asylum eligibility are rendered                      they are described in section 3(b) of the              being able to establish an exception by
                                                 inoperable by court order. Under                        Proclamation or exceptionally                          a preponderance of the evidence at the
                                                 paragraph (b)(1), the AO will first                     compelling circumstances exist under                   credible fear interview, will receive a
                                                 determine whether there is a significant                paragraph (a)(2), the AO will conduct                  negative credible fear determination
                                                 possibility that the noncitizen is eligible             the screening consistent with 8 CFR                    with respect to their application for
                                                 for asylum in light of the limitation on                208.30. See id. 208.35(b)(1)(iii).                     asylum, pursuant to § 208.35(b)(1)(i),
                                                 asylum eligibility in paragraph (a). The                   If the AO determines that the                       but could go on to receive a positive
                                                 paragraph sets forth three possible                     noncitizen is subject to paragraph (a)                 credible fear determination with respect
                                                 procedural scenarios depending on the                   and cannot establish a significant                     to a potential claim for statutory
                                                 AO’s findings. First, where the AO                      possibility that they will be able to                  withholding of removal or protection
                                                 determines that the noncitizen is subject               establish exceptionally compelling                     under the CAT at the reasonable
                                                 to the limitation on asylum eligibility                 circumstances by a preponderance of                    probability of persecution or torture
                                                 under paragraph (a)—including that                      the evidence per paragraph (a)(2), the                 standard. See id. 208.35(b)(2).
                                                 there is not a significant possibility, see             AO will then assess whether the
                                                                                                                                                                   In the event that USCIS were to
                                                 INA 235(b)(1)(B)(iii), 8 U.S.C.                         noncitizen has established a reasonable
                                                                                                                                                                exercise its discretion to place such a
                                                 1225(b)(1)(B)(iii),292 that the noncitizen              probability of persecution (meaning a
                                                                                                                                                                case into the asylum merits interview
                                                 could establish an exception under                      reasonable probability of being
                                                                                                                                                                process, the credible fear record in that
                                                 section 3(b) of the Proclamation—and                    persecuted because of their race,
                                                                                                                                                                case would have found the applicant
                                                 that there is not a significant possibility             religion, nationality, membership in a
                                                                                                                                                                unable to establish eligibility for asylum
                                                 that the noncitizen could establish an                  particular social group, or political
                                                                                                                                                                under § 208.35(a) and the positive
                                                 exception to the limitation under                       opinion) or torture, with respect to the
                                                                                                         designated country or countries of                     determination would be based only on
                                                 paragraph (a)(2), the AO will enter a
                                                                                                         removal identified pursuant to section                 a potential statutory withholding of
                                                 negative credible fear determination
                                                                                                         241(b) of the INA, 8 U.S.C. 1231(b). See               removal or protection under the CAT
                                                 with respect to the noncitizen’s asylum
                                                                                                         8 CFR 208.35(b)(2)(i). As noted above,                 claim. USCIS may thus need
                                                 claim and continue to consider the
                                                                                                         for purposes of this section, reasonable               supplementary information to constitute
                                                 noncitizen for potential eligibility for
                                                                                                         probability means substantially more                   an application for asylum, as the asylum
                                                 statutory withholding of removal and
                                                                                                         than a reasonable possibility, but                     claim may not have been fully explored
                                                 CAT protection under the procedures in
                                                                                                         somewhat less than more likely than                    in the credible fear record given that the
                                                 paragraph (b)(2), as described below.
                                                                                                         not, that the noncitizen would be                      AO determined the applicant would
                                                 See 8 CFR 208.35(b)(1)(i). Second,
                                                                                                         persecuted because of his or her race,                 have been ineligible for asylum based
                                                 where the AO determines that the
                                                                                                         religion, nationality, membership in a                 on the rule’s limitation on asylum
                                                 noncitizen is not subject to this IFR’s
                                                                                                         particular social group, or political                  eligibility. Therefore, § 208.35(b)(2)(ii)
                                                 limitation on asylum eligibility because
                                                                                                         opinion, or tortured, with respect to the              allows USCIS to require a noncitizen
                                                 there is a significant possibility that the
                                                                                                         designated country or countries of                     who received a negative credible fear
                                                 noncitizen could establish that they are
                                                                                                         removal. See id.                                       determination with respect to their
                                                 not described in § 208.13(g), the AO will
                                                                                                            If the noncitizen establishes a                     application for asylum pursuant to
                                                 follow the procedures for credible fear
                                                                                                         reasonable probability of persecution or               § 208.35(b)(1)(i), but whose application
                                                 interviews relating to the Lawful
                                                                                                         torture with respect to the designated                 is nonetheless retained by USCIS for
                                                 Pathways condition in § 208.33(b). See
                                                                                                         country or countries of removal, DHS                   asylum merits interview proceedings, to
                                                 id. 208.35(b)(1)(ii). This provides that
                                                                                                         will issue a positive credible fear                    submit an asylum application to USCIS
                                                 those noncitizens who are not subject to
                                                                                                         determination and follow the                           within 30 days of service of the positive
                                                 the Proclamation because they did not
                                                                                                         procedures in § 208.30(f). See id.                     credible fear determination, to ensure
                                                 enter during emergency border
                                                                                                         208.35(b)(2)(ii). Under § 208.30(f),                   that there is a record of their potential
                                                 circumstances are processed under the
                                                                                                         USCIS may issue an NTA for removal                     asylum claim to serve as a substantive
                                                 provisions governing the Lawful
                                                                                                         proceedings under section 240 of the                   asylum application. For purposes of the
                                                 Pathways condition—and under
                                                                                                         INA, or, in its discretion, retain the                 filing and receipt date, the date of
                                                 § 208.33(b)(1)(ii), if the noncitizen is not
                                                                                                         application for an asylum merits                       service of the positive credible fear
                                                 subject to that condition, they will be
                                                                                                         interview pursuant to § 208.2(a)(1)(ii).               determination will continue to serve as
                                                 screened for a significant possibility of
                                                                                                         Under the regulations governing the                    the date of filing pursuant to
                                                   292 In the Circumvention of Lawful Pathways rule,     asylum merits interview process, where                 § 208.3(a)(2); however, if USCIS requires
                                                 the Departments described how AOs would apply           USCIS exercises its discretion to retain               the submission of an asylum
                                                 the limitation on asylum eligibility at issue there     jurisdiction over an application for                   application, the timelines laid out in
                                                 consistent with the statutory ‘‘significant                                                                    § 208.9(a)(1) and § 208.9(e)(2) may be
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                                                                                                         asylum of a noncitizen found to have a
                                                 possibility’’ standard. See 88 FR at 31380. That
                                                 discussion in the Circumvention of Lawful               credible fear of persecution or torture                delayed up to 15 days, considering the
                                                 Pathways rule also applies to AOs’ application of                                                              need to allow extra time for the
                                                 the limitation on asylum eligibility created by this      293 In such cases, consistent with the               submission of an asylum application to
                                                 IFR. As explained above in Section III.B.3.a of this    Circumvention of Lawful Pathways rule, DHS             USCIS following service of the positive
                                                 preamble, AOs will rarely have grounds to reach a       would also have discretion to refer the noncitizen
                                                 different result from the CBP immigration officers      to EOIR for section 240 removal proceedings. See
                                                                                                                                                                credible fear determination. See id.
                                                 as to the application of the Proclamation or its        Matter of E–R–M– & L–R–M–, 25 I&N Dec. 520 (BIA        208.35(b)(2)(ii). Under this IFR, if the
                                                 exceptions.                                             2011); see also 88 FR at 31348.                        applicant does not submit the


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                                                 application within the time period                      asylum, statutory withholding of                       screenings. The Departments believe the
                                                 required, USCIS will refer the                          removal, and CAT protection in                         approach adopted strikes the right
                                                 noncitizen to section 240 removal                       accordance with § 1208.4(b)(3)(i). See                 balance between the interest in applying
                                                 proceedings before an IJ. USCIS does                    id. 1208.30(g)(2)(iv)(B).                              the screening standard to those to whom
                                                 not foresee that it would be a prudent                     If the IJ makes a negative credible fear            it would otherwise apply and
                                                 use of resources to place such cases into               determination, however, the case will be               administrability in the event the
                                                 the asylum merits interview process,                    returned to DHS for removal of the                     limitation on asylum eligibility is
                                                 considering that USCIS has a finite                     noncitizen. See id. 208.35(b)(2)(v)(B).                rendered inoperative by court order.
                                                 number of AOs, and it is more efficient                 Consistent with the purpose of the                     The Departments request comment on
                                                 at present to assign work in a manner                   expedited removal process and this IFR,                whether to expressly expand this
                                                 that maximizes the number of credible                   there would be no appeal from the IJ’s                 provision to also apply to those who are
                                                 fear interviews USCIS can conduct at                    decision and DHS would not accept                      found not to have a significant
                                                 the border. Nevertheless, the IFR                       requests for reconsideration. See id.                  possibility of eligibility for asylum
                                                 preserves the flexibility for USCIS to                  USCIS may, however, in its sole                        because they are barred from asylum
                                                 exercise its discretion to potentially                  discretion, reconsider a negative                      due to a mandatory bar to asylum
                                                 place such cases into the asylum merits                 determination. See id.; 88 FR at 11747;                eligibility if the rule Application of
                                                 interview process (albeit with the                      88 FR at 31418–19.                                     Certain Mandatory Bars in Fear
                                                 potential addition of a supplementary                      Paragraph (b)(3) applies in the event               Screenings, 89 FR 41347 (May 13, 2024),
                                                 application for asylum) should available                that the limitation on asylum eligibility              is finalized.
                                                 resources and circumstances ever be                     in paragraph (a) is rendered inoperative                  Paragraph (c) contains a family unity
                                                 such that it would be prudent to place                  by court order. In such circumstance,                  provision that parallels and serves the
                                                 such cases into the asylum merits                       those who enter during emergency                       same purposes as the DOJ family unity
                                                 interview process.                                      border circumstances and who are                       provision in the Circumvention of
                                                    If the noncitizen fails to establish a               found not to have a significant                        Lawful Pathways rule. See 8 CFR
                                                 reasonable probability of persecution or                possibility of eligibility for asylum                  1208.33(c). The paragraph specifies that
                                                 torture with respect to all designated                  because of the Lawful Pathways                         a noncitizen who would be eligible for
                                                 countries of removal, the AO will                       condition will be screened for eligibility             asylum but for the limitation on
                                                 provide the noncitizen with a written                   for statutory withholding of removal                   eligibility set forth in the IFR, the
                                                 notice of decision and inquire whether                  and CAT protection under the                           condition set forth in the Circumvention
                                                 the noncitizen wishes to have an IJ                     ‘‘reasonable probability’’ screening                   of Lawful Pathways rule, or both, may
                                                 review the negative credible fear                       standard. This will ensure continued                   meet the family unity exception where
                                                 determination. See id. 208.35(b)(2)(iii).               applicability of that standard during                  the other requirements are met. The
                                                 If the noncitizen indicates on the Record               emergency border circumstances, even                   expressly permissive, discretionary
                                                 of Negative Fear that they request IJ                   absent the rule’s limitation on asylum                 nature of this provision, which owes in
                                                 review of the adverse finding, see id.                  eligibility. The Departments                           part to the considerations described
                                                 208.35(b)(2)(iv), the AO will serve the                 acknowledge that under this approach,                  earlier in this section with respect to
                                                 noncitizen with a Notice of Referral to                 not all who would have been subject to                 asylum merits interviews, distinguishes
                                                 Immigration Judge, see id.                              the higher screening standard if the                   it from the parallel DOJ provision in the
                                                 208.35(b)(2)(v). See 88 FR at 11747; 88                 limitation remained in force would be                  Circumvention of Lawful Pathways rule
                                                 FR at 31423. The record of                              subject to it in the event of an                       and the parallel DOJ provision
                                                 determination, including copies of the                  injunction—i.e., those who do not travel               described in the next section of this
                                                 Notice of Referral to Immigration Judge,                through a country other than their                     preamble.
                                                 the AO’s notes, the summary of the                      country of citizenship, nationality, or, if               Paragraph (d) mirrors 8 CFR 208.33(c)
                                                 material facts, and other materials upon                stateless, last habitual residence; those              and 1208.33(d) and specifies the
                                                 which the AO based their determination                  excepted from the Lawful Pathways                      ongoing applicability of the limitation
                                                 regarding the applicability of the                      condition under the exceptions at 8 CFR                on asylum eligibility by providing that
                                                 condition on asylum eligibility (which,                 208.33(a)(2)(ii)(A) and (C); those                     it shall apply to ‘‘any asylum
                                                 in cases where the limitation on asylum                 excepted from the Lawful Pathways                      application’’ that is filed by a covered
                                                 eligibility created by this IFR applies,                condition because they present at a POE                noncitizen ‘‘regardless of when the
                                                 includes materials showing the relevant                 without a pre-scheduled time and place                 application is filed and adjudicated.’’ Id.
                                                 known entry date), will be provided to                  and demonstrate that it was not possible               208.35(d)(1). The Departments have
                                                 the IJ with the negative determination.                 to access or use the DHS scheduling                    excepted from this ongoing application
                                                 See 8 CFR 208.35(b)(2)(v). The IJ would                 system due to language barrier,                        of the limitation on asylum eligibility
                                                 then review the case consistent with                    illiteracy, significant technical failure,             certain noncitizens who enter the
                                                 § 1208.35, described below.                             or other ongoing and serious obstacle;                 United States during emergency border
                                                    If, following IJ review, the IJ makes a              and those who enter across the maritime                circumstances while under the age of 18
                                                 positive credible fear determination                    borders covered by the Proclamation                    and who later seek asylum as principal
                                                 under § 1208.35(b)(2)(iii) or                           that are not covered by the Lawful                     applicants so long as the asylum
                                                 § 1208.35(b)(4), the case will proceed                  Pathways condition. The Departments                    application is filed after the period of
                                                 under § 1208.30(g)(2)(iv)(B). See id.                   have adopted a somewhat narrower                       time described in § 208.13(g) during
                                                 208.35(b)(2)(v)(A). The IJ may vacate the               scope for the standard to avoid a                      which the noncitizen entered. See id.
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                                                 Notice and Order of Expedited Removal                   circumstance where AOs and IJs would                   208.35(d)(2). Commenters on the
                                                 and refer the case back to DHS for                      be required to analyze both the                        Circumvention of Lawful Pathways rule
                                                 further proceedings consistent with 8                   applicability of the Lawful Pathways                   raised concerns about the impact of that
                                                 CFR 1208.2(a)(1)(ii). See id.                           condition and then also whether the                    rule on children who arrive as part of
                                                 1208.30(g)(2)(iv)(B). Alternatively, DHS                noncitizen would otherwise be subject                  a family unit and who are thus subject
                                                 may commence section 240 removal                        to the rule’s limitation—which could                   to the decision-making of their parents.
                                                 proceedings, during which time the                      complicate and increase the time                       88 FR at 31320. The Departments
                                                 noncitizen may file an application for                  required to conduct credible fear                      decided to adopt a provision excepting


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                                                 such children from that rule in certain                   after the end of the emergency border                 approach is consistent with the nature
                                                 circumstances after the two-year period                   circumstance during which the                         of the rule as an emergency measure and
                                                 ends. See 8 CFR 208.33(c)(2),                             applicant entered. Because noncitizens                reflects DHS’s determination that the
                                                 1208.33(d)(2). The Departments                            will not know in advance when the                     limitation on asylum eligibility will
                                                 recognized that children who enter with                   emergency border circumstance will                    improve the border security and
                                                 their families are generally traveling due                end, and when another emergency                       immigration systems’ capacity to safely
                                                 to their parents’ decision-making. 88 FR                  border circumstance might occur, the                  process migrants during the
                                                 at 31320. The Departments believe that                    approach adopted in the rule addresses                circumstances described in the
                                                 these considerations are also relevant to                 noncitizens’ incentives without                       Proclamation and this rule. For
                                                 this rule and have decided to adopt a                     restricting this exception more than is               example, even in the absence of the
                                                 similar approach as that adopted in the                   necessary.                                            limitation on asylum eligibility, as
                                                 Circumvention of Lawful Pathways rule.                       The Departments believe this                       expressly set forth in paragraph (b)(3),
                                                    The Departments considered whether                     approach balances the interest in                     the Department intends that the
                                                 to except family units, or children who                   ensuring the limitation has an impact on              ‘‘reasonable probability’’ standard be
                                                 are part of family units, from the                        behavior, while at the same time                      used for screening for eligibility for
                                                 limitation on asylum eligibility entirely.                recognizing the special circumstance of               statutory withholding of removal and
                                                 The Departments decline to adopt such                     children who enter in a manner that                   CAT protection for those who would
                                                 an approach. Excepting all family units                   triggers the limitation, likely without               have been subject to the limitation on
                                                 that include minor children could                         intending to do so or being able to form              asylum if they are otherwise unable to
                                                 incentivize families who otherwise                        an understanding of the consequences.                 establish a credible fear of persecution
                                                 would not make the dangerous journey                      Specifically, if the Departments were to              for asylum purposes, including but not
                                                 and cross unlawfully to do so. And                        extend this exception to children who                 limited to because they are subject to
                                                 excepting only the child could                            filed as a derivative, the Departments                the Lawful Pathways rebuttable
                                                 inadvertently lead to the separation of a                 would risk incentivizing families to seek             presumption. Similarly, even in the
                                                 family in many cases because every                        to prolong their proceedings to file their            absence of the new provision at 8 CFR
                                                 child would have to be treated                            asylum applications after the end of the              235.15 discussed below, the changes
                                                 separately from their family during the                   circumstances leading to the suspension               made in § 208.35 are expected to prove
                                                 credible fear screening, as they would                    and limitation on entry, undermining                  helpful in the emergency circumstances
                                                 not be subject to the limitation but their                the Departments’ interest in efficient                described by the Proclamation and the
                                                 parents could be. Although                                adjudications. In addition, any family                rule. See id. 208.35(e).
                                                 accompanied children remain subject to                    that did so would be able to avoid the
                                                 the limitation on asylum eligibility                      applicability of the limitation entirely,             3. 8 CFR 1208.35
                                                 generally, the Departments have                           by virtue of the rule’s family unity                     Like DHS’s addition to 8 CFR part
                                                 determined that the limitation should                     provision. The Departments have                       208, DOJ is adding to 8 CFR part 1208,
                                                 not apply to them in any application for                  decided not to include such a broad                   Procedures for Asylum and Withholding
                                                 asylum they file after the relevant                       exception, in light of the urgent need to             of Removal, a new subpart D, Eligibility
                                                 period, but only if they apply as a                       gain efficiencies in the expedited                    for Aliens Who Enter the United States
                                                 principal (as opposed to a derivative)                    removal process and dissuade entry                    During Emergency Border
                                                 applicant.                                                during the circumstances described in                 Circumstances. Within subpart D, DOJ
                                                    The Departments also considered                        the Proclamation and this rule.                       is adding a new § 1208.35, Limitation on
                                                 applying a specific calendar date to this                    Finally, DHS is including a                        asylum eligibility and credible fear
                                                 provision, similar to the approach taken                  severability clause in this provision. See            procedures for those who enter the
                                                 by the Departments in the                                 8 CFR 208.35(e). If any provision of this             United States during emergency border
                                                 Circumvention of Lawful Pathways                          section, § 235.15, or the Proclamation is             circumstances. This section sets forth a
                                                 rule.294 The Departments determined                       held to be invalid or unenforceable by                new limitation on asylum eligibility and
                                                 that such a provision would be                            its terms, or as applied to any person or             procedures related to IJ review of
                                                 challenging to implement because the                      circumstance, DHS intends that the                    credible fear determinations in
                                                 Departments have not identified a date                    provision be construed so as to continue              expedited removal proceedings during
                                                 certain upon which emergency border                       to give the maximum effect to the                     emergency border circumstances. This
                                                 circumstances are expected to                             provision permitted by law, unless such               provision applies notwithstanding any
                                                 discontinue. The Departments believe                      holding is that the provision is wholly               contrary provision in EOIR’s
                                                 that the key purpose of an asylum                         invalid and unenforceable, in which                   regulations. Section 1208.35 consists of
                                                 application waiting period—protecting                     event the provision should be severed                 the following provisions:
                                                 against any perceived incentive for                       from the remainder of this section and                   Paragraph (a) mirrors new § 208.35(a),
                                                 family units to migrate irregularly—is                    the holding should not affect the                     discussed above.
                                                 adequately served by a requirement that                   remainder of this section or the                         Paragraph (b) provides procedures for
                                                 the applicable period of emergency                        application of the provision to persons               credible fear determinations. Under
                                                 border circumstances is no longer in                      not similarly situated or to dissimilar               these procedures, when a noncitizen has
                                                 place at the time of application. For that                circumstances. Indeed, in this rule, the              requested IJ review of an AO’s negative
                                                 same reason, the Departments do not                       Departments have sought to avoid                      credible fear determination, the IJ will
                                                 believe it is necessary to make this                      describing ‘‘emergency border                         evaluate the case de novo, taking into
                                                                                                                                                                 account the credibility of the statements
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                                                 exception unavailable during any period                   circumstances’’ as the time period
                                                 of emergency border circumstances;                        during which the Proclamation is in                   made by the noncitizen in support of
                                                 instead, this exception will be available                 effect, because the Departments intend                the noncitizen’s claim and such other
                                                                                                           for certain provisions of this rule to                facts as are known to the IJ. See 8 CFR
                                                    294 Under that rule, the Lawful Pathways
                                                                                                           remain in effect in the event a court                 1208.35(b)(1). The paragraph sets forth
                                                 condition does not apply to certain asylum                                                                      three possible procedural scenarios
                                                 applications filed after May 11, 2025—two years
                                                                                                           enjoins or otherwise renders inoperable
                                                 after that rule’s initial issuance. 8 CFR 208.33(c)(2),   the Proclamation or this rule’s                       depending on the IJ’s determinations.
                                                 1208.33(d)(2); 88 FR at 31449.                            limitation on asylum eligibility. This                First, where the IJ determines that the


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                                                 noncitizen is not subject to this IFR’s                  IFR, the condition set forth in the                   or any other portion of 8 CFR 235.3. See
                                                 limitation on asylum eligibility because                 Circumvention of Lawful Pathways rule,                id. The changes are as follows.
                                                 there is a significant possibility that the              or both, may meet the family unity                       First, under 8 CFR 235.3(b)(2)(i), the
                                                 noncitizen could establish that they are                 exception where the other requirements                record of proceeding includes a sworn
                                                 not described in § 1208.13(g), the IJ will               are met.                                              statement using Form I–867AB, Record
                                                 follow the procedures for credible fear                     Paragraph (d) mirrors new § 208.35(d),             of Sworn Statement in Proceedings
                                                 interviews relating to the Lawful                        discussed above.                                      under Section 235(b)(1) of the Act.
                                                 Pathways condition in § 1208.33(b). See                     Paragraph (e) contains a severability              Under the existing regulations, the
                                                 id. 1208.35(b)(2)(i).295 This provides                   provision that serves a similar purpose               examining immigration officer reads (or
                                                 that those noncitizens who did not enter                 to the provision in § 208.35(e) described             has read) to the noncitizen all
                                                 during emergency border circumstances                    above. If any provision of this section or            information contained on Form I–867A.
                                                 are processed under the provisions                       the Proclamation is held to be invalid or             Following questioning and recording of
                                                 governing the Lawful Pathways                            unenforceable by its terms, or as applied             the noncitizen’s statement regarding
                                                 condition—and under § 1208.33(b)(2)(i),                  to any person or circumstance, DOJ                    identity, alienage, and inadmissibility,
                                                 if the noncitizen is not subject to that                 intends that the provision be construed               the examining immigration officer
                                                 condition they will be screened for a                    so as to continue to give the maximum                 records the noncitizen’s response to the
                                                 significant possibility of eligibility for               effect to the provision permitted by law,             questions contained on Form I–867B,
                                                 statutory withholding of removal or                      unless such holding is that the                       and has the noncitizen read (or has read
                                                 CAT protection consistent with                                                                                 to the noncitizen) the statement, and the
                                                                                                          provision is wholly invalid and
                                                 § 208.30. Second, where the IJ                                                                                 noncitizen signs and initials each page
                                                                                                          unenforceable, in which event the
                                                 determines that the noncitizen is not                                                                          of the statement and each correction, if
                                                                                                          provision should be severed from the
                                                 subject to this IFR’s limitation on                                                                            any.
                                                                                                          remainder of this section and the                        DHS is adding a new 8 CFR
                                                 asylum eligibility because there is a                    holding should not affect the remainder
                                                 significant possibility that the                                                                               235.15(b)(2)(i) to apply to certain
                                                                                                          of this section or the application of the             noncitizens instead of this current
                                                 noncitizen could establish either that                   provision to persons not similarly
                                                 they are described in section 3(b) of the                                                                      process during emergency border
                                                                                                          situated or to dissimilar circumstances.              circumstances. Under this procedure,
                                                 Proclamation or exceptionally
                                                                                                          This approach is consistent with the                  Forms I–867A and I–867B will no
                                                 compelling circumstances exist under
                                                                                                          nature of the rule as an emergency                    longer be mandated in such
                                                 paragraph (a)(2), the IJ will follow the
                                                                                                          measure and reflects DOJ’s                            circumstances. Instead, the immigration
                                                 procedures in 8 CFR 1208.30. See id.
                                                                                                          determination that the limitation on                  officer shall advise the individual of the
                                                 1208.35(b)(2)(ii). Third, where the IJ
                                                                                                          asylum eligibility will improve the                   charges against them on the Form I–860
                                                 determines that the IFR’s limitation on
                                                                                                          border security and immigration                       and give him or her an opportunity to
                                                 asylum eligibility applies—including
                                                                                                          systems’ capacity to safely process                   respond to those charges. See 8 CFR
                                                 that there is not a significant possibility
                                                                                                          migrants during the circumstances                     235.15(b)(2)(i)(B). This provision does
                                                 that the noncitizen could establish an
                                                                                                          described in the Proclamation and this                not require that the response be done
                                                 exception under section 3(b) of the
                                                 Proclamation—and that there is not a                     rule. For example, as set forth explicitly            through a sworn statement. See id.
                                                 significant possibility that the                         in paragraph (b)(4), even in the absence              Consistent with current regulations,
                                                 noncitizen could establish an exception                  of the limitation on asylum eligibility,              however, the inspecting officer must
                                                 under paragraph (a)(2) of the limitation,                the Department intends that the                       obtain supervisory concurrence of an
                                                 the IJ will apply the Circumvention of                   ‘‘reasonable probability’’ standard be                expedited removal order in accordance
                                                 Lawful Pathways rule’s procedures set                    used for screening for eligibility for                with § 235.3(b)(7). Id. Moreover,
                                                 forth in § 1208.33(b)(2)(ii), except that                statutory withholding of removal and                  consistent with current regulations, the
                                                 the IJ will apply a ‘‘reasonable                         CAT protection for those who would                    examining immigration official shall
                                                 probability’’ standard to parallel the                   have been subject to the limitation on                serve the noncitizen with Form I–860,
                                                 standard adopted by DHS. See id.                         asylum if they are otherwise unable to                and the noncitizen shall be required to
                                                 1208.35(b)(2)(iii).                                      establish a credible fear of persecution              sign the form acknowledging receipt. Id.
                                                    Paragraph (b)(4), mirrors new                         for asylum purposes, including but not                The new 8 CFR 235.15(b)(2)(i) no longer
                                                 § 208.35(b)(3), discussed above.                         limited to because they are subject to                mandates that the signature occur on the
                                                    Paragraph (c) contains a family unity                 the Lawful Pathways rebuttable                        reverse, but preserves the requirement
                                                 provision that parallels and serves the                  presumption. See id. 1208.35(e).                      that the noncitizen be required to sign,
                                                 same purposes as the family unity                        4. 8 CFR 235.15                                       allowing greater flexibility for location
                                                 provision in the Circumvention of                                                                              of signature blocks on the document.
                                                 Lawful Pathways rule. See id.                               DHS is adding to 8 CFR part 235,                   See id. 235.3(b)(2)(i). The new provision
                                                 1208.33(c), 1208.35(c). The paragraph                    Inspection of Persons Applying for                    maintains the requirement that
                                                 specifies that a noncitizen who would                    Admission, a new § 235.15,                            interpretative assistance shall be used if
                                                 be eligible for asylum but for the                       Inadmissible aliens and expedited                     necessary to communicate with the
                                                 limitation on eligibility set forth in the               removal during emergency border                       noncitizen. Id. 235.3(b)(2)(i)(B). The
                                                                                                          circumstances. New 8 CFR 235.15 will                  new 8 CFR 235.15(b)(2)(i) also allows
                                                   295 As explained above regarding AOs, the              further streamline aspects of the                     for greater flexibility regarding how
                                                 discussion in the Circumvention of Lawful                expedited removal process by                          DHS records the information that
                                                 Pathways rule regarding how AOs would apply the          effectively replacing paragraphs (b)(2)(i)
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                                                                                                                                                                supports the finding that the noncitizen
                                                 limitation on asylum eligibility at issue there
                                                 consistent with the statutory ‘‘significant
                                                                                                          and (b)(4)(i) of 8 CFR 235.3 for those                is inadmissible and subject to expedited
                                                 possibility’’ standard, see 88 FR at 31380, is equally   individuals described in § 235.3(b)(1)(i)             removal. This operational flexibility is
                                                 applicable to IJs’ application of the limitation on      or (ii) and who are described in                      consistent with the President’s
                                                 asylum eligibility created by this IFR. As explained     § 208.13(g) but not described in section              determination that emergency border
                                                 above in Section III.B.3.a of this preamble, IJs will
                                                 rarely have grounds to reach a different result from
                                                                                                          3(b) of the Proclamation. See 8 CFR                   circumstances are present such that the
                                                 the CBP immigration officers as to the application       235.15. The changes would not affect                  suspension and limitation on entry is
                                                 of the Proclamation or its exceptions.                   implementation of 8 CFR 235.3(b)(4)(ii)               warranted.


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                                                    Second, under 8 CFR 235.3(b)(4), if a                the important ability of individuals to                   Cir. 2008) (quotation marks omitted).297
                                                 noncitizen subject to the expedited                     seek protection from removal. DHS                         This rule satisfies both standards.
                                                 removal provisions indicates an                         further believes that even if a court                       The United States’ border
                                                 intention to apply for asylum, or                       order enjoins or vacates the                              management strategy is predicated on
                                                 expresses a fear of persecution or                      Proclamation or provisions other than
                                                                                                                                                                   the belief that migration is a shared
                                                 torture, or a fear of return to his or her              § 235.15 of this rule, the provisions in
                                                                                                                                                                   responsibility among all countries in the
                                                 country, the inspecting officer does not                § 235.15 can continue to apply to those
                                                 proceed further with removal of the                     described in § 208.13(g) and not                          region—a fact reflected in the intensive
                                                 noncitizen until the noncitizen has been                described in section 3(b) of the                          and concerted diplomatic outreach on
                                                 referred for an interview by an AO in                   Proclamation, even if they cannot be                      migration issues that DHS and the
                                                 accordance with 8 CFR 208.30.                           subject to those provisions by operation                  Department of State have made with
                                                    Instead of this current process, DHS is              of such court order.                                      partners throughout the Western
                                                 adding a new 8 CFR 235.15(b)(4),                                                                                  Hemisphere. This strategy includes the
                                                 applicable to those who (1) are                         IV. Statutory and Regulatory                              Los Angeles Declaration on Migration
                                                 described in § 208.13(g), (2) are not                   Requirements                                              and Protection, which was joined by
                                                 described in section 3(b) of the                        A. Administrative Procedure Act                           leaders during the Summit of the
                                                 Proclamation, and (3) are processed for                    Under the Administrative Procedure                     Americas on June 10, 2022, and has
                                                 expedited removal. Under this provision                 Act (‘‘APA’’), agencies must generally                    been endorsed by 22 countries.298
                                                 the immigration officer would refer the                 provide ‘‘notice of proposed rule                         Under the umbrella of this framework,
                                                 noncitizen to an AO if the noncitizen                   making’’ in the Federal Register and,                     the United States has been working
                                                 manifests a fear of return or                           after such notice, ‘‘give interested                      closely with its foreign partners to
                                                 affirmatively expresses an intention to                 persons an opportunity to participate in                  manage the unprecedented levels of
                                                 apply for asylum, or affirmatively                      the rule making through submission of                     migration that countries throughout the
                                                 expresses a fear of persecution or                      written data, views, or arguments.’’ 5                    region have recently been experiencing,
                                                 torture, or a fear of return to his or her              U.S.C. 553(b) and (c). The APA further                    including on efforts to: expand access
                                                 country or the country of removal.                      provides that the required publication
                                                    Third, under 8 CFR 235.3(b)(4)(i), the                                                                         to, and increase, lawful pathways, such
                                                                                                         or service of a substantive rule shall be                 as the Safe Mobility Office initiative; 299
                                                 referring officer provides the noncitizen
                                                                                                         made not less than 30 days before its                     conduct joint enforcement efforts, such
                                                 with a written disclosure on Form M–
                                                                                                         effective date, except in certain                         as the Darién Campaign with Colombia
                                                 444, Information About Credible Fear
                                                                                                         circumstances. Id. 553(d). Consistent                     and Panama and the mirrored patrols 300
                                                 Interview, describing (1) the purpose of
                                                                                                         with the APA, the Departments have not                    with the Government of Mexico along
                                                 the referral and description of the
                                                                                                         invoked these procedures because (1)
                                                 credible fear interview process; (2) the
                                                                                                         this rule involves a foreign affairs
                                                 right to consult with other persons prior                                                                            297 See, e.g., Rajah, 544 F.3d at 437 (‘‘There are
                                                                                                         function of the United States and thus                    at least three definitely undesirable international
                                                 to the interview and any review thereof
                                                                                                         is excepted from such requirements, id.                   consequences that would follow from notice and
                                                 at no expense to the United States
                                                                                                         553(a)(1), and (2) the Departments have                   comment rulemaking. First, sensitive foreign
                                                 Government; (3) the right to request a                                                                            intelligence might be revealed in the course of
                                                 review by an IJ of the AO’s credible fear               found good cause to proceed with an
                                                                                                                                                                   explaining why some of a particular nation’s
                                                 determination; and (4) the consequences                 immediately effective interim final rule,                 citizens are regarded as a threat. Second, relations
                                                 of failure to establish a credible fear of              id. 553(b)(B), 553(d)(3), for the reasons                 with other countries might be impaired if the
                                                 persecution or torture. New 8 CFR                       explained below. At the same time, the                    government were to conduct and resolve a public
                                                 235.15(b)(4) will simply require that an                Departments seek and welcome post-                        debate over why some citizens of particular
                                                                                                         promulgation comments on this IFR.                        countries were a potential danger to our security.
                                                 immigration officer provide ‘‘a written                                                                           Third, the process would be slow and cumbersome,
                                                 disclosure describing the purpose of the                1. Foreign Affairs                                        diminishing our ability to collect intelligence
                                                 referral and the credible fear interview                                                                          regarding, and enhance defenses in anticipation of,
                                                                                                            This rule is excepted from the APA’s                   a potential attack by foreign terrorists.’’); see also
                                                 process; the right to consult with other                notice-and-comment and delayed-                           Yassini v. Crosland, 618 F.2d 1356, 1360 n.4 (9th
                                                 persons prior to the interview and any                  effective-date requirements because it                    Cir. 1980) (‘‘For the [foreign affairs] exception to
                                                 review thereof at no expense to the                                                                               apply, the public rulemaking provisions should
                                                                                                         involves a ‘‘foreign affairs function of
                                                 United States Government; the right to                                                                            provoke definitely undesirable international
                                                                                                         the United States.’’ 5 U.S.C. 553(a)(1).                  consequences.’’). But see E.B., 583 F. Supp. 3d at
                                                 request a review by an IJ of the AO’s
                                                                                                         Courts have held that this exception                      64–66 (rejecting the ‘‘provoke definitely undesirable
                                                 credible fear determination; and the
                                                                                                         applies when the rule in question ‘‘is                    international consequences’’ standard).
                                                 consequences of failure to establish a                                                                               298 See Los Angeles Declaration on Migration and
                                                                                                         clearly and directly involved in a
                                                 credible fear of persecution or torture.’’                                                                        Protection, Endorsing Countries, https://
                                                                                                         foreign affairs function.’’ 296 In addition,
                                                 8 CFR 235.15(b)(4)(i)(B). Thus, while                                                                             losangelesdeclaration.com/endorsing-countries (last
                                                                                                         although the text of the APA does not                     visited May 27, 2024).
                                                 maintaining the substance of the
                                                                                                         require an agency invoking this                              299 See U.S. Dep’t of State, Safe Mobility
                                                 information that must be provided to
                                                 the noncitizen, the regulation removes                  exception to show that such procedures                    Initiative, https://www.state.gov/refugee-
                                                                                                         may result in ‘‘definitely undesirable                    admissions/safe-mobility-initiative (last visited May
                                                 the requirement that it be on a particular                                                                        27, 2024).
                                                 form, allowing for greater flexibility in               international consequences,’’ some                           300 See CBP, Readout: U.S.-Mexico meeting on

                                                 how the information is distributed.                     courts have required such a showing.                      joint actions to further enhance border security
                                                    Finally, DHS is including a                          Rajah v. Mukasey, 544 F.3d 427, 437 (2d                   (Sept. 24, 2023), https://www.cbp.gov/newsroom/
                                                 severability clause in this provision. See                                                                        national-media-release/readout-us-mexico-meeting-
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                                                                                                            296 E.B. v. U.S. Dep‘t of State, 583 F. Supp. 3d 58,   joint-actions-further-enhance-border (noting that
                                                 id. 235.15(g). DHS believes that each of                63 (D.D.C. 2022) (cleaned up); see Mast Indus., Inc.      CBP encouraged mirrored patrols); U.S. Dep’t of
                                                 these changes can function sensibly                     v. Regan, 596 F. Supp. 1567, 1582 (Ct. Int’l. Trade       State, Third Meeting of the U.S.-Mexico High-Level
                                                 without the others, given that each                     1984); see also Am. Ass’n of Exps. & Imps. v. United      Security Dialogue—Fact Sheet (Oct. 13, 2023),
                                                 change is independently seeking to                      States, 751 F.2d 1239, 1249 (Fed. Cir. 1985)              https://www.state.gov/third-meeting-of-the-u-s-
                                                                                                         (holding that the exception applies where a rule is       mexico-high-level-security-dialogue/ (noting that
                                                 provide greater flexibility during a time               ‘‘linked intimately with the Government’s overall         ‘‘CBP and INM regularly coordinate enforcement
                                                 when the suspension and limitation on                   political agenda concerning relations with another        efforts at the border through mirrored patrols,’’
                                                 entry is in effect, while still protecting              country’’).                                               which suggests that those patrols were occurring).



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                                                 our shared border; 301 and share                        intervening months, Mexico and other                     up efforts to improve border security
                                                 information, technical assistance, and                  partners’ resources have been                            and stem arrivals to the southern border
                                                 best practices.302 The United States and                significantly strained by sustained high                 is a critical element of the United States’
                                                 endorsing countries continue to                         encounter levels, and at different times                 ongoing diplomatic approach to
                                                 progress and expand upon our shared                     enforcement by our partners has been                     migration management with partners in
                                                 commitments made under this                             disrupted, leading to surges at our own                  the region. This has been a key
                                                 framework.303                                           border.307                                               component of our diplomacy, as
                                                    This international coordination has                    In public messaging, the Government                    regional partner countries have
                                                 yielded important results. A number of                  of Mexico linked its decision to accept                  regularly encouraged DHS to take steps
                                                 foreign partners, including Mexico,                     return into Mexico of CHNV nationals to                  to address migratory flows, including by
                                                 Panama, and Colombia, announced                         the success of the CHNV parole                           channeling intending migrants into
                                                 significantly enhanced efforts to enforce               processes framework under the Title 42                   expanded lawful pathways and
                                                 their borders in the days leading up to                 public health Order,308 which combined                   processes. For example, following the
                                                 the end of the Title 42 public health                   expansion of lawful pathways and                         development of the parole process for
                                                 Order.304 These governments                             processes for nationals of these                         Venezuelans announced in October
                                                 recognized that the United States was                   countries with a meaningful                              2022—an approach that was
                                                 taking measures to strengthen border                    consequence framework, and which                         subsequently expanded to include
                                                 enforcement, specifically through                       reduced irregular border crossings.309                   processes for Cuban, Haitian, and
                                                 application of the Circumvention of                     Sustaining and, as appropriate, ramping                  Nicaraguan nationals in January 2023—
                                                 Lawful Pathways rule along with other                                                                            regional partners urged the United
                                                 complementary measures, and                             DHS, Fact Sheet: Data From First Six Months of           States to continue building on this
                                                 committed to taking their own actions to                Parole Processes for Cubans, Haitians, Nicaraguans,      approach, which imposed consequences
                                                                                                         and Venezuelans Shows that Lawful Pathways
                                                 address irregular migratory flows in the                Work (July 25, 2023), https://www.dhs.gov/news/          for irregular migration alongside the
                                                 region.305 Additionally, immediately                    2023/07/25/fact-sheet-data-first-six-months-parole-      availability of a lawful, safe, and orderly
                                                 prior to the transition from DHS                        processes-cubans-haitians-nicaraguans-and.               process for migrants to travel directly to
                                                                                                            307 See Charles G. Ripley III, Crisis Prompts
                                                 processing under the Title 42 public                                                                             the United States.310 Following the
                                                                                                         Record Emigration from Nicaragua, Surpassing
                                                 health Order to processing under title 8                Cold War Era, Migration Pol’y Inst. (Mar. 7, 2023),      announcement of the Venezuela parole
                                                 authorities, the Government of Mexico                   https://www.migrationpolicy.org/article/record-          process in October 2022 and the
                                                 announced that it had independently                     emigration-nicaragua-crisis; James Fredrick, Mexico      subsequent announcement of the Cuba,
                                                 decided to accept the return into Mexico                Feels Pressure of Relentless Migration from South        Haiti, and Nicaragua parole processes in
                                                                                                         America, N.Y. Times (Sept. 21, 2023) (‘‘Similar
                                                 of nationals from CHNV countries under                  scenes are playing out across the country as             January 2023, migration flows through
                                                 title 8 processes.306 However, in the                   Mexico’s immigration system strains under a tide of      the region and at the U.S.-Mexico border
                                                                                                         people desperately trying to go north. The relentless    slowed. See 88 FR at 31317 (‘‘DHS
                                                                                                         surge has led to a hodgepodge response in Mexico
                                                    301 See DHS, Trilateral Statement (Apr. 11, 2023),
                                                                                                         ranging from shutting down railways heading north
                                                                                                                                                                  estimates that the drop in CHNV
                                                 https://www.dhs.gov/news/2023/04/11/trilateral-                                                                  encounters in January through March
                                                 joint-statement.                                        to the busing of people to areas with fewer
                                                    302 See, e.g., Creating a Comprehensive Regional
                                                                                                         migrants.’’); Megan Janetsky & Javier Córdoba,          was almost four times as large as the
                                                                                                         Central America scrambles as the international           number of people permitted entry under
                                                 Framework To Address the Causes of Migration, To
                                                                                                         community fails to find solution to record
                                                 Manage Migration Throughout North and Central
                                                                                                         migration, AP News (Oct. 20, 2023), https://             the parole processes.’’).
                                                 America, and To Provide Safe and Orderly                                                                            The United States has continued to
                                                                                                         apnews.com/article/costa-rica-migration-darien-
                                                 Processing of Asylum Seekers at the United States                                                                build on this historic expansion of
                                                                                                         gap-biden-420e2d1219d403d7feec6463a6e9cdae
                                                 Border, Exec. Order 14010, 86 FR 8267, 8270 (Feb.
                                                                                                         (noting the resources pull migration flows place on      lawful pathways and processes, which
                                                 2, 2021); The White House, Los Angeles Declaration
                                                                                                         certain Central American countries); Marı́a Verza,
                                                 on Migration and Protection (June 10, 2022),
                                                                                                         Mexico halts deportations and migrant transfers
                                                                                                                                                                  include the humanitarian parole
                                                 https://www.whitehouse.gov/briefing-room/                                                                        processes for CHNV nationals; 311 efforts
                                                                                                         citing lack of funds, AP News (Dec. 4, 2023),
                                                 statements-releases/2022/06/10/los-angeles-
                                                 declaration-on-migration-and-protection/; The
                                                                                                         https://apnews.com/article/mexico-immigration-           to expand labor pathways and dedicate
                                                                                                         migrants-venezuela-                                      a set number of visas to nationals of
                                                 White House, Fact Sheet: U.S.-Mexico High-Level
                                                                                                         17615ace23d0677bb443d8386e254fbc (observing
                                                 Security Dialogue (Oct. 8, 2021), https://
                                                                                                         that the ‘‘head of Mexico’s immigration agency . . .
                                                                                                                                                                  countries in the hemisphere; 312 the
                                                 www.whitehouse.gov/briefing-room/statements-                                                                     implementation of new Family
                                                                                                         ordered the suspension of migrant deportations and
                                                 releases/2021/10/08/fact-sheet-u-s-mexico-high-
                                                 level-security-dialogue/; U.S. Dep’t of State, Fact
                                                                                                         transfers due to a lack of funds’’); Valerie Gonzalez    Reunification Parole (‘‘FRP’’) processes
                                                                                                         & Elliot Spagat, The US sees a drop in illegal border    for certain nationals of Colombia,
                                                 Sheet: Third Meeting of the U.S.-Mexico High-Level
                                                                                                         crossings after Mexico increases enforcement, AP
                                                 Security Dialogue (Oct. 13, 2023), https://
                                                                                                         News (Jan. 7, 2024), https://apnews.com/article/
                                                                                                                                                                  Ecuador, El Salvador, Guatemala, and
                                                 www.state.gov/third-meeting-of-the-u-s-mexico-                                                                   Honduras; and the modernization of
                                                                                                         mexico-immigration-enforcement-crossings-drop-
                                                 high-level-security-dialogue/.
                                                    303 See The White House, Fact Sheet: Third
                                                                                                         b67022cf0853dca95a8e0799bb99b68a (noting the             FRP processes for certain nationals of
                                                                                                         disruption in enforcement that resulted from             Cuba and Haiti.313
                                                 Ministerial Meeting on the Los Angeles Declaration      Mexico’s lack of funding and quoting Andrew
                                                 On Migration and Protection in Guatemala (May 7,        Selee, President of the Migration Policy Institute, as
                                                 2024),                                                  saying that ‘‘[t]he U.S. is able to lean on Mexico for
                                                                                                                                                                     310 See 88 FR at 31444; The White House, Mexico
                                                    304 Kathia Martı́nez, US, Panama and Colombia
                                                                                                         a short-term enforcement effect at the border, but       and United States Strengthen Joint Humanitarian
                                                 Aim to Stop Darien Gap Migration, AP News (Apr.         the long-term effects are not always clear’’).           Plan on Migration (May 2, 2023), https://
                                                 11, 2023), https://apnews.com/article/darien-gap-          308 See Gobierno de México, México y Estados        www.whitehouse.gov/briefing-room/statements-
                                                 panama-colombia-us-migrants-                            Unidos fortalecen Plan Humanitario Conjunto sobre        releases/2023/05/02/mexico-and-united-states-
                                                 cf0cd1e9de2119208c9af186e53e09b7; Camilo                Migración (May 2, 2023), https://www.gob.mx/            strengthen-joint-humanitarian-plan-on-migration/.
                                                 Montoya-Galvez, Mexico Will Increase Efforts To         presidencia/prensa/mexico-y-estados-unidos-
                                                                                                                                                                     311 See USCIS, Processes for Cubans, Haitians,

                                                 Stop U.S.-Bound Migrants as Title 42 Ends, U.S.         fortalecen-plan-humanitario-conjunto-sobre-              Nicaraguans, and Venezuelans (Sept. 20, 2023),
                                                 Officials Say, CBS News (May 10, 2023), https://        migracion?state=published (characterizing the effort     https://www.uscis.gov/CHNV.
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                                                 www.cbsnews.com/news/title-42-end-border-               of the Government of Mexico as a successful joint           312 See DHS & U.S. Dep’t of Labor, Temporary
                                                 mexico-efforts-us-bound-migrants/.                      initiative and expressing the Government’s               Rule—Exercise of Time-Limited Authority To
                                                    305 88 FR at 31444.                                                                                           Increase the Numerical Limitation for FY 2024 for
                                                                                                         commitment to continue to accept migrants back
                                                    306 See The White House, Mexico and United           into Mexico on humanitarian grounds).                    the H–2B Temporary Nonagricultural Worker
                                                 States Strengthen Joint Humanitarian Plan on               309 See id. (describing a significant reduction in    Program and Portability Flexibility for H–2B
                                                 Migration (May 2, 2023), https://                       irregular migration following the implementation of      Workers Seeking To Change Employers, 88 FR
                                                 www.whitehouse.gov/briefing-room/statements-            CHNV parole processes, which pair an expansion           80394 (Nov. 17, 2023).
                                                 releases/2023/05/02/mexico-and-united-states-           of lawful pathways with consequences for irregular          313 DHS, DHS Modernizes Cuban and Haitian

                                                 strengthen-joint-humanitarian-plan-on-migration/;       migration).                                              Family Reunification Parole Processes (Aug. 10,



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                                                    Concurrently, the Governments of                       the misperception that the end of the                  the Government of Mexico to hold a
                                                 Colombia and Panama have made                             Order would mean an open U.S. border                   series of engagements at the highest
                                                 significant efforts to combat smuggling                   and result in a surge of irregular                     levels—including between the
                                                 networks operating on both sides of the                   migration flowing through their                        countries’ Presidents and Cabinet
                                                 Darién Gap.314 The Government of                         countries as migrants sought to enter the              Members—to address the shared
                                                 Mexico has likewise increased                             United States. See 88 FR at 31444. One                 challenge of migration confronting both
                                                 enforcement along its southern border                     foreign partner, for example, expressed                countries.319 These conversations
                                                 and the transit routes north.315 These                    the strong concern that the formation of               included commitments by both
                                                 enforcement campaigns have been                           caravans during the spring of 2022 was                 governments to continue to expand
                                                 implemented at substantial cost for                       spurred by rumors—and the subsequent                   efforts to coordinate enforcement
                                                 those governments and, as with United                     official announcement—of the                           actions on both sides of the border.320
                                                 States Government actions, reflect our                    anticipated end of the Title 42 public                 January, February, and March are
                                                 shared regional responsibility to manage                  health Order. See id. This view is                     typically slower months, but since these
                                                 migration.316                                             consistent with the views of other                     engagements, and the joint operational
                                                    Given the particular challenges facing                 regional partner countries that have                   actions that resulted, there has been a
                                                 the United States and its regional                        repeatedly emphasized the ways in                      decrease in USBP encounters at the
                                                 partners at this moment, the                              which U.S. policy announcements have                   border, as discussed in Section III.B.1 of
                                                 Departments assess that it is critical that               a direct and immediate impact on                       this preamble.
                                                 the United States continue to lead the                    migratory flows through their countries.                  The record-breaking hemispheric
                                                 way in responding to ever-changing and                    See id. Such effects are precisely the                 migration throughout the region has
                                                 increasing migratory flows, and that this                 kind of ‘‘definitely undesirable                       deeply affected governments from South
                                                 regulatory effort and the Presidential                    international consequences’’ that the                  America all the way to the U.S.-Mexico
                                                 Proclamation—and the strong                               Departments seek to avoid.                             border. Panama has been encountering
                                                 consequences they will impose at the                         The surge about which many foreign                  record numbers of migrants transiting
                                                 border—will send an important message                     leaders were concerned happened                        one of the most dangerous smuggling
                                                 to the region that the United States is                   sooner than expected. In the weeks                     corridors on the planet, the Darién
                                                 prepared to put in place appropriate                      leading up to the lifting of the Title 42              Jungle.321 Colombia, Peru, and Ecuador
                                                 measures to prepare for and, if                           public health Order, hemispheric                       have hosted around 3 million,322 over
                                                 necessary, respond to ongoing migratory                   migration spiked. Entries into the                     1.5 million,323 and more than 475,000
                                                 challenges.                                               Darién jungle by migrants staged in                   Venezuelans,324 respectively, while
                                                    In addition to this IFR’s clear and                    Colombia began increasing in the                       Costa Rica has recently hosted hundreds
                                                 direct involvement in foreign affairs, the                months leading up to May 12, 2023,                     of thousands of Nicaraguans.325 Mexico
                                                 Departments believe that conducting a                     from a little more than 24,600 in January              has received record-breaking numbers of
                                                 notice-and-comment process and                            2023, to more than 40,000 in April 2023
                                                 providing a delayed effective date on                     immediately before the Order lifted.317                  319 See supra Section III.B.1 of this preamble.
                                                 this rule likely would lead to a surge to                 And as described more fully above, total                 320 See, e.g., White House, Readout of Homeland

                                                 the border before the Departments could                   CBP encounters at the SWB increased to                 Security Advisor Dr. Liz Sherwood-Randall’s Trip to
                                                 finalize the rule, which would adversely                                                                         Mexico (Feb. 7, 2024), https://www.whitehouse.gov/
                                                                                                           then-record levels in the days                         briefing-room/statements-releases/2024/02/07/
                                                 impact the United States’ foreign policy                  immediately preceding May 12, 2023, a                  readout-of-homeland-security-advisor-dr-liz-
                                                 priorities. Prior to the end of the Title                 situation that was fueled by noncitizens               sherwood-randalls-trip-to-mexico/; Amna Nawaz,
                                                 42 public health Order, regional                          seeking to enter the United States before              Mexico’s foreign secretary discusses what her
                                                 partners expressed great concern about                                                                           country is doing to ease border crisis, PBS News
                                                                                                           new policies were put into effect, as                  Hour (Jan. 25, 2024), https://www.pbs.org/
                                                                                                           well as by smuggling organizations that                newshour/show/mexicos-foreign-secretary-
                                                 2023), https://www.dhs.gov/news/2023/08/10/dhs-
                                                 modernizes-cuban-and-haitian-family-
                                                                                                           disseminated misinformation.318 The                    discusses-what-her-country-is-doing-to-ease-border-
                                                                                                           scale of regional migration in those                   crisis (quoting Foreign Secretary Bárcena as
                                                 reunification-parole-processes.                                                                                  describing ‘‘much more law enforcement to bring
                                                    314 See Kathia Martı́nez, US, Panama, and              weeks strained the immigration                         down the pressure in the border’’ by Mexico in the
                                                 Colombia aim to stop Darien Gap migration, AP             processes of all the affected countries,               preceding weeks).
                                                 News (Apr. 11, 2023), https://apnews.com/article/
                                                 darien-gap-panama-colombia-us-migrants-
                                                                                                           including those of the United States.                    321 See Nick Paton Walsh et al., On one of the

                                                                                                              As noted above, the United States saw               world’s most dangerous migrant routes, a cartel
                                                 cf0cd1e9de2119208c9af186e53e09b7; Juan
                                                                                                                                                                  makes millions off the American dream, CNN (Apr.
                                                 Zamorano & Christopher Sherman, Explainer:                a similar scale of migration at the end                17, 2023), https://www.cnn.com/2023/04/15/
                                                 Panama launches operation against smugglers in            of 2023. The surge in December 2023                    americas/darien-gap-migrants-colombia-panama-
                                                 Darien Gap, AP News (June 3, 2023), https://
                                                 apnews.com/article/panama-colombia-darien-gap-
                                                                                                           led the United States Government and                   whole-story-cmd-intl/index.html; Diana Roy,
                                                                                                                                                                  Crossing the Darién Gap: Migrants Risk Death on
                                                 migrants-d0ec93c4d4ddc91f34e31c704b4cf8ae.
                                                    315 See, e.g., Associated Press, U.S. Border Arrests      317 See Servicio Nacional de Migración Panamá,    the Journey to the U.S., Council on Foreign Rels.
                                                                                                           Estadisicas, Tránsito Irregular por Darién 2023,     (Feb. 1, 2024), https://www.cfr.org/article/crossing-
                                                 Decline Amid Increased Enforcement in Mexico,                                                                    darien-gap-migrants-risk-death-journey-us; Mallory
                                                 NPR (Apr. 13, 2024), https://www.npr.org/2024/04/         https://www.migracion.gob.pa/inicio/estadisticas.
                                                                                                              318 See Valerie Gonzalez, Migrants rush across US   Moench, Volume of Migrants Crossing the
                                                 13/1244590706/mexico-border-arrests-fall-march
                                                                                                                                                                  Dangerous Darién Gap Hit Record High in 2023,
                                                 (‘‘Mexico detained migrants 240,000 times in the          border in final hours before Title 42 expires, AP
                                                                                                                                                                  Time (Dec. 22, 2023), https://time.com/6547992/
                                                 first two months of the year, more than triple from       News (May 11, 2023), https://apnews.com/article/
                                                                                                                                                                  migrants-crossing-darien-gap-2023.
                                                 the same period of 2023, sending many deeper              immigration-border-title-42-mexico-asylum-               322 See UNHCR, Colombia Country Operations
                                                 south into the country to discourage them from            8c239766c2cb6e257c0220413b8e9cf9 (noting that
                                                 coming to the United States. While Mexico hasn’t          ‘‘[m]any migrants were acutely aware of looming        (2024), https://reporting.unhcr.org/operational/
                                                 released figures for March, U.S. officials have said      policy changes as they searched Thursday for an        operations/colombia.
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                                                                                                                                                                    323 See UNHCR, Peru Country Operations (2024),
                                                 Mexican enforcement is largely responsible for            opportunity to turn themselves over to U.S.
                                                 recent declines.’’).                                      immigration authorities before the 11:59 EDT           https://reporting.unhcr.org/operational/operations/
                                                    316 See, e.g., The White House, Press Release,         deadline . . . [and] [e]ven as migrants were racing    peru.
                                                                                                                                                                    324 See UNHCR, Ecuador Country Operations
                                                 Mexico and United States Strengthen Joint                 to reach U.S. soil before the rules expire, Mexican
                                                 Humanitarian Plan on Migration (May 2, 2023),             President Andrés Manuel López Obrador said           (2024), https://reporting.unhcr.org/operational/
                                                 https://www.whitehouse.gov/briefing-room/                 smugglers were sending a different message . . .       operations/ecuador.
                                                 statements-releases/2023/05/02/mexico-and-united-         [and] offering to take migrants to the United States     325 See UNHCR, Costa Rica Country Operations

                                                 states-strengthen-joint-humanitarian-plan-on-             and telling them the border was open starting          (2024), https://reporting.unhcr.org/operational/
                                                 migration/.                                               Thursday’’).                                           operations/costa-rica.



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                                                 asylum applications in addition to the                  undermine the principal goal of this                     context-dependent,’’ 331 and when
                                                 enforcement efforts it is undertaking.326               entire effort: to reduce migratory flows                 reviewing such findings, courts
                                                    As described more fully above, DHS’s                 to our border, and throughout the                        generally consider, among other factors,
                                                 internal projections suggest that SWB                   region.                                                  the harms that might have resulted
                                                 encounters may once again reach                                                                                  while the agency completed standard
                                                                                                            The Departments believe that the
                                                 extremely elevated levels in the weeks                                                                           rulemaking procedures 332 and the
                                                                                                         emergency measures being taken here
                                                 to come, averaging in the range of                                                                               agency’s diligence in addressing the
                                                                                                         are needed to help address this regional
                                                 approximately 3,900 to approximately                                                                             problem it seeks to address.333
                                                                                                         challenge, and that any decrease in
                                                 6,700 encounters at and between POEs                                                                               The critical need to immediately
                                                                                                         migration that results will help relieve
                                                 per day from July to September, not                                                                              implement more effective border
                                                 including an additional 1,450                           the strain not just on the U.S.-Mexico
                                                                                                         border but on countries throughout the                   management measures is described at
                                                 noncitizens per day who are expected to                                                                          length in the Presidential Proclamation
                                                 be encountered at POEs after making                     hemisphere. The actions the United
                                                                                                         States is taking in this regulation                      of June 3, 2024, Securing the Border,
                                                 appointments though the CBP One                                                                                  and in Section III.B of this preamble.
                                                 app.327 Regional migration trends                       demonstrate a commitment to
                                                                                                         addressing irregular migration in the                    Despite the strengthened consequences
                                                 support these projections. For example,                                                                          in place at the SWB, including the
                                                 between January and April 2024,                         region, even as foreign partners have
                                                                                                         been taking actions themselves that are                  Circumvention of Lawful Pathways rule
                                                 UNHCR tracked 139,000 irregular                                                                                  and other measures, the United States
                                                 entries, up from 128,000 for the same                   aligned with a shared interest in
                                                                                                         reducing migration. The IFR changes                      Government continues to contend with
                                                 months in 2023 and a seven-fold
                                                                                                         key procedures to significantly                          exceptionally high levels of irregular
                                                 increase over that period in 2022.328
                                                                                                         streamline and strengthen the                            migration along the southern border,
                                                 Moreover, as noted above, the
                                                                                                         consequences delivered for unlawful or                   including record-high total USBP
                                                 Government of Mexico has been
                                                                                                         unauthorized entry at the southern                       encounter levels on the SWB as recently
                                                 receiving record-breaking numbers of
                                                                                                         border. The actions the Departments are                  as December 2023.334 DHS’s ability to
                                                 asylum applications—reflecting the
                                                                                                         taking are directly responsive to the                    manage this increase in encounters has
                                                 large number of migrants currently in
                                                                                                         shared challenge the United States and                   been significantly challenged by the
                                                 Mexico.
                                                    The weeks leading up to May 12,                      its regional partners are confronting                    substantial number of noncitizens
                                                 2023, demonstrated that when migrants                   and, equally important, it is critical to                processed for expedited removal and
                                                 anticipate major changes in border                      implement these actions without a                        expressing a fear of return or an intent
                                                 policy, there is the potential to ignite a              lengthy period of advance notice before                  to seek asylum; rather than being swiftly
                                                 rush to the border to arrive before the                 the actions go into effect.                              removed, these noncitizens are referred
                                                 changes take effect.329 Any delay                                                                                to an AO for a credible fear interview
                                                                                                         2. Good Cause                                            and can seek IJ review of an AO’s
                                                 between announcement of this rule and
                                                 its implementation through notice and                                                                            negative credible fear determination,
                                                                                                            The Departments have also found                       which requires additional time and
                                                 comment would almost certainly trigger                  good cause to forego the APA’s notice-
                                                 a surge in migration that would                                                                                  resources.
                                                                                                         and-comment and delayed-effective-
                                                                                                         date procedures. See 5 U.S.C. 553(b)(B),                    331 Mid-Tex Elec. Co-op, Inc. v. FERC, 822 F.2d
                                                    326 See UNHCR, Operational Update: Mexico
                                                                                                         (d)(3). Such procedures are                              1123, 1132 (D.C. Cir. 1987); see Petry v. Block, 737
                                                 (Dec. 2023), https://reporting.unhcr.org/mexico-
                                                 operational-update-6421; UNHCR, Fact Sheet,             impracticable because the delays                         F.2d 1193, 1203 (D.C. Cir. 1984) (when evaluating
                                                 Mexico (Nov. 2023), https://data.unhcr.org/en/          associated with such procedures would                    agency ‘‘good cause’’ arguments, ‘‘it is clear beyond
                                                 documents/download/105202 (‘‘From January to            unduly postpone implementation of a                      cavil that we are duty bound to analyze the entire
                                                 October 2023, Mexico received over 127,796 asylum                                                                set of circumstances’’). Courts have explained that
                                                 applications, the highest ever number of asylum
                                                                                                         policy that is urgently needed to avert                  notice-and-comment rulemaking may be
                                                 claims received in this time frame.’’); Daina Beth      significant public harm. Such                            impracticable, for instance, where air travel security
                                                 Solomon & Lizbeth Diaz, Mexico seeks to curb            procedures are likewise contrary to the                  agencies would be unable to address threats, Jifry,
                                                 ‘abuse’ of asylum system by migrants who do not         public interest because an advance                       370 F.3d at 1179, if ‘‘a safety investigation shows
                                                 plan to stay, Reuters (Feb. 13, 2023), https://                                                                  that a new safety rule must be put in place
                                                 www.reuters.com/world/americas/mexico-seeks-
                                                                                                         announcement of this rule would                          immediately,’’ Util. Solid Waste Activities Grp. v.
                                                 curb-abuse-asylum-system-by-migrants-who-do-not-        seriously undermine a key goal of the                    EPA, 236 F.3d 749, 754 (D.C. Cir. 2001) (ultimately
                                                 plan-stay-2023-02-13/ (‘‘Mexico has the world’s         policy: It would incentivize even more                   finding that not to be the case and rejecting the
                                                 third highest number of asylum applications after       irregular migration by those seeking to                  agency’s argument), or if a rule was of ‘‘life-saving
                                                 the United States and Germany, reflecting growing                                                                importance’’ to mine workers in the event of a mine
                                                 numbers of refugee seekers that have strained           enter the United States before the rule                  explosion, Council of S. Mountains, Inc. v.
                                                 resources at the Mexican Commission for Refugee         would take effect.                                       Donovan, 653 F.2d 573, 581 (D.C. Cir. 1981).
                                                 Assistance.’’).                                                                                                     332 See Util. Solid Waste Activities Grp., 236 F.3d
                                                    327 OHSS Southwest Border Encounter Projection,
                                                                                                            First, the ‘‘impracticable’’ prong of the
                                                                                                                                                                  at 754–55 (explaining that ‘‘a situation is
                                                 April 2024. Note that the OHSS encounter                good cause exception ‘‘excuses notice                    ‘impracticable’ when an agency finds that due and
                                                 projection excludes encounters of people who have       and comment in emergency situations                      timely execution of its functions would be impeded
                                                 registered with the CBP One app along with              . . . or where delay could result in                     by the notice otherwise required in § 553, as when
                                                 administrative encounters at POEs (i.e., encounters     serious harm.’’ 330 Findings of                          a safety investigation shows that a new safety rule
                                                 in which removal proceedings are not considered),                                                                must be put in place immediately’’ (cleaned up)).
                                                 but includes non-CBP One enforcement encounters         impracticability are ‘‘inevitably fact- or                  333 See, e.g., Tri-Cty. Tel. Ass’n, Inc. v. FCC, 999
                                                 at POEs, which have averaged about 190 per day                                                                   F.3d 714, 720 (D.C. Cir. 2021) (‘‘[T]his is not a case
                                                 since May 2023. See also CBP, CBP OneTM                   330 Jifry v. FAA, 370 F.3d 1174, 1179 (D.C. Cir.       of unjustified agency delay. The Commission did
                                                 Appointments Increased to 1,450 Per Day (June 30,       2004); see, e.g., id. (upholding a claim of good cause   act earlier, . . . [and t]he agency needed to act again
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                                                 2023), https://www.cbp.gov/newsroom/national-           to address ‘‘a possible imminent hazard to aircraft,     . . . .’’).
                                                 media-release/cbp-one-appointments-increased-           persons, and property within the United States’’            334 According to March 2024 OHSS Persist
                                                 1450-day.                                               (quotation marks omitted)); Haw. Helicopter              Dataset and OHSS analysis of historic CBP data for
                                                    328 See supra note 122.
                                                                                                         Operators Ass’n v. FAA, 51 F.3d 212, 214 (9th Cir.       encounters prior to FY 2000, USBP completed
                                                    329 Decl. of Blas Nuñez-Neto ¶¶ 9–10, E. Bay        1995) (upholding a claim of good cause to address        250,000 encounters along the SWB in December
                                                 Sanctuary Covenant v. Biden, No. 4:18–cv–06810–         20 air tour accidents over a four-year period,           2023, higher than any previous month on record.
                                                 JST (N.D. Cal. June 16, 2023) (Dkt. 176–2); Decl. of    including recent incidents indicating that voluntary     See also OHSS, 2022 Yearbook of Immigration
                                                 Matthew J. Hudak ¶ 11, Florida v. Mayorkas, No.         measures were insufficient to address the threat to      Statistics, tbls. 33 & 35, https://www.dhs.gov/ohss/
                                                 3:22–cv–9962 (N.D. Fla. May 12, 2023) (Dkt. 13–1).      public safety).                                          topics/immigration/yearbook.



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                                                    Without adequate resources and tools                 expected to be encountered at POEs                     January and April 2024, UNHCR tracked
                                                 to keep pace, the Departments cannot                    after making appointments though the                   139,000 irregular entries, up from
                                                 deliver timely decisions and timely                     CBP One app.341 Even at the low end of                 128,000 for the same months in 2023
                                                 consequences to all noncitizens                         such projections, such a volume of                     and a seven-fold increase over that
                                                 encountered at the SWB who do not                       encounters would likely result in                      period in 2022.343 And the Departments
                                                 establish a lawful basis to remain.                     thousands of migrants per day being                    believe that most of those migrants are
                                                 Instead, DHS is forced to place many of                 referred to section 240 removal                        on their way to seek entry into the
                                                 these individuals into the backlogged                   proceedings; their cases would further                 United States.344 Based on historical
                                                 immigration court system, a process that                exacerbate the immigration court                       trends, the Departments expect that
                                                 can take several years to result in a                   backlog and perceived incentives to                    many of these migrants may already be
                                                 decision or consequence.335 Even then,                  migrate irregularly, and would take                    proximate to the SWB, giving the
                                                 it can take weeks, months, or years to                  many years to complete. Such harms                     Departments insufficient time to seek
                                                 execute a removal order depending                       would be mitigated by the additional                   public comment and delay the effective
                                                 upon the facts of the individual case.336               measures put in place by this rule. If                 date of this rule without immediate and
                                                    Quite simply, these historic levels of               implementation of the rule is delayed,                 substantial harm to U.S. interests.
                                                 encounters and fear claims, combined                    by contrast, the harms of such an                      Indeed, as of May 2024, CBP estimates
                                                 with limited resources and tools to                     increase would be immediate and                        that there are more than 40,000 non-
                                                 manage them, create a vicious cycle:                    substantial, even if such an increase                  Mexican migrants in northern Mexico,
                                                 The expectation of a lengthy stay in the                would only last for the months needed                  proximate to the SWB, in addition to
                                                 United States and the inability to                      to complete a very rapid notice-and-                   more than 100,000 such migrants in
                                                 impose consequences for irregular                       comment rulemaking. Thus, it is                        central and southern Mexico. These
                                                 migration close in time to entry inspires               impracticable to delay the measures in
                                                 more people to make the dangerous                       this rule for even a few months to allow                 343 See supra note 122.

                                                 journey north to take their chances at                  for notice and an opportunity to                          344 See Sergio Martı́nez-Beltrán, Despite a

                                                 the border.337 The USCIS affirmative                    comment and a delayed effective date.                  Fortified Border, Migrants Will Keep Coming,
                                                                                                                                                                Analysts Agree. Here’s Why., NPR, (Apr. 22, 2024),
                                                 asylum backlog has reached almost 1.2                   In the interim, the heightened levels of               https://www.npr.org/2024/04/22/1244381584/
                                                 million cases and is growing.338 At the                 migration and forced displacement that                 immigrants-border-mexico-asylum-illegal-
                                                 end of the first quarter of FY 2024, there              have resulted in the President’s                       immigration (‘‘[Analysts] keep a close eye on the
                                                 were over 2.7 million cases pending in                  determination to apply the suspension                  Darién Gap in Panama and the borders between
                                                                                                                                                                Central American countries, two key points to
                                                 the immigration courts.339 During FY                    and limitation on entry and the                        gauge the number of people venturing up north. ‘In
                                                 2023, IJs completed more cases than                     Departments adopting the provisions in                 most countries (outward) migration has increased
                                                 they ever had before in a single year, but              this rule would further strain resources,              . . . particularly in Venezuela, and that’s not really
                                                 more than twice as many cases were                                                                             reflected yet in the U.S. numbers,’ said [one
                                                                                                         risk overcrowding in USBP stations and                 analyst]. . . . Despite Mexico’s cracking down on
                                                 received by the immigration courts as                   border POEs in ways that pose                          migrants, [the analyst] said people are still making
                                                 were completed.340                                      significant health and safety concerns,                their way up north, even if they need to pause for
                                                    Absent changes promulgated in this                   and create a situation in which large                  months at different points during their journey.
                                                 rule, recent encounter trends both in the                                                                      ‘There must be a huge number of people from
                                                                                                         numbers of migrants 342—only a small                   Venezuela bottled up in Mexico right now,’ he
                                                 region and at our southern border                       proportion of whom are likely to be                    said.’’); Diana Roy, Crossing the Darién Gap:
                                                 indicate a risk of further exceeding the                granted asylum or other protection—                    Migrants Risk Death on the Journey to the U.S.,
                                                 Departments’ capacity to effectively                    would be encouraged to put their lives                 Council on Foreign Rels. (Feb. 1, 2024), https://
                                                 process, detain, and remove, as                                                                                www.cfr.org/article/crossing-darien-gap-migrants-
                                                                                                         in the hands of dangerous organizations                risk-death-journey-us (‘‘The surge across the Darién
                                                 appropriate, the noncitizens                            to make the hazardous journey north                    Gap is reflected in an influx at the southern U.S.
                                                 encountered, and exacerbating                           based on a perceived lack of immediate                 border, where U.S. border authorities reported that
                                                 perceived incentives to migrate now. As                 consequences. The Departments must                     they apprehended close to 2.5 million people
                                                                                                                                                                during fiscal year 2023, a record high, while
                                                 noted above, DHS’s current internal                     immediately safeguard their ability to                 northern cities such as New York are also struggling
                                                 projections suggest that total encounters               enforce our Nation’s immigration laws                  to manage the arrivals.’’); Mallory Moench, Volume
                                                 will average in the range of 3,900 to                   in a timely way and at the scale                       of Migrants Crossing the Dangerous Darién Gap Hit
                                                 approximately 6,700 encounters at and                   necessary with respect to those who                    Record High in 2023, Time (Dec. 22, 2023), https://
                                                                                                         seek to enter without complying with                   time.com/6547992/migrants-crossing-darien-gap-
                                                 between POEs per day from July to                                                                              2023/ (‘‘Laurent Duvillier, UNICEF’s spokesperson
                                                 September, not including an additional                  our laws. This rule does just that.                    for Latin America and the Caribbean based in
                                                 1,450 noncitizens per day who are                          Furthermore, current trends in                      Panama, tells TIME that many—driven to leave
                                                                                                         migration, including through the Darién               their homes by poverty, crime, or discrimination—
                                                   335 See supra note 25.                                jungle between Colombia and Panama,                    aim to seek asylum in the U.S. or Canada, though
                                                                                                                                                                they may never get there. This analysis is supported
                                                   336 OHSS analysis of March 2024 OHSS Persist          indicate that a significant increase in                by refugee protection organization HIAS, with a
                                                 Dataset.                                                encounters may be imminent. Between
                                                   337 See, e.g., Jordan, supra note 27.
                                                                                                                                                                spokesperson telling TIME that, by the group’s
                                                                                                                                                                estimations, between 90 to 95% of those crossing
                                                   338 OHSS analysis of USCIS Global Affirmative
                                                                                                            341 OHSS Encounter Projections, April 2024. Note    the Darién Gap aim to reach the U.S.’’); Ariel G.
                                                 Data as of March 31, 2024. Almost all of this           that the OHSS encounter projection excludes            Ruiz Soto, Record-Breaking Migrant Encounters at
                                                 backlog is the result of cases filed since FY 2015.     encounters of people who have registered with the      the U.S.-Mexico Border Overlook the Bigger Story,
                                                 From FY 2015 through FY 2023, an average of             CBP One app along with administrative encounters       Migration Pol’y Inst. (Oct. 2022), https://
                                                 156,000 affirmative asylum cases were filed per         at POEs (i.e., encounters in which removal             www.migrationpolicy.org/news/2022-record-
                                                 year, versus an average of 49,000 cases completed.      proceedings are not considered), but includes non-     migrant-encounters-us-mexico-border (‘‘Record
                                                 In FY 2024 through March 31, 2024, 191,000 cases        CBP One enforcement encounters at POEs, which          flows of extracontinental migrants through the
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                                                 have been filed versus 78,000 cases completed.          have averaged about 190 per day since May 2023.        Darien Gap jungle that connects Colombia to
                                                 OHSS analysis of USCIS Global Affirmative Data as       See also CBP, CBP OneTM Appointments Increased         Panama foreshadow increases in migration through
                                                 of March 31, 2024.                                      to 1,450 Per Day (June 30, 2023), https://             Central America and Mexico. The 28,000
                                                   339 See EOIR, Caseload: Pending Cases (Jan. 18,
                                                                                                         www.cbp.gov/newsroom/national-media-release/           Venezuelan migrants who trekked through the
                                                 2024), https://www.justice.gov/eoir/media/1344791/      cbp-one-appointments-increased-1450-day (last          deadly jungle in August were mostly en route to the
                                                 dl?inline.                                              modified July 14, 2023).                               United States; with more than 34,000 Venezuelans
                                                   340 See id.; EOIR, New Cases and Total                   342 Decl. of Matthew J. Hudak, Florida v.           recorded at the Darien Gap in September, it is very
                                                 Completions-Historical, https://www.justice.gov/        Mayorkas, No. 3:22–cv–9962 (N.D. Fla. May 12,          likely that many of them will be reaching the U.S.-
                                                 eoir/media/1344801/dl?inline (Jan. 18, 2024).           2023) (Dkt. 13–1).                                     Mexico border soon.’’).



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                                                 numbers show that a very large number                    applies here, where the Departments are                  The acuteness of such concerns is
                                                 of migrants would likely have the ability                responding to exceedingly serious                      borne out by the facts. An influx of
                                                 and the incentive to travel to the U.S.                  challenges at the border, and advance                  migrants occurred in the days following
                                                 border, and the Departments assess that                  announcement of this response—which                    the November 15, 2022, court decision
                                                 announcing this rule in advance would                    will increase the Departments’ ability to              that, had it not been stayed on
                                                 likely yield the type of surges described                swiftly process and remove, as                         December 19, 2022, would have resulted
                                                 in connection with prior changes in                      appropriate, more noncitizens who                      in the lifting of the Title 42 public
                                                 significant border policies affecting the                enter the United States irregularly—                   health Order effective December 21,
                                                 availability of asylum for large numbers                 would significantly increase the                       2022.351 Leading up to the Order’s
                                                 of migrants. For these reasons,                          incentive, on the part of migrants and                 expected termination date, migrants
                                                 consistent with the President’s                          others (such as smugglers), to engage in               gathered in various parts of Mexico,
                                                 judgment, and given the emergency                        actions that would compound those                      including along the SWB, waiting to
                                                 circumstances facing the Departments,                    very challenges. For the same reasons,                 cross the border once the Title 42 public
                                                 the Departments assess that it would be                  ‘‘the [need] for immediate                             health Order was lifted.352 According to
                                                 impracticable to delay the policies set                  implementation’’ outweighs the                         internal Government sources, smugglers
                                                 forth in this rule to allow time to                      ‘‘principles’’ underlying the                          were also expanding their messaging
                                                 complete notice-and-comment                              requirement for a 30-day delay in the                  and recruitment efforts, using the
                                                 rulemaking or delay the rule’s effective                 effective date, justifying the                         expected lifting of the Title 42 public
                                                 date.                                                    Departments’ finding of good cause to                  health Order to claim that the border
                                                    Second, under the ‘‘contrary to the                   forego it.348 The Departments’                         was open, thereby seeking to persuade
                                                 public interest’’ prong of the good cause                experience has been that in some                       would-be migrants to participate in
                                                 exception, it has long been recognized                   circumstances when official public                     expensive and dangerous human
                                                 that agencies may use the good cause                     announcements have been made                           smuggling schemes. 88 FR at 31315. In
                                                 exception, and need not take public                      regarding significant upcoming changes                 that one-month period following the
                                                 comment in advance, where significant                    in immigration laws and procedures                     court decision, total CBP encounter
                                                 public harm would result from the                        that would impact how individuals are                  rates jumped from an average of 7,800
                                                 notice-and-comment process.345 If, for                   processed at the border, such as changes               per week (in mid-November) to over
                                                 example, advance notice of a coming                      that restrict access to immigration                    9,100 per week (in mid-December), a
                                                 price increase would immediately                         benefits to those attempting to enter the              change not predicted by normal
                                                 produce market dislocations and lead to                  United States along the U.S.-Mexico                    seasonal effects.353
                                                 serious shortages, advance notice need                   land border, there have been dramatic                    Similarly, on February 28, 2020, the
                                                 not be given.346 A number of cases                       increases in the numbers of noncitizens                Ninth Circuit lifted a stay of a
                                                 follow this logic in the context of                      who enter or attempt to enter the United
                                                 economic regulation.347 The same logic                   States—including, most recently, in the                national-security/theres-still-one-way-into-america/
                                                                                                                                                                 2018/10/24/d9b68842-aafb-11e8-8f4b-
                                                                                                          days preceding the lifting of the Title 42             aee063e14538_story.html; Valerie Gonzalez,
                                                    345 See, e.g., Mack Trucks, Inc. v. EPA, 682 F.3d
                                                                                                          public health Order in May 2023.349                    Migrants rush across US border in final hours
                                                 87, 95 (D.C. Cir. 2012) (noting that the ‘‘contrary to                                                          before Title 42 expires, AP News (May 11, 2023),
                                                 the public interest’’ prong of the ‘‘good cause’’        This is not only because, generally,
                                                                                                                                                                 https://apnews.com/article/immigration-border-
                                                 exception ‘‘is appropriately invoked when the            would-be migrants respond to real and                  title-42-mexico-asylum-
                                                 timing and disclosure requirements of the usual          perceived incentives created by border                 8c239766c2cb6e257c0220413b8e9cf9 (‘‘Even as
                                                 procedures would defeat the purpose of the               management and immigration policies,                   migrants were racing to reach U.S. soil before the
                                                 proposal—if, for example, announcement of a                                                                     rules expire, Mexican President Andrés Manuel
                                                 proposed rule would enable the sort of financial         such that many choose to seek entry
                                                                                                                                                                 López Obrador said smugglers were sending a
                                                 manipulation the rule sought to prevent . . . [or] in    under a border processing regime they                  different message. He noted an uptick in smugglers
                                                 order to prevent the amended rule from being             think is preferable, prior to the                      at his country’s southern border offering to take
                                                 evaded’’ (cleaned up)); DeRieux v. Five Smiths, Inc.,                                                           migrants to the United States and telling them the
                                                 499 F.2d 1321, 1332 (Temp. Emer. Ct. App. 1974)
                                                                                                          implementation of a new system,
                                                                                                                                                                 border was open starting Thursday.’’).
                                                 (‘‘[W]e are satisfied that there was in fact ‘good       including increasing the speed of their
                                                                                                                                                                    The Departments recognize that there has been
                                                 cause’ to find that advance notice of the freeze was     transit north in an effort to arrive before            reporting on the possibility of the policies set forth
                                                 ‘impracticable, unnecessary, or contrary to the          the implementation of any such                         in the Proclamation and this IFR since February
                                                 public interest’ within the meaning of                                                                          with no apparent month-over-month increase in
                                                 § 553(b)(B). . . . Had advance notice issued, it is
                                                                                                          measure. Additionally, smugglers
                                                                                                                                                                 encounters. See, e.g., Myah Ward, Biden
                                                 apparent that there would have ensued a massive          routinely prey on migrants by spreading                considering major new executive actions for
                                                 rush to raise prices and conduct ‘actual                 rumors, misrepresenting facts, or                      migrant crisis, Politico (Feb. 21, 2024), https://
                                                 transactions’—or avoid them—before the freeze            creating a sense of urgency to induce                  www.politico.com/news/2024/02/21/biden-
                                                 deadline.’’).                                                                                                   considering-major-new-executive-actions-for-
                                                    346 See, e.g., Nader v. Sawhill, 514 F.2d 1064,
                                                                                                          migrants to make the journey by
                                                                                                                                                                 southern-border-00142524. But such reporting
                                                 1068 (Temp. Emer. Ct. App. 1975) (‘‘[W]e think           overemphasizing the significance of                    about vague, possible plans differs significantly
                                                 good cause was present in this case based upon [the      recent or upcoming policy                              from officially proposed policy changes with
                                                 agency’s] concern that the announcement of a price       developments, among other tactics, and                 timelines provided for implementation, such as
                                                 increase at a future date could have resulted in                                                                those mentioned below.
                                                 producers withholding crude oil from the market
                                                                                                          do so particularly when there is a                        351 See Huisha-Huisha v. Mayorkas, 642 F. Supp.
                                                 until such time as they could take advantage of the      change announced in U.S. policy, as                    3d 1 (D.D.C. 2022), stay granted, Arizona v.
                                                 price increase.’’ (quotation marks omitted)).            highlighted by the many examples                       Mayorkas, __S. Ct. __, 2022 WL 17750015 (U.S. Dec.
                                                    347 See, e.g., Chamber of Com. of U.S. v. S.E.C.,
                                                                                                          described below.350                                    19, 2022); DHS, Statement by Secretary Mayorkas
                                                 443 F.3d 890, 908 (D.C. Cir. 2006) (‘‘The [‘good                                                                on Planning for End of Title 42 (Dec. 13, 2022),
                                                 cause’] exception excuses notice and comment in                                                                 https://www.dhs.gov/news/2022/12/13/statement-
                                                 emergency situations, where delay could result in        be expected to precipitate activity by affected        secretary-mayorkas-planning-end-title-42.
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                                                 serious harm, or when the very announcement of           parties that would harm the public welfare.’’).           352 See, e.g., Leila Miller, Asylum Seekers Are
                                                                                                            348 Omnipoint Corp. v. FCC, 78 F.3d 620, 630
                                                 a proposed rule itself could be expected to                                                                     Gathering at the U.S.-Mexico Border. This Is Why,
                                                 precipitate activity by affected parties that would      (D.C. Cir. 1996) (cleaned up).                         L.A. Times (Dec. 23, 2022), https://
                                                                                                            349 See supra Sections III.B.1 and III.B.2 of this
                                                 harm the public welfare.’’ (citations omitted));                                                                www.latimes.com/world-nation/story/2022-12-23/
                                                 Mobil Oil Corp. v. Dep’t of Energy, 728 F.2d 1477,       preamble.                                              la-fg-mexico-title-42-confusion.
                                                 1492 (Temp. Emer. Ct. App. 1983) (‘‘On a number            350 See Nick Miroff & Carolyn Van Houten, The           353 OHSS analysis of March 2024 OHSS Persist

                                                 of occasions . . . , this court has held that, in        Border is Tougher to Cross Than Ever. But There’s      Dataset. Month-over-month change from November
                                                 special circumstances, good cause can exist when         Still One Way into America, Wash. Post (Oct. 24,       to December for all of FY 2013 to FY 2022 averaged
                                                 the very announcement of a proposed rule itself can      2018), https://www.washingtonpost.com/world/           negative two percent.



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                                                 nationwide injunction of the Migrant                    what were then the highest recorded                     DHS resources and operations are
                                                 Protection Protocols (‘‘MPP’’), a program               USBP encounter levels in U.S. history                   designed to handle. They raised
                                                 implementing the Secretary’s                            over the days immediately preceding                     detention capacity concerns anew. At
                                                 contiguous return authority under                       May 12, which placed significant strain                 that point, DHS faced an urgent
                                                 section 235(b)(2)(C) of the INA, 8 U.S.C.               on DHS’s operational capacity at the                    situation, including a significant risk of
                                                 1225(b)(2)(C).354 Almost immediately,                   border.360 Encounters between POEs                      overcrowding in its facilities. Given the
                                                 hundreds of migrants began massing at                   (which excludes arrival of inadmissible                 nature of its facilities, increased
                                                 POEs across the southern border and                     individuals scheduled through the CBP                   numbers and times in custody increase
                                                 attempting to immediately enter the                     One app, who appear at POEs) almost                     the likelihood that USBP facilities will
                                                 United States, creating a severe safety                 doubled from an average of                              become quickly overcrowded.366
                                                 hazard that forced CBP to temporarily                   approximately 4,900 per day the week                    Crowding, particularly given the way
                                                 close POEs in whole or in part.355 Many                 ending April 11, 2023, to an average of                 that USBP facilities are necessarily
                                                 others requested immediate entry into                   approximately 9,500 per day the week                    designed, increases the potential risk of
                                                 the country through their counsel, while                ending May 11, 2023, including an                       health and safety concerns for
                                                 others attempted to illegally cross the                 average of approximately 10,000 daily                   noncitizens and Government
                                                 southern border between the POEs.356                    encounters immediately preceding the                    personnel.367
                                                 Absent immediate and resource-                          termination of the public health Order                     The Departments assess that there
                                                 intensive action taken by CBP, the                      (from May 8 to May 11).361 The sharp                    would be a significant risk of such an
                                                 number of migrants gathered at the                      increase in USBP encounters during the                  urgent situation occurring if they
                                                 border, whether at or between the POEs,                 30 days preceding May 12 represented                    undertook notice-and-comment
                                                 could have increased dramatically,                      the largest month-over-month increase                   procedures for this rule or delayed its
                                                 especially considering there were                       in almost two decades—since January                     effective date. As demonstrated by the
                                                 approximately 25,000 noncitizens who                    2004.362                                                Departments’ experience with the end of
                                                 were in removal proceedings pursuant                       Meanwhile, the current backlogs and                  the Title 42 public health Order and
                                                 to MPP without scheduled court                          inefficiencies in our border security and               MPP, significant shifts in U.S. border
                                                 appearances, as well as others in Mexico                immigration systems render DHS unable                   policies lead to an increase in migrants
                                                 who could have become aware of CBP’s                    to effect removals and apply                            coming to the SWB that risks
                                                 operational limitations and sought to                   consequences at a sufficient scale to                   overwhelming the Departments’
                                                 exploit them.357 And while CBP officers                 deter migration by those whose claims                   resources and operations. This rule is
                                                 took action to resolve the sudden influx                may not ultimately succeed.363 This,                    likewise a significant shift in U.S.
                                                 of migrants at multiple POEs and                        too, serves as an incentive for migrants                border policy that affects the vast
                                                 prevent further deterioration of the                    to take a chance. And sudden influxes,                  majority of noncitizens arriving at the
                                                 situation at the border, in doing so they               which result in part from smugglers’                    southern border who do not have
                                                 were diverted away from other critical                  deliberate actions, overload scarce                     documents sufficient for lawful
                                                 responsibilities of protecting national                 United States Government resources                      admission—a shift that may be viewed
                                                 security, detecting and confiscating                    dedicated to border security that, as                   as similar to the end of the Title 42
                                                 illicit materials, and guarding efficient               reflected above, are already stretched                  public health Order and MPP. In
                                                 trade and travel.358                                    extremely thin.364 This rule is                         addition, unlike the Lawful Pathways
                                                    This same phenomenon occurred in                     specifically designed to allow the                      rebuttable presumption, the limitation
                                                 the days leading up to the end of the                   United States Government to deliver                     on asylum eligibility in this rule would
                                                 Title 42 public health Order on May 12,                 consequences more swiftly, and with a                   affect Mexican migrants, which may
                                                 2023, when DHS saw a historic surge in                  reduced resource burden, during such                    provide an additional perceived
                                                 migration as smugglers falsely                          an influx.                                              incentive for such migrants—who
                                                 advertised that those arriving before the                  In a more manageable steady-state                    constitute a large and geographically
                                                 Order ended and the Circumvention of                    environment, when encounters surge in                   proximate potential population 368—to
                                                 Lawful Pathways rule took effect would                  specific sectors, DHS manages its                       rush to the border during a notice-and-
                                                 be allowed to remain in the United                      detention capacity using the other tools                comment period. Finally, such a surge
                                                 States.359 This surge culminated with                   at its disposal, such as lateral                        in migration would come at a time when
                                                                                                         decompression flights and similar                       our border security and immigration
                                                   354 See Innovation Law Lab v. Wolf, 951 F.3d          efforts.365 But the increase in SWB                     systems’ resources are already stretched
                                                 1073, 1077, 1095 (9th Cir. 2020), vacated as moot       encounters preceding the end of the
                                                 sub nom. Innovation Law Lab v. Mayorkas, 5 F.4th                                                                thin and severely backlogged.369
                                                 1099 (9th Cir. 2021).
                                                                                                         Title 42 public health Order and the
                                                   355 See Decl. of Robert E. Perez ¶¶ 4–15,             increase in border encounters that                         366 Decl. of Matthew J. Hudak ¶¶ 6, 14, 17, Florida

                                                 Innovation Law Lab, No. 19–15716 (9th Cir. Mar. 3,      occurred in December 2023 were far-                     v. Mayorkas, No. 3:22–cv–9962 (N.D. Fla. May 12,
                                                 2020) (Dkt. 95–2).                                      reaching across multiple sectors of the                 2023) (Dkt. 13–1).
                                                   356 Id. ¶¶ 4, 8.                                                                                                 367 Id. ¶ 17.
                                                                                                         SWB and significantly greater than what
                                                   357 Id. ¶ 14.                                                                                                    368 U.S. Census Bureau, Mexico, https://
                                                   358 Id. ¶ 15.
                                                                                                           360 Decl. of Blas Nuñez-Neto ¶ 9, E. Bay Sanctuary   www.census.gov/popclock/world/mx (last visited
                                                   359 Decl. of Blas Nuñez-Neto ¶ 9, E. Bay Sanctuary                                                           May 27, 2024).
                                                                                                         Covenant v. Biden, No. 4:18–cv–6810–JST (N.D.
                                                 Covenant v. Biden, No. 4:18–cv–06810–JST (N.D.          Cal. June 16, 2023) (Dkt. 176–2).
                                                                                                                                                                    369 See, e.g., Ariel G. Ruiz-Soto et al., Shifting

                                                 Cal. June 16, 2023) (Dkt. 176–2). Conversely, as          361 Id.                                               Realities at the U.S.-Mexico Border: Immigration
                                                 noted above, smugglers also messaged that the             362 Id.
                                                                                                                                                                 Enforcement and Control in a Fast-Evolving
                                                 border would be open starting on May 12. See                                                                    Landscape, Migration Pol’y Inst., at 1 (rev. Jan.
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                                                                                                           363 See EOIR, Adjudication Statistics: Pending
                                                 Valerie Gonzalez, Migrants rush across US border                                                                2024), https://www.migrationpolicy.org/sites/
                                                 in final hours before Title 42 expires, AP News         Cases (Jan. 18, 2024), https://www.justice.gov/eoir/    default/files/publications/mpi-contemporary-
                                                 (May 11, 2023), https://apnews.com/article/             media/1344791/dl?inline.                                border-policy-2024_final.pdf (‘‘Insufficiently
                                                                                                           364 Decl. of Enrique Lucero ¶¶ 6–8, Innovation
                                                 immigration-border-title-42-mexico-asylum-                                                                      equipped to respond effectively to these and likely
                                                 8c239766c2cb6e257c0220413b8e9cf9. This                  Law Lab v. Wolf, No. 19–15716 (9th Cir. Mar. 3,         future changes, U.S. immigration agencies must
                                                 conflicting messaging underscores smuggling             2020) (Dkt. 95–3); Decl. of Robert E. Perez ¶ 15,       perpetually react and shift operations according to
                                                 organizations’ tendency to deceptively message on       Innovation Law Lab, No. 19–15716 (9th Cir. Mar. 3,      their strained capacity and daily changes in migrant
                                                 changes in border policy to lure vulnerable             2020) (Dkt. 95–2).                                      arrivals.’’); The White House, Fact Sheet: White
                                                 migrants to pay for their services.                       365 See 88 FR at 11715.                                                                           Continued




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                                                 Therefore, the Departments believe that                  date of announcement would be                          B. Executive Order 12866 (Regulatory
                                                 a gap between when this rule is made                     ineligible for parole under this process,              Planning and Review), Executive Order
                                                 public and when it becomes effective                     and was conditioned on Mexico                          13563 (Improving Regulation and
                                                 would create the same incentive for                      continuing to accept the expulsion or                  Regulatory Review), and Executive
                                                 migrants to come to the United States                    removal of Venezuelan nationals                        Order 14094 (Modernizing Regulatory
                                                 before the rule takes effect.                            seeking to irregularly enter the United                Review)
                                                    The Departments’ determination here                   States between POEs. See 87 FR at                         Executive Order 12866 (‘‘Regulatory
                                                 is consistent with past practice. For                    63508. Thus, had the parole process                    Planning and Review’’), as amended by
                                                 example, in the Circumvention of
                                                                                                          been announced prior to a lengthy                      Executive Order 14094 (‘‘Modernizing
                                                 Lawful Pathways rule, the Departments
                                                                                                          notice-and-comment period, it likely                   Regulatory Review’’), and Executive
                                                 undertook a notice-and-comment
                                                                                                          would have resulted in thousands of                    Order 13563 (‘‘Improving Regulation
                                                 rulemaking while the Title 42 public
                                                                                                          Venezuelan nationals attempting to                     and Regulatory Review’’), directs
                                                 health Order remained in effect,370 but
                                                                                                          cross the United States and Mexican                    agencies to assess the costs, benefits,
                                                 invoked the good cause exception (as
                                                                                                          borders before the ineligibility criteria              and transfers of available alternatives,
                                                 well as the foreign affairs exception) to
                                                                                                          went into effect, and before the United                and, if regulation is necessary, to select
                                                 bypass a delayed effective date that
                                                 would have resulted in a gap between                     States was able to return Venezuelan                   regulatory approaches that maximize
                                                 the end of the Title 42 public health                    nationals to Mexico in large numbers.                  net benefits, including potential
                                                 Order and the implementation of the                                                                             economic, environmental, public health
                                                                                                             DHS also concluded in January 2017                  and safety effects, distributive impacts,
                                                 rule. See 88 FR at 31445–47. The                         that it was imperative to give immediate
                                                 Departments noted that such a gap                                                                               and equity. Executive Order 13563
                                                                                                          effect to a rule designating Cuban                     emphasizes the importance of
                                                 ‘‘would likely result in a significant                   nationals arriving by air as eligible for
                                                 further increase in irregular migration,’’                                                                      quantifying both costs and benefits,
                                                                                                          expedited removal because ‘‘[p]re-                     reducing costs, harmonizing rules, and
                                                 and that such an increase, ‘‘exacerbated
                                                                                                          promulgation notice and comment                        promoting flexibility.
                                                 by an influx of migrants from countries
                                                                                                          would . . . endanger[ ] human life and                    The Office of Information and
                                                 such as Venezuela, Nicaragua, and
                                                 Cuba, with limited removal options, and                  hav[e] a potential destabilizing effect in             Regulatory Affairs (‘‘OIRA’’) of OMB
                                                 coupled with DHS’s limited options for                   the region.’’ 373 DHS cited the prospect               reviewed this IFR as a significant
                                                 processing, detaining, or quickly                        that ‘‘publication of the rule as a                    regulatory action under Executive Order
                                                 removing such migrants, would unduly                     proposed rule, which would signal a                    12866, as amended by Executive Order
                                                 impede DHS’s ability to fulfill its                      significant change in policy while                     14094. The estimated effects of the rule
                                                 critical and varied missions.’’ Id. at                   permitting continuation of the exception               are described and summarized
                                                 31445.                                                   for Cuban nationals, could lead to a                   qualitatively below. Consistent with
                                                    Similarly, when implementing the                      surge in migration of Cuban nationals                  OMB Circular A–4, the Departments
                                                 parole process for Venezuelans, DHS                      seeking to travel to and enter the United              assessed the impacts of this rule against
                                                 implemented the process without prior                    States during the period between the                   a baseline. The baseline used for this
                                                 public procedures,371 and witnessed a                    publication of a proposed and a final                  analysis is the ‘‘no action’’ baseline, or
                                                 drastic reduction in irregular migration                 rule.’’ 374 DHS found that ‘‘[s]uch a                  what the world would be like absent the
                                                 by Venezuelans.372 The process by                                                                               rule. For purposes of this analysis, the
                                                                                                          surge would threaten national security
                                                 which eligible Venezuelans could                                                                                Departments assumed that the no-action
                                                                                                          and public safety by diverting valuable
                                                 receive advance travel authorization to                                                                         baseline involved continued application
                                                                                                          Government resources from
                                                 present at a POE was accompanied by                                                                             of the Circumvention of Lawful
                                                                                                          counterterrorism and homeland security                 Pathways rule.
                                                 a policy that those who entered the                      responsibilities,’’ ‘‘could also have a
                                                 United States outside this process or                                                                              The expected effect of this rule, as
                                                                                                          destabilizing effect on the region, thus               discussed above, is primarily to reduce
                                                 who entered Mexico illegally after the
                                                                                                          weakening the security of the United                   incentives for irregular migration and
                                                 House Calls on Congress To Advance Critical
                                                                                                          States and threatening its international               illegal smuggling activity. As a result,
                                                 National Security Priorities (Oct. 20, 2023), https://   relations,’’ and ‘‘could result in                     the primary effects of this rule will be
                                                 www.whitehouse.gov/briefing-room/statements-             significant loss of human life.’’ 375                  felt by noncitizens outside of the United
                                                 releases/2023/10/20/fact-sheet-white-house-calls-
                                                 on-congress-to-advance-critical-national-security-          Given the urgent circumstances facing               States. In addition, for those who are
                                                 priorities/; Letter for Kevin McCarthy, Speaker of       the Departments, the delays associated                 present in the United States and
                                                 the House of Representatives, from Shalanda D.
                                                                                                          with requiring a notice-and-comment                    described in the Proclamation, the rule
                                                 Young, Director, Office and Management Budget                                                                   will likely decrease the number of
                                                 (Aug. 10, 2023), https://www.whitehouse.gov/wp-          process for this rule would be contrary
                                                 content/uploads/2023/08/Final-Supplemental-              to the public interest because an                      asylum grants and likely reduce the
                                                 Funding-Request-Letter-and-Technical-                    advance announcement of the rule                       amount of time that noncitizens who are
                                                 Materials.pdf.
                                                                                                          would incentivize even more irregular                  ineligible for asylum and who lack a
                                                   370 The Departments noted, however, that the
                                                                                                          migration by those seeking to enter the                reasonable probability of establishing
                                                 Circumvention of Lawful Pathways rule was
                                                                                                                                                                 eligibility for protection from
                                                 exempt from notice-and-comment requirements              United States before the IFR would take
                                                 pursuant to the good cause exception at 5 U.S.C.                                                                persecution or torture would remain in
                                                                                                          effect.
                                                 553(b)(B) for the same reasons that the rule was                                                                the United States. Noncitizens,
                                                 exempt from delayed effective date requirements                                                                 however, can avoid the limitation on
                                                 under 5 U.S.C. 553(d). See 88 FR at 31445 n.377.           373 DHS, Eliminating Exception to Expedited
                                                                                                                                                                 asylum under this rule if they meet an
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                                                   371 See DHS, Implementation of a Parole Process        Removal Authority for Cuban Nationals Arriving by
                                                 for Venezuelans, 87 FR 63507 (Oct. 19, 2022).            Air, 82 FR 4769, 4770 (Jan. 17, 2017).                 exception to the rule’s limitation or to
                                                   372 See 88 FR at 31317 (‘‘A week before the              374 Id.                                              the Proclamation, including by
                                                 announcement of the Venezuela parole process on            375 Id.; accord U.S. Dep’t of State, Visas:          presenting at a POE pursuant to a pre-
                                                 October 12, 2022, Venezuelan encounters between          Documentation of Nonimmigrants Under the               scheduled time and place or by showing
                                                 POEs at the SWB averaged over 1,100 a day from           Immigration and Nationality Act, as Amended, 81
                                                 October 5–11. About two weeks after the                  FR 5906, 5907 (Feb. 4, 2016) (finding the good
                                                                                                                                                                 exceptionally compelling
                                                 announcement, Venezuelan encounters averaged             cause exception applicable because of short-run        circumstances. Moreover, noncitizens
                                                 under 200 per day between October 18 and 24.’’).         incentive concerns).                                   who in credible fear screenings establish


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                                                 a reasonable probability of persecution                    Other entities may also incur some                  the private sector (except as a condition
                                                 or torture would still be able to seek                  indirect, downstream costs as a result of              of Federal assistance or a duty arising
                                                 statutory withholding or CAT protection                 the rule. The nature and scale of such                 from participation in a voluntary
                                                 in proceedings before IJs.                              effects will vary by entity and should be              Federal program). See id. 658(7).
                                                    The benefits of the rule are expected                considered relative to the baseline                       This IFR is not subject to the UMRA
                                                 to include reductions in strains on                     condition that would exist in the                      because the Departments did not
                                                 limited Federal Government                              absence of this rule, which as noted                   publish a proposed rule prior to this
                                                 immigration processing and                              above is the continued application of                  action. In addition, this rule does not
                                                 enforcement resources; preservation of                  the Circumvention of Lawful Pathways                   contain a Federal mandate, because it
                                                 the Departments’ continued ability to                   rule. As compared to the baseline                      does not impose any enforceable duty
                                                 safely, humanely, and effectively                       condition, this rule is expected to                    upon any other level of government or
                                                 enforce and administer the immigration                  reduce irregular migration. The                        private sector entity. Any downstream
                                                 laws; and a reduction in the role of                    Departments welcome comments on the                    effects on such entities would arise
                                                 exploitative TCOs and smugglers. Some                   effects described above to inform                      solely due to an entity’s voluntary
                                                 of these benefits accrue to noncitizens                 analysis in a final rule.                              choices, and the voluntary choices of
                                                 whose ability to receive timely                                                                                others, and would not be a consequence
                                                 decisions on their claims might                         C. Regulatory Flexibility Act
                                                                                                                                                                of an enforceable duty imposed by this
                                                 otherwise be hampered by the severe                        The Regulatory Flexibility Act                      rule. Similarly, any costs or transfer
                                                 strain that further surges in irregular                 (‘‘RFA’’), as amended by the Small                     effects on State and local governments
                                                 migration would impose on the                           Business Regulatory Enforcement and                    would not result from a Federal
                                                 Departments.                                            Fairness Act of 1996, requires an agency               mandate as that term is defined under
                                                    The direct costs of the rule are borne               to prepare and make available to the                   UMRA. The requirements of title II of
                                                 by noncitizens and the Departments. To                  public a final regulatory flexibility                  the UMRA, therefore, do not apply, and
                                                 the extent that any noncitizens are made                analysis that describes the effect of a                the Departments have not prepared a
                                                 ineligible for asylum by virtue of the                  rule on small entities (i.e., small                    statement under the UMRA.
                                                 rule but would have received asylum in                  businesses, small organizations, and
                                                 the absence of this rule, such an                       small governmental jurisdictions) when                 E. Congressional Review Act
                                                 outcome would entail the denial of                      the agency was required ‘‘to publish a                    OMB has determined that this rule
                                                 asylum and its attendant benefits,                      general notice of proposed rulemaking’’                does not meet the criteria set forth in 5
                                                 although such persons may continue to                   prior to issuing the final rule. See 5                 U.S.C. 804(2). The rule will be
                                                 be eligible for statutory withholding of                U.S.C. 604(a). Because this IFR is being               submitted to Congress and the
                                                 removal and withholding under the                       issued without a prior proposal, on the                Government Accountability Office
                                                 CAT. Unlike asylees, noncitizens                        grounds set forth above, a regulatory                  consistent with the Congressional
                                                 granted these more limited forms of                     flexibility analysis is not required under             Review Act’s requirements no later than
                                                 protection do not have a path to                        the RFA.                                               its effective date.
                                                 citizenship and cannot petition for
                                                                                                         D. Unfunded Mandates Reform Act of                     F. Executive Order 13132 (Federalism)
                                                 certain family members to join them in
                                                                                                         1995
                                                 the United States. Such noncitizens may                                                                          This rule would not have substantial
                                                 also be required to apply for work                         The Unfunded Mandates Reform Act                    direct effects on the States, on the
                                                 authorization more frequently than an                   of 1995 (‘‘UMRA’’) is intended, among                  relationship between the National
                                                 asylee would. As discussed in this                      other things, to curb the practice of                  Government and the States, or on the
                                                 preamble, the rule’s manifestation of                   imposing unfunded Federal mandates                     distribution of power and
                                                 fear and reasonable probability                         on State, local, and Tribal governments.               responsibilities among the various
                                                 standards may also engender a risk that                 Title II of the UMRA requires each                     levels of government. Therefore, in
                                                 some noncitizens with meritorious                       Federal agency to prepare a written                    accordance with section 6 of Executive
                                                 claims may not be referred for credible                 statement assessing the effects of any                 Order 13132, it is determined that this
                                                 fear interviews or to removal                           Federal mandate in a proposed rule, or                 rule does not have sufficient federalism
                                                 proceedings to seek protection. In these                final rule for which the agency                        implications to warrant the preparation
                                                 cases, there may be costs to noncitizens                published a proposed rule, that includes               of a federalism summary impact
                                                 that result from their removal.                         any Federal mandate that may result in                 statement.
                                                    The rule may also require additional                 a $100 million or more expenditure
                                                 time for AOs and IJs, during credible                   (adjusted annually for inflation) in any               G. Executive Order 12988 (Civil Justice
                                                 fear screenings and reviews,                            one year by State, local, and Tribal                   Reform)
                                                 respectively, to inquire into the                       governments, in the aggregate, or by the                 This IFR meets the applicable
                                                 applicability of the rule and the                       private sector. The term ‘‘Federal                     standards set forth in sections 3(a) and
                                                 noncitizen’s fear claim. Similarly, the                 mandate’’ means a Federal                              3(b)(2) of Executive Order 12988.
                                                 rule will require additional time for IJs               intergovernmental mandate or a Federal
                                                 during section 240 removal proceedings.                 private sector mandate. See 2 U.S.C.                   H. Family Assessment
                                                 However, as discussed throughout this                   658(6), 1502(1). A ‘‘Federal                             The Departments have reviewed this
                                                 preamble, the rule is expected to result                intergovernmental mandate,’’ in turn, is               rule in line with the requirements of
                                                 in significantly reduced irregular                      a provision that would impose an                       section 654 of the Treasury and General
                                                 migration. Accordingly, the                             enforceable duty upon State, local, or                 Government Appropriations Act, 1999,
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                                                 Departments expect the additional time                  Tribal governments (except as a                        enacted as part of the Omnibus
                                                 spent by AOs and IJs on implementation                  condition of Federal assistance or a duty              Consolidated and Emergency
                                                 of the rule to be mitigated by a                        arising from participation in a voluntary              Supplemental Appropriations Act,
                                                 comparatively smaller number of                         Federal program). See id. 658(5). And                  1999. The Departments have reviewed
                                                 credible fear cases than AOs and IJs                    the term ‘‘Federal private sector                      the criteria specified in section
                                                 would otherwise have been required to                   mandate’’ refers to a provision that                   654(c)(1), by evaluating whether this
                                                 handle in the absence of the rule.                      would impose an enforceable duty upon                  regulatory action (1) impacts the


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                                                 stability or safety of the family,                      regulations for implementing NEPA, 40                  extreme threat to life or safety, such as
                                                 particularly in terms of marital                        CFR parts 1500 through 1508.                           an imminent threat of rape, kidnapping,
                                                 commitment; (2) impacts the authority                      Federal agencies may establish                      torture, or murder; or (3) satisfied the
                                                 of parents in the education, nurture, and               categorical exclusions for categories of               definition of ‘‘victim of a severe form of
                                                 supervision of their children; (3) helps                actions they determine normally do not                 trafficking in persons’’ provided in 8
                                                 the family perform its functions; (4)                   significantly affect the quality of the                CFR 214.11.
                                                 affects disposable income or poverty of                 human environment and, therefore, do                      • The limitation on asylum eligibility
                                                 families and children; (5) only                         not require the preparation of an                      will be applied during credible fear
                                                 financially impacts families, if at all, to             Environmental Assessment or                            interviews and reviews, and those who
                                                 the extent such impacts are justified; (6)              Environmental Impact Statement. 42                     enter across the southern border during
                                                 may be carried out by State or local                    U.S.C. 4336e(1); 40 CFR 1501.4,                        emergency border circumstances and
                                                 governments or by the family; or (7)                    1507.3(e)(2)(ii), 1508.1(d). DHS has                   who are not described in section 3(b) of
                                                 establishes a policy concerning the                     established categorical exclusions,                    the Proclamation and do not establish
                                                 relationship between the behavior and                   which are listed in Appendix A of its                  exceptionally compelling circumstances
                                                 personal responsibility of youth and the                Instruction Manual 023–01. Under                       will receive a negative credible fear
                                                 norms of society. If the agency                         DHS’s NEPA implementing procedures,                    determination with respect to asylum
                                                 determines a regulation may negatively                  for an action to be categorically                      and will thereafter be screened for a
                                                 affect family well-being, then the agency               excluded, it must satisfy each of the                  reasonable probability of persecution
                                                 must provide an adequate rationale for                  following three conditions: (1) the entire             because of a protected ground or torture,
                                                                                                         action clearly fits within one or more of              a higher standard than that applied to
                                                 its implementation.
                                                                                                         the categorical exclusions; (2) the action             noncitizens in a similar posture under
                                                    The Departments have determined                      is not a piece of a larger action; and (3)             the Circumvention of Lawful Pathways
                                                 that the implementation of this rule will               no extraordinary circumstances exist                   rule.
                                                 not impose a negative impact on family                  that create the potential for a significant               Given the nature of the IFR, it is
                                                 well-being or the autonomy or integrity                 environmental effect.378                               categorically excluded from DHS’s
                                                 of the family as an institution.                           The IFR effectuates the following                   NEPA implementing procedures, as it
                                                                                                         three changes to the process for those                 satisfies all three relevant conditions.
                                                 I. Executive Order 13175 (Consultation                                                                         First, the Departments have determined
                                                                                                         seeking asylum, withholding of
                                                 and Coordination With Indian Tribal                                                                            that the IFR fits clearly within
                                                                                                         removal, or protection under the CAT
                                                 Governments)                                                                                                   categorical exclusions A3(a) and (d) of
                                                                                                         during emergency border circumstances:
                                                   This rule would not have Tribal                          • For those who enter across the                    DHS’s Instruction Manual 023–01,
                                                 implications under Executive Order                      southern border during emergency                       Appendix A, for the promulgation of
                                                 13175, Consultation and Coordination                    border circumstances and are not                       rules of a ‘‘strictly administrative or
                                                 with Indian Tribal Governments,                         described in section 3(b) of the                       procedural nature’’ and rules that
                                                 because it would not have a substantial                 Proclamation, rather than asking                       ‘‘interpret or amend an existing
                                                 direct effect on one or more Indian                     specific questions of every noncitizen                 regulation without changing its
                                                 Tribes, on the relationship between the                 encountered and processed for                          environmental effect,’’ respectively. The
                                                                                                         expedited removal to elicit whether the                IFR changes certain administrative
                                                 Federal Government and Indian Tribes,
                                                                                                         noncitizen may have a fear of                          procedures relating to the processing of
                                                 or on the distribution of power and
                                                                                                         persecution or an intent to apply for                  certain noncitizens during emergency
                                                 responsibilities between the Federal
                                                                                                         asylum, DHS will provide general notice                border circumstances, and does not
                                                 Government and Indian Tribes.
                                                                                                         regarding the processes for seeking                    result in a change in environmental
                                                 J. National Environmental Policy Act                    asylum, withholding of removal, and                    effect. Second, this IFR is a standalone
                                                                                                         protection under the CAT, and will only                rule and is not part of any larger action.
                                                    DHS and its components analyze                       refer a noncitizen for credible fear                   Third, the Departments are not aware of
                                                 actions to determine whether the                        screenings if the noncitizen manifests a               any extraordinary circumstances that
                                                 National Environmental Policy Act of                    fear of return, or expresses an intention              would cause a significant environmental
                                                 1969 (‘‘NEPA’’), 42 U.S.C. 4321 et seq.,                to apply for asylum or protection,                     impact. Therefore, this IFR is
                                                 applies to these actions and, if so, what               expresses a fear of persecution or                     categorically excluded, and no further
                                                 level of NEPA review is required. 42                    torture, or expresses a fear of return to              NEPA analysis or documentation is
                                                 U.S.C. 4336. DHS’s Directive 023–01,                    his or her country or the country of                   required. DOJ is adopting the DHS
                                                 Revision 01 376 and Instruction Manual                  removal.                                               determination that this IFR is
                                                 023–01–001–01, Revision 01                                 • During emergency border                           categorically excluded under A3(a) and
                                                 (‘‘Instruction Manual 023–01’’) 377                     circumstances, persons who enter the                   A3(d) of DHS’s Instruction Manual 023–
                                                 establish the procedures that DHS uses                  United States across the southern border               01, Appendix A, because the IFR’s
                                                 to comply with NEPA and the Council                     and who are not described in paragraph                 asylum limitation and the reasonable
                                                 on Environmental Quality (‘‘CEQ’’)                      3(b) of the Proclamation will be                       probability standard will be applied by
                                                                                                         ineligible for asylum unless they                      EOIR in substantially the same manner
                                                    376 DHS, Implementation of the National              demonstrate by a preponderance of the                  as it will be applied by DHS. See 40 CFR
                                                 Environmental Policy Act, Directive 023–01,             evidence that exceptionally compelling                 1506.3(d) (setting forth the ability of an
                                                 Revision 01 (Oct. 31, 2014), https://www.dhs.gov/                                                              agency to adopt another agency’s
                                                 sites/default/files/publications/DHS_
                                                                                                         circumstances exist, including if the
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                                                 Directive%20023-01%20Rev%2001_                          noncitizen demonstrates that they or a                 categorical exclusion determination).
                                                 508compliantversion.pdf.                                member of their family as described in                 K. Paperwork Reduction Act
                                                    377 DHS, Implementation of the National
                                                                                                         8 CFR 208.30(c) with whom they are
                                                 Environmental Policy Act (NEPA), Instruction            traveling: (1) faced an acute medical                    This IFR does not adopt new, or
                                                 Manual 023–01–001–01, Revision 01 (Nov. 6, 2014),                                                              revisions to existing, ‘‘collection[s] of
                                                 https://www.dhs.gov/sites/default/files/                emergency; (2) faced an imminent and
                                                 publications/DHS_Instruction%20Manual%20023-
                                                                                                                                                                information’’ as that term is defined
                                                 01-001-01%20Rev%2001_                                     378 Instruction Manual 023–01 at V.B(2)(a)           under the Paperwork Reduction Act of
                                                 508%20Admin%20Rev.pdf.                                  through (c).                                           1995, Public Law 104–13, 109 Stat. 163,


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                                                 44 U.S.C. chapter 35, and its                           Subpart D—Eligibility for Aliens Who                   to consider the alien’s claim under
                                                 implementing regulations, 5 CFR part                    Enter the United States During                         paragraph (b)(2) of this section.
                                                 1320.                                                   Emergency Border Circumstances                            (ii) Where the asylum officer
                                                                                                                                                                determines that the alien is not subject
                                                 List of Subjects                                        § 208.35 Limitation on asylum eligibility              to the limitation on asylum eligibility
                                                                                                         and credible fear procedures for those who             under paragraph (a) of this section
                                                 8 CFR Part 208                                          enter the United States during emergency               because the alien is not described in
                                                                                                         border circumstances.
                                                   Administrative practice and                                                                                  § 208.13(g), the asylum officer shall
                                                 procedure, Aliens, Immigration,                            Notwithstanding any contrary section                follow the procedures in § 208.33(b).
                                                 Reporting and recordkeeping                             of this part, including §§ 208.2, 208.13,                 (iii) Where the asylum officer
                                                 requirements.                                           208.30, and 208.33—                                    determines that the alien is not subject
                                                                                                            (a) Limitation on eligibility. (1)                  to the limitation on asylum eligibility
                                                 8 CFR Part 235                                          Applicability. An alien who is described               under paragraph (a) of this section
                                                                                                         in § 208.13(g) and who is not described                because the alien is described in section
                                                   Administrative practice and                           in section 3(b) of the Presidential                    3(b) of the Proclamation or is excepted
                                                 procedure, Aliens, Immigration,                         Proclamation of June 3, 2024, Securing                 from the limitation on asylum eligibility
                                                 Reporting and recordkeeping                             the Border, is ineligible for asylum.                  under paragraph (a)(2) of this section,
                                                 requirements.                                              (2) Exceptions. (i) This limitation on              the asylum officer shall follow the
                                                 8 CFR Part 1208                                         eligibility does not apply if the alien                procedures in § 208.30.
                                                                                                         demonstrates by a preponderance of the                    (2) Protection eligibility screening. (i)
                                                   Administrative practice and                           evidence that exceptionally compelling                 In cases in which the asylum officer
                                                 procedure, Aliens, Immigration,                         circumstances exist, including if the                  enters a negative credible fear
                                                 Reporting and recordkeeping                             alien, or the alien’s family member as                 determination under paragraph (b)(1)(i)
                                                 requirements.                                           described in § 208.30(c) with whom the                 or (b)(3) of this section, the asylum
                                                                                                         alien is traveling, demonstrates by a                  officer will assess the alien under the
                                                 DEPARTMENT OF HOMELAND                                  preponderance of the evidence that, at                 procedures set forth in § 208.33(b)(2)(i)
                                                 SECURITY                                                the time of entry, the alien or a member               except that the asylum officer will apply
                                                                                                         of the alien’s family as described in                  a reasonable probability standard. For
                                                   Accordingly, for the reasons set forth                                                                       purposes of this section, reasonable
                                                                                                         § 208.30(c) with whom the alien is
                                                 in the preamble, the Secretary of                                                                              probability means substantially more
                                                                                                         traveling:
                                                 Homeland Security amends 8 CFR parts                                                                           than a reasonable possibility, but
                                                                                                            (A) Faced an acute medical
                                                 208 and 235 as follows:                                                                                        somewhat less than more likely than
                                                                                                         emergency;
                                                                                                            (B) Faced an imminent and extreme                   not, that the alien would be persecuted
                                                 PART 208—PROCEDURES FOR                                                                                        because of his or her race, religion,
                                                 ASYLUM AND WITHHOLDING OF                               threat to life or safety, such as an
                                                                                                                                                                nationality, membership in a particular
                                                 REMOVAL                                                 imminent threat of rape, kidnapping,
                                                                                                                                                                social group or political opinion, or
                                                                                                         torture, or murder; or
                                                                                                                                                                tortured, with respect to the designated
                                                                                                            (C) Satisfied the definition of ‘‘victim
                                                 ■ 1. The authority citation for part 208                                                                       country or countries of removal.
                                                                                                         of a severe form of trafficking in                        (ii) In cases described in paragraph
                                                 continues to read as follows:
                                                                                                         persons’’ provided in § 214.11 of this                 (b)(2)(i) or (b)(3) of this section, if the
                                                   Authority: 8 U.S.C. 1101, 1103, 1158, 1226,           chapter.                                               alien establishes a reasonable
                                                 1252, 1282; Title VII of Pub. L. 110–229; 8                (ii) An alien who demonstrates by a                 probability of persecution or torture
                                                 CFR part 2; Pub. L. 115–218.                            preponderance of the evidence any of                   with respect to the designated country
                                                                                                         the circumstances in paragraph (a)(2)(i)               or countries of removal, the Department
                                                 ■ 2. In § 208.13, add paragraph (g) to
                                                                                                         of this section shall necessarily establish            will issue a positive credible fear
                                                 read as follows:                                        exceptionally compelling                               determination and follow the
                                                 § 208.13   Establishing asylum eligibility.             circumstances.                                         procedures in § 208.30(f). For any case
                                                                                                            (iii) An alien described in section 3(b)            in which USCIS retains jurisdiction over
                                                 *      *     *    *     *
                                                                                                         of the Presidential Proclamation of June               the application for asylum pursuant to
                                                    (g) Entry during emergency border                    3, 2024, Securing the Border, or who                   § 208.2(a)(1)(ii) for further consideration
                                                 circumstances. For an alien who entered                 establishes exceptionally compelling                   in an interview pursuant to § 208.9,
                                                 the United States across the southern                   circumstances under paragraph (a)(2)(i)                USCIS may require aliens who received
                                                 border (as that term is described in                    of this section has established                        a negative credible fear determination
                                                 section 4(d) of the Presidential                        exceptionally compelling circumstances                 with respect to their asylum claim
                                                 Proclamation of June 3, 2024, Securing                  under § 208.33(a)(3).                                  under paragraph (b)(1)(i) of this section
                                                 the Border) between the dates described                    (b) Application in credible fear                    to submit a Form I–589, Application for
                                                 in section 1 of such Proclamation and                   determinations. (1) Initial                            Asylum and for Withholding of
                                                 section 2(a) of such Proclamation (or the               determination. The asylum officer shall                Removal, together with any additional
                                                 revocation of such Proclamation,                        first determine whether the alien is                   supporting evidence in accordance with
                                                 whichever is earlier), or between the                   subject to the limitation on asylum                    the instructions on the form, to USCIS
                                                 dates described in section 2(b) of such                 eligibility under paragraph (a) of this                within 30 days from the date of service
                                                                                                         section.                                               of the positive credible fear
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                                                 Proclamation and section 2(a) of such
                                                 Proclamation (or the revocation of such                    (i) Where the asylum officer                        determination. The date of service of the
                                                 Proclamation, whichever is earlier),                    determines that the alien is subject to                positive credible fear determination
                                                 refer to the provisions on asylum                       the limitation on asylum eligibility                   remains the date of filing and receipt of
                                                 eligibility described in § 208.35.                      under paragraph (a) of this section, then              the asylum application under
                                                                                                         the asylum officer shall enter a negative              § 208.3(a)(2); however, for any case in
                                                 ■ 3. Add subpart D, consisting of                       credible fear determination with respect               which USCIS requires the alien to
                                                 § 208.35, to read as follows:                           to the alien’s asylum claim and continue               submit a Form I–589, it may extend the


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                                                 timelines in § 208.9(a)(1) and (e)(2) by                retains jurisdiction over the application              PART 235—INSPECTION OF PERSONS
                                                 up to 15 days. If USCIS requires the                    for asylum pursuant to § 208.2(a)(1)(ii),              APPLYING FOR ADMISSION
                                                 alien to submit a Form I–589 and the                    where a principal asylum applicant is
                                                 alien fails to do so within the applicable              found eligible for withholding of                      ■ 4. The authority citation for part 235
                                                 timeline, USCIS shall issue a Form I–                   removal under section 241(b)(3) of the                 continues to read as follows:
                                                 862, Notice to Appear.                                  Act or withholding of removal under                      Authority: 8 U.S.C. 1101 and note, 1103,
                                                    (iii) In cases described in paragraph                § 208.16(c)(2) and would be granted                    1183, 1185 (pursuant to E.O. 13323, 69 FR
                                                 (b)(2)(i) or (b)(3) of this section, if the             asylum but for the limitation on asylum                241, 3 CFR, 2003 Comp., p. 278), 1201, 1224,
                                                 alien fails to establish a reasonable                   in paragraph (a)(1) of this section or                 1225, 1226, 1228, 1365a note, 1365b, 1379,
                                                 probability of persecution or torture                   § 208.33(a), or both, and where an
                                                                                                                                                                1731–32; 48 U.S.C. 1806 and notes, 1807, and
                                                 with respect to all designated countries                                                                       1808 (Title VII, Pub. L. 110–229, 122 Stat.
                                                                                                         accompanying spouse or child as                        754); 8 U.S.C. 1185 note (sec. 7209, Pub. L.
                                                 of removal, the asylum officer will
                                                                                                         defined in section 208(b)(3)(A) of the                 108–458, 118 Stat. 3638, and Pub. L. 112–54,
                                                 provide the alien with a written notice
                                                                                                         Act does not independently qualify for                 125 Stat. 550).
                                                 of decision and inquire whether the
                                                 alien wishes to have an immigration                     asylum or other protection from removal                ■ 5. Add § 235.15 to read as follows:
                                                 judge review the negative credible fear                 or the principal asylum applicant has a
                                                 determinations.                                         spouse or child who would be eligible                  § 235.15 Inadmissible aliens and expedited
                                                                                                         to follow to join that applicant as                    removal during emergency border
                                                    (iv) The alien must indicate whether
                                                                                                         described in section 208(b)(3)(A) of the               circumstances.
                                                 he or she desires such review on a
                                                 Record of Negative Fear Finding and                     Act, the asylum officer may deem the                      (a) Applicability. Notwithstanding
                                                 Request for Review by Immigration                       principal applicant to have established                §§ 235.3(b)(2)(i) and 235.3(b)(4)(i) (but
                                                 Judge.                                                  exceptionally compelling circumstances                 not § 235.3(b)(4)(ii)), the provisions of
                                                    (v) Only if the alien requests such                  under paragraph (a)(2)(i) of this section              this section apply to any alien described
                                                 review by so indicating on the Record                   and § 208.33(a)(3)(i).                                 in § 235.3(b)(1)(i) through (ii) if the alien
                                                 of Negative Fear shall the asylum officer                                                                      is described in § 208.13(g) and is not
                                                                                                            (d) Continuing applicability of                     described in section 3(b) of the
                                                 serve the alien with a Notice of Referral
                                                                                                         limitation on eligibility. (1) Subject to              Presidential Proclamation of June 3,
                                                 to Immigration Judge. The record of
                                                                                                         paragraph (d)(2) of this section, the                  2024, Securing the Border.
                                                 determination, including copies of the
                                                                                                         limitation on asylum eligibility in                       (b) Expedited removal. (1) [Reserved]
                                                 Notice of Referral to Immigration Judge,
                                                 the asylum officer’s notes, the summary                 paragraph (a) of this section shall apply                 (2) Determination of inadmissibility—
                                                 of the material facts, and other materials              to any asylum application filed by an                  (i) Record of proceeding. (A) A
                                                 upon which the determination was                        alien who entered the United States                    noncitizen who is arriving in the United
                                                 based shall be provided to the                          during the time and in the manner                      States, or other alien as designated
                                                 immigration judge with the negative                     described in § 208.13(g) and who is not                pursuant to § 235.3(b)(1)(ii), who is
                                                 determination. Immigration judges will                  covered by an exception in paragraph                   determined to be inadmissible under
                                                 evaluate the case as provided in 8 CFR                  (d)(2) of this section, regardless of when             section 212(a)(6)(C) or 212(a)(7) of the
                                                 1208.35(b). The case shall then proceed                 the application is filed and adjudicated.              Act (except an alien for whom
                                                 as set forth in paragraphs (b)(2)(v)(A)                    (2) The limitation on asylum                        documentary requirements are waived
                                                 and (B) of this section.                                eligibility in paragraph (a) of this                   under § 211.1(b)(3) or § 212.1 of this
                                                    (A) Where the immigration judge                      section shall not apply to an alien who                chapter) shall be ordered removed from
                                                 issues a positive credible fear                         was under the age of 18 at the time of                 the United States in accordance with
                                                 determination under 8 CFR                               the alien’s entry, if—                                 section 235(b)(1) of the Act. In every
                                                 1208.35(b)(2)(iii) or (b)(4), the case shall                                                                   case in which the expedited removal
                                                 proceed under 8 CFR                                        (i) The alien is applying for asylum as             provisions will be applied and before
                                                 1208.30(g)(2)(iv)(B).                                   a principal applicant; and                             removing an alien from the United
                                                    (B) Where the immigration judge                         (ii) The asylum application is filed                States pursuant to this section, the
                                                 issues a negative credible fear                         after the period of time in 208.13(g)                  examining immigration officer shall
                                                 determination, the case shall be                        during which the alien entered.                        create a record of the facts of the case
                                                 returned to the Department for removal                                                                         and statements made by the alien.
                                                                                                            (e) Severability. The Department
                                                 of the alien. No appeal shall lie from the                                                                        (B) The examining immigration officer
                                                                                                         intends that in the event that any
                                                 immigration judge’s decision and no                                                                            shall advise the alien of the charges
                                                                                                         provision of this section, § 235.15, or the            against him or her on Form I–860,
                                                 request for reconsideration may be
                                                                                                         Presidential Proclamation of June 3,                   Notice and Order of Expedited Removal,
                                                 submitted to USCIS. Nevertheless,
                                                                                                         2024, Securing the Border, is held to be               and the alien shall be given an
                                                 USCIS may, in its sole discretion,
                                                                                                         invalid or unenforceable by its terms, or              opportunity to respond to those charges.
                                                 reconsider a negative determination.
                                                    (3) Procedures in the absence of the                 as applied to any person or                            After obtaining supervisory concurrence
                                                 limitation on asylum eligibility. If the                circumstance, the provisions of this                   in accordance with § 235.3(b)(7), the
                                                 limitation on asylum eligibility in                     section and § 235.15 should be                         examining immigration official shall
                                                 paragraph (a) of this section is held to                construed so as to continue to give the                serve the alien with Form I–860 and the
                                                 be invalid or unenforceable by its terms,               maximum effect to those provisions                     alien shall sign the form acknowledging
                                                 or as applied to any person or                          permitted by law, unless such holding                  receipt. Interpretative assistance shall be
                                                                                                         is that a provision is wholly invalid and
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                                                 circumstance, then during the period(s)                                                                        used if necessary to communicate with
                                                 described in § 208.13(g), the asylum                    unenforceable, in which event the                      the alien.
                                                 officer shall, as applicable, apply a                   provision should be severed from the                      (ii) [Reserved]
                                                 reasonable probability screening                        remainder of this section and the                         (iii) [Reserved]
                                                 standard for any protection screening                   holding should not affect the remainder                   (3) [Reserved]
                                                 under § 208.33(b)(2).                                   of this section or the application of the                 (4) Claim of asylum or fear of
                                                    (c) Family unity in the asylum merits                provision to persons not similarly                     persecution or torture. (i) If an alien
                                                 process. In cases where the Department                  situated or to dissimilar circumstances.               subject to the expedited removal


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                                                 provisions manifests a fear of return, or               § 1208.13    Establishing asylum eligibility.          3, 2024, Securing the Border, or who
                                                 expresses an intention to apply for                     *     *     *     *    *                               establishes exceptionally compelling
                                                 asylum or protection, expresses a fear of                 (g) Entry during emergency border                    circumstances under paragraph (a)(2)(i)
                                                 persecution or torture, or expresses a                  circumstances. For an alien who entered                of this section has established
                                                 fear of return to his or her country or the             the United States across the southern                  exceptionally compelling circumstances
                                                 country of removal, the inspecting                      border (as that term is described in                   under § 1208.33(a)(3).
                                                 officer shall not proceed further with                  section 4(d) of the Presidential                          (b) Application in credible fear
                                                 removal of the alien until the alien has                Proclamation of June 3, 2024, Securing                 determinations. (1) Where an asylum
                                                 been referred for an interview by an                    the Border) between the dates described                officer has issued a negative credible
                                                 asylum officer in accordance with part                  in section 1 of such Proclamation and                  fear determination pursuant to 8 CFR
                                                 208 of this chapter.                                    section 2(a) of such Proclamation (or the              208.35(b), and the alien has requested
                                                    (A) The inspecting immigration                       revocation of such Proclamation,                       immigration judge review of that
                                                 officer shall document whether the alien                whichever is earlier), or between the                  credible fear determination, the
                                                 has manifested or affirmatively                         dates described in section 2(b) of such                immigration judge shall evaluate the
                                                 expressed such intention, fear, or                      Proclamation and section 2(a) of such                  case de novo, as specified in paragraph
                                                 concern.                                                Proclamation (or the revocation of such                (b)(2) of this section. In doing so, the
                                                    (B) The referring officer shall provide              Proclamation, whichever is earlier) refer              immigration judge shall take into
                                                 the alien with a written disclosure                     to the provisions on asylum eligibility                account the credibility of the statements
                                                 describing the purpose of the referral                  described in § 1208.35.                                made by the alien in support of the
                                                 and the credible fear interview process;                ■ 8. Add subpart D, consisting of                      alien’s claim and such other facts as are
                                                 the right to consult with other persons                 § 1208.35, to read as follows:                         known to the immigration judge.
                                                 prior to the interview and any review                                                                             (2) The immigration judge shall first
                                                 thereof at no expense to the United                     Subpart D—Eligibility for Aliens Who                   determine whether the alien is subject
                                                 States Government; the right to request                 Enter the United States During                         to the limitation on asylum eligibility
                                                 a review by an immigration judge of the                 Emergency Border Circumstances                         under paragraph (a) of this section.
                                                 asylum officer’s credible fear                                                                                    (i) Where the immigration judge
                                                 determination; and the consequences of                  § 1208.35 Limitation on asylum eligibility             determines that the alien is not subject
                                                                                                         and credible fear procedures for those who             to the limitation on asylum eligibility
                                                 failure to establish a credible fear of
                                                                                                         enter the United States during emergency
                                                 persecution or torture.                                 border circumstances.
                                                                                                                                                                under paragraph (a) of this section
                                                    (ii) [Reserved]                                                                                             because the alien is not described in
                                                    (c)–(f) [Reserved]                                      Notwithstanding any contrary section                § 1208.13(g), the immigration judge
                                                    (g) Severability. The Department                     of this chapter, including §§ 1003.42,                 shall follow the procedures in
                                                 intends that in the event that any                      1208.2, 1208.13, 1208.30, and 1208.33—
                                                                                                                                                                § 1208.33(b).
                                                 provision of paragraphs (a), (b)(2)(i), and                (a) Limitation on eligibility. (1)
                                                                                                                                                                   (ii) Where the immigration judge
                                                 (b)(4) of this section, § 208.35, or the                Applicability. An alien who is described
                                                                                                                                                                determines that the alien is not subject
                                                 Presidential Proclamation of June 3,                    in § 1208.13(g) and who is not described
                                                                                                                                                                to the limitation on asylum eligibility
                                                 2024, Securing the Border, is held to be                in section 3(b) of the Presidential
                                                                                                                                                                under paragraph (a) of this section
                                                 invalid or unenforceable by its terms, or               Proclamation of June 3, 2024, Securing
                                                                                                                                                                because the alien is described in section
                                                 as applied to any person or                             the Border, is ineligible for asylum.
                                                                                                            (2) Exceptions. (i) This limitation on              3(b) of the Proclamation or is excepted
                                                 circumstance, the provisions of this                                                                           from the limitation on asylum eligibility
                                                                                                         eligibility does not apply if the alien
                                                 section and § 208.35 should be                                                                                 under paragraph (a)(2) of this section,
                                                                                                         demonstrates by a preponderance of the
                                                 construed so as to continue to give the                                                                        the immigration judge shall follow the
                                                                                                         evidence that exceptionally compelling
                                                 maximum effect to those provisions                                                                             procedures in § 1208.30.
                                                                                                         circumstances exist, including if the
                                                 permitted by law, unless such holding                                                                             (iii) Where the immigration judge
                                                                                                         alien, or the alien’s family member as
                                                 is that a provision is wholly invalid and                                                                      determines that the alien is subject to
                                                                                                         described in 8 CFR 208.30(c) with
                                                 unenforceable, in which event the                       whom the alien is traveling,                           the limitation on asylum eligibility
                                                 provision should be severed from the                    demonstrates by a preponderance of the                 under paragraph (a) of this section, the
                                                 remainder of this section and the                       evidence that, at the time of entry, the               immigration judge shall assess the alien
                                                 holding should not affect the remainder                 alien or a member of the alien’s family                under the procedures set forth in
                                                 of this section or the application of the               as described in § 208.30(c) with whom                  § 1208.33(b)(2)(ii) except that the
                                                 provision to persons not similarly                      the alien is traveling:                                immigration judge shall apply a
                                                 situated or to dissimilar circumstances.                   (A) Faced an acute medical                          reasonable probability standard. For
                                                                                                         emergency;                                             purposes of this section, reasonable
                                                 DEPARTMENT OF JUSTICE                                                                                          probability means substantially more
                                                                                                            (B) Faced an imminent and extreme
                                                   Accordingly, for the reasons set forth                threat to life or safety, such as an                   than a reasonable possibility, but
                                                 in the preamble, the Attorney General                   imminent threat of rape, kidnapping,                   somewhat less than more likely than
                                                 amends 8 CFR part 1208 as follows:                      torture, or murder; or                                 not, that the alien would be persecuted
                                                                                                            (C) Satisfied the definition of ‘‘victim            because of his or her race, religion,
                                                 PART 1208—PROCEDURES FOR                                of a severe form of trafficking in                     nationality, membership in a particular
                                                 ASYLUM AND WITHHOLDING OF                               persons’’ provided in § 214.11 of this                 social group or political opinion, or
                                                 REMOVAL                                                 title.                                                 tortured, with respect to the designated
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                                                                                                            (ii) An alien who demonstrates by a                 country or countries of removal.
                                                 ■ 6. The authority citation for part 1208
                                                                                                         preponderance of the evidence any of                      (3) Following the immigration judge’s
                                                 continues to read as follows:                                                                                  determination, the case will proceed as
                                                                                                         the circumstances in paragraph (a)(2)(i)
                                                   Authority: 8 U.S.C. 1101, 1103, 1158, 1226,           of this section shall necessarily establish            indicated in 8 CFR 208.35(b)(2)(v)(A)
                                                 1252, 1282; Title VII of Pub. L. 110–229; Pub.          exceptionally compelling                               and (B).
                                                 L. 115–218.                                                                                                       (4) If the limitation on asylum
                                                                                                         circumstances.
                                                 ■ 7. In § 1208.13, add paragraph (g) to                    (iii) An alien described in section 3(b)            eligibility in paragraph (a) of this
                                                 read as follows:                                        of the Presidential Proclamation of June               section is held to be invalid or


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                                                 unenforceable by its terms, or as applied               Act, the alien shall be deemed to have                 provision of this section or the
                                                 to any person or circumstance, then                     established exceptionally compelling                   Presidential Proclamation of June 3,
                                                 during the period(s) described in                       circumstances under paragraph (a)(2)(i)                2024, Securing the Border, is held to be
                                                 § 1208.13(g), the immigration judge                     of this section and § 1208.33(a)(3)(i).                invalid or unenforceable by its terms, or
                                                 shall, as applicable, apply a reasonable                   (d) Continuing applicability of                     as applied to any person or
                                                 probability screening standard for any                  limitation on eligibility. (1) Subject to              circumstance, the provisions of this
                                                 protection screening under                              paragraph (d)(2) of this section, the                  section should be construed so as to
                                                 § 1208.33(b)(2)(ii).                                    limitation on asylum eligibility in                    continue to give the maximum effect to
                                                                                                         paragraph (a) of this section shall apply
                                                    (c) Family unity and removal                                                                                those provisions permitted by law,
                                                                                                         to any asylum application filed by an
                                                 proceedings. In removal proceedings                                                                            unless such holding is that a provision
                                                                                                         alien who entered the United States
                                                 under section 240 of the Act, where a                   during the time and in the manner                      is wholly invalid and unenforceable, in
                                                 principal asylum applicant is found                     described in § 1208.13(g) and who is not               which event the provision should be
                                                 eligible for withholding of removal                     covered by an exception in paragraph                   severed from the remainder of this
                                                 under section 241(b)(3) of the Act or                   (d)(2) of this section, regardless of when             section and the holding should not
                                                 withholding of removal under                            the application is filed and adjudicated.              affect the remainder of this section or
                                                 § 1208.16(c)(2) and would be granted                       (2) The limitation on asylum                        the application of the provision to
                                                 asylum but for the limitation on asylum                 eligibility in paragraph (a) of this                   persons not similarly situated or to
                                                 eligibility in paragraph (a)(1) of this                 section shall not apply to an alien who                dissimilar circumstances.
                                                 section or § 1208.33(a), or both, and                   was under the age of 18 at the time of
                                                 where an accompanying spouse or child                   the alien’s entry, if—                                 Alejandro N. Mayorkas,
                                                 as defined in section 208(b)(3)(A) of the                  (i) The alien is applying for asylum as             Secretary, U.S. Department of Homeland
                                                 Act does not independently qualify for                  a principal applicant; and                             Security.
                                                 asylum or other protection from removal                    (ii) The asylum application is filed                Merrick B. Garland,
                                                 or the principal asylum applicant has a                 after the period of time in 1208.13(g)                 Attorney General, U.S. Department of Justice.
                                                 spouse or child who would be eligible                   during which the alien entered.                        [FR Doc. 2024–12435 Filed 6–4–24; 4:15 pm]
                                                 to follow to join that applicant as                        (e) Severability. The Department
                                                                                                                                                                BILLING CODE 4410–30–P; 9111–97–P
                                                 described in section 208(b)(3)(A) of the                intends that in the event that any
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